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              EXHIBIT 3
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                                                                                                            Page 3
                UNITED STATES DISTRICT COURT              1   and
               SOUTHERN DISTRICT OF NEW YORK              2
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        ASD-ADHD PRODUCTS         )                       4        HAILEY WATTS
        LIABILITY LITIGATION      ) Case No.                       hwatts@wattsguerra.com
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        ________________________ ) 1:22-md-03043-DLC               rabney@wattsguerra.com
        THIS DOCUMENT RELATES TO: )                       6   Millennium Park Plaza RFO
                                  ) JUDGE DENISE              Suite 410, C112
        All Cases, 1:22-md-03043 ) COTE                   7   Guaynabo, Puerto Rico 00966
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                                                          8
                   MONDAY, AUGUST 14, 2023                9   and
                                                         10
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      Eastern, on the above date, before Carrie A.       16
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  1           VIDEOGRAPHER: We are now on              1   it, would not be waived.
  2      the record. My name is Danny Ortega,          2             And if, on direct examination,
  3      and I'm the legal videographer for            3   there's any examination with respect to my
  4      Golkow Litigation Services.                   4   client, we may have to take that question by
  5           Today's date is August 14,               5   question.
  6      2023, and the time is 8:32 a.m.               6             MR. MURDICA: Okay. That's
  7           This video deposition is being           7        fine. Thanks, Jim.
  8      held at 126 East 56th Street,                 8             Dr. Baccarelli, you can ignore
  9      New York, New York, in the matter of          9        all that.
 10      acetaminophen (Tylenol) ASD-ADHD             10             THE WITNESS: Yes.
 11      Products Liability Litigation.               11             MR. MURDICA: Yes, not relevant
 12           The deponent today is Andrea            12        to you, Dr. Baccarelli.
 13      Baccarelli.                                  13             MR. SNIDOW: Please do.
 14           All counsel will be noted on            14             THE WITNESS: Okay.
 15      the stenographic record.                     15   QUESTIONS BY MR. MURDICA:
 16           The court reporter today is             16        Q. Good morning, Dr. Baccarelli.
 17      Carrie Campbell and will now swear in        17   My name is Jim Murdica, and I represent the
 18      the witness.                                 18   defendants.
 19                                                   19             Dr. Baccarelli, as you sit here
 20         ANDREA BACCARELLI, MD, Ph.D.,             20   today, you have offered a written opinion in
 21   of lawful age, having been first duly sworn     21   an initial report, correct?
 22   to tell the truth, the whole truth and          22        A. Yes.
 23   nothing but the truth, deposes and says on      23        Q. You offered an amended report
 24   behalf of the Defendant Johnson & Johnson, as   24   that you said was substantively the same as
 25   follows:                                        25   your initial report, right?

                                          Page 14                                              Page 16
  1            DIRECT EXAMINATION                      1        A. Correct. Didn't change the
  2   QUESTIONS BY MR. MURDICA:                        2   substance of my conclusion.
  3       Q. Good morning, Doctor.                     3        Q. Okay. And then you also
  4       A. Good morning.                             4   submitted a rebuttal report about two weeks
  5       Q. How do you prefer that I                  5   ago, right?
  6   address you?                                     6        A. Yes, that is correct.
  7       A. Dr. Baccarelli is good.                   7        Q. Okay. Are there any opinions
  8       Q. Thank you, Dr. Baccarelli.                8   you hold today that are not contained in
  9            Before we begin, I just want to         9   those reports?
 10   put on the record that late Friday, counsel     10        A. No, there is not -- no opinions
 11   for the plaintiffs, Mr. Snidow --               11   that I need to add.
 12            MR. MURDICA: Did I pronounce           12        Q. Okay. Before we begin, is
 13       that right, J.J..                           13   there anything you want to go on the record
 14            MR. SNIDOW: Snidow.                    14   to change right now in -- contained in those
 15   QUESTIONS BY MR. MURDICA:                       15   reports?
 16       Q. Snidow.                                  16        A. There are small things that I
 17            -- filed a motion for pro hac          17   found that I might need to correct, but I can
 18   admission in this case. I have not yet had a    18   tell you what they are.
 19   chance to confer with the client or do any      19        Q. Sure.
 20   research about this, but there may exist a      20            Are any of them substantive?
 21   good faith basis to oppose the pro hac.         21        A. No.
 22            I'm comfortable with going             22            A lot of small things, the way
 23   forward with Mr. Snidow defending you today,    23   you look at 100 pages, you find all the
 24   provided we have an agreement that any such     24   times.
 25   opposition, if there is a credible basis for    25            For instance, I realized that

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  1   in my tables I said that Alemany was             1            I work extensively on
  2   presenting new results for two out of six        2       neurodevelopmental outcomes. I
  3   cohorts instead -- sorry, for four out of six    3       published -- as an epidemiologist, I'm
  4   cohorts. Instead, there are three out of six     4       very well qualified to look at
  5   cohorts that are new.                            5       neurodevelopmental outcomes.
  6            There's a paper Alemany 2021.           6   QUESTIONS BY MR. MURDICA:
  7            And I said that Liew 2014 in my         7       Q. Okay. Was there ever a time
  8   table, page 8 of 21, was from Norway.            8   when you held the opinion that acetaminophen
  9   Instead, it is from Denmark.                     9   exposure during pregnancy was not associated
 10            These are some of the things I         10   with adverse neurodevelopmental outcomes?
 11   have. I -- all the rest is about right. If      11       A. Oh, absolutely. I was
 12   there is anything that I find different, I'll   12   completely convinced it was not.
 13   make sure to tell you.                          13       Q. Okay.
 14       Q. Okay. Thank you,                         14       A. I was taught like that in
 15   Dr. Baccarelli.                                 15   medical school. I was taught Tylenol is the
 16            Dr. Baccarelli, when did you           16   only drug you can give to women during
 17   first begin investigating an association        17   pregnancy. So I grew up believing that as a
 18   between acetaminophen exposure in pregnancy     18   truth that no one can doubt.
 19   and neurodevelopmental outcomes?                19       Q. And, Dr. Baccarelli, you just
 20       A. Acetaminophen and                        20   testified you started looking into it as a --
 21   neurodevelopmental outcomes, correct?           21   as a scientist in 2018, correct?
 22            In -- we started to work on            22       A. That is correct.
 23   this, my team and I, in around 2019.            23       Q. Okay. And at the time that you
 24       Q. And --                                   24   started looking into it as a scientist, did
 25       A. 2018, actually. Yeah.                    25   you believe that acetaminophen exposure

                                          Page 18                                             Page 20
  1       Q. 2018 is the first time you                1   during pregnancy was associated with adverse
  2   started investigating acetaminophen exposure     2   neurodevelopmental outcomes?
  3   during pregnancy and neurodevelopmental          3           MR. SNIDOW: Objection to the
  4   outcomes, correct?                               4      form.
  5       A. Correct. Correct.                         5           Dr. Baccarelli, you can answer.
  6       Q. Do you remember when in 2018?             6           THE WITNESS: At that time, I
  7       A. No.                                       7      didn't believe that acetaminophen was
  8       Q. Okay. By the way, are you a               8      associated with the outcome. I
  9   neurologist?                                     9      believe it was worth investigating.
 10       A. Oh, no. I'm not a neurologist.           10           The way went -- my team went to
 11   I'm an epidemiologist. I publish about 300      11      me, came to me, particularly Hannah
 12   papers on the effects of chemical intoxicants   12      Laue and then Brennan Baker, and they
 13   on the child prenatally and during -- and       13      say there is some papers that show
 14   during childhood.                               14      that acetaminophen may be associated
 15           So I clearly -- I clearly --            15      with neurodevelopmental outcomes. I
 16   I'm a physician, but I don't work as a          16      think should we should look into it.
 17   neurologist.                                    17           And I say, okay, let's look
 18       Q. Neurodevelopmental outcomes are          18      into it. But in my mind, it was no
 19   not themselves your expertise; is that right?   19      way this -- we find everything. I was
 20           MR. SNIDOW: Objection to the            20      pretty sure we find absolutely
 21       form.                                       21      nothing.
 22           Dr. Baccarelli, you can -- you          22           I mean, as a physician, I
 23       can answer.                                 23      thought Tylenol is perfectly fine.
 24           THE WITNESS: That is                    24      Everyone takes it. Everyone
 25       completely incorrect.                       25      is that -- that is what I thought back

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  1       then. I was completely wrong.                1   please?
  2   QUESTIONS BY MR. MURDICA:                        2       Q. Sure.
  3       Q. Okay. And when Hannah came to             3             MR. MURDICA: Do you mind
  4   you, she was talking about ADD or ADHD           4       reading it back?
  5   specifically, not just all neurodevelopmental    5             (Court Reporter read back
  6   outcomes, correct?                               6       question.)
  7       A. Hannah was talking about ADD,             7             THE WITNESS: So she didn't try
  8   ADHD and neurodevelopmental outcomes. It         8       to connect. As we -- as scientists,
  9   was -- at the time, we were -- when Hannah       9       we always look objectively at the
 10   Laue came to me, she approached me about        10       evidence. We don't try to connect
 11   looking at the intelligence. So we were         11       anything.
 12   talking about the intelligence at that time.    12             So we are just studying the
 13       Q. Okay. And you -- she did, in             13       association between -- in that case
 14   fact, look at data from meconium and tried to   14       between prenatal acetaminophen and a
 15   connect acetaminophen exposure to an            15       measurement, one measurement, of
 16   intelligence outcome, right?                    16       intelligence.
 17            MR. SNIDOW: Objection to the           17   QUESTIONS BY MR. MURDICA:
 18       form.                                       18       Q. And at the time,
 19            And, Jim, if you're talking            19   Dr. Baccarelli, like you just said, you
 20       about a particular study, I do ask          20   didn't know if there was an association or
 21       that you show it to him.                    21   not, right?
 22            If you're talking about                22       A. At the time, I had an opinion
 23       conversations, that's fine, but it          23   that -- that I was completely agnostic to
 24       seems like you're mentioning a study.       24   the -- to the fact. Without -- my first
 25            MR. MURDICA: So we're not              25   reaction to Hannah was, that is interesting

                                         Page 22                                               Page 24
  1      going to be doing that today. I'm             1   to look at, but I -- I'm not sure we will
  2      going to ask my questions. I will             2   find anything.
  3      conduct my examination however I want         3            So as a scientist, I'm driven
  4      within the rules, and I'm not going to        4   by data. The data that I was aware of at
  5      waste my time listening to you talk           5   that time was part of the literature, and I
  6      about things that are unrelated to my         6   was really driven by my bias as a physician
  7      examination.                                  7   of thinking that Tylenol was great. Was
  8           So, particularly given the               8   great. I just trust in my teachers in
  9      status of your pro hac, we're not             9   medical school more than the evidence, and it
 10      going to do this today.                      10   was a mistake.
 11           MR. SNIDOW: That has nothing            11       Q. Do you think you answered my
 12      to do with anything. If you want to          12   question?
 13      show him -- you're talking about data.       13            MR. SNIDOW: Objection to the
 14      It seems like you're talking about a         14       form.
 15      study, and I ask you show him the            15            Dr. Baccarelli --
 16      study.                                       16       Dr. Baccarelli, you can answer it, but
 17           MR. MURDICA: Mr. Snidow, I              17       if you want him to rephrase, go ahead
 18      will show whatever I want whenever I         18       and ask.
 19      what it, and this is going to be the         19            THE WITNESS: I do, but if --
 20      last time we have this conversation          20       if you think I didn't, please tell me
 21      today.                                       21       what part I didn't -- I didn't answer.
 22   QUESTIONS BY MR. MURDICA:                       22   QUESTIONS BY MR. MURDICA:
 23      Q. Can you answer my question,               23       Q. Dr. Baccarelli, do you recall
 24   Dr. Baccarelli?                                 24   whether Ms. Laue --
 25      A. Can you rephrase the question,            25            Is it Dr. Laue?

                                                                          6 (Pages 21 to 24)
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  1       A. Dr. Laue.                               1       to state that Document Number 433 on
  2      Q. -- whether Dr. Laue found                2       the MDL docket is the deposition
  3   anything with respect to acetaminophen and     3       protocol for expert depositions. And
  4   neurodevelopmental outcomes in that -- when    4       paragraph 13 clearly shows that you
  5   she looked at meconium?                        5       violated the protocol multiple times
  6       A. It --                                   6       this morning, which is why I said I
  7            MR. SNIDOW: Objection -- I'm          7       wouldn't continue if you continued
  8       sorry, Dr. Baccarelli. Just pause for      8       doing that.
  9       a second.                                  9            So you can say whatever you
 10            Objection to form.                   10       want right now. From this point on,
 11            Again, it now sounds like you        11       the only thing you will say is that
 12       really are talking about a study, and     12       you object to form, or we'll follow
 13       I ask that if you're going to do that,    13       paragraph 14, which is to call
 14       you show it to him.                       14       Judge Cote.
 15            MR. MURDICA: I'm going to stop       15            MR. SNIDOW: Okay. So but
 16       the deposition if you do that one more    16       you're fine with my standing
 17       time. I asked if he recalled              17       objection?
 18       anything.                                 18            MR. MURDICA: Yes.
 19            I'm serious. I'm very serious        19            MR. SNIDOW: Thank you.
 20       about this. We're not doing this          20   QUESTIONS BY MR. MURDICA:
 21       again. You're interrupting my             21       Q. Dr. Baccarelli, are you ready
 22       examination. It actually is bothering     22   to proceed?
 23       me, and it's not proper.                  23       A. Absolutely.
 24            So are you going to tell me          24            MR. SNIDOW: And again, Doctor,
 25       you're going to stop or not?              25       you can ignore all of that.

                                        Page 26                                             Page 28
  1        MR. SNIDOW: I think, Jim,                 1            THE WITNESS: That's okay.
  2   frankly, anytime you want to ask him           2   QUESTIONS BY MR. MURDICA:
  3   about a study, I'm going to ask that           3        Q. Dr. Baccarelli, before the
  4   you do it.                                     4   interruption, we were discussing Dr. Hannah
  5        MR. MURDICA: Okay. Let's off              5   Laue's investigation of acetaminophen
  6   the record.                                    6   exposure in meconium --
  7        VIDEOGRAPHER: The time right              7        A. Uh-huh.
  8   now is 8:43 a.m. We are off the                8        Q. -- in 2019.
  9   record.                                        9            Do you recall that question?
 10    (Off the record at 8:43 a.m.)                10        A. I do.
 11        VIDEOGRAPHER: The time right             11        Q. Okay. And sitting here today,
 12   now is 8:47 a.m. We are back on the           12   do you recall whether or not Dr. Laue found
 13   record.                                       13   anything with respect to acetaminophen
 14        MR. SNIDOW: Okay. Mr. Murdica            14   exposure in that study?
 15   and I have discussed, and we decided          15        A. That paper is one of the very
 16   that I'm going to be entitled to a            16   few that shows no association between
 17   standing objection that I won't make          17   acetaminophen and intelligence or any other
 18   every time that -- against the                18   neurodevelopmental outcomes. It's one of the
 19   opposing counsel asking the witness           19   outliers in the literature.
 20   questions about a particular study            20            And part of it is because it
 21   without showing it to him.                    21   looks at intelligence and -- one scale of
 22        Are you okay with that,                  22   intelligence and doesn't look at the -- at
 23   Mr. Murdica?                                  23   the other outcomes.
 24        MR. MURDICA: I said you could            24            And also, it's a small study.
 25   state it on the record, and I'm going         25   It's one -- 118 subjects, something that at

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  1   the time perhaps I didn't appreciate, but now    1   Alemany says.
  2   when I look at the literature later on,          2       Q. Your notes?
  3   clearly we are comparing this study to others    3       A. Correct.
  4   that have hundreds of children, some have        4       Q. Okay. Dr. Baccarelli, did you
  5   thousands, some have 50,000, 60,000 children.    5   review any deposition transcripts of
  6            So this study is very possible          6   plaintiffs' experts in this case?
  7   to be a false negative.                          7       A. I reviewed Cabrera's.
  8       Q. Dr. Baccarelli, did you say               8       Q. Okay. Did you review
  9   there were 118 children in that?                 9   Dr. Hollander's?
 10       A. Correct.                                 10       A. No.
 11       Q. Okay. Now, you don't have that           11       Q. You say in your report and in
 12   study in front of you right now, right?         12   your rebuttal report that you rely on
 13       A. I do. It's here.                         13   Dr. Hollander, correct?
 14       Q. You do?                                  14       A. I didn't say that. I said that
 15       A. Yes.                                     15   I read Dr. Hollander's, and I'm also -- also
 16       Q. Okay. What are you looking at?           16   using their knowledge and also reporting his
 17       A. Laue.                                    17   knowledge.
 18       Q. Oh, you have the study in front          18       Q. Okay. So you're not relying on
 19   of you.                                         19   Dr. Hollander for anything here?
 20       A. And 118.                                 20       A. If there is anything that I am
 21       Q. Okay. What do you -- what do             21   relying on, please let me know.
 22   you have in front of you right now?             22       Q. Well, you're saying right
 23       A. Is the study of Laue?                    23   now -- I mean, this is your chance. You're
 24       Q. No, no, I mean --                        24   under oath right now, Dr. Baccarelli.
 25       A. The abstract.                            25       A. Correct.

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  1        Q. You have several binders                 1       Q. You're not relying on
  2   sitting in front of you, right? Two binders?     2   Dr. Hollander, correct?
  3        A. Yeah. One is my report, and              3            MR. SNIDOW: Objection to the
  4   one is some literature that is in my report.     4       form.
  5        Q. Okay. Can I take a look at the           5            MR. MURDICA: I just want to
  6   literature binder?                               6       get your testimony right.
  7        A. Absolutely.                              7            MR. SNIDOW: Objection to the
  8        Q. That way I know what you have.           8       form again.
  9             Thanks.                                9            Do you mind repeating your
 10             Now, I see one thing that you         10       question, Jim?
 11   have here is Masarwa, right?                    11            MR. MURDICA: Sure.
 12        A. Uh-huh.                                 12   QUESTIONS BY MR. MURDICA:
 13        Q. And is that in your report?             13       Q. Do you rely on Dr. Hollander's
 14        A. Of course.                              14   neurodevelopmental opinions for your expert
 15        Q. Okay. And right before                  15   opinions here?
 16   Masarwa, is that a -- is that a summary that    16       A. I read Dr. Hollander's
 17   you created?                                    17   opinions. They are generally consistent with
 18        A. Yes.                                    18   my own.
 19        Q. Okay.                                   19            And I reported my view on
 20        A. Absolutely.                             20   neurodevelopment in my own report, and my
 21        Q. Is that -- is that summary in           21   report is generally consistent with
 22   your report or is that something new?           22   Dr. Hollander's.
 23        A. It's a summary of a study by            23       Q. But you didn't read his
 24   Alemany, which is in my report. It's nothing    24   testimony, correct?
 25   that is -- it's just notes to remind me what    25       A. I didn't.

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  1         Q. Okay. And you're test -- and             1   was interesting to look at it.
  2    you're testifying right now that you're not      2        Q. Okay. Did his testimony make
  3    relying on Dr. Hollander, right?                 3   you want to change any of your opinions?
  4         A. I read Dr. Hollander's, so               4        A. No. He really gave me a
  5    Dr. Hollander's report is consistent with        5   glimpse on how this type of things work.
  6    mine. So I -- if you want to discuss             6   It's the first time I work in a case of this
  7    anything that is in Dr. Hollander's report, I    7   type, so it was important to me to understand
  8    would be happy to.                               8   the dynamics.
  9         Q. Yes.                                     9        Q. Okay. So after you saw the
 10             And my question was whether            10   results of Dr. Laue's examination of meconium
 11    you're relying on him, and your answer is no,   11   and acetaminophen exposure, at that point in
 12    correct?                                        12   time did you still believe that acetaminophen
 13         A. I didn't say that.                      13   was not associated with adverse
 14         Q. Okay. Well, are you -- is               14   neurodevelopmental outcomes?
 15    Dr. Baccarelli relying on Dr. Hollander here    15             MR. SNIDOW: Objection to the
 16    or not?                                         16        form.
 17         A. I'm relying on the scientific           17             You can answer, Dr. Baccarelli.
 18    literature that is made of hundreds of          18             THE WITNESS: At that time,
 19    papers, and I also considered Dr. Hollander's   19        again, I thought this was a study that
 20    report.                                         20        I wanted to support, and clearly --
 21         Q. Okay. But you don't need                21        clearly I -- I was very sure that this
 22    Dr. Hollander's opinions for -- to have your    22        study was negative.
 23    own that you're offering here, correct?         23             All the other papers in the
 24         A. I'm sure I need many of the             24        literature, I hadn't reviewed in the
 25    things Dr. Hollander said. Dr. Hollander is     25        details of the letter. I have

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  1    not the only one in the world to say those       1        reviewed the letters clearly now, so I
  2    things.                                          2        was pretty sure that these -- we were
  3        Q. Okay. So do you need                      3        right to publish this paper.
  4    Dr. Hollander's opinion here to support yours    4   QUESTIONS BY MR. MURDICA:
  5    or not?                                          5        Q. Right.
  6        A. I can't answer the question as            6            In other words, Dr. Baccarelli,
  7    you phrase it, as you can understand.            7   in -- as of the time of publication of
  8        Q. Okay. Dr. Baccarelli, do you              8   Dr. Hannah Laue's paper, you did not believe
  9    believe you have opinions here that can stand    9   that there was any relationship between
 10    on their own without any of the other           10   acetaminophen exposure during pregnancy and
 11    experts?                                        11   adverse neurodevelopmental outcomes, correct?
 12        A. The other experts that covered           12        A. I believed it was at least
 13    hundreds of papers, and so there is a lot       13   uncertain.
 14    there that is important to this case.           14        Q. Okay. At that time, had you
 15        Q. Okay. You could look at those            15   reviewed any of the studies from the Danish
 16    papers, too, right?                             16   National Birth Cohort?
 17        A. Of course I can.                         17        A. I don't think I did at that
 18        Q. Have you?                                18   time. I reviewed -- I read some of the
 19        A. Many of them.                            19   literature, especially the one related to
 20        Q. But not all of them?                     20   intelligence.
 21        A. I'm sure I didn't read all of            21        Q. Okay. Now, Dr. Baccarelli, are
 22    them.                                           22   you an author on the -- Dr. Laue's paper that
 23        Q. All right. And why did you               23   you have in front of you?
 24    look at Dr. Cabrera's deposition transcript?    24        A. Of course. I'm the last
 25        A. It came early, and I thought it          25   author.

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  1        Q. Okay. And did you review it              1   objections. I put myself in the shoes of the
  2    prior to publication, if you remember?          2   doubters, and I try to say exactly what any
  3        A. Of course I did.                         3   possible objection will be. And often I play
  4        Q. Okay. How do you know?                   4   the devil's advocate.
  5        A. How do I know what?                      5       Q. And when you referred to
  6        Q. How do you know that you                 6   objection, do you mean a question by a peer
  7    reviewed it?                                    7   reviewer?
  8        A. I review all the papers I                8       A. A question a peer reviewer
  9    publish.                                        9   might ask.
 10        Q. Do you -- do you know if you            10       Q. Okay. Did there come a point
 11    revised it?                                    11   in time -- so Dr. Laue's paper was published
 12        A. Of course I did.                        12   in 2019, right?
 13        Q. Okay. Do you remember what you          13       A. That is correct.
 14    revised?                                       14       Q. Do you recall what -- whether
 15        A. Absolutely not.                         15   it was beginning of the year or end of the
 16        Q. Okay. Do you know how many              16   year?
 17    times you revised it?                          17       A. It -- yeah, it came out at the
 18        A. I typically do three or four            18   beginning, apparently. I'm not sure.
 19    hours of revisions. It might be two or         19       Q. Okay. When -- if you remember,
 20    three.                                         20   to the extent you remember, when was the next
 21        Q. Okay. Do you look at -- of the          21   time after reviewing and revising Dr. Laue's
 22    papers that you review and revise, do you      22   paper that you had any involvement in looking
 23    look at the citations in the papers?           23   at the relationship between acetaminophen
 24        A. I -- it's a teamwork, so I              24   exposure in utero and neurodevelopmental
 25    trust that I -- it's a teamwork, so I          25   outcomes?

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  1    trust -- I need to trust my team members. So    1            MR. SNIDOW: Objection to the
  2    in this case, I review some of the -- I knew    2       form.
  3    some of the citations. I didn't review all      3            You can answer.
  4    of them.                                        4            THE WITNESS: By the way, I
  5         Q. Okay. But you wouldn't let a            5       found here it was 20 -- this came out
  6    paper go out with your name on it unless you    6       at the -- in 2018. The advanced
  7    reviewed it, right?                             7       access publication date was
  8         A. Yes, but that doesn't mean I            8       September 7, 2018.
  9    read all the literature. No, I never do         9            After working on this, we
 10    that, and I'm perfectly fine with that.        10       started to work on a larger study
 11         Q. Okay. Dr. Baccarelli, before a         11       looking at ADHD and looking at brain
 12    paper goes out with your name on it, you've    12       MRIs, and that was published in 2020.
 13    read the words in the paper itself, even if    13       That was Baker, et al., 2020.
 14    not the citations, correct?                    14            By the way, something I forgot
 15         A. Oh, absolutely.                        15       about my report. I think I wrote
 16         Q. Okay. And when you revise a            16       Baker 2022 a few times when I meant
 17    paper with your name on it, how do you do      17       Baker 2020 when you asked me before.
 18    that? Is it in redline? Do you offer           18            I think -- there are two
 19    telephone comments? Both?                      19       papers. One is 2022 and one 2020. I
 20         A. I mostly receive the paper in          20       think at some point I wrote 2022 while
 21    my e-mail. I set aside time. I read it. I      21       it was 2020.
 22    make comments. Typically I ask lots of         22   QUESTIONS BY MR. MURDICA:
 23    questions.                                     23       Q. Okay. Baker 2020 was -- the
 24              I try to be pointed. I try to        24   first author was a student of yours, correct?
 25    tell exactly what I think. I make a lot of     25       A. Yep. Absolutely.

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  1        Q. Okay.                                     1   of ADHD gets diagnosed when children go to
  2        A. He was a doctoral student. One            2   school, so children go to school between 5
  3    of the smartest doctoral students I ever had.    3   and 6, and they keep being diagnosed up to
  4        Q. And Mr. Baker was actually                4   age 10.
  5    doing this as part of his dissertation,          5       Q. Okay. Dr. Baccarelli, in
  6    right?                                           6   Canada, what is the average age of diagnosis
  7        A. Correct.                                  7   of ADHD?
  8        Q. Okay. And the part of the                 8       A. It's probably the same as
  9    study was utilizing the same meconium samples    9   United States, around 6 or 7 years old.
 10    that Dr. Hannah Laue utilized for the paper     10       Q. Do you know?
 11    you and her did in 2018, right?                 11       A. I'm happy to review it for you.
 12        A. They are not the same meconium           12       Q. Okay. Because what we're
 13    sample. They -- the sample size is bigger,      13   talking about is subjects in Canada, not the
 14    so there are many more subjects in that         14   United States, correct?
 15    study, in Baker.                                15       A. Absolutely. And as I
 16             Another difference is that             16   mentioned, we did a study 10 ten years
 17    these children were 6 to 7 -- 6 to 8 years      17   because by then we were sure that all the
 18    old in Laue. In Baker, they had become 10 to    18   people would have gotten ADHD. Because there
 19    12 year old. So we had longer follow-up,        19   might be some stragglers who get diagnosed at
 20    more time to develop phenotypes, more time to   20   10, 11. And that helps. That helps us to
 21    develop especially ADHD.                        21   make sure that we classify all the children
 22             As you know, ADHD is -- they           22   with ADHD as having ADHD.
 23    are diagnosed usually between age 6 and         23           You can understand that if I do
 24    age 10, 11, so they -- the children by then     24   a study at age 4, there might be some
 25    had gotten to be fully mature, if you may.      25   diagnosis of ADHD even at age 4, perhaps,

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  1        Q. Dr. Baccarelli, do you know               1   though it's very early.
  2    what Dr. Hollander testified as to the           2        Q. Dr. Baccarelli, you're not
  3    average age of diagnosis for a child with        3   sitting here telling us that Dr. Laue and
  4    ADHD?                                            4   Dr. Baker studied different cohorts, right?
  5             MR. SNIDOW: Objection to the            5              MR. SNIDOW: Objection to the
  6        form.                                        6        form.
  7             THE WITNESS: I'm happy to hear          7              It's not what he testified.
  8        it.                                          8              THE WITNESS: I'm here to tell
  9    QUESTIONS BY MR. MURDICA:                        9        you that Dr. Baker is -- Baker's is a
 10        Q. Okay. So Dr. Baccarelli's                10        larger study, and the Baker is a
 11    testimony is that the diagnosis age for         11        little wave of -- it's a new follow-up
 12    children with ADHD is 10 to 12; is that         12        with the same people.
 13    right?                                          13              But again, at 6 to 8 years,
 14        A. I didn't say that.                       14        they -- we were able to call back,
 15             MR. SNIDOW: Object -- sorry,           15        because of funding limitations, only a
 16        hold on. Objection to the form.             16        subset of the -- of the study.
 17             Dr. Baccarelli, you can                17              So Laue is a much smaller study
 18        clarify, if you like.                       18        than Baker.
 19    QUESTIONS BY MR. MURDICA:                       19   QUESTIONS BY MR. MURDICA:
 20        Q. Dr. Baccarelli, what is --               20        Q. Dr. Baccarelli, the same 396
 21    according to Dr. Baccarelli, what is the        21   meconium samples from the GESTE cohort in
 22    average age of diagnosis of ADHD in the         22   Sherbrooke is what has been studied in each
 23    United States?                                  23   meconium study that you've been involved in,
 24        A. The cases of ADHD starts to be           24   correct?
 25    diagnosed as early as five years. Many cases    25        A. That is correct.

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  1        Q. Okay. When -- so back to my               1   the connection. And before starting
  2    original question.                               2   to work on this case, I became pretty
  3        A. Yes.                                      3   convinced, or almost entirely
  4        Q. Is the Baker 2020 results the             4   convinced, reasonably convinced, that
  5    first time you thought there was an              5   there was a causal association.
  6    association between acetaminophen exposure in    6        Of course, I'm a scientist, so
  7    utero and neurodevelopmental outcomes?           7   I wanted to leave no stones unturned.
  8             MR. SNIDOW: Objection to the            8   And I worked on -- pretty diligently
  9        form.                                        9   on the case, and I review all the
 10             You can answer, Dr. Baccarelli.        10   possible papers that I could find.
 11             THE WITNESS: It was the first          11        And I hadn't done that before.
 12        paper I published that shows an             12   I hadn't reviewed as of 2023 all the
 13        association between acetaminophen           13   papers that were around there. In
 14        during pregnancy and ADHD.                  14   2020, 2021, perhaps I had reviewed 70,
 15             At this time I had started to          15   80 percent of the papers.
 16        look at the literature a little more        16        As you understand, when we
 17        carefully, more carefully, and by --        17   publish a paper, we need to know
 18        by 2020, I was surprised. So I did a        18   the -- when we work on a project, we
 19        deep dive in the literature, and I          19   need to know the main -- the main
 20        started to believe at the end of 2020       20   papers that are around.
 21        that there was a problem. There was a       21        I never -- I never was in the
 22        concern.                                    22   business of also saying, especially
 23             Over time, I started to believe        23   under oath, whether there is causal
 24        there was a concern and that -- to be       24   association. I was in the business of
 25        honest, when I reviewed the literature      25   doing research.

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  1         for this case, I was blown away by the      1            To do research, you need to
  2         consistency. I couldn't believe my          2       know the main purpose. You don't need
  3         eyes that there were so many studies        3       to know all the papers under the sun.
  4         showing so much association, a level        4            I think you appreciate the
  5         of consistence I've never seen before       5       difference.
  6         in my life --                               6   QUESTIONS BY MR. MURDICA:
  7    QUESTIONS BY MR. MURDICA:                        7       Q. The Baker paper in 2020, you
  8         Q. Okay.                                    8   were a signatory on that one, right?
  9         A. -- in studies that I work and I          9       A. Correct.
 10    create my own.                                  10       Q. Okay. And did you look at the
 11         Q. Okay. Dr. Baccarelli, did I             11   references in that one before it was
 12    just hear you say when you started looking at   12   published?
 13    it for this case, and then you said about       13       A. I looked at what -- at the list
 14    what a great connection it was?                 14   of references. I did not read all the
 15              MR. SNIDOW: Objection to the          15   references that are there.
 16         form.                                      16       Q. When did you read all of the
 17              THE WITNESS: I -- I -- I --           17   references in Baker for -- you have now,
 18              MR. SNIDOW: Hold -- sorry,            18   correct?
 19         sorry.                                     19       A. I'm sure I haven't. I'm sure
 20              THE WITNESS: Yeah.                    20   that there might be paper -- references in
 21              MR. SNIDOW: You can answer. I         21   Baker's that I haven't read today.
 22         just want to be allowed to object          22       Q. Do you believe that you've read
 23         before you start answering.                23   all of the papers today on acetaminophen
 24              THE WITNESS: I said that I            24   exposure during pregnancy and the outcome of
 25         became gradually aware of the -- of        25   autism?

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  1             MR. SNIDOW: Objection to the            1        if they looked at the association
  2        form.                                        2        between acetaminophen and ADHD,
  3             You can answer, Dr. Baccarelli.         3        prenatal acetaminophen and ADHD,
  4             THE WITNESS: You have the               4        prenatal acetaminophen and ASD,
  5        entire list of papers. I did a               5        prenatal acetaminophen and other
  6        systematic review. Databases are not         6        neurodevelopmental disorders.
  7        perfect, so it's possible that one           7   QUESTIONS BY MR. MURDICA:
  8        paper might have dis -- might have --        8        Q. Okay. Doctor, I'd appreciate
  9        might have not show up in my search or       9   it if you'd do your best -- I know you're
 10        even more.                                  10   very smart. If you could listen to my
 11             But I -- if there is any paper         11   questions, it will make this go a lot faster.
 12        that you think should be included in        12             So my question is about --
 13        my review, I'm happy to discuss it          13             MR. SNIDOW: Hold on.
 14        today.                                      14   QUESTIONS BY MR. MURDICA:
 15    QUESTIONS BY MR. MURDICA:                       15        Q. -- ASD --
 16        Q. Dr. Baccarelli, you just                 16             MR. MURDICA: You will not
 17    testified that you believe you left no stone    17        interrupt me.
 18    unturned, right?                                18             MR. SNIDOW: I thought you were
 19        A. I left no stone unturned.                19        done.
 20        Q. Okay.                                    20             MR. MURDICA: You will not
 21        A. In fact, I did a systematic              21        interrupt me.
 22    search, and this what in the industry we do.    22             MR. SNIDOW: I thought you were
 23    We do a systematic search.                      23        done.
 24             And if there is a paper that I         24   QUESTIONS BY MR. MURDICA:
 25    didn't consider, I'd be happy to discuss it     25        Q. Dr. Baccarelli, my question was

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  1    anytime. I -- you know, the evidence is so       1   about the literature with ASD as an outcome,
  2    strong that it will need a few papers to         2   and I said when did you first do that review.
  3    change my opinion, not just one or two or        3            And I think you just answered
  4    three.                                           4   that it was March for ASD, correct?
  5        Q. Dr. Baccarelli, with respect to           5            MR. SNIDOW: Hold on.
  6    the outcome of autism, you believe sitting       6      Objection to the form, particularly
  7    here today that you've reviewed the papers       7      commentary about him answering. He's
  8    describing any association or lack thereof       8      answering your questions.
  9    between acetaminophen exposure during            9            You can answer.
 10    pregnancy and the outcome of autism, correct?   10            THE WITNESS: I searched the
 11             MR. SNIDOW: Objection to form.         11      literature on March 19, 2023, using --
 12        Asked and answered.                         12      using search terms. And what I found
 13             THE WITNESS: Let me -- let me          13      and what I got turned out is what you
 14        tell you what I did. If I can give to       14      see.
 15        my report.                                  15   QUESTIONS BY MR. MURDICA:
 16             So this -- on page 13. On              16      Q. Yes.
 17        March 19, 2023, I conducted a               17            And you identified six studies
 18        systematic search of the literature on      18   regarding the outcome of autism, correct?
 19        PubMed to identify original papers on       19            MR. SNIDOW: Objection to the
 20        the relationship between ADHD, ASD and      20      form.
 21        NNDs and prenatal exposure to               21            THE WITNESS: Let me -- let me
 22        acetaminophen, including observational      22      check.
 23        studies and meta-analysis.                  23            I thought it was seven, but --
 24             I went through all of them, I          24      yeah, there are six.
 25        triaged them, and I put in the report       25

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  1    QUESTIONS BY MR. MURDICA:                        1             THE WITNESS: I'm -- I -- yes.
  2        Q. Now, which of those six had you           2       I work for more than 200 hours, so
  3    seen before March 18, 2023?                      3       it's about $150,000.
  4        A. I'm -- I can't remember.                  4   QUESTIONS BY MR. MURDICA:
  5        Q. Okay. Do you think you had                5       Q. Does the Mailman School know
  6    seen any of them?                                6   that you've made that money from plaintiffs'
  7        A. Oh, yeah. I certainly saw -- I            7   lawyers?
  8    certainly saw Liew, Avella-Garcia, Ji and        8             MR. SNIDOW: Objection to the
  9    Alemany.                                         9       form.
 10             MR. SNIDOW: And just -- do you         10             THE WITNESS: Say that again?
 11        mind saying the year on Liew for the        11       Sorry.
 12        record?                                     12   QUESTIONS BY MR. MURDICA:
 13             THE WITNESS: Liew 2016.                13       Q. Does the Mailman School know
 14        Avella-Garcia 2016. Ji 2020. Alemany        14   that you've made 140 or $150,000 from
 15        2021.                                       15   plaintiffs' lawyers?
 16    QUESTIONS BY MR. MURDICA:                       16             MR. SNIDOW: Objection to the
 17        Q. Now, Dr. Baccarelli, when were           17       form again.
 18    you hired in this matter?                       18             Dr. Baccarelli, you can -- you
 19        A. In January. I believe it was             19       can answer to the extent you
 20    January.                                        20       understand it.
 21        Q. January of 2023?                         21             THE WITNESS: They absolutely
 22        A. Yeah.                                    22       do. I disclosed that several times,
 23        Q. Okay. And was that after a               23       including two weeks ago when I -- at
 24    conversation with Dr. Pearson about this?       24       this point I know what the Daubert is
 25        A. No.                                      25       going to be, so I disclosed the -- and

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  1        Q. Do you know how you came to be            1       filed a report to make sure that there
  2    hired?                                           2       is no conflict of interest.
  3        A. I was contacted by Amanda Hunt            3            We have a reporting system for
  4    and --                                           4       conflict of interest, and we are asked
  5        Q. Dr. Baccarelli, do you know               5       to report any extramural activity we
  6    when Dr. Pearson was hired to work --            6       do that can represent a potential
  7        A. I have absolutely no idea.                7       conflict with our jobs. So I made
  8        Q. Okay. And are you being paid              8       sure to report it.
  9    for your work here?                              9            And I'm pretty sure there's not
 10        A. I am.                                    10       a conflict of interest, but we are
 11        Q. Is it by the hour?                       11       requested to report any -- anytime
 12        A. It is by the hour.                       12       someone pays anything to us.
 13        Q. Okay. And what is your hourly            13   QUESTIONS BY MR. MURDICA:
 14    rate?                                           14       Q. And you did that two weeks ago?
 15        A. My hourly rate is 700 per hour.          15       A. I did the first time in January
 16        Q. Okay. And does that money go             16   when I signed the contract. I updated my
 17    to Dr. Baccarelli or to the Mailman School or   17   disclosure in March when money started to
 18    to Columbia University?                         18   accumulate.
 19        A. The money comes to                       19            If you want, I can tell you all
 20    Dr. Baccarelli.                                 20   the breakdowns and the different thresholds
 21        Q. Okay. And do you know                    21   of money that Columbia has, but --
 22    approximately how much money Dr. Baccarelli     22       Q. I'm aware, Doctor.
 23    has made off of this litigation to date?        23       A. Yeah. And I decided two weeks
 24            MR. SNIDOW: Objection to the            24   ago to update my disclosure because I
 25        form.                                       25   realized that I had exceeded another

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  1    threshold that Columbia wants me to pay          1   to do. I think this is strong, and this is
  2    attention to.                                    2   something that would make a nice paper.
  3         Q. Dr. Baccarelli, have you                 3             And of course, I mean, I
  4    provided the school or the university            4   finished this three weeks ago. I really want
  5    administration your reports in this matter?      5   to condense it in a paper and send it out. I
  6         A. They don't want to see it, and           6   think it will be something important for the
  7    I'm not supposed to report it. I'm happy to      7   literature.
  8    report it -- to give it to them at any time      8        Q. Assuming you can get it
  9    if they want it, but I -- I'm not required       9   published, right?
 10    to. I haven't done it.                          10             MR. SNIDOW: Objection to the
 11         Q. Okay.                                   11        form.
 12         A. I'm not even encouraged to.             12             THE WITNESS: I -- I'm very
 13         Q. Dr. Baccarelli, between the             13        sure it's going to get published.
 14    publication of the 2020 Baker paper and your    14        Trust me.
 15    hiring by plaintiffs' lawyers in January        15   QUESTIONS BY MR. MURDICA:
 16    of 2023, did you conduct any other work         16        Q. I am very sure there's zero
 17    regarding acetaminophen and pregnancy           17   percent chance, but I appreciate your
 18    outcomes?                                       18   optimism, Dr. Baccarelli.
 19             MR. SNIDOW: Objection to the           19             MR. SNIDOW: Okay, Jim. Jim,
 20         form.                                      20        listen. Listen, Jim. Jim, I'm happy
 21             You can answer.                        21        to limit my objection to objection to
 22             THE WITNESS: We kept working           22        the form, but you can't go making
 23         on a paper that eventually became          23        commentary like that. And if you want
 24         Baker 2022.                                24        to take it to the judge, I'm happy to
 25                                                    25        show her, I'm sure there's zero

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  1    QUESTIONS BY MR. MURDICA:                        1       percent chance that your paper will
  2        Q. Okay. And what was your role              2       get published.
  3    with respect to that paper?                      3            Okay?
  4        A. I'm one of the authors.                   4   QUESTIONS BY MR. MURDICA:
  5        Q. Was Baker 20 -- was your work             5       Q. Dr. Baccarelli, have you
  6    on Baker 2022 the only other acetaminophen       6   started working on that yet?
  7    exposure work that you had done prior to         7       A. I'm going to start tomorrow,
  8    being hired by plaintiffs here?                  8   really. This is something I want to do as
  9             MR. SNIDOW: Objection to the            9   soon as possible. It's fresh. I don't want
 10        form.                                       10   to become aged.
 11             THE WITNESS: I believe so. If          11            And it's going to become pretty
 12        I'm missing anything, please remind         12   strong -- and by the way, I published 600
 13        me, but I can't remember other type of      13   papers. I know which papers get published
 14        works that was published or we are          14   and which not. I really know that very well.
 15        planning to publish.                        15   So I appreciate your opinion.
 16    QUESTIONS BY MR. MURDICA:                       16       Q. Will you commit to do it,
 17        Q. Do you have any ongoing work             17   Dr. Baccarelli?
 18    with respect to acetaminophen exposure and      18       A. Oh, I'm going to do it,
 19    pregnancy outcomes right now?                   19   absolutely.
 20        A. Oh, right now we are not -- we           20       Q. How quickly can you do it?
 21    are -- I'm not working on that at the moment.   21       A. I hope to have it done --
 22        Q. Have you submitted your expert           22   published by early 2024.
 23    report or any version of your expert report     23       Q. Okay. Will you commit to that
 24    for publication anywhere?                       24   here on the record?
 25        A. That is something I really want          25       A. I'm going to try my best.

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  1       Q. Okay. So when I ask you at the             1   people are certified or not.
  2    Daubert hearing, you'll be able to tell me       2       Q. Okay. Well -- all right.
  3    how much effort you've put into it, right?       3   Let's go through the lot of people you talked
  4            MR. SNIDOW: Objection to the             4   to.
  5       form.                                         5            Who have you talked to about
  6            Again, I think this is an                6   your opinions here?
  7       entirely improper question.                   7       A. I'm terrible in names, but I
  8            But you can answer.                      8   spoke with Larissa Takser.
  9            THE WITNESS: I'm very happy to           9       Q. Can you say that last name?
 10       do that. I have no problems. I'm             10       A. Larissa Takser, my colleague
 11       really going to do it. I'm serious.          11   who's a psychiatrist in Sherbrooke.
 12       This is strong. It's nice. It's              12       Q. Okay.
 13       transparent. If people have                  13       A. I spoke to colleagues at my
 14       objections, they can go into the             14   school, Ana Navas-Acien.
 15       details and see where I'm wrong.             15            I spoke to colleagues --
 16            We do -- we do literature all           16   Amisota {phonetic}, who is also my school.
 17       the time. If there is anything wrong,        17            I spoke with a lot people.
 18       I stand by it.                               18       Q. Okay.
 19    QUESTIONS BY MR. MURDICA:                       19       A. I speak with colleagues at
 20       Q. Okay. Dr. Baccarelli, are you             20   conferences. I was at the conference of
 21    an obstetrician?                                21   the -- of epidemiologists in Oregon a few
 22       A. I'm not an obstetrician, but              22   weeks ago, and I was working intensively on
 23    you appreciate that I've done -- I published    23   those and started to talk about it, and
 24    300 papers looking at the epidemiology on       24   especially how impressive the literature is
 25    mothers that are pregnant and their children.   25   in supporting an association.

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  1    So as long as this case is concerned, I'm        1        Q. Okay. Have you spoken to
  2    very well-qualified to understand the effect     2   anyone from the American College of
  3    of exposures during pregnancy.                   3   Gynecology?
  4        Q. You are not one of the doctors            4        A. No, I have not.
  5    that's board certified in obstetrics or          5        Q. Okay. Have you spoken to
  6    gynecology, correct?                             6   any -- you reference in your report the
  7        A. Definitely not.                           7   so-called consensus statement, correct?
  8        Q. Okay. Have you talked to any              8              MR. SNIDOW: Objection.
  9    board certified obstetricians about your         9        Objection to the form.
 10    opinions here?                                  10              THE WITNESS: That is a
 11        A. Oh, yes. Yes. We have an                 11        consensus statement as good as any
 12    obstetrician on the team at -- in Sherbrooke,   12        consensus statement in the world. If
 13    and I did speak with her about that.            13        you say so-called, I will -- I will
 14        Q. Okay. And have you talked to             14        love for you to qualify why you think
 15    anyone -- so Sherbrooke, that's an              15        it's so-called.
 16    obstetrician in Canada?                         16   QUESTIONS BY MR. MURDICA:
 17        A. Correct.                                 17        Q. Well, Dr. Baccarelli, you
 18        Q. Okay. Have you ever -- have              18   may -- maybe you don't know this, but you
 19    you talked to any board certified United        19   tell me if you do. A consensus statement
 20    States obstetricians about your opinions        20   normally has a medical body or a regulatory
 21    here?                                           21   body behind it.
 22        A. Let me think. I spoke with a             22              You didn't know that?
 23    lot of people, so you might -- it might as      23        A. That is not true. A consensus
 24    well be. I'm not able to tell you whether I     24   statement is a group of people who come
 25    spoke -- I don't usually ask for -- whether     25   together and agree on a consensus. That's

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  1    the name of the -- of the statement. It's        1   or any other -- you're entitled to that
  2    called consensus statement because there are     2   opinion.
  3    a group of people who write a consensus.         3            At the same time, a consensus
  4        Q. Okay.                                     4   statement is what it is. It's a statement of
  5        A. Whether they are -- we are                5   people who reach a consensus about a certain
  6    backed by an organization or not, that           6   topic.
  7    doesn't make it less of a consensus              7       Q. I appreciate that's your
  8    statement.                                       8   opinion, Dr. Baccarelli.
  9        Q. Have you ever been --                     9            For the consensus statement
 10        A. I'm sor -- I'm sorry, you are            10   we're talking about here, there were 91
 11    wrong about that.                               11   people, give or take, right?
 12        Q. Okay, Dr. Baccarelli --                  12       A. I think that is right.
 13            MR. SNIDOW: Sorry.                      13       Q. Okay. Have you spoken to any
 14            Are you done finishing?                 14   of those 91 people?
 15            Because you do need to let him          15       A. I don't think so. I think
 16        answer.                                     16   we might have had communications with some of
 17            Are you done with your answer?          17   them, but now -- I mean, if you -- if there
 18            THE WITNESS: Yes.                       18   is anyone on the 91 that I spoke with, I
 19            MR. SNIDOW: Okay.                       19   think Zeyan Liew is part of that, and we -- I
 20            MR. MURDICA: He was clearly             20   know Zeyan very well, and we had recent
 21        done. Please stop that.                     21   e-mail exchange about acetaminophen and
 22    QUESTIONS BY MR. MURDICA:                       22   genetics.
 23        Q. Dr. Baccarelli, have you ever            23            If there are others, I'm --
 24    been part of a consensus statement before?      24   please let me know.
 25        A. I worked on several reports              25       Q. Okay. You said --

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  1    with organizations. I don't think I've been      1       A. Particularly I want to point
  2    part of a consensus statement.                   2   out, I didn't speak with them before they
  3        Q. Okay. And you just said those             3   publish the statement. I especially didn't
  4    were with organizations, right?                  4   give them any information that could
  5        A. Yes.                                      5   contribute to the statement.
  6        Q. Medical organizations, right?             6       Q. Okay. And to the best of your
  7        A. Yes. Yes. Absolutely.                     7   recollection, they didn't contact you before
  8        Q. Have you ever seen another                8   they issued the statement, right?
  9    consensus statement that didn't involve a        9       A. Oh, they didn't contact me
 10    medical or a regulatory organization prior to   10   formally.
 11    this one?                                       11       Q. Okay. And you just testified
 12        A. Oh, yes. There are many.                 12   that Zeyan Liew -- that's Dr. Liew, right?
 13        Q. Give me an example.                      13       A. Correct.
 14        A. For instance, the -- there is a          14       Q. That you and Dr. Liew are
 15    consortium called CHARGE that typically         15   friendly?
 16    writes consensus statements.                    16       A. Dr. Liew gave a presentation at
 17             I'm -- there is a consensus            17   Columbia University. We are not friendly.
 18    statement that was just published by the        18   We have a professional relationship. He is a
 19    pregnancy in child epigenetics cohort that      19   very well-known epidemiologist in the field,
 20    presents child -- epigenetic consortium.        20   and I read his papers with attention.
 21    They came together and wrote a paper about      21            And he -- I mean, I know that
 22    how to study pregnancy and child                22   he works at Yale. We have a professional
 23    environmental exposures. It's a consensus       23   relationship. We are not friendly.
 24    statement.                                      24       Q. When -- Dr. Baccarelli, when is
 25             If you believe that having ACOG        25   the first time to your recollection that

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  1    you -- well, let me ask it this way.             1       Q. Dr. Baccarelli, did there come
  2             Have you ever spoken to                 2   a time when you did speak to Dr. Liew about
  3    Dr. Liew? Not e-mail. Spoken with words.         3   acetaminophen?
  4         A. Dr. Liew came for a                      4       A. Speak verbally? I don't think
  5    presentation at Columbia University probably     5   I ever did.
  6    in 2020. To be completely transparent, he        6       Q. Okay. To date?
  7    interviewed for a job at Columbia University,    7       A. I believe so.
  8    I think in 2019, so I spoke with him as part     8       Q. Okay.
  9    of the interview process. I was one of the       9       A. I mean, I can't remember -- I
 10    selectors.                                      10   can't remember speaking -- or anything that
 11             So my conversation for him was         11   might have stuck to my memory.
 12    about whether he wanted to come and whether     12       Q. Sure.
 13    we wanted to hire him.                          13       A. So I really -- yeah.
 14             And at the end, he told us he          14       Q. So let's go beyond speaking.
 15    was going to Yale and -- before we could        15            Did there come a time when you
 16    reach a decision on whether to hire him or      16   contacted or they -- either you contacted
 17    not. So timing was not right, and we -- I       17   Dr. Liew or Dr. Liew contacted you regarding
 18    respect his opinion and his choice, of          18   acetaminophen?
 19    course.                                         19       A. Yes. There was -- there is a
 20             And we had a lot of candidates,        20   very weird case in this literature about
 21    and the committee hadn't yet told me what       21   someone who published two papers that did the
 22    was -- what were the top candidates. So I       22   same thing, about the same thing, and they're
 23    don't know whether Dr. Liew was a top           23   pretty -- reaching different conclusions.
 24    candidate or not. Would have been a top         24   And these are things -- Stergiakouli and
 25    candidate or not. He told us he was going to    25   Leppart. And I was really puzzled why -- I

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  1    Yale before the committee could send me a        1   mean, why there were so -- discrepancies,
  2    list of top candidates.                          2   especially -- what is unusual about these two
  3         Q. Understood, Dr. Baccarelli.              3   papers is that the second one doesn't
  4              At the time when you                   4   acknowledge the first.
  5    interviewed him in 2019, roughly, did you        5            The first author, Stergiakouli,
  6    discuss acetaminophen in any way?                6   is the last author in the second. And the
  7         A. It was -- 2023. It was 2017 or           7   first says A; the second says B. And B
  8    2016. Probably was five years ago at least.      8   doesn't acknowledge the existence of A, as
  9         Q. So just to be clear, when you            9   far as I understand. Well, at least it
 10    interviewed Dr. Liew at Columbia, you -- it     10   doesn't explain why A -- why A came to one
 11    was 20 --                                       11   conclusion, B.
 12         A. It was probably 20 -- 2017 or           12            So I actually got to --
 13    2018.                                           13   Stergiakouli, who was a person in the UK, a
 14         Q. Okay. And at that time,                 14   colleague in the UK, hoping she could help me
 15    Dr. Baccarelli, when you interviewed him, did   15   to understand why they really don't seem to
 16    you talk to him at all about acetaminophen?     16   have their acts together, to be honest.
 17         A. No. No. I talked about                  17            And she never replied, which is
 18    Columbia, the job. I talk about how great it    18   unusual, I will say. People usually reply to
 19    is to live in New York City, how amazing it     19   inquiries about their papers, especially if
 20    is, much better than the West Coast. I think    20   it comes from a university.
 21    he was there.                                   21            So I really thought I'm missing
 22              We discussed about housing. We        22   something big here, that there's something
 23    discussed about how we support faculty          23   obvious I'm not seeing. I really wanted like
 24    member. How beautiful it is to work with a      24   someone to be -- a reality check. I need
 25    chair like me and things like that.             25   someone to really see whether I'm really --

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  1    there is an elephant in the room I can't see.    1   QUESTIONS BY MR. MURDICA:
  2             So I thought of all the people          2       Q. Okay. Just for the sake of the
  3    that I could contact, I -- at that point I       3   record, sitting here today, Baccarelli --
  4    read that Zeyan Liew was reading a lot of        4   Dr. Baccarelli, as far as you know, the only
  5    papers, and I really see that his papers are     5   other interaction you had with Dr. Liew than
  6    very well-crafted and very well-documented.      6   interviewing him was an e-mail exchange about
  7    So I thought, well, let me write to Zeyan and    7   Stergiakouli?
  8    see whether there is anything I'm missing.       8       A. There is --
  9        Q. Okay. Dr. Baccarelli, what you            9            MR. SNIDOW: I'm sorry.
 10    just described, is that the first contact you   10       Objection to the form. Asked and
 11    had with Dr. Liew?                              11       answered.
 12             MR. SNIDOW: Objection to the           12            But you can answer.
 13        form. Asked and answered.                   13            THE WITNESS: So that is the
 14             THE WITNESS: So I had other            14       one I remember. If anything is, okay,
 15        contacts with Dr. Liew. As I                15       more recent, if there is anything that
 16        mentioned, I interviewed him. He            16       perhaps I'm forgetting, I receive
 17        interviewed with us.                        17       about 300 to 400 e-mails a day, and I
 18    QUESTIONS BY MR. MURDICA:                       18       speak every day with 30, 40 people.
 19        Q. Sorry.                                   19       If there is some -- if I forget an
 20             My original question, and then         20       interaction, you will forgive me.
 21    you gave a long explanation --                  21   QUESTIONS BY MR. MURDICA:
 22        A. Yeah.                                    22       Q. Okay. Understood,
 23        Q. -- that didn't answer my                 23   Dr. Baccarelli.
 24    question.                                       24            When was that e-mail exchange,
 25             My original question was,              25   roughly?

                                            Page 74                                             Page 76
  1    after -- from the time you interviewed           1       A. I can't remember. It must have
  2    Dr. Liew, when -- was there a time that he       2   been in April or May.
  3    contacted you or you contacted him               3       Q. It was this year?
  4    thereafter?                                      4       A. Yeah, absolutely.
  5             MR. SNIDOW: Hold on.                    5       Q. While you were working for the
  6        Objection to the form, particularly          6   plaintiffs' side?
  7        the commentary.                              7            MR. SNIDOW: Objection to the
  8             Go ahead and answer.                    8       form.
  9             MR. MURDICA: Hang on. I'm               9            You can answer.
 10        being very patient. He's not                10            THE WITNESS: While I was --
 11        answering the questions. I'm being          11       yeah, while I was assessing the
 12        very being patient and letting him say      12       literature to -- in preparation for
 13        whatever he wants.                          13       this case.
 14             MR. SNIDOW: Perhaps you should         14   QUESTIONS BY MR. MURDICA:
 15        ask better questions.                       15       Q. Okay. And when you
 16             But you can answer, if you             16   contacted -- did you -- you contacted
 17        understand.                                 17   Dr. Liew or he contacted you?
 18             THE WITNESS: I really don't            18       A. I did contact Dr. Liew.
 19        know. I mean, I remember only that --       19       Q. Okay. When you contacted
 20        I remember only that interaction            20   Dr. Liew, did you tell him the reason you
 21        about -- that e-mail exchange.              21   were asking him was because you were working
 22             If there is anything else, I'm         22   on litigation?
 23        happy to discuss and explain, but that      23       A. No. I didn't have to. There
 24        was --                                      24   was no reason to tell him.
 25                                                    25            The reason why I told him that

                                                                         19 (Pages 73 to 76)
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  1    I want -- I was reviewing the literature, I     1         MR. MURDICA: Okay. All right.
  2    told him exactly the truth. I was reviewing     2   That -- hang on.
  3    the literature, and I wanted to understand      3         We're just not going to do
  4    why these two papers had different              4   this. I said it again. You're saying
  5    conclusions with exactly the same cohort,       5   asked and answered. Now you're
  6    exactly the same methods.                       6   telling him how to testify.
  7         Q. Okay. So Dr. Liew didn't                7         I don't know where you learned
  8    realize you were working for one side of a      8   to do this, but it's not something
  9    litigation when you contacted him, right?       9   we're going to do. I said that. This
 10              MR. SNIDOW: Objection.               10   is it. This is your last warning. I
 11         Objection to the form.                    11   will terminate the deposition and call
 12              You can answer.                      12   Judge Cote.
 13              THE WITNESS: I didn't disclose       13         MR. SNIDOW: Okay. For the
 14         to Dr. Liew that I was working on         14   record, I don't think that your
 15         litigation. I'm pretty sure he            15   questions have been appropriate. As I
 16         responded honestly and to the best of     16   said, there were a couple of them,
 17         his knowledge.                            17   happy to have Judge Cote review. She
 18              We had a very nice, open             18   can decide whether or not she thinks
 19         discussion, and clearly I was not -- I    19   they're appropriate questions.
 20         was not may -- putting him in a trap,     20         I will limit it to asked and
 21         and that I'm not using his e-mail         21   answered. For the last one, Jim, and
 22         exchange in my documentation, as you      22   I mean this, I thought that you
 23         can understand.                           23   misunderstood his answer.
 24              I just wanted to be sure that        24         MR. MURDICA: Okay. Well, then
 25         what I understood myself was right,       25   maybe I'm doing a bad job, but that's

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  1        and I wanted to be sure that -- it was      1       not for you to say. You sit there and
  2        really a sanity check. I wanted to be       2       you say objection to form or you say
  3        sure that I'm -- I was not completely       3       nothing. And if you say anything
  4        out of my mind to think that two            4       other than that, we're stopping this.
  5        people -- I really give a lot of            5            MR. SNIDOW: Again,
  6        respect to people who write papers.         6       Dr. Baccarelli, you can ignore all
  7    QUESTIONS BY MR. MURDICA:                       7       that.
  8        Q. Okay.                                    8            THE WITNESS: Absolutely.
  9        A. I wanted to make sure that -- I          9   QUESTIONS BY MR. MURDICA:
 10    want to make sure that if two papers by the    10       Q. Dr. Baccarelli, are you aware
 11    same person say that this person doesn't       11   of anyone else working on acetaminophen
 12    need -- since you mentioned neurology, that    12   exposure, neurodevelopmental outcomes in
 13    this person doesn't need a neurologist. And    13   pregnancy, that has unpublished works?
 14    I didn't want to send them a neurologist       14       A. I -- I'm -- I don't think so.
 15    before understanding what was going on.        15       Q. Okay. Because you testified
 16        Q. Dr. Baccarelli, did you -- did          16   that you -- other than trying to get your
 17    you ask anyone else any questions in           17   expert report in this litigation published,
 18    formulating your opinions here for that type   18   you don't have any ongoing studies on
 19    of sanity check, to use your words, to make    19   acetaminophen, correct?
 20    sure you weren't off the deep end?             20       A. That is correct. I don't think
 21             MR. SNIDOW: Objection to the          21   we are writing other papers right now.
 22        form.                                      22       Q. Okay. And you're not aware of
 23             I think he was talking about          23   anybody else writing papers on acetaminophen
 24        the authors, not him.                      24   and pregnancy outcomes, correct?
 25             But go ahead.                         25       A. I think that is right.

                                                                        20 (Pages 77 to 80)
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  1        Q. Okay. You haven't been asked              1   anyone else outside of Columbia that you
  2    to review anybody else's work on                 2   remember specifically?
  3    acetaminophen and pregnancy outcomes, have       3       A. Dr. Takser.
  4    you?                                             4       Q. What's the last name?
  5        A. What do you mean "anybody                 5       A. Dr. Larissa Takser.
  6    else's"?                                         6       Q. Does anyone else come to mind?
  7        Q. Other than the doctors and                7       A. I'm terrible at names. I'm
  8    students in your group, like Mr. -- Dr. Baker    8   sure I spoke with a colleague at the CDC that
  9    and Dr. Pearson, you haven't been asked by       9   I met at the Society of Toxicology last year.
 10    anyone outside the Mailman School of Public     10   I can't remember his name.
 11    Health to review their work on acetaminophen,   11       Q. Okay.
 12    have you?                                       12       A. He's at the EPA, sorry, not
 13        A. So Dr. Pearson is not in my              13   CDC. I can draw a sketch of his face, but I
 14    group. Dr. Pearson was an independent           14   can't really remember his name.
 15    scientist and -- who works independently for    15       Q. Dr. Baccarelli, how about --
 16    me. He's in my department, so I have -- he      16   have you spoken with any epidemiologists
 17    reports to the school, so -- I mean, he's in    17   about your opinions here?
 18    my unit, but he's independent from me.          18       A. Again, if you're asking whether
 19             And as far as I remember, no.          19   I spoke about how I formulated the opinions,
 20    But, I mean, if there is any study I'm          20   no. This is the work I've done on my own.
 21    forgetting, I'm happy to discuss. I really      21             I spoke with other
 22    have nothing to hide here.                      22   epidemiologists about my conclusions, for
 23        Q. Dr. Baccarelli, we went through          23   instance, Dr. Ana Navas-Acien.
 24    the people that you've talked to about your     24       Q. Any others?
 25    opinions here, the doctors that you've talked   25       A. Not that I remember.

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  1    to about your opinions, right?                   1       Q. And where is -- where is Ana,
  2        A. Correct.                                  2   Dr. Ana?
  3        Q. Are there any others that you             3       A. Dr. Ana Navas-Acien is at the
  4    haven't mentioned?                               4   Mailman School of Public Health at Columbia.
  5        A. There might be. If you want to            5       Q. At Mailman. Okay.
  6    bring them up, I'm happy. I mean, I don't        6            Other than family and personal
  7    know.                                            7   friends, have you spoken with any other
  8             I spoke openly about what I'm           8   non-doctors about your opinions here?
  9    doing here. I spoke openly about my              9            MR. SNIDOW: Objection to the
 10    opinions. So I spoke to a few people.           10       form.
 11             And many times it happens over         11            You can answer.
 12    coffee, over drinks. So, you know, I'm          12            THE WITNESS: I didn't speak
 13    working on my own on this one, so I -- I'm      13       with family and personal friends, to
 14    not -- I don't have team meetings like I do     14       be honest.
 15    for my papers where I speak to people. I        15   QUESTIONS BY MR. MURDICA:
 16    don't keep a record to whom I speak to at       16       Q. Okay.
 17    conferences or over coffee.                     17       A. My mom doesn't know my opinion
 18        Q. Dr. Baccarelli, does Dr. Baker           18   on this.
 19    know you're doing this?                         19       Q. I was trying to make the
 20        A. Yes, he does.                            20   question easier, Doctor.
 21        Q. And does anyone else in your             21            Dr. Baccarelli, have you spoken
 22    group know you're doing this?                   22   with anyone else you can think of, whether
 23        A. Yes, my assistant, my team               23   they're doctors or not, about your
 24    members, Dr. Laue.                              24   conclusions here?
 25        Q. Okay. Have you spoken to                 25       A. As I mentioned, I spoke with a

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  1    lot of people. And, again, happy to -- if        1   with hedge funds, and they wanted to have
  2    you have any questions about who in              2   opinion from scientists about what was going
  3    particular -- and I want to reiterate that       3   on.
  4    these are my conclusions based on my             4           And I told them I was
  5    opinions. I check some details with other        5   incredibly concerned and that I was
  6    people, but it's really checking other --        6   reasonably sure that there is a problem, that
  7    some details.                                    7   acetaminophen during pregnancy causes ADHD
  8             I didn't rely on anyone else's          8   and autism.
  9    opinion to formulate my opinion. I relied on     9       Q. Okay. Did they tell you they
 10    my own, everything I can verify.                10   were working for investors?
 11             And of course science is based         11       A. Yes, they did.
 12    on trust. We want -- we want to make sure if    12       Q. And did they tell you -- were
 13    someone publish a paper, I'm not going to       13   they asking you about acetaminophen or were
 14    redo the experiment.                            14   they asking you about Tylenol?
 15        Q. If someone publishes a paper,            15           MR. SNIDOW: Objection to the
 16    you're not going to do what?                    16       form.
 17        A. I'm not going to -- let's say            17           THE WITNESS: They were asking
 18    someone publishes a paper in the -- in the --   18       me about acetaminophen.
 19    in the Danish cohort. It's not my job to get    19   QUESTIONS BY MR. MURDICA:
 20    their data and redo that analysis. Correct.     20       Q. So you don't -- sitting here
 21        Q. Okay. Dr. Baccarelli, did                21   today, Dr. Baccarelli, you don't know what
 22    you -- do you recall speaking to any            22   their investment was in that they were -- you
 23    financial analysts about your opinion -- your   23   don't know the investment for which they were
 24    conclusions here?                               24   calling you, right?
 25        A. I certainly didn't do that.              25       A. I was given no information

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  1       Q.      Okay.                                 1   except that they were working for a -- for a
  2       A.      Oh, one second.                       2   financial analyst, for a group of financial
  3             I spoke -- I spoke to a                 3   analysts, I believe.
  4    consulting firm who were interested in           4       Q. I take it you didn't disclose
  5    hearing about the state of the art and the       5   that you were being paid by plaintiffs'
  6    science on acetaminophen and                     6   lawyers at the time?
  7    neurodevelopment. There is one consulting        7            MR. SNIDOW: Objection to the
  8    firm who contacted me. They wanted to --         8       form.
  9    they wanted to have -- to hear my opinion.       9            You can answer.
 10         Q. And when was that?                      10            THE WITNESS: I am unsure
 11         A. Must have been like in                  11       whether -- I don't think I had been
 12    January 2023.                                   12       paid at that point. I don't think I
 13         Q. So this year?                           13       put hours into the -- into the work.
 14         A. Yeah.                                   14       It might have been even before I was
 15         Q. After you were working on the           15       retained.
 16    litigation for the plaintiffs?                  16            At the same time, I was not
 17         A. About the same time. I can't            17       made aware that I had to disclose any
 18    remember whether it was before or after.        18       of these relationships. They asked me
 19         Q. And what did you tell them?             19       to be an expert, and I -- it was a
 20         A. I tell them -- I tell them that         20       phone call of 40 minutes, and they
 21    I was incredibly concerned that there was a     21       wanted my opinion as a scientist.
 22    huge problem here, and that whatever they       22       They didn't ask me anything about any
 23    wanted to do -- they didn't explain why --      23       conflicts.
 24    they told me they were working with hedge       24   QUESTIONS BY MR. MURDICA:
 25    funds. They were a consulting firm working      25       Q. And you don't -- because you

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  1    don't know whether you were hired in this        1   toxicants on mothers and their children.
  2    litigation at that point, you don't know if      2       Q. Good. So you can help us then.
  3    you told them, or you're sure that you did       3            What is the -- what is the
  4    not tell them?                                   4   exact time during pregnancy that a fetus is
  5              MR. SNIDOW: Objection to the           5   most susceptible to a toxicant inducing ADHD
  6         form.                                       6   in the child?
  7              THE WITNESS: I can't remember          7            MR. SNIDOW: Objection to the
  8         whether I told them. And I'm -- I           8       form.
  9         certainly don't remember being an           9            THE WITNESS: The -- as I wrote
 10         issue.                                     10       in my report, pregnancy is a
 11    QUESTIONS BY MR. MURDICA:                       11       susceptible window. As long as you
 12         Q. Okay. Do you know if you had            12       have an embryo, as long as you have a
 13    signed the protective order in this matter at   13       neuron in -- in the womb of the
 14    the time?                                       14       mother, the -- the fetus is
 15         A. I don't know.                           15       susceptible. So the entire pregnancy
 16         Q. Okay. Do you know what                  16       is susceptible.
 17    material nonpublic information is?              17   QUESTIONS BY MR. MURDICA:
 18         A. I'm not sure. If you want               18       Q. Okay. Is that the same for
 19    to...                                           19   autism as well, that your --
 20         Q. You shared with them your               20   Dr. Baccarelli's, testimony is that an
 21    opinions you're sharing with us now, for        21   exposure at any time during the pregnancy can
 22    40 minutes, correct?                            22   cause autism in the offspring?
 23         A. I share about the same opinion.         23            MR. SNIDOW: Objection to the
 24    Of course, I haven't -- I hadn't done at that   24       form.
 25    point in time literature review.                25            You can answer.

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  1             And again, I need to say, I was         1            THE WITNESS: What I'm saying
  2    blown away by the literature. The literature     2       is that -- as I said in my report, I
  3    is so clear that it literally spoke to me.       3       studied the entire pregnancy, and
  4             At the time I hadn't done this          4       there is evidence that entire
  5    work, so they -- my opinion certainly was        5       pregnancy can be susceptible. So that
  6    less well-informed than it is now.               6       is something that is really clear
  7        Q. Dr. Baccarelli, did I ask you             7       happens, that exposure during
  8    that question?                                   8       pregnancy -- that the brain -- the
  9             MR. SNIDOW: Objection to the            9       brain of the fetus is susceptible to
 10        form.                                       10       Tylenol or to any other environmental
 11             THE WITNESS: I --                      11       exposures and other toxicants
 12             MR. SNIDOW: Hold on.                   12       throughout the pregnancy.
 13             You can answer.                        13   QUESTIONS BY MR. MURDICA:
 14             THE WITNESS: I thought you             14       Q. Right. So I want to make sure
 15        did. Perhaps I didn't hear you well.        15   I'm clear, because I wasn't asking you about
 16    QUESTIONS BY MR. MURDICA:                       16   Tylenol.
 17        Q. I'm sorry?                               17       A. Okay. Thank you.
 18        A. Go ahead.                                18       Q. Dr. Baccarelli, prior to being
 19        Q. Dr. Baccarelli, you're not a             19   paid for your opinions here, you've studied
 20    teratologist by training, correct?              20   other pregnancy exposures and
 21        A. I didn't train specifically in           21   neurodevelopmental outcomes, right?
 22    teratology, but I took plenty of teratology     22       A. Correct.
 23    classes during my doctorate and during my       23       Q. Okay. And is there any period,
 24    medical school. And I -- again, I published     24   particular period, during the pregnancy when
 25    more than 300 papers on the effects of          25   the fetus is most susceptible to adverse

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  1    neurodevelopmental outcomes?                    1        say I'm saying is completely different
  2        A. In general, we believe that the          2        from what I wrote.
  3    entire pregnancy -- during the entire           3   QUESTIONS BY MR. MURDICA:
  4    pregnancy, the fetus brain is susceptible.      4        Q. Okay. And I am not asking you
  5    And of course, I mean, depending on the type    5   about acetaminophen exposure.
  6    of chemicals, there might be different types    6        A. Okay.
  7    of susceptibility. But in general, the          7        Q. You told me twice today that
  8    susceptibility is -- continues the entire       8   you are -- you have expertise in toxicant
  9    pregnancy.                                      9   exposure during pregnancy that has nothing to
 10             So that is -- that is my              10   do with acetaminophen and neurodevelopmental
 11    testimony.                                     11   outcomes, correct?
 12        Q. Okay. And that's the same for           12        A. I have experience with many
 13    autism or ADHD? There's no particular period   13   different toxicants, including toxicants --
 14    during the pregnancy that is more likely to    14   other toxicants that have a lot to do with
 15    cause autism or ADHD, correct?                 15   neurodevelopment.
 16             MR. SNIDOW: Objection to the          16        Q. Okay. So my question for you
 17        form.                                      17   is, can a toxicant exposure on day 2
 18             You can answer.                       18   post-conception cause autism in a child?
 19             THE WITNESS: Again, in my --          19             MR. SNIDOW: Objection to the
 20        in my report I focus on pregnancy as a     20        form. Asked and answered.
 21        whole. Whether there is a susceptible      21             THE WITNESS: So in order
 22        window, that -- that is interesting,       22        for -- in order for a toxicant to
 23        but I don't think that the matter is       23        cause exposure, we need certain
 24        settled yet.                               24        developmental stages. So definitely
 25                                                   25        the exposure becomes toxicant when

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  1    QUESTIONS BY MR. MURDICA:                       1   there are neurons. And the exposure
  2        Q. Okay. So an exposure --                  2   becomes toxicants when there is
  3    according to Dr. Baccarelli, an exposure two    3   neurulation.
  4    days after conception can cause autism in a     4         So it's a great question when
  5    child, correct?                                 5   it starts, but it's not the question
  6              MR. SNIDOW: Objection to form.        6   that I set out to answer.
  7              THE WITNESS: I didn't say             7         What I set out to answer was,
  8        that. As you read in my report, I           8   is there reasonable evidence if people
  9        said that -- I wrote in my report that      9   have prolonged use of a chemical, in
 10        there is more convincing evidence for      10   this case acetaminophen, during
 11        exposures that are 20-day -- 28 days       11   pregnancy, whether that makes sense
 12        or longer. So you can understand that      12   that would -- that would cause --
 13        if it's 28 days or longer, it's not        13   would be reasonably associated with --
 14        even possible that your question           14   reasonably causally related to ADHD
 15        stands.                                    15   and ASD and other neurodevelopmental
 16    QUESTIONS BY MR. MURDICA:                      16   disorders during pregnancy.
 17        Q. Okay. Dr. Baccarelli, though,           17         So the pregnancy is a whole
 18    you're not -- you're not answering my          18   lot -- by the way, we haven't yet
 19    question, because you're now answering about   19   found a way to do X-rays of the -- of
 20    28 days of acetaminophen exposure, correct?    20   a woman every hour and see when a
 21              MR. SNIDOW: Objection to the         21   chemical starts to hit the embryo or
 22        form.                                      22   the -- or the fetus. So I think your
 23              You can answer.                      23   question is interesting, but I --
 24              THE WITNESS: I was making an         24   I've -- it's not -- it's not -- it's
 25        example how -- what you are trying to      25   not a focus of my -- of my interests.

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  1    QUESTIONS BY MR. MURDICA:                       1            For instance, I believe the
  2       Q. So here's my question then,               2   Danish cohort asked about acetaminophen at 18
  3    Dr. Baccarelli.                                 3   weeks and 32 weeks. So this is information
  4            Can Dr. Baccarelli answer               4   that usually not even physicians have.
  5    whether an exposure on day 2 post-conception    5        Q. Physicians don't normally have
  6    can cause autism in a child? Is it even         6   that information on drug exposure.
  7    possible?                                       7            Is that your testimony?
  8            MR. SNIDOW: Objection to the            8        A. No. Go ahead.
  9       form.                                        9        Q. Okay. Dr. Baccarelli, can you
 10    QUESTIONS BY MR. MURDICA:                      10   tell for any given patient -- let's just take
 11       Q. According to Dr. Baccarelli.             11   the DNBC.
 12            MR. SNIDOW: Objection to the           12            You know what that is, right?
 13       form.                                       13        A. Yeah.
 14            You can answer.                        14        Q. What is it?
 15            THE WITNESS: That is a                 15        A. It's the Danish birth cohort.
 16       question I -- I'm not even interested       16        Q. Danish National Birth Cohort?
 17       to answer. I mean, it's a question          17        A. Correct.
 18       that scientifically makes no sense.         18        Q. Okay. You don't know, and
 19       I'm so sorry, it's a question               19   there's no way for you to find out, when,
 20       scientifically we are -- we are not         20   during the first 18 weeks or the second 16
 21       doing a forensic on every minute of         21   weeks, a mother took a single pill of
 22       someone's pregnancy. I think you            22   acetaminophen, correct?
 23       appreciate that.                            23        A. And I'll be happy -- you know,
 24    QUESTIONS BY MR. MURDICA:                      24   I reviewed hundreds of studies. I'll be
 25       Q. Can you answer my question,              25   happy to discuss this study if you can give

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  1   Dr. Baccarelli?                                  1   me the paper.
  2            MR. SNIDOW: Objection to the            2        Q. Dr. Baccarelli, you don't know,
  3       form.                                        3   sitting here, that none of those cohort
  4            THE WITNESS: Again, I don't             4   studies identified the day or even week
  5       want to answer your question because I       5   during pregnancy when the acetaminophen was
  6       don't think it makes sense nor has           6   taken, correct?
  7       relevance to our discussion today.           7             MR. SNIDOW: Objection to the
  8   QUESTIONS BY MR. MURDICA:                        8        form.
  9       Q. Dr. Baccarelli, in the studies            9             Dr. Baccarelli, you can answer.
 10   that you are relying on, many of them were      10             THE WITNESS: There is a
 11   observational studies, correct?                 11        multitude of approaches that are being
 12       A. All of them.                             12        used to study -- to study the exposure
 13       Q. Okay. And the exposure to                13        to acetaminophen, and many of them are
 14   acetaminophen in most of them was recorded by   14        detailed. Many of them are collecting
 15   questionnaire, correct?                         15        acetaminophen at 18 weeks, 32, end of
 16       A. That is correct.                         16        pregnancy. Many of them have
 17       Q. Retrospective questionnaire,             17        information about the trimester.
 18   correct?                                        18   QUESTIONS BY MR. MURDICA:
 19       A. I want to -- I want to push              19        Q. And, Dr. Baccarelli, I don't
 20   back on that. They were not retrospective.      20   think you answered my question.
 21   They were collected during pregnancy or just    21             Let's take DNBC, right? There
 22   at the end of pregnancy. It's the best way      22   was an interview at 18 weeks, correct?
 23   to collect information about acetaminophen      23        A. I'll be happy to review the
 24   during pregnancy. Most of the studies           24   paper if you have it.
 25   measure -- asked the women during pregnancy.    25        Q. Whenever it was interviewed --

                                                                      25 (Pages 97 to 100)
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  1    whenever the interview occurred, the             1       susceptible. There is only one window
  2    interview asked, among other things, if there    2       the brain can be hit. So even more
  3    was exposure to acetaminophen, correct?          3       remarkable that we are finding
  4             MR. SNIDOW: Objection to the            4       associations.
  5        form.                                        5            I'm particularly impressed by
  6             You can answer.                         6       the fact that, as you say, provided --
  7             THE WITNESS: The studies were           7       I mean, not granted, but assuming that
  8        conducted to study acetaminophen, and        8       what you say is right, there is a
  9        they exactly, precisely, asked               9       narrow window, which is not true, of
 10        whether they measured -- whether the        10       susceptibility, the fact that we are
 11        women had taken acetaminophen.              11       finding such a strong effect is even
 12    QUESTIONS BY MR. MURDICA:                       12       more remarkable.
 13        Q. And that's all -- they don't             13            So if you -- what you say is
 14    know -- you don't know and the scientists who   14       true, perhaps the risk is not
 15    ran the cohorts don't know the days on which    15       30 percent but it's by 1,000 percent,
 16    the women took acetaminophen or for how long    16       because we are classifying as an
 17    a particular use of acetaminophen lasted,       17       exposed people who would be exposed.
 18    correct?                                        18            And again, the window is not
 19             MR. SNIDOW: Objection to the           19       that narrow, so, please --
 20        form.                                       20   QUESTIONS BY MR. MURDICA:
 21             Just hold on. You can answer.          21       Q. Dr. Baccarelli, I appreciate
 22             THE WITNESS: There are many            22   you're being defensive about this, but I'm
 23        studies in the literature that looked       23   the one asking you if you can identify the
 24        at specific trimesters of pregnancy.        24   window of exposure for acetaminophen in a
 25        They asked whether acetaminophen was        25   pregnancy that can result in the outcome of

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  1    taken in the first trimester, the                1   autism.
  2    second or the third.                             2            MR. SNIDOW: Objection to the
  3          And by the way, if you want to             3       form.
  4    confuse a woman, you're going to ask             4            Dr. Baccarelli --
  5    them, please tell me in -- tell me               5            THE WITNESS: Let me -- you
  6    when you got -- you got acetaminophen            6       said --
  7    on that day.                                     7            MR. SNIDOW: Sorry. Sorry.
  8          So if you want low quality                 8            Objection to the form.
  9    data, you should follow the approach             9            You can answer.
 10    you discussed.                                  10            THE WITNESS: You said two
 11          I want to also note that --               11       things. A, I'm not defensive. I'm
 12    also particularly point out that you            12       just trying to explain how things
 13    might be suggesting that there is               13       stand.
 14    exposure misclassification.                     14            And I'm sorry. If you say
 15          So let's say there is only one            15       things that scientifically make no
 16    day in the entire pregnancy. Let's              16       sense, I need to tell the truth.
 17    say really that these are women that            17            Your question was? I can't
 18    are vulnerable only one hour during             18       remember.
 19    their pregnancy, which is what you're           19   QUESTIONS BY MR. MURDICA:
 20    suggesting. And it's a suggestion               20       Q. My question was,
 21    that is interesting, but let's say --           21   Dr. Baccarelli, I'm the one asking you if you
 22    let's say it's just something --                22   can identify the window of exposure to a
 23    something.                                      23   pregnancy to acetaminophen that could trigger
 24          And there are like 10,000 hours           24   the outcome of autism.
 25    of pregnancy, and only one hour is              25       A. As I mentioned in my -- in my

                                                                      26 (Pages 101 to 104)
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  1    report, there are many mechanisms. I            1   pregnancy of acetaminophen that can trigger
  2    reviewed -- I've reviewed several mechanisms    2   the outcome of autism?
  3    that are plausible.                             3            MR. SNIDOW: Okay. Objection
  4             The acetaminophen first crosses        4       to the form.
  5    the placental and enter the fetal brain.        5            You can answer, Dr. Baccarelli.
  6             Acetaminophen increases                6            THE WITNESS: So, again, your
  7    oxidative stress.                               7       question implies that such a window
  8             Acetaminophen changes the              8       exists and has been identified.
  9    prostaglandin system.                           9            I replied by saying that
 10             Acetaminophen often alters the        10       pregnancy as a whole is a window --
 11    endocannabinoid system, the BDNF. Has          11   QUESTIONS BY MR. MURDICA:
 12    endocrine effects and epigenetic effects.      12       Q. Okay.
 13             You started by talking about          13       A. -- and is associated with this
 14    teratology, so you might think that for        14   very well-known. And there may be parts of
 15    teratology the window is a certain window.     15   the pregnancy that are more susceptible, but
 16    But for these other mechanisms, the windows    16   the entire pregnancy is a target.
 17    change.                                        17            MR. MURDICA: Okay. Thank you,
 18             So the entire pregnancy can be        18       Doctor.
 19    vulnerable. And that is incredibly             19            MR. SNIDOW: Thank you.
 20    well-established. We have lots of evidence     20            Can we go off the record?
 21    that any toxicant that affects the brain can   21            MR. MURDICA: Yep.
 22    affect throughout the entire pregnancy. That   22            VIDEOGRAPHER: The time right
 23    is incontrovertible.                           23       now is 10:01 a.m. We are off the
 24         Q. Okay.                                  24       record.
 25             MR. SNIDOW: Hold on, Jim.             25        (Off the record at 10:01 a.m.)

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  1        Just -- we've been going for                1           VIDEOGRAPHER: The time right
  2        90 minutes, minus however long our --       2      now is 10:17 a.m. We are back on the
  3             MR. MURDICA: I do want to get          3      record.
  4        an answer to my question first, and         4           THE WITNESS: Thank you.
  5        then I'll -- then we can take a break.      5   QUESTIONS BY MR. MURDICA:
  6             MR. SNIDOW: Okay.                      6      Q. Dr. Baccarelli, welcome back.
  7             MR. MURDICA: Okay.                     7           Are you ready to proceed?
  8             MR. SNIDOW: Well --                    8      A. Absolutely.
  9             MR. MURDICA: Because I didn't          9           (Baccarelli Exhibit 89 marked
 10        get an answer to the question. So I'm      10      for identification.)
 11        going to reask the same question.          11   QUESTIONS BY MR. MURDICA:
 12             MR. SNIDOW: All right. So             12      Q. All right. We are going to
 13        hold on.                                   13   mark an exhibit. Our first one.
 14             I think you did, just for the         14           Dr. Baccarelli, you have in
 15        record, but I'm happy to let you ask       15   front of you what's been marked as
 16        one more time, and then we can take a      16   Exhibit 89. The reason for that is that
 17        break.                                     17   there were 88 exhibits in the other expert
 18             MR. MURDICA: Yeah.                    18   depositions, so that's why it says that, in
 19             MR. SNIDOW: Thank you.                19   case you're curious.
 20    QUESTIONS BY MR. MURDICA:                      20           Do you recognize what's in
 21        Q. I'm going to read back what I           21   front of you?
 22    just asked you.                                22      A. Yes.
 23        A. Okay.                                   23      Q. And do you recall my questions
 24        Q. Dr. Baccarelli, can you                 24   and your answers about contact with an
 25    identify the window of exposure to a           25   investment advisor?

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  1       A.     Yes.                                   1        A. Absolutely. I also understand
  2            MR. SNIDOW: Objection to the             2   that Tylenol and acetaminophen are terms that
  3        form.                                        3   are used inter-exchangeable.
  4    QUESTIONS BY MR. MURDICA:                        4            So I also understand that along
  5        Q. All right. And is this, what's            5   the 600 formulations, acetaminophen is always
  6    in Exhibit 89, what you were referring to?       6   present. Acetaminophen is always present in
  7        A. So this person is someone                 7   all the 600 formulations that you mentioned.
  8    who -- is someone -- is -- I think the person    8        Q. Right.
  9    who contacted me for that situation with --      9            But one of them in particular
 10    emphasized they were looking for information    10   is Tylenol, correct?
 11    about the evidence available on acetaminophen   11        A. That is correct.
 12    and ADHD and ASD and neurodevelopmental         12        Q. Okay.
 13    disorders.                                      13        A. It's the most common, so that
 14        Q. And had you ever -- you see the          14   people often speaks about Tylenol when they
 15    name is AlphaSites, right?                      15   really mean acetaminophen.
 16        A. AlphaSites, that is correct.             16        Q. Okay. And you don't know
 17        Q. Yeah.                                    17   that -- okay. Well, let's turn to the last
 18            Had you ever worked with them           18   page -- to the page that ends in 241.
 19    before?                                         19        A. Uh-huh.
 20        A. No.                                      20        Q. What Elsbeth Caulo told you was
 21        Q. Did they pay you for your                21   that she, or he, was working on behalf of an
 22    interview?                                      22   institutional investor client.
 23        A. Yes, they -- I believe they              23        A. Uh-huh.
 24    paid me $500.                                   24        Q. Do you see that?
 25        Q. Okay. And this e-mail was from           25        A. Yes, that I understand.

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  1    someone named Elsbeth Caulo, but you also        1       Q. That is the information that
  2    spoke with someone named Alvaro Garcia,          2   you had when you chose to take the phone call
  3    correct?                                         3   from Mr. Garcia, correct?
  4        A. Correct.                                  4       A. Yes, absolutely.
  5        Q. Was Alvaro Garcia the 40-minute           5       Q. Okay. And you have no idea,
  6    conversation that you had that you testified     6   Dr. Baccarelli, what that's referring to
  7    about earlier?                                   7   about an institutional investor client asking
  8        A. Alvaro Garcia was the person              8   about Tylenol?
  9    who set it up, and I believe that he was in      9           MR. SNIDOW: Objection to form.
 10    the conversation. I honestly cannot recall      10           THE WITNESS: I don't have any
 11    the names of the people he set me up with.      11       idea.
 12        Q. Okay. And if you look on the             12   QUESTIONS BY MR. MURDICA:
 13    bottom of the page that ends in 240, which is   13       Q. Okay. Do you know who makes
 14    the second page of the e-mail --                14   Tylenol?
 15        A. Uh-huh.                                  15       A. I guess that is Johnson &
 16        Q. -- you see it's actually asking          16   Johnson.
 17    about Tylenol and autism, not acetaminophen     17       Q. Well, it's a former company of
 18    and autism, right?                              18   the Johnson & Johnson family, but at the time
 19            MR. SNIDOW: Objection to the            19   that this is being asked, it was a Johnson &
 20        form.                                       20   Johnson Company.
 21            THE WITNESS: I -- if you can            21       A. Uh-huh.
 22        explain to me what is the difference.       22       Q. So you don't --
 23    QUESTIONS BY MR. MURDICA:                       23           MR. SNIDOW: Objection.
 24        Q. Do you understand there's 600            24   QUESTIONS BY MR. MURDICA:
 25    different brands of acetaminophen?              25       Q. You don't -- sitting here

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  1    today, you don't understand the                 1            THE WITNESS: No. I was told
  2    ramifications, the stock ramifications, that    2       by your colleagues here that there
  3    they were asking you about?                     3       were other experts. I didn't know who
  4             MR. SNIDOW: Objection to the           4       they were.
  5        form.                                       5            I learned from Dr. Pearson he
  6             THE WITNESS: I -- if you want          6       was working with the same firms at a
  7        to explain to me what are the               7       meeting we were both together, I
  8        ramifications, I'm happy -- I said in       8       believe in April 2023. He mentioned
  9        all honesty what I saw in the               9       that he had been retained, and he was
 10        literature, and I have no problem          10       working with -- on this case.
 11        doing that.                                11   QUESTIONS BY MR. MURDICA:
 12             If you had contacted me, I            12       Q. Was that April 2023 meeting in
 13        would have told you the same.              13   person?
 14    QUESTIONS BY MR. MURDICA:                      14       A. Yes.
 15        Q. Well, Doctor, can you tell us           15       Q. And where was that?
 16    exactly what day you were hired by the         16       A. Society of Toxicology.
 17    plaintiffs' lawyers?                           17   Nashville, Tennessee.
 18        A. No. I don't remember that.              18       Q. Okay. So it was a -- it was a
 19        Q. Can you tell us the day of your         19   medical meeting that you went to where he
 20    first contact with the plaintiffs' lawyers?    20   also happened to be there, correct?
 21        A. It was sometimes in January.            21       A. Correct. It's a meeting with
 22        Q. Okay. Do you keep billing               22   8,000 participants, called the Society of
 23    records?                                       23   Toxicology. And we were there, and we bumped
 24        A. Yes, I do.                              24   into each other during posters.
 25        Q. Do you have them with you?              25       Q. So this was a side -- unplanned

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  1        A. No.                                      1   side conversation with Dr. Pearson, correct?
  2        Q. Will the billing records                 2       A. Correct.
  3    reflect the first contact you ever had with     3       Q. Did you -- at that Society of
  4    plaintiffs' lawyers?                            4   Toxicology meeting, did you attempt to
  5        A. I assume so.                             5   publicize your views on acetaminophen?
  6        Q. You knew at this point in time           6            MR. SNIDOW: Object to the
  7    that Mr. Pearson -- Dr. Pearson, who you say    7       form.
  8    is not part of your group, was working for      8            THE WITNESS: Can you please
  9    the plaintiffs' lawyers, right?                 9       explain what you mean by that?
 10        A. No, I didn't.                           10   QUESTIONS BY MR. MURDICA:
 11        Q. You didn't.                             11       Q. Did you -- did you try to go up
 12             So when you referred these            12   on stage and tell everyone what
 13    investment advisors to Dr. Pearson, you        13   Dr. Baccarelli believes?
 14    didn't know that he was working with the       14            MR. SNIDOW: Objection.
 15    plaintiffs' lawyers?                           15       Objection to the form.
 16        A. I did not know he was working           16            You can answer.
 17    with the plaintiffs' lawyers.                  17            THE WITNESS: I don't -- you
 18        Q. Okay. Did you know anyone who           18       know, if I tried to go on stage, they
 19    was working with the plaintiffs' lawyers in    19       will call the police. No. Really,
 20    January 2023?                                  20       really, I was not an invited speaker
 21        A. No. Absolutely not.                     21       in that -- in the presentation. I
 22        Q. So you thought you were the             22       didn't give presentations.
 23    only one helping them?                         23            I was an attendant. And so if
 24             MR. SNIDOW: Objection to the          24       you -- I do what you suggested, they
 25        form.                                      25       would probably call public security.

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  1    QUESTIONS BY MR. MURDICA:                      1       became ready to file the report and to
  2         Q. Okay. Dr. Baccarelli, did you          2       come here to tell you what I found.
  3    attempt to tell anyone about these new         3   QUESTIONS BY MR. MURDICA:
  4    opinions that you had on acetaminophen?        4      Q. Before April or May 2023, did
  5              MR. SNIDOW: Objection to the         5   Dr. Baccarelli believe that the relationship
  6         form.                                     6   between in utero acetaminophen exposure and
  7              THE WITNESS: Again, the              7   autism was causal?
  8         opinions were not new. They existed       8            MR. SNIDOW: Objection to the
  9         before I was retained, and they were      9       form.
 10         pretty solidified before I was           10            Dr. Baccarelli, you can answer.
 11         retained.                                11            THE WITNESS: I think I already
 12              And I discussed with -- as I        12       said that multiple times. I
 13         mentioned, there was the conference      13       believed -- I had a strong
 14         where I discussed with the colleague     14       understanding that this was a problem
 15         at the EPA the problem about the issue   15       at least one year before. Maybe
 16         that I was researching.                  16       earlier. And there was
 17    QUESTIONS BY MR. MURDICA:                     17       particularly -- particularly strong
 18         Q. To the best you can describe          18       understanding that this was a huge
 19    it, Dr. Baccarelli, when was the first time   19       issue.
 20    that Dr. Baccarelli decided that the          20            I was completely baffled by,
 21    relationship between acetaminophen exposure   21       for instance, reading, at least one
 22    during pregnancy and autism was causal?       22       year before March 2023, the
 23              MR. SNIDOW: Objection to the        23       statement -- reading again the
 24         form.                                    24       statement by the ACOG, the American
 25              You can answer, Dr. Baccarelli.     25       College of Obstetrics and Gynecology,

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  1         THE WITNESS: I wish -- I wish             1       that basically says in response to the
  2    I had that comment on me, but to be            2       consensus statement, that can't be
  3    honest, I -- it's very difficult to            3       true, offering no evidence.
  4    have a record of what my brain thought         4            And, again, my assessment is
  5    in the past two or three years.                5       based on evidence, and it's clear.
  6         And I was -- I was particularly           6   QUESTIONS BY MR. MURDICA:
  7    concerned about acetaminophen starting         7       Q. Dr. -- are you done?
  8    in 2021, 2022, becoming concerned that         8       A. Yes.
  9    there was a problem. Started to read           9       Q. Dr. Baccarelli, if I understood
 10    more and more literature, and                 10   your testimony correctly, your best estimate
 11    gradually I came to the realization           11   of when Dr. Baccarelli believed the
 12    that this was a big issue. I believed         12   relationship between in utero acetaminophen
 13    this was real. This was happening.            13   exposure and the outcome of autism was causal
 14    This was causal.                              14   was sometime in 2022.
 15         Of course, in order to do -- to          15            Is that fair?
 16    be reasonably convinced and to say            16            MR. SNIDOW: Objection to the
 17    under oath that this -- the only              17       form.
 18    reasonable explanation for the                18            THE WITNESS: Let me --
 19    association is there have been seen 30        19            MR. SNIDOW: Just -- only
 20    more times in the literature, I really        20       reason I'm asking you to pause is so
 21    had to do a Bradford Hill analysis. I         21       that I can get the objection on and
 22    had to do a documentation of what --          22       really get it out entirely.
 23    of what I found.                              23            Objection to the form.
 24         And that I did it really in              24            You can answer.
 25    April or May. So that is when I               25            THE WITNESS: Let me give you

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  1    the entire response again.                     1   acetaminophen exposure and autism or ADHD is
  2         I was educated in medical                 2   causal, correct?
  3    school by OB/GYN doctors that -- and           3           MR. SNIDOW: Objection to the
  4    pharmacologists that Tylenol is                4      form.
  5    perfectly fine and the only drug that          5           You can answer.
  6    is safe in pregnant women, for them            6           THE WITNESS: Let me unpack --
  7    and their children; that other                 7      let me unpack the situation.
  8    painkillers and fever-reducers have            8           Baker 2020 doesn't -- is not on
  9    teratology effects.                            9      autism. It's on ADHD. So as far as
 10         My reaction when we started to           10      I'm concerned, there is no
 11    work on this was, this is a fine idea.        11      relationship within the paper and
 12    Let's take a look. If there is a              12      autism.
 13    question, if there is something going         13           That paper just doesn't deal
 14    on in the literature, we can                  14      with autism. It doesn't say that
 15    contribute.                                   15      autism is -- that autism is a problem
 16         I honestly expected to find              16      or not. It just doesn't provide any
 17    nothing, and instead we did find              17      information. And I might be wrong,
 18    something. So as a scientist, I'm             18      but I don't think there's any
 19    trained to believe in the data, not on        19      commentary on autism. If there is,
 20    my own opinions or those of the               20      please let me know.
 21    others.                                       21           And I'm pretty sure we had
 22         So gradually, from the time we           22      pretty strong language about
 23    published the Baker 2020 to the time I        23      acetaminophen being associated with
 24    came to -- in 2022, I started to be           24      autism -- with ADHD, and our -- the
 25    more and more convinced and started to        25      results being consistent with having a

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  1       have time to read more literature,          1      problem there.
  2       started to be more convinced that this      2           And I'm happy to review the
  3       was a problem. And it is a problem.         3      paper with you, if you like to.
  4   QUESTIONS BY MR. MURDICA:                       4   QUESTIONS BY MR. MURDICA:
  5       Q. Okay. Dr. Baccarelli, the                5      Q. Okay. You just testified that
  6   question I just asked you was related to        6   Baker 2020 isn't about autism, and I just
  7   autism.                                         7   want to make sure I understand.
  8            Did you give me your answer            8           Did Baker 2020 cause you to
  9   with relation to autism?                        9   have concern about the relationship between
 10       A. Yes, also autism.                       10   acetaminophen exposure and autism, or did
 11       Q. Okay.                                   11   that come later?
 12       A. Absolutely.                             12           MR. SNIDOW: Objection to the
 13       Q. And so that same answer applies         13      form.
 14   to ADHD; is that correct?                      14           THE WITNESS: So at the same
 15       A. About the same answer, yeah.            15      time I was working on this, this
 16       Q. Okay. And if you believed --            16      triggered an alarm in my mind that all
 17   you reviewed Baker 2020 before your name was   17      my opinions, based on my own training,
 18   on it, correct? Before it was published, you   18      that acetaminophen during pregnancy
 19   reviewed it?                                   19      was fine, it was not true.
 20       A. Correct.                                20           So at the time I started to
 21       Q. You offered commentary on it            21      also to be interested in the
 22   and revisions, yes?                            22      literature, I started to review the
 23       A. Yes, I did.                             23      papers on autism. And over time, as I
 24       Q. Okay. And Baker 2020 does not           24      had time to read and to work on it, I
 25   say that the relationship between in utero     25      realized that there was a problem with

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  1        ADHD and there was a problem with            1           THE WITNESS: Okay. Sorry.
  2        autism.                                      2   QUESTIONS BY MR. MURDICA:
  3    QUESTIONS BY MR. MURDICA:                        3       Q. He's breaking the rules again,
  4        Q. Okay. And ADHD and autism are             4   and so now he has himself confused. And now
  5    different neurodevelopmental outcomes from       5   he has you confused.
  6    each other, correct?                             6       A. No, I'm not confused. Don't
  7             MR. SNIDOW: Objection to the            7   worry, I'm not confused.
  8        form.                                        8       Q. It's okay, Doctor.
  9             THE WITNESS: As you                     9           Doctor, at the time that Baker
 10        understand, they have the very similar      10   2022 was signed off on by Dr. Baccarelli,
 11        genetic background, and they're             11   there was no statement in the publication
 12        interrelated. They're a comorbidity.        12   that said that you believed or your group
 13        So they're interrelated --                  13   believes the relationship between
 14        interrelated diseases that get              14   acetaminophen in utero exposure and ADHD was
 15        diagnosed in two different DSM-5            15   causal, correct?
 16        categories. But they clearly have           16           MR. SNIDOW: Objection to the
 17        similar origins, including genetics,        17       form.
 18        and they're clearly similar also,           18           THE WITNESS: I think you're
 19        etiology and causes.                        19       making my own mistake. You're saying
 20    QUESTIONS BY MR. MURDICA:                       20       Baker '22?
 21        Q. They have different                      21   QUESTIONS BY MR. MURDICA:
 22    symptomology and different presentations,       22       Q. Baker 2020.
 23    correct, between ADHD and autism?               23       A. Yes, I feel better now, that
 24        A. Absolutely. For instance, let            24   actually I'm not the only one doing that.
 25    me give you an example here.                    25   Really.

                                         Page 126                                             Page 128
  1             Smoking causes lung cancer and          1            No, there is a lot of
  2    causes cardiovascular disease. So would you      2   statements that are consistent with causality
  3    say because cardiovascular disease and smoke     3   in that paper. I'm happy to review them with
  4    and cancer are different, they have different    4   you. There is quite a bit of language that
  5    symptoms? It can't be possible that smoking      5   is very strong.
  6    causes both?                                     6       Q. Did you believe at the time of
  7        Q. Doctor, I'm not -- I'm not                7   publication of Baker 2020 that the
  8    asking you about smoking, and I'm not asking     8   relationship between in utero acetaminophen
  9    you about causation in that question to one      9   exposure and ADHD was causal, Doctor?
 10    or the other. I was asking you about the        10            MR. SNIDOW: Objection to the
 11    symptomology of autism and ADHD. Okay?          11       form.
 12             So I appreciate that you're            12            You may answer.
 13    trying to draw a comparison, but it wasn't      13            THE WITNESS: I think you are
 14    what I was -- it wasn't what I was asking       14       conflating two different things. One
 15    about.                                          15       is one single paper and whether that
 16             MR. SNIDOW: Okay. Objection            16       paper is consistent with causality,
 17        to form.                                    17       which we said very clearly in that
 18             You got a question, Jim?               18       paper. We really said these are data
 19             THE WITNESS: Sorry?                    19       that are concerning. There is an open
 20             MR. SNIDOW: I just -- I don't          20       question about whether it's causal or
 21        think we have a question pending.           21       not.
 22             THE WITNESS: You don't                 22            Our paper shows that the
 23        think --                                    23       opinion of the evidence -- strength in
 24             MR. SNIDOW: I'm talking to             24       the evidence that there is a causal
 25        him.                                        25       association between ADHD and prenatal

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  1       acetaminophen.                                1       Q. So --
  2            If you're asking me about my             2       A. So I think your answer is all
  3       opinion that all the literature as a          3   of this -- there are many papers that
  4       whole describes and shows clearly a           4   contribute to the evidence that this
  5       causal association, that requires not         5   association is causal.
  6       one paper but entire literature.              6       Q. Let the record reflect that the
  7   QUESTIONS BY MR. MURDICA:                         7   doctor was just reading off of something he
  8       Q. No individual paper, at least              8   put in front of himself, which is his report,
  9   in what you've seen so far, establishes           9   that he's reading into the record.
 10   causation for in utero exposure of               10       A. Page 7.
 11   acetaminophen with the outcomes of autism and    11            MR. SNIDOW: Objection to the
 12   ADHD, correct?                                   12       form.
 13            MR. SNIDOW: Objection to the            13   QUESTIONS BY MR. MURDICA:
 14       form.                                        14       Q. Did I ask you to read anything
 15            THE WITNESS: I didn't say               15   to me, Doctor?
 16       that. I actually said the opposite.          16            MR. SNIDOW: Objection to the
 17   QUESTIONS BY MR. MURDICA:                        17       form.
 18       Q. Okay. Can you point to any                18            THE WITNESS: I understand that
 19   individual paper that you reviewed that comes    19       this is part of the proceedings and
 20   to the conclusion that the relationship          20       that I'm allowed to read it. So if
 21   between acetaminophen and one of those           21       you have any objections to this, let
 22   neurodevelopmental outcomes is causal?           22       me know.
 23       A. There are many that have those            23   QUESTIONS BY MR. MURDICA:
 24   statements. For instance, I wrote in my          24       Q. Doctor, do you remember what my
 25   executive summary that is on page 7, I said      25   question was?

                                           Page 130                                           Page 132
  1    there are many other researchers who             1       A. No, but if you want to --
  2    acknowledge the -- sorry.                        2       Q. Okay.
  3             The authors of Olsen and Liew           3       A. -- tell me again.
  4    say that their work increased the probability    4       Q. Is it your testimony that each
  5    that the association is causal.                  5   of the studies you just referenced by reading
  6             Gou, I think this is 2019, says         6   out of your report, it's your testimony that
  7    that their findings lend weight to the           7   each of those separately concludes causation
  8    hypothesis that the association is causal.       8   between acetaminophen exposure and the
  9             The author of the Ystrom study          9   outcome of ADHD?
 10    say that their results are consistent with a    10            MR. SNIDOW: Objection to the
 11    causal link.                                    11       form.
 12             Stergiakouli says that their           12            You can answer.
 13    findings were consistent with an intrauterine   13            THE WITNESS: Again, your
 14    effect, which is causation.                     14       question implies that one single study
 15             Alemany even did a Bradford            15       is enough.
 16    Hill analysis. So they even had a full          16            If one single study were
 17    Bradford Hill analysis that, as you know, is    17       enough, we wouldn't be here today. We
 18    done to establish causation, and they           18       need the entirety of the study and
 19    concluded that association is causal.           19       entirety of the evidence. This is how
 20             And even there is a textbook,          20       epidemiology work.
 21    which is the Briggs Drugs in Pregnancy and      21            I understand you are not an
 22    Lactation, that is a reference guide to fetal   22       epidemiologist, but I also need to say
 23    and neonatal risk that goes as far to provide   23       that when we do -- this was
 24    pregnancy recommendations. And they say         24       well-delineated by Bradford Hill
 25    that acetaminophen is a problem.                25       himself. This year, 1965, Bradford

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  1        Hill says you need to read the               1   commentary. That's enough. You're
  2        entire -- entirety of the literature         2   interfering with my examination.
  3        and do an analysis of all the                3        MR. SNIDOW: I don't think I
  4        literature.                                  4   was, but I'll -- object to the form.
  5             So what you're asking me is not         5        You can answer.
  6        consistent with the study of                 6        I think we've agreed --
  7        epidemiology that has been established       7        MR. MURDICA: He knows he
  8        for more than 50 years.                      8   can -- you don't need to tell him he
  9    QUESTIONS BY MR. MURDICA:                        9   can answer. Just say "object to form"
 10        Q. Now we're understanding each             10   if you have a form objection.
 11    other, Doctor, because my question is, no       11        Okay?
 12    single study standing alone can establish       12        MR. SNIDOW: I've said that one
 13    causation, correct?                             13   many times. I didn't know you had a
 14             MR. SNIDOW: Objection to the           14   problem with it, but if you want --
 15        form.                                       15        MR. MURDICA: Well, you're
 16             THE WITNESS: But many single           16   interfering.
 17        studies, about 30, are consistent with      17        MR. SNIDOW: If you want, I'll
 18        causation.                                  18   say "object to form."
 19    QUESTIONS BY MR. MURDICA:                       19        THE WITNESS: My answer is that
 20        Q. Okay. So you agreed with my              20   if you were a student in an
 21    statement, correct?                             21   epidemiology class or any course that
 22             MR. SNIDOW: Objection to the           22   you asked the questions, would
 23        form.                                       23   probably take a C or a D or a bad
 24             THE WITNESS: I don't agree             24   grade because this is not the way
 25        with your statement.                        25   epidemiology works.

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  1    QUESTIONS BY MR. MURDICA:                        1   QUESTIONS BY MR. MURDICA:
  2        Q. Okay. So a single study                   2       Q. Yeah.
  3    standing alone can establish causation,          3            So let's try to get an answer
  4    according to Dr. Baccarelli, correct?            4   under oath on the record then.
  5             MR. SNIDOW: Objection to the            5            According to Dr. Baccarelli,
  6        form.                                        6   can causation be established from a single
  7             Dr. Baccarelli, you can answer.         7   study?
  8             THE WITNESS: I didn't say               8            MR. SNIDOW: Objection to the
  9        that.                                        9       form.
 10             I said single studies can              10            THE WITNESS: It depends on the
 11        contribute to causation, and I said         11       study.
 12        that your question wouldn't be allowed      12   QUESTIONS BY MR. MURDICA:
 13        in any class of epidemiology. If a          13       Q. Did you see any in your review
 14        student asked your question, I would        14   of the literature here that, standing alone,
 15        be worried about whether they've been       15   establishes a causal relationship between
 16        listening to any epidemiology               16   acetaminophen and the neurodevelopmental
 17        questions.                                  17   outcomes that are adverse?
 18    QUESTIONS BY MR. MURDICA:                       18       A. Again, I saw many. The
 19        Q. Okay. So is your answer that             19   overwhelming majority, 90 percent of the
 20    you can't answer my question, Dr. Baccarelli?   20   studies here, 95 percent of the study, are
 21        A. My answer --                             21   consistent and strongly supportive of
 22             MR. SNIDOW: Hold on. Hold on.          22   causation. And overall, the evidence is
 23             Objection to the form.                 23   incredibly clear.
 24             Take a deep. You can answer.           24            It's -- you don't even need to
 25             MR. MURDICA: No other                  25   read my report. You can look at the tables

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  1    that show the studies, and you will see that     1   QUESTIONS BY MR. MURDICA:
  2    all the studies together show causation.         2      Q. Have you ever seen that?
  3         Q. Okay. Dr. Baccarelli, you're             3           MR. SNIDOW: Objection to the
  4    not answering my question.                       4      form.
  5              Is it a principle of                   5           THE WITNESS: I can -- I'm
  6    epidemiology, according to Dr. Baccarelli,       6      happy to write one, if it has never
  7    that a single study can establish causation      7      been done before.
  8    in and of itself for any exposure and effect?    8   QUESTIONS BY MR. MURDICA:
  9              MR. SNIDOW: Objection to the           9      Q. Okay.
 10         form.                                      10      A. I have no problem with that. I
 11              THE WITNESS: It is -- it is a         11   mean, honestly. Why would I be ashamed or
 12         principle of epidemiology that a study     12   worried. I mean, I --
 13         can be consistent with causation and       13      Q. Well, I can give you a lot of
 14         that you need more than one study to       14   reasons, Doctor.
 15         have a complete Bradford Hill              15           MR. SNIDOW: Objection.
 16         analysis.                                  16           And, Jim, Jim, Jim, look at me.
 17              And we have them here. We have        17      Look at me. I'm going to behave, but
 18         here many studies that are consistent      18      you've got to stop that, too. You
 19         with causation, so it's incredibly         19      know that. You know what this record
 20         clear that it is more likely than not      20      looks like right now.
 21         that acetaminophen causes all the          21           MR. MURDICA: He asked me.
 22         outcomes that I mentioned in my            22           MR. SNIDOW: No.
 23         report.                                    23   QUESTIONS BY MR. MURDICA:
 24    QUESTIONS BY MR. MURDICA:                       24      Q. Dr. Baccarelli, do you know if
 25         Q. I know you believe that,                25   your colleagues -- well, first of all, you

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  1    Dr. Baccarelli, and thank you for continuing     1   agree that if somebody is taking money from
  2    to repeat it. It's very helpful.                 2   one side of a litigation, that that is a
  3             MR. SNIDOW: Objection --                3   conflict if it relates to a work they're
  4        objection -- objection to the form.          4   trying to publish, right?
  5    QUESTIONS BY MR. MURDICA:                        5             MR. SNIDOW: Objection to the
  6        Q. And, Dr. Baccarelli, you're               6       form.
  7    going to repeat it -- you're going to attempt    7             THE WITNESS: That is not true.
  8    to -- you promised me that you're going to       8       It is a potential conflict, and this
  9    attempt to submit this into a medical            9       is why we disclose potential conflict.
 10    journal, correct?                               10             We are not required to disclose
 11        A. Yes, I will.                             11       conflicts. We are required to
 12        Q. Okay. And when you do that,              12       disclose potential conflict.
 13    what are you going to disclose as your          13             So this is an important
 14    conflict?                                       14       distinction that you're conflating.
 15        A. I'm going to disclose that I             15   QUESTIONS BY MR. MURDICA:
 16    worked in this litigation, and that's a         16       Q. Okay. But you would agree,
 17    potential conflict of interest, of course.      17   Dr. Baccarelli, that it is a potential
 18             Why wouldn't I?                        18   conflict if a study author has received money
 19        Q. Okay. Have you ever seen a               19   from a litigant in a way that relates to the
 20    publication where an author disclosed that      20   subject matter of their -- of their
 21    they received over $100,000 from the            21   publication, correct?
 22    plaintiff -- from the United States             22       A. And, again, it's a potential
 23    plaintiffs' Bar to do the work?                 23   conflict and, therefore, it's disclosed.
 24             MR. SNIDOW: Objection.                 24   Once it's disclosed, people have their own
 25                                                    25   brains.

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  1        Q. Right.                                    1   QUESTIONS BY MR. MURDICA:
  2        A. They can dis -- they can dis --           2        Q. You think that's what you're
  3    they can evaluate the merit. Used to             3   doing with this litigation? That's why
  4    evaluate the merit and the data and the          4   you're here?
  5    evidence, if they have any disagreement with     5        A. No. The reason why I'm here is
  6    the way I present the evidence, they will --     6   because I'm asked. The reason why I'm here,
  7    they will disagree. And they would probably      7   because I can provide evidence. The reason
  8    be more critical because I worked with the --    8   why I'm here is because it's a way to bring
  9    with the lawyers.                                9   the evidence to the floor.
 10             So, I mean, that -- I'm ready          10            I'm a scientist. I'm
 11    to get the fire. This is very solid.            11   interested in the evidence. I'm not
 12             And by the way, I'm planning to        12   interested in interfering with everyone's --
 13    publish all the tables that transparently       13   everyone's business.
 14    show how I've evaluated every paper.            14        Q. Right.
 15             So the reason why I'm very             15            And you're also employed,
 16    confident is that I'm not going to say          16   correct, Dr. Baccarelli?
 17    Tylenol sucks or acetaminophen sucks,           17        A. Say that again?
 18    correct? I'm going to say, here is the          18        Q. You're also employed in this
 19    evidence. It is classified meticulously and     19   litigation. You're not doing it for free,
 20    with rigor. I'm going to present these          20   correct?
 21    tables.                                         21        A. I'm employed, and I'm under
 22             And the tables talk by                 22   oath. I understand the repercussions of, A,
 23    themselves. I mean, you don't even need my      23   saying something that is under oath; and B,
 24    opinion. You need -- just need the tables.      24   particularly, not doing enough due diligence
 25    And the tables are in the literature.           25   to -- because, I mean, I can have my opinions

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  1    Everyone can redo exactly what I did.            1   and be wrong, but this is not my opinions.
  2       Q. Right.                                     2   This is the evidence.
  3            And as it sits today, you know           3        Q. But you're not doing this out
  4    that the medical organizations disagree with     4   of the goodness of your heart. You could,
  5    you, correct?                                    5   but you chose to accept money for it,
  6            MR. SNIDOW: Objection to the             6   correct?
  7       form.                                         7            MR. SNIDOW: Objection to the
  8            THE WITNESS: Which medical               8        form.
  9       organizations in particular?                  9            THE WITNESS: I -- and I really
 10    QUESTIONS BY MR. MURDICA:                       10        appreciate that my time is valued. I
 11       Q. Well, you know ACOG disagrees             11        do.
 12    with you, right?                                12   QUESTIONS BY MR. MURDICA:
 13            MR. SNIDOW: Objection to the            13        Q. Okay. Back to Exhibit 89.
 14       form.                                        14        A. 89, yeah.
 15            THE WITNESS: ACOG has written           15        Q. Okay. At the time -- so,
 16       a statement three years ago. I don't         16   Dr. Baccarelli, how are we going to figure
 17       know whether they disagree with me           17   out when you were first hired in this
 18       now.                                         18   litigation? Do you have an e-mail or a
 19            And I think the reason why we           19   telephone log? What -- how were you first
 20       are here is exactly because they --          20   contacted? Was it by phone? By e-mail?
 21       the medical organizations haven't            21        A. By e-mail.
 22       taken a position yet. I hope they            22        Q. Okay. So you would be able to
 23       take it soon because they have a             23   tell the first date that you were first
 24       problem in their hands.                      24   contacted from your e-mail, correct?
 25                                                    25        A. I guess probably the best way

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  1    is to see when I started to work on it. And      1       Q. When you gave these names, they
  2    I understand that you have the logs of my        2   were referrals, and they told you you would
  3    time, correct?                                   3   be paid even if you weren't, right?
  4         Q. Actually, they weren't                   4       A. I didn't notice that was the
  5    produced. So I'll just put on the record         5   case --
  6    that if counsel wants to tell me before the      6       Q. Okay.
  7    end of this deposition when they first           7       A. -- and I never got paid, and I
  8    contacted Dr. Baccarelli, that would be          8   didn't do it because I wanted to be paid.
  9    appreciated.                                     9       Q. Another person --
 10             I think there was an objection         10       A. It's pretty typical, because
 11    to producing his bills, so we don't have        11   usually when people tell me I get money to
 12    anything on that, which is why I'm asking all   12   refer them to a shop or the -- to a barber, I
 13    these questions.                                13   like to get the money. But in this case, I
 14         A. Okay. Thank you.                        14   didn't even notice that.
 15         Q. Okay. So, Dr. Baccarelli, you           15       Q. One of the other people you
 16    referred this investment advisor representing   16   referred them to is Ann Bauer, right?
 17    an institutional investor who is interested     17       A. Again, this is not -- I don't
 18    in Tylenol to, among -- Dr. Liew is one of      18   know Dr. Bauer. I know that she published a
 19    the people you referred them to, right?         19   few papers that were in the literature.
 20         A. Yep.                                    20       Q. And do you -- do you know if
 21         Q. You also referred them to               21   she was in the majority or minority as it
 22    Dr. Pearson, who you say at the time you        22   relates to acetaminophen and
 23    didn't know was working for the plaintiffs'     23   neurodevelopmental outcomes?
 24    lawyers on this, right?                         24       A. I -- I --
 25         A. So, first of all, I didn't              25            MR. SNIDOW: Object --

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  1    refer them. I suggested names of people that     1      object -- object to form.
  2    might have information, and if they wanted to    2           THE WITNESS: I think you see
  3    have an alternative opinion, they could. And     3      here that these people are people
  4    these are the people who published on the        4      who -- in the conversation with the --
  5    paper, on the subject. So I give them these      5      with them, I realize they wanted to
  6    name because of the people who published on      6      hear whether this is a concern. So it
  7    the subjects.                                    7      gave me -- I gave them a list of
  8        Q. Well, they also told you that             8      people that would probably speak to
  9    they would pay you if the referral -- if the     9      the concern, and that they're experts
 10    people that you're recommending them to takes   10      and they're people who publish the
 11    their call, right?                              11      associations.
 12        A. That is not true. I never                12           Most of them, I believe, they
 13    received any money.                             13      published associations on Tylenol and
 14        Q. Oh, they didn't tell you that            14      neurodevelopmental disorders that were
 15    in the next page?                               15      positive. So I just assumed that they
 16        A. If they said, they didn't                16      would love to hear from the people who
 17    probably contact, because I did not receive     17      found the problems.
 18    any money.                                      18           Because as you know, often the
 19             Is it there?                           19      people who find the problems are
 20        Q. It's there.                              20      closest to the problems, and they
 21        A. I didn't get any money. I'm              21      might be right.
 22    sorry.                                          22   QUESTIONS BY MR. MURDICA:
 23        Q. Okay.                                    23      Q. So did you know Dr. Bauer
 24        A. I didn't even notice they were           24   before 2003?
 25    willing me to pay -- to pay me.                 25      A. I never met her.

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  1         Q. Okay. So you don't know -- do            1   between when you started to work on it and
  2    you know if Dr. Bauer is somebody you            2   when you were first contacted?
  3    consider an expert or not?                       3       A. I'm not sure. I know -- I
  4         A. You know, I -- Dr. Bauer was             4   don't know the dates, really.
  5    the first author of our consensus statement      5       Q. Okay. Baker 2020 was a study
  6    that was published in 2019, and probably I       6   of meconium, the GESTE, G-E-S-T-E, cohort,
  7    remember the consensus statement with -- this    7   right?
  8    is why -- this is why I referred her, too. I     8       A. Sorry, G -- GESTE?
  9    know that she published quite a bit in the       9       Q. GESTE.
 10    literature, and I was aware of that.            10       A. GESTE.
 11         Q. Do you know she was -- were you         11       Q. Right?
 12    aware if she was retained by the plaintiffs'    12       A. Baker 2020 was a study
 13    lawyers at the time?                            13   reporting results from the GESTE cohort,
 14              MR. SNIDOW: Objection to the          14   meconium, acetaminophen.
 15         form.                                      15       Q. And was that the second
 16              THE WITNESS: I -- I'm not             16   meconium study that you were ever involved
 17         aware even now.                            17   in, Dr. Baccarelli?
 18    QUESTIONS BY MR. MURDICA:                       18       A. It was the second on
 19         Q. Okay.                                   19   acetaminophen, I believe, in meconium.
 20         A. I don't think -- I'm not sure           20       Q. What other meconium studies
 21    whether she was retained. I didn't know at      21   have you been involved in?
 22    the time. I don't know now.                     22       A. We published a paper in 2019
 23         Q. How about Kriebel?                      23   reporting on some of the techniques we used.
 24         A. I know David Kriebel because he         24       Q. The techniques used in -- by
 25    taught me epidemiologies 20 years ago.          25   Dr. Laue and yourself in that article?

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  1             By the way, he speaks wonderful         1        A. Yeah, the techniques -- the
  2    Italian, and he's a great teacher. And he        2   techniques used to measure meconium -- to
  3    taught me epidemiology in Italian 25 years       3   measure chemicals in meconium.
  4    ago. I haven't talked with him in 20 years,      4        Q. So is it correct that the Laue
  5    I think.                                         5   2018 or 2019 meconium study was the first
  6        Q. Do you know if he was retained            6   study you've ever done with meconium?
  7    by the plaintiffs here?                          7        A. Sorry, can you say that again?
  8         A. No, I don't know.                        8        Q. Sure.
  9        Q. Okay. Same question for Shanna            9            Is it correct that the Laue
 10    Swan. Do you know if she was retained by the    10   2018 or 2019 meconium study was the first
 11    plaintiffs here?                                11   study you've ever done with meconium,
 12         A. I don't know.                           12   Dr. Baccarelli?
 13        Q. Okay. And this is on                     13        A. Yeah, I think this was the
 14    January 18th that you send this e-mail,         14   first study ever done with meconium. We read
 15    right?                                          15   the literature about meconium, and one of our
 16         A. Correct.                                16   colleagues who is the analyst here, who is
 17        Q. Okay. And sitting here today,            17   the biochemist, J.P. Bellenger, proposed to
 18    right now, you don't know still if you were     18   use meconium in this cohort because he made
 19    retained by the plaintiffs, or contacted by     19   me aware of plenty of literature showing that
 20    the plaintiffs, by January 18th of 2023,        20   meconium reflects exposure to chemicals to
 21    correct?                                        21   which the mothers are exposed during several
 22         A. I believe this was before I             22   months of pregnancy. At least five months of
 23    started to work, but I'm not 100 percent        23   pregnancy. The five months before delivery.
 24    sure.                                           24        Q. And have you seen any
 25        Q. Okay. Is there a difference              25   literature that quantifies how much meconium

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  1    is made throughout those five months of          1   exposure in pregnancy?
  2    pregnancy?                                       2       A. So there are many studies that
  3         A. There are studies on                     3   measured or assessed the exposure of the
  4    miscarriages and on abortions that have          4   mothers and looked at the correlation with
  5    measured the level of meconium in each of        5   the same level of the same chemical in
  6    the -- in each of the -- of the -- each of       6   meconium. And they show a very strong
  7    the weeks of pregnancies.                        7   correlation, and they're very -- this makes
  8             And also, there is a huge               8   everyone -- made everyone believe that
  9    amount of literature on chemicals in meconium    9   meconium is a great way to measure maternal
 10    that makes people -- that creates -- this is    10   exposure to chemicals.
 11    a fact. It's really a fact that meconium --     11       Q. Okay. Is a maternal exposure
 12    it's completely accepted in the literature      12   in the sixth month of pregnancy reflected
 13    that meconium reflects exposure over five       13   equally in the meconium as the same maternal
 14    months or even six months before pregnancy.     14   exposure in the eighth month of pregnancy?
 15             The reason is because meconium         15       A. So we -- the production of
 16    gets to be accumulated six months before        16   meconium is believed to increase -- to be
 17    delivery. The gut of the baby becomes to        17   larger in the -- in the last few months of
 18    develop, and at that point meconium start to    18   pregnancy. So we believe that there is more
 19    be produced. And meconium accumulates slowly    19   exposure reflected in meconium in the last
 20    over time. It accumulates slowly over time      20   trimester compared to the second trimester.
 21    until the end of the -- of the pregnancy.       21       Q. Okay. So would a -- would a
 22         Q. And have you seen studies to            22   drug exposure in the last month of pregnancy
 23    that effect, that show how much meconium        23   show up in a greater presence in the meconium
 24    accumulates at -- over that course of time?     24   than the same drug exposure two months
 25    Have you seen those?                            25   earlier?

                                         Page 154                                             Page 156
  1         A. I understand there are studies           1       A. It depends on the quantity of
  2    like this. I haven't reviewed them directly.     2   exposure, of course.
  3         Q. You understand there are                 3       Q. Have you done that type of
  4    from -- from what?                               4   study with respect to acetaminophen in
  5         A. Again, from miscarriages and --          5   meconium?
  6    studies on miscarriages, studies of aborted      6       A. It has been done plenty of
  7    fetuses. People know how big is the bowel of     7   times in different -- in different studies of
  8    the -- of the -- of the baby over time.          8   other chemicals, so we know this happens in
  9         Q. Can you cite one study that              9   meconium. Also, meconium is a gel that traps
 10    says that right now?                            10   chemicals.
 11         A. I relied on them. There are --          11            So perhaps you are implying --
 12    there are a lot of -- there's a lot of          12   I don't want to say you're doing -- that if
 13    literature -- if you want, I can produce --     13   someone takes a pill of meconium two days
 14    about the use of meconium as a biomarker of     14   before pregnancy, that would completely sway
 15    chemical exposure. This has been -- it's        15   the results.
 16    incredibly well-accepted in the literature.     16            That doesn't happen, because
 17    It's not something we made up. It's not         17   meconium -- in order for a drug to end up in
 18    something -- it's something that we relied --   18   meconium, it needs to work through the mom.
 19    there are at least 20 years of toxicology       19   It needs to go into the amniotic fluid. The
 20    studies reporting on meconium.                  20   baby swallows it. The fetus swallows it.
 21         Q. Have you seen literature, or            21   Sorry. It goes into the -- into the guts,
 22    can you point me to any, that quantifies the    22   and it gets there through the bile.
 23    maternal exposure at a given point in time in   23            So -- and when it's there, it's
 24    the pregnancy and how -- the level at which     24   trapped. So it really almost -- I don't know
 25    it appears in the meconium, given that time     25   whether you can relate to the old geological

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  1    archives. We can tell today that there was       1            So, clearly, if you are arguing
  2    climate change 2 million years ago because we    2   that our results are biased by having -- by
  3    can go through the rocks and identify --         3   the women who took acetaminophen during their
  4    identify levels of exposure 2 million years      4   labor and delivery, they're not. We excluded
  5    ago.                                             5   those women. The results stood on their own,
  6             This is what happens in                 6   only with the -- with the -- with the women
  7    meconium. It gets all jumbled up, so we          7   who took acetaminophen before.
  8    cannot really do the -- the strata. But          8       Q. And then the reason,
  9    really what happens there is that each           9   Dr. Baccarelli, that you looked at the
 10    contribution gets trapped and represented for   10   results excluding the women who took it
 11    the entire five months. It's gives us a nice    11   during labor and delivery is because you were
 12    average of five months of exposure. A little    12   worried that that peripartum administration
 13    more weighted toward the end, but it's a nice   13   of acetaminophen would skew the results,
 14    average of five months of exposure.             14   correct?
 15        Q. Okay. So Dr. Baccarelli's                15       A. No. We wanted -- I was not
 16    testimony is that the exposure during           16   worried. We wanted to double-check that.
 17    pregnancy in the meconium represents an         17   And that -- we have data to say -- yeah,
 18    average and is slightly weighted to exposures   18   you're right. I was worried. I'm not
 19    at the end of the pregnancy, correct?           19   worried anymore.
 20        A. There is a little more                   20       Q. Okay. Have you conducted, or
 21    representation of exposures at the end of the   21   have you seen any studies conducted, that
 22    pregnancy.                                      22   measure -- that correlate acetaminophen
 23        Q. Okay.                                    23   exposure during pregnancy to the level of
 24        A. I think that is correct.                 24   acetaminophen in meconium?
 25        Q. And I take it based on your              25            MR. SNIDOW: Objection to the

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  1    answer that according to Dr. Baccarelli,         1      form.
  2    acetaminophen administered during labor or       2           THE WITNESS: Sorry, can you
  3    delivery would not be represented in the         3      say that again?
  4    child's meconium, correct?                       4   QUESTIONS BY MR. MURDICA:
  5             MR. SNIDOW: Objection to the            5      Q. Sure.
  6        form.                                        6           Separate and apart from the
  7             THE WITNESS: No, that is not            7   outcomes of autism and ADHD --
  8        right.                                       8      A. Uh-huh.
  9    QUESTIONS BY MR. MURDICA:                        9      Q. -- have you seen a study, or
 10        Q. Oh, okay.                                10   any study, correlating acetaminophen exposure
 11        A. That is not right.                       11   during pregnancy at different times with the
 12        Q. So according to Dr. Baccarelli,          12   quantity of acetaminophen in meconium?
 13    acetaminophen that the mother utilized during   13           MR. SNIDOW: Objection to the
 14    labor and delivery would be -- would be         14      form.
 15    reflected in the child's meconium?              15           THE WITNESS: So we know that
 16        A. Absolutely. That was a concern           16      that happens. If we find
 17    we had. In fact, in Baker 2020, we took that    17      acetaminophen in meconium, it's
 18    into account. We did the results with           18      because -- it's because it gets there
 19    everyone included, and then we looked at the    19      unless you are having -- gets there in
 20    medical records, the medical charts, and we     20      other ways. But especially at
 21    excluded those women who had delivered --       21      deliveries we found.
 22    sorry, who had received acetaminophen during    22           By the way, in our study we
 23    labor and delivery. And when we excluded        23      got, I think, 55 percent of women who
 24    those women, the results were exactly the       24      tested positive -- or, sorry, meconium
 25    same.                                           25      that tested positive for

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  1    acetaminophen. That is about the same            1   drugs. And you can find cocaine in meconium.
  2    proportion of women who use                      2   You can find marijuana. You can find
  3    acetaminophen during pregnancy. So               3   alcohol. You can find products of tobacco.
  4    I'm pretty convinced that we are                 4             And all the literature we have
  5    picking up meconium -- sorry,                    5   today is consistent with the proposition that
  6    acetaminophen during pregnancy.                  6   this is a great biomarker of chemical
  7         Also, from -- the reason why                7   exposures.
  8    this study is important is because it            8       Q. Okay. You believe you answered
  9    asks the question, is acetaminophen in           9   my question?
 10    the child the cause of -- contributes           10             MR. SNIDOW: Objection to the
 11    to answering this question, is                  11       form.
 12    acetaminophen in the child the cause            12             THE WITNESS: I do.
 13    of ADHD in this case?                           13   QUESTIONS BY MR. MURDICA:
 14         You can understand that, okay,             14       Q. Okay. Have you seen
 15    women take the Tylenol, might -- has            15   meconium -- I'm going to ask it one more
 16    to get to the baby. It needs to                 16   time, and if you can't improve on your
 17    get -- so the fact that we're                   17   answer, just tell me you can't improve on
 18    measuring the dose in the baby, it              18   your answer. Okay?
 19    gives even more information that in a           19            Have you seen meconium studies
 20    way is mechanistic; that is, the                20   that show an administration of a particular
 21    meconium that is in the baby that is            21   agent to the mother at different times during
 22    associated and potentially causes               22   pregnancy that look at the results of the
 23    ADHD.                                           23   concentration in the meconium to see whether
 24         So I understand that you want              24   all administration at different times of the
 25    to know how many pills women are                25   pregnancy ends up being the same in the

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  1         taking, but in this case the study is       1   meconium?
  2         important because we are measuring          2       A. So I --
  3         acetaminophen in the baby. Because          3            MR. SNIDOW: Hold on.
  4         it's acetaminophen in the baby that         4       Objection to the form.
  5         causes the -- that causes the disease.      5            THE WITNESS: I'm happy to
  6    QUESTIONS BY MR. MURDICA:                        6       review any other study -- any study
  7         Q. Yeah, Dr. Baccarelli, I don't            7       you might have in that respect.
  8    think you're understanding my question, so       8            I'm pretty familiar with the
  9    let me ask it not about acetaminophen.           9       concept that meconium is a biomarker
 10         A. Uh-huh.                                 10       of exposure during pregnancy, that
 11         Q. Have you seen meconium studies          11       chemicals get trapped in meconium.
 12    that show an administration of a particular     12            We might even have published an
 13    agent to the mother at -- different mothers     13       abstract at some point looking at our
 14    at different times during pregnancy and         14       own data. So that -- where we looked
 15    looking at the results of the concentration     15       at -- in abstract where we looked at
 16    in the meconium to see whether all              16       some of the data we had with
 17    administration at different times of the        17       acetaminophen during pregnancy and
 18    pregnancy ends up being the same in the         18       delivery.
 19    meconium?                                       19   QUESTIONS BY MR. MURDICA:
 20         A. So there are many studies in            20       Q. Okay.
 21    the past 20 years that have been done,          21       A. And we found pretty consistent
 22    particularly about illicit drugs, and this is   22   results, as far as I was concerned, with --
 23    why it is being used. This test has been        23   with our own abstract.
 24    first brought about by -- with the interest     24       Q. Consistent how?
 25    of understanding whether women use illicit      25       A. That our data were consistent

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  1    with the -- with the tenet that                 1       reported countless times in the
  2    acetaminophen -- that acetaminophen in          2       literature, that meconium reflects
  3    meconium reflects exposure both at the time     3       five months of exposure, was true also
  4    of delivery and during pregnancy.               4       in our study.
  5         Q. Okay. And did you analyze               5   QUESTIONS BY MR. MURDICA:
  6    whether acetaminophen at the time of the        6       Q. Okay. My question is, was
  7    delivery has a greater presence in the          7   there a difference in your abstract between
  8    meconium than acetaminophen at, say, six        8   acetaminophen exposure at delivery and
  9    months during the pregnancy?                    9   acetaminophen exposure during, let's say, the
 10         A. We couldn't do that because the        10   second trimester?
 11    data for -- during pregnancy were not          11       A. If you would like to discuss
 12    complete.                                      12   that abstract, I'm happy to review it now.
 13         Q. Okay. Have you seen anyone             13       Q. Do you remember?
 14    else that has done that?                       14       A. I remember that the data were
 15         A. I'd be happy to see any other          15   consistent with our hypothesis --
 16    study.                                         16       Q. Okay.
 17         Q. So the answer, Dr. Baccarelli,         17       A. -- that we didn't -- that
 18    is, as you sit here today, you haven't seen    18   toxicant didn't cause any concern.
 19    that other than in your own abstract,          19            If you want to discuss it --
 20    correct?                                       20   discuss it in detail, I'm happy to review it
 21              MR. SNIDOW: Objection to the         21   with you, and I'll tell you why --
 22         form.                                     22       Q. Sure.
 23              THE WITNESS: Again, there is         23       A. -- I have this opinion.
 24         plenty of literature supporting           24       Q. Sitting here, other than this
 25         that meconium is a great biomarker.       25   abstract you're talking about, have you seen

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  1       It's a great substrate to measure this       1   any other study attempt to capture the amount
  2       type of biomarkers.                          2   of acetaminophen in meconium based on
  3   QUESTIONS BY MR. MURDICA:                        3   exposure either during the second trimester
  4       Q. Was that my question?                     4   or at labor and delivery?
  5             MR. SNIDOW: Objection to the           5            MR. SNIDOW: Objection to the
  6       form.                                        6       form.
  7             THE WITNESS: I think it was.           7            THE WITNESS: Again, it is very
  8   QUESTIONS BY MR. MURDICA:                        8       consistent with biological
  9       Q. Okay. You just testified that             9       plausibility that the -- that meconium
 10   you studied whether exposure during pregnancy   10       reflects five, six months' worth of
 11   or during labor and delivery is represented     11       exposure. So this is how it has been
 12   in meconium.                                    12       used in hundreds of papers. So I
 13             You remember that?                    13       don't have any reasonable doubt that
 14       A. Say that again?                          14       there -- because this very
 15       Q. Okay. Your testimony is that             15       well-accepted in the toxicology
 16   you studied exposure during pregnancy and       16       community.
 17   then at labor and delivery to look at the       17   QUESTIONS BY MR. MURDICA:
 18   relationship of the compound in meconium,       18       Q. But you can't point me to
 19   correct?                                        19   another paper, correct?
 20             MR. SNIDOW: Objection to the          20       A. I can point you to papers.
 21       form.                                       21       Q. On acetaminophen.
 22             THE WITNESS: So I -- we did           22            Doctor, my question was very
 23       publish an abstract, and the data we        23   specific. It was as to acetaminophen and
 24       had were incomplete. They made us           24   exposure at the time of delivery versus in
 25       feel confident that what has been           25   the second trimester.

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  1             Have you seen any other paper           1        A. I can't remember that.
  2    that examined that specifically?                 2        Q. Okay. Do you know what the
  3        A. So --                                     3   Gray journal is?
  4             MR. SNIDOW: Objection to the            4        A. I -- can you -- can you explain
  5        form.                                        5   what the Gray journal is to me?
  6             Go ahead.                               6        Q. Well, I think it's important
  7             THE WITNESS: We published a             7   to -- so you don't know what the Gray journal
  8        paper in 2019. There is a lot of             8   is, right?
  9        literature reported here that shows          9        A. I don't call journals by
 10        that acetaminophen -- sorry, that           10   colors, usually. I call them by their names.
 11        meconium is great biomarkers that           11   So if you have a journal that other people
 12        reflects five to six months of              12   uses, I'm afraid I don't know it.
 13        exposure.                                   13        Q. Do you know what the Green
 14    QUESTIONS BY MR. MURDICA:                       14   journal is?
 15        Q. Okay. And are you referring to           15        A. No. I don't know any of the
 16    the Laue paper?                                 16   colors. Perhaps I'm color blind.
 17        A. No, I'm referring to the                 17        Q. Well, I think we established
 18    Cassoulet paper, 2019.                          18   you're not a board certified obstetrician,
 19        Q. Okay.                                    19   right?
 20        A. It's in my -- in it's my                 20        A. I don't think you need an
 21    reference list.                                 21   obstetrician here.
 22             (Baccarelli Exhibit 90 marked          22        Q. Okay. So you shot high by
 23        for identification.)                        23   trying to get the paper in the American
 24    QUESTIONS BY MR. MURDICA:                       24   Journal of Obstetrics and Gynecology,
 25        Q. Okay. Let's take a look at the           25   correct?

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  1    Laue paper, and we'll get that one here.         1        A. Well, we haven't shoot that
  2              Dr. Baccarelli, you have in            2   high then.
  3    front of you what's been marked as               3        Q. That --
  4    Exhibit 90.                                      4        A. That's -- we -- I don't think
  5              Do you recognize it?                   5   we shot that high, if you tell me that.
  6         A. Yes.                                     6        Q. Okay. Because they rejected
  7         Q. Okay. Where was this                     7   you, you have a low opinion of them now?
  8    published?                                       8        A. Oh, every journal rejected me.
  9         A. It was published in                      9   I -- probably 600 papers, I probably sent
 10    toxicology -- Toxicological Sciences in 2019.   10   papers to 1,000 journals. You can be sure
 11         Q. Okay. And you reviewed and              11   that every journal in the world has rejected
 12    revised this before it was published,           12   me at some time.
 13    correct?                                        13            I hold no -- no -- I hold no --
 14         A. Of course.                              14   not really no anger to anyone.
 15         Q. Okay. And the first attempt to          15        Q. It sounds like sour grapes,
 16    publish this was rejected, correct?             16   Doctor. But if you want to criticize the
 17         A. Yes, as often happens.                  17   American Journal of Obstetrics and
 18         Q. Yeah.                                   18   Gynecology, feel free.
 19         A. I -- we always shoot high so we         19            MR. SNIDOW: Objection to form.
 20    can be reject -- we don't like a paper if       20            And again, Jim, look, I'm
 21    it's not rejected.                              21        behaving. You need to behave. It's
 22         Q. Understood.                             22        out of line. You know it. Ask him a
 23              And you always shoot high, and        23        question if you want.
 24    that's why you tried to put it in the Gray      24            MR. MURDICA: You are not
 25    journal, right?                                 25        behaving. Your witness is saying

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  1    plenty of things that are not in line,         1   Exhibit 91.
  2    and I'm fine with my conduct. If you           2       A. Uh-huh.
  3    have a problem with it, you can call           3       Q. Do you recognize this as one of
  4    Judge Cote.                                    4   your e-mails?
  5        MR. SNIDOW: Okay.                          5       A. This looks like it.
  6        MR. MURDICA: And you need to               6       Q. Okay. When's the last time you
  7    stop interrupting.                             7   looked at this e-mail?
  8        MR. SNIDOW: I wasn't.                      8       A. Probably on Monday, May 21,
  9        But if you want to go to the               9   2018.
 10    judge with "it sounds like sour               10       Q. Okay. Do you need a second to
 11    grapes, Doctor," I'm fine with that.          11   review it, or can I ask you questions about
 12    But I'm asking you --                         12   it?
 13        MR. MURDICA: Well, it would be            13       A. Let me review it.
 14    you going to the judge, okay? And             14            Okay.
 15    you're interrupting my examination.           15       Q. Okay. So do you agree, Doctor,
 16        MR. SNIDOW: Okay.                         16   that this reflects the American Journal of
 17        MR. MURDICA: So would you like            17   Obstetrics and Gynecology's critique and
 18    to go to the judge?                           18   rejection of the Hannah Laue paper?
 19        MR. SNIDOW: I would not.                  19       A. No, this reflect individual
 20        MR. MURDICA: Okay. Then you               20   opinion of three reviewers, one, two, three,
 21    need to be quiet.                             21   and an editor who is probably someone --
 22        THE WITNESS: In that year,                22   here, there's someone by the name of Sandra
 23    2019, I published about 70 papers. I          23   Perrine. So I don't know who -- who are the
 24    don't keep a list of the -- of the            24   editors here. They don't disclose the
 25    journals that rejected me. And as you         25   editors.

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  1        heard me say just before, I didn't         1             There are three people who are
  2        even remember that we sent it to the       2   anonymous, and so one seems to be staff. So
  3        journal you mentioned. So it's really      3   this doesn't say who did this.
  4        impossible that I'm angry at any           4        Q. Doctor, you still have in front
  5        OB/GYN journal.                            5   of you Exhibit 90, right, which is the Laue
  6             Just -- and also, I'm an              6   article published in the Journal of
  7        epidemiologist. I would rather have        7   Toxicology?
  8        this published in the American Journal     8        A. Yes.
  9        of Epidemiology than in a specialty        9        Q. Okay. What you're holding in
 10        OB/GYN journal. I really would have       10   your hand as Exhibit 91 occurred before that
 11        preferred that, if you asked me.          11   publication, correct?
 12    QUESTIONS BY MR. MURDICA:                     12        A. That is correct.
 13        Q. Well, do you recall,                   13        Q. Okay. And this, what you're
 14    Dr. Baccarelli, the decision process, since   14   holding in your hand, Exhibit 91, documents a
 15    this was about pregnancy outcomes, to go to   15   rejection by the journal of American -- by
 16    an obstetrics and gynecology journal?         16   the American Journal of Obstetrics and
 17        A. I don't remember.                      17   Gynecology for the same article, correct?
 18        Q. Okay. Do you remember why it           18        A. That is correct.
 19    was rejected?                                 19        Q. Okay. And, in fact, they say
 20        A. I don't remember.                      20   it is unlikely that the revision of such a
 21             (Baccarelli Exhibit 91 marked        21   manuscript will alter its status, correct?
 22        for identification.)                      22        A. That is what they say.
 23    QUESTIONS BY MR. MURDICA:                     23        Q. Okay.
 24        Q. Okay. Doctor, you now have in          24        A. It's not -- I think that --
 25    front of you what's been marked as            25   this is what they say. It really means that

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  1    they were not interested in the paper.          1   so I can explain what it means. Because what
  2         Q. Right.                                  2   it really meant to say, Hannah, I know you
  3         A. When editors accept or reject a         3   are new to the business, but never get it
  4    journal {sic}, as you can see here, they say    4   personal. Don't get upset. Do not worry.
  5    also, we can only accept 20 percent of          5             I didn't say, do not do work.
  6    submissions. And they'll accept those work      6             She -- as long as I know, she
  7    which received the highest priority ratings     7   did work. If there is anything you feel you
  8    with respect to perceived reader -- reader      8   should have done, now doing it.
  9    interest, scientific quality, and timeliness    9        Q. Okay. Some of the comments --
 10    of such a matter.                              10   did you have a chance to look at the reviewer
 11             So the priority status is about       11   comments?
 12    whether their readers are interested or not,   12        A. Not -- not all of them.
 13    the quality of -- the scientific quality and   13        Q. Okay. Did you see that some of
 14    the timeliness. And I don't think you can      14   them are about the same questions I was
 15    tell which of the three they used.             15   asking you about meconium? Right?
 16         Q. And nevertheless, Doctor, they         16        A. No, I didn't.
 17    did give you the comments from the three       17        Q. Okay. Take a look at the page
 18    reviewers, correct?                            18   that ends in 429, reviewer number 2, second
 19         A. Correct.                               19   half from the bottom.
 20         Q. And what you told Dr. Laue is          20        A. 429?
 21    to not worry about the comments, right?        21        Q. Yep.
 22         A. I told, don't worry -- this is         22            Reviewer number 2.
 23    a student. I want to tell her, don't get       23        A. Uh-huh.
 24    upset. Don't take it personal. There is no     24        Q. Paragraph 1, introduction.
 25    reason to take it personal.                    25        A. Yeah.

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  1              You are implying that I take it       1       Q. Let me know when you've had a
  2    personal. My message here is, please,           2   chance to look at that.
  3    Hannah, don't take it personal. This will       3       A. Fantastic. Yeah.
  4    happen over and over again over your career.    4       Q. Okay. This reviewer, whoever
  5    It's not about you. Just work on it and take    5   they are, is asking the same questions I was
  6    everything seriously, and whatever is           6   just asking you, correct?
  7    addressable, we'll do it.                       7             MR. SNIDOW: Objection to the
  8         Q. That's what -- let me see if I          8       form.
  9    read this correctly.                            9             THE WITNESS: They're asking a
 10              You're recommending another          10       similar question, and they -- it's a
 11    journal. You say, don't worry too much about   11       question that, again, we're interested
 12    the comments. If there's anything you feel     12       in the dose in the baby.
 13    you should have done, that is okay;            13             I think this reviewer is
 14    otherwise, just resubmit it.                   14       missing the point, that this is a
 15              Right?                               15       study about the dose in the baby and
 16              MR. SNIDOW: Objection to form.       16       neurodevelopmental outcomes. It's not
 17              THE WITNESS: So you understand       17       a study about the dose in the mother.
 18         that worry is an emotion.                 18       It's the dose -- the big advantage of
 19    QUESTIONS BY MR. MURDICA:                      19       this study is that we are measuring
 20         Q. I'm sorry.                             20       the dose in the baby.
 21         A. I say, do not worry too much           21             If the reviewer is interested
 22    about the comments. When someone worries,      22       in this, that's okay.
 23    they have an emotion. So I say, don't -- do    23             I wish we had the data to make
 24    not worry. Don't be emotional about it.        24       this reviewer happy. Not that I think
 25              And, okay, this is my e-mail,        25       it was important for the study, but --

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  1   QUESTIONS BY MR. MURDICA:                         1      A. Please do.
  2       Q. Right.                                     2      Q. -- and see if you can -- see if
  3       A. -- in this case the reviewer               3   you can answer it.
  4   asked the question. They're entitled to ask       4           There is no paper that
  5   this question. I'm entitled to decide to          5   correlates a dose taken at a particular time
  6   move forward with the paper, nonetheless.         6   during pregnancy with a particular
  7       Q. Right.                                     7   concentration in the meconium, correct?
  8            And you did move forward with            8           MR. SNIDOW: Objection to form.
  9   the paper without addressing this question,       9           THE WITNESS: I would like to
 10   correct?                                         10      say that there is overwhelming
 11       A. The question is addressed in              11      evidence that drugs and chemicals to
 12   the paper. We have references about the use      12      which women are exposed during
 13   of meconium. So the reviewer probably didn't     13      pregnancy result -- gets archived in
 14   read the references.                             14      the meconium, and the meconium is a
 15       Q. Okay. One of the questions                15      valid guide of toxic exposure.
 16   here is -- tell me if I've got this right --     16           If you think there is a reason
 17   is there any previously reported specific        17      why acetaminophen should be different
 18   data about acetaminophen use in pregnancy and    18      from any other chemicals -- I
 19   its presence in meconium.                        19      understand we're talking about
 20            You saw that, right?                    20      acetaminophen, but is acetaminophen a
 21       A. I see the question.                       21      special chemical.
 22       Q. Right.                                    22   QUESTIONS BY MR. MURDICA:
 23            And there is no paper that              23      Q. Okay. Please try to listen
 24   show -- that correlates a dose taken at a        24   very closely to the question, because you
 25   particular time during pregnancy with a          25   didn't get it.

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  1    particular concentration in the meconium,        1            There's no paper that
  2    correct?                                         2   correlates a dose taken at a particular time
  3            MR. SNIDOW: Objection to form.           3   during pregnancy and a particular
  4            THE WITNESS: Again, if the               4   concentration in meconium.
  5       question were important, I would have         5            Correct, Doctor?
  6       not published this paper.                     6            MR. SNIDOW: Objection.
  7            This paper is about meconium in          7            THE WITNESS: Same --
  8       the baby, and that is a much better           8            MR. SNIDOW: Sorry. Objection
  9       measurement than asking a mother to           9       to the form.
 10       report their use. It's about                 10   QUESTIONS BY MR. MURDICA:
 11       toxicology.                                  11       Q. There is no paper that
 12            This is called a biomarker of           12   correlates a dose of acetaminophen taken at a
 13       internal dose. The internal dose is          13   particular time during pregnancy with a
 14       the strongest type of evidence. It           14   particular concentration in the meconium,
 15       means there is chemical in the baby's        15   correct?
 16       tissues that in this case, by the way,       16       A. Again, it is very well-known
 17       they were causing very little or             17   that what you said is the case, that there is
 18       nothing.                                     18   an association between chemicals taken during
 19            But in the -- it turned out,            19   pregnancy and what gets stored in meconium.
 20       actually, in the later paper by Baker        20            In this case, we didn't need to
 21       to be a problem.                             21   worry about this. And, again, I didn't -- I
 22    QUESTIONS BY MR. MURDICA:                       22   didn't use that -- I didn't make that link to
 23       Q. I understand, Doctor, that you            23   reach my conclusions.
 24    don't think it's a relevant question, but I'm   24            This is one of the 30 papers
 25    going to ask it again --                        25   that is associated with the -- that shows

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  1    associations. And again, I didn't need to        1      A.     I answered already.
  2    have that data to reach my conclusions.          2            MR. SNIDOW: Okay. Hold on.
  3        Q. And, Doctor, I didn't ask you             3       Hold on.
  4    if you needed it. I didn't ask if it was         4            MR. MURDICA: There's no hold
  5    important. I just asked if it exists.            5       on. You be quiet over there.
  6             And it does not exist, correct?         6            MR. SNIDOW: I get to object to
  7             MR. SNIDOW: Objection to the            7       form, and I am.
  8        form.                                        8            Object to the form.
  9             THE WITNESS: So I want to say           9            MR. MURDICA: Look, I would
 10        that we have overwhelming evidence          10       have every ground in the world to go
 11        that meconium is a good archive of          11       get the judge here about the answers
 12        chemical exposures. It's very               12       to these questions.
 13        well-accepted in the literatures.           13            MR. SNIDOW: Oh, not to my
 14        There are 30 years of research              14       objections?
 15        studying the meconium's chronicles,         15            MR. MURDICA: No.
 16        the level of exposures in the last          16            MR. SNIDOW: Okay.
 17        five, six months of pregnancy. This         17            MR. MURDICA: Well, that's
 18        is very well-known.                         18       different. That's a separate issue.
 19             This is -- our use of meconium         19            MR. SNIDOW: Thank you.
 20        is not new. It is something that has        20            MR. MURDICA: One I'm not
 21        been done many times.                       21       dealing with right now.
 22             So you might be right that             22            MR. SNIDOW: Okay.
 23        there is no paper specifically on           23   QUESTIONS BY MR. MURDICA:
 24        acetaminophen, but again, we then           24       Q. Doctor, I understand all the
 25        needed it for the paper because the         25   things you want to say, and you can say them

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  1         dose is more in the meconium. And the       1   when Mr. Snidow asks you questions.
  2         fetal tissue is more powerful that --       2            All I'm asking you is, there is
  3         that in -- in the -- in the -- in the       3   no paper that exists today that correlates
  4         reported questionnaires.                    4   acetaminophen dose given to a mother at some
  5              And also, again, I didn't use          5   particular time during pregnancy and the
  6         this paper only in the literature.          6   concentration that results in the meconium,
  7         This is one of 30 pieces of evidence        7   correct?
  8         that I used. So that is particularly        8            MR. SNIDOW: Objection to form.
  9         important to know that -- whether           9            THE WITNESS: So I -- let me --
 10         there is an association or not.            10       let me repeat what I said step by
 11         Whether it's a paper that reports an       11       step.
 12         association or not is not relevant to      12   QUESTIONS BY MR. MURDICA:
 13         my conclusions.                            13       Q. Okay. Doctor, if you're going
 14    QUESTIONS BY MR. MURDICA:                       14   to repeat what you said, we can just -- we
 15         Q. Doctor, I understand you think          15   can just call the deposition now because --
 16    it's irrelevant, it's not important, but I am   16       A. Okay. I'm okay. I'm okay with
 17    entitled to get an answer.                      17   that. I mean --
 18              So you agree with me that there       18       Q. Okay.
 19    is no such paper that I --                      19       A. -- I need a bathroom break, so
 20         A. I gave you an answer in the             20   soon.
 21    long answer. Don't let me restart again.        21            MR. SNIDOW: Okay. Take a
 22         Q. I really don't want you to              22       break.
 23    restart again.                                  23            MR. MURDICA: Okay. We're not
 24              Are you able to answer it yes         24       going to continue unless you want to
 25    or no? Does such a paper exist, Doctor?         25       talk to him about answering questions.

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  1    Because in seven hours, we can't get         1   QUESTIONS BY MR. MURDICA:
  2    through this.                                2       Q. Dr. Baccarelli, are you ready
  3         And I think if a court read             3   to proceed?
  4    those last six questions where I asked       4       A. Absolutely.
  5    the same thing over and over, I think        5       Q. Okay. Dr. Baccarelli, you had
  6    we'd get relief.                             6   in front of you Exhibit 91, and I was asking
  7         MR. SNIDOW: Okay. So, first             7   you questions about if you recall some of the
  8    of all, Jim, he is answering your            8   reviewers' comments on the Laue article.
  9    questions. You've asked him the              9       A. Yes.
 10    question and actually gotten the            10       Q. Okay. And we were on the page
 11    answer that I thought you wanted,           11   marked 429 at the bottom, and we were talking
 12    which he said, you may be right,            12   about the use of meconium.
 13    there's no paper specific on                13           Let me know when you're there.
 14    acetaminophen.                              14       A. Sorry, which page again?
 15         That's what you've been asking         15       Q. It was 429 on the bottom --
 16    him. He gave it to you. I know you          16       A. Yes.
 17    want some special clip, but he's given      17       Q. -- reviewer number 2.
 18    you the answer.                             18           Do you remember that sentence I
 19         So he's being fully responsive.        19   was asking you about?
 20    He thinks it's important --                 20           The following sentence is the
 21         MR. MURDICA: On the second             21   last sentence is -- in number 1. "How does
 22    time --                                     22   maternal frequency of use, duration of time
 23         MR. SNIDOW: Hold on. Hold on.          23   from ingestion to delivery in weeks or days,
 24    Okay. Hold on.                              24   or maternal dose affect the amount detected
 25         He thinks it's important to add        25   in the meconium?"

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  1    context, as he said. But you have the        1             Do you see that reviewer's
  2    specific answer that you've been             2   question?
  3    asking for. So why don't you just            3       A. I do.
  4    move on.                                     4       Q. Okay. And, Dr. Baccarelli,
  5         MR. MURDICA: He's being                 5   with the information that you have, that's
  6    obstructionist.                              6   not a question that can be answered, correct?
  7         MR. SNIDOW: He's not. He's              7       A. As I said before, there is a
  8    absolutely not.                              8   question that can be answered. We know that
  9         MR. MURDICA: Okay. If you --            9   there is a correlation between chemicals in
 10    if you think that -- how much time          10   general ingested by the mother, so the
 11    have we used? Okay. Let's go to the         11   mothers are exposed to in any other form, and
 12    Court.                                      12   the levels in the baby.
 13         VIDEOGRAPHER: Want to go off           13             What I said before is that
 14    the record?                                 14   the -- we were interested in this study in
 15         MR. MURDICA: Yeah, let's off           15   the levels in the baby. So the meconium is a
 16    the record. We're going to call the         16   fetal tissue, it's in the fetus, so it's more
 17    Court.                                      17   relevant to the causation than it is what the
 18         MR. SNIDOW: Okay.                      18   mothers might have ingested.
 19         VIDEOGRAPHER: The time right           19             That said, I agree with you
 20    now is 11:29 a.m. We are off the            20   that as I sit here, I don't recall studies
 21    record.                                     21   that have done the type of analysis you
 22     (Off the record at 11:29 a.m.)             22   propose or that the reviewer is asking about.
 23         VIDEOGRAPHER: The time right           23             But again, that doesn't -- was
 24    now is 11:52 a.m. We are back on the        24   not related to this study. This study was
 25    record.                                     25   about the dose in the baby and exposure of

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  1    the -- and the risk of ADHD and the -- sorry,    1       A. We did -- we did that analysis.
  2    in this case it was intelligence, I believe.     2       Q. Okay. And the reason to do
  3    We are talking about Laue here.                  3   that analysis was to see if the acetaminophen
  4             And by the way, as I mentioned,         4   burden at the time of delivery was
  5    we have a small data set in our study where      5   overrepresented in the meconium, right?
  6    we asked this question. We published an          6       A. The reason -- the analysis that
  7    abstract where we defined differences.           7   women get acetaminophen at birth, it can be
  8             We found studies that are -- we         8   doses that are due to the delivery, and they
  9    found results that are consistent with the       9   can be higher perhaps than before. So let's
 10    idea that what I said is true, that this is a   10   say -- let's look at it. We have the data.
 11    good biomarker.                                 11   We can do a sensitivity analysis.
 12        Q. Dr. Baccarelli, what -- in that          12            And, again, we had -- we had a
 13    answer you just gave, what study are you        13   question about that. We addressed the
 14    talking about?                                  14   question. There was no concern after -- the
 15             You said you published                 15   data showed that this concern is not valid.
 16    something in other studies.                     16       Q. Okay. And reviewer number 3 is
 17        A. We published an abstract in              17   expressing the same concern here, right?
 18    2017, I believe.                                18            In the sentence it says, "Is it
 19        Q. Oh, okay. You were talking               19   possible that the higher detectable levels
 20    about the abstract?                             20   reflect closer-in-time administration of
 21        A. Yeah.                                    21   acetaminophen to delivery rather than a
 22        Q. Got it.                                  22   higher level of accumulative dose?"
 23             All right. And if you turn to          23       A. Absolutely. But I think that
 24    the next page.                                  24   the reviewer doesn't understand that
 25             You see reviewer number 3?             25   acetaminophen -- sorry, that meconium traps

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  1        A. Uh-huh.                                   1   the chemicals. So they get into the bowel of
  2        Q. And I want you to take a second           2   the baby and it gets there. It becomes an
  3    to review this. If you look at reviewer          3   archival exposure, a cumulative archive.
  4    number 3's major concern number 2, I'm going     4              I wish we could go in there and
  5    to ask you a question about the third            5   dissect the meconium. But really what
  6    sentence.                                        6   happens -- what happens there is that all of
  7        A. Uh-huh.                                   7   the chemicals get trapped there from the --
  8        Q. Let me know when you're ready.            8   from when meconium gets to start produced,
  9        A. Okay.                                     9   which is around six months before delivery.
 10        Q. So reviewer number 3 has a               10        Q. And, Dr. Baccarelli, if you
 11    concern that was similar to the one you had     11   look at reviewer concern number 4, it says,
 12    when you were helping on Baker 2020, and that   12   "The categorization of acetaminophen levels
 13    is a -- is acetaminophen administration at      13   in meconium is hard to interpret. How much
 14    the time of delivery something that can         14   dose does a pregnant woman need to take to
 15    overrepresent acetaminophen in the meconium.    15   reach the detectable level of 55 nanograms
 16              Is that fair?                         16   per gram in meconium?"
 17        A. Can you rephrase the ques --             17             Do you see that question?
 18        Q. Sure.                                    18        A. Uh-huh.
 19        A. You said I had a concern?                19        Q. Can you answer that question?
 20        Q. I thought you testified earlier          20        A. Oh, yeah. So the question
 21    that in Baker -- when you did Baker 2020,       21   is -- is -- based on our data is pretty
 22    which we're going to get to, you did an         22   simple to believe, that because we found
 23    analysis that removed the mothers who were      23   about 55 percent of women who had detectable
 24    administered acetaminophen at the time of       24   level of meconium {sic}, that is
 25    childbirth, right?                              25   approximately the same proportion of women

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  1    who gets -- who gets acetaminophen during        1            In this case, by the way, we
  2    pregnancy, that it's about the same              2   don't find an association, but in Baker we
  3    situation; that the level of detection was       3   do.
  4    set on purpose, by the way, by our               4            And that really is the -- that
  5    biochemist. It was set to a level that is        5   really is the -- a great level of evidence
  6    consistent with taking acetaminophen orally.     6   for a toxicologist, because a toxicologist
  7             If the level of detection were          7   wants to measure in the tissue. A
  8    put lower -- and we have control on the level    8   toxicologist not typically worried about
  9    of detection. If the level of detection was      9   what the -- what is the level of exposure.
 10    put lower, we would pick up also                10   They're worried about can we get something
 11    acetaminophen in the environment.               11   that's more proximal.
 12             For instance, you can go in the        12            You can -- I think you
 13    public water in New York City or can take       13   understand that once a mom takes
 14    analysis of the sewers, you will find           14   acetaminophen, it goes into the mom's body,
 15    acetaminophen.                                  15   it goes into -- through the placenta, it goes
 16        Q. Okay. So --                              16   into the fetus. So having it in the fetus is
 17        A. And this was set with -- to be           17   more proximal to the effect.
 18    consistent with a therapeutic dose.             18            So this is why this paper is
 19        Q. So according -- what you're              19   important. This is why I was not worried
 20    saying, Dr. Baccarelli, is that if a woman      20   about this situation.
 21    takes a single dose of oral acetaminophen at    21            And again, if you want to me --
 22    any time in the second or third trimester of    22   to answer, I mean, I don't have -- I don't
 23    pregnancy, it will be represented in meconium   23   have absolute certainty that what I say is
 24    at a level of 55 nanograms per gram or          24   true, but as I sit here today, I believe that
 25    higher, right?                                  25   taking acetaminophen orally in the -- in the

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  1        A. What I'm saying is that the               1   form is why this gets positive in meconium.
  2    detection limit was set to approximately --      2       Q. Okay. Doctor, I'm going to try
  3    what you are saying is too conclusive --         3   this once more.
  4    approximately to a level that can detect         4           This reviewer's question was,
  5    therapeutic use of acetaminophen.                5   "How much dose does a pregnant woman need to
  6            And also, I think you                    6   take to reach the detectable level of
  7    appreciate that this analysis is not just a      7   55 nanograms per gram in meconium?"
  8    yes or no. We have the levels from 55 to         8           Can you answer that question?
  9    levels much higher, and we did a                 9       A. I did already answer.
 10    dose-response analysis.                         10       Q. Okay. How much dose? What
 11            So clearly it is not about              11   dose?
 12    whether I can pick out acetaminophen or not,    12       A. I did answer that -- I'm
 13    but whether I can measure it.                   13   reasonably comfortable to say that this --
 14            And again, this very important          14   the level of detection is consistent with
 15    because we are measuring acetaminophen in the   15   taking acetaminophen by the pregnant woman
 16    fetus. So in the fetus, we have                 16   orally.
 17    acetaminophen that comes from the mother --     17           At the same time, I also
 18    unless you object it might -- it might come     18   answered that this is not important to this
 19    from somewhere else. The fetus -- everything    19   paper. This paper is about a different
 20    that comes to the fetus comes from the          20   question, which is, is acetaminophen in the
 21    mother.                                         21   baby, in the fetus, in this case, associated
 22            But the real important point of         22   with neurodevelopmental outcome.
 23    this paper is that we are associating           23           The question about how many --
 24    acetaminophen in the fetus, the molecule,       24   the question about whether women takes it or
 25    with neurodevelopment.                          25   not and the association with acetaminophen is


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  1    proven by at least another 29 papers. So I       1   IQ, with a measure of IQ. And they're
  2    don't need this paper to talk about -- to        2   associated in the larger study of Baker with
  3    talk about the general causation of women        3   ADHD and other outcomes.
  4    taking acetaminophen.                            4            So, again, what I look as an
  5        Q. Okay. The next line says, "How            5   epidemiologist -- you can understand that
  6    much more does the pregnant woman need to        6   epidemiology is about associations, so it's
  7    take to reach the median concentration of        7   about correlations. And I have all the
  8    59.9 nanograms per gram used in the study?"      8   correlations I need in this case to state
  9             Can you answer that question,           9   with certainty that this data are valid.
 10    Dr. Baccarelli?                                 10       Q. Okay. Is that the best you can
 11        A. I would answer the same way I            11   answer that question, Doctor?
 12    answered before. It's exactly the same.         12       A. I can go on for another hour if
 13    Again, this reviewer misses the idea that we    13   you want to, but it's already a pretty
 14    are looking at acetaminophen versus -- in the   14   comprehensive answer.
 15    fetus and neurodevelopment.                     15       Q. Dr. Baccarelli, when is
 16        Q. Okay. Dr. Baccarelli, is it              16   meconium collected from the baby?
 17    your testimony that one pill taken in the       17       A. In -- usually within 24 hours
 18    second or third -- 1,000-milligram              18   of delivery.
 19    acetaminophen pill taken in the second or       19       Q. Okay. And when does meconium
 20    third trimester by a pregnant woman will        20   stop collect -- stop representing maternal
 21    result in a meconium concentration of           21   ingestion?
 22    acetaminophen of more than 55 nanograms per     22       A. About the time the baby is
 23    gram?                                           23   delivered.
 24        A. No, it is not my testimony.              24       Q. Okay. And can meconium
 25        Q. Okay. How much -- if you                 25   represent the baby's acetaminophen usage?

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  1   take -- if a pregnant woman takes                 1        A. You mean after delivery?
  2   acetaminophen in the second trimester, how        2        Q. Yes.
  3   many pills does it take -- how many               3        A. It's highly unlikely.
  4   thousand-milligram pills does it take to get      4        Q. Are you familiar with
  5   to 55 nanograms per gram of meconium? Do you      5   medications given for circumcisions?
  6   know?                                             6        A. Yes.
  7       A. We know exactly what we need to            7        Q. Is acetaminophen given to male
  8   know, which is the more pills you take, the       8   babies being circumcised?
  9   higher the level in the fetus. This is what       9        A. It is possible.
 10   I want to know.                                  10        Q. Okay. Does it happen within
 11            If you want to know a different         11   the first 24 hours of birth?
 12   answer, that is not something we can address     12        A. It depends on the uses of -- it
 13   based on this paper or the data that I'm         13   depends on whether it's done at the hospital
 14   aware of.                                        14   or not.
 15            But we know, A, that there is a         15        Q. If it's done at the hospital,
 16   dose-response relationship between any type      16   it's typically done within the first
 17   of chemicals women take and meconium. We         17   24 hours, correct?
 18   know that meconium is a very well-established    18        A. I -- I really don't know
 19   substrate for this type of analysis. We know     19   what -- how circumcision is done. I'm so
 20   that there is a strong correlation between       20   sorry.
 21   what chemicals women are exposed to and          21            If you want to tell me, I'll be
 22   meconium.                                        22   happy, but I don't think that is relevant,
 23            In this case, we know that the          23   really.
 24   levels of meconium of acetaminophen are not      24            Again, most of these babies
 25   associated, by the way, in this paper with       25   pass meconium within 24 hours. You

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  1    understand that acetaminophen needs to be        1   meconium can reflect use of acetaminophen
  2    given to the baby. It needs to -- to get         2   directly by the baby for something like
  3    absorbed, it takes a few hours. It needs to      3   circumcision in the first 24 hours?
  4    work with circulation. It needs to pass into     4       A. I just said it's very unlikely.
  5    the bile, into the liver. It needs to go --      5       Q. Okay. And is that based on any
  6    that takes at least 12 or 14 hours. So there     6   analysis that you did or just your own
  7    might be some people.                            7   opinion without being an expert on
  8              At the same time, it's entirely        8   circumcision and what medications are
  9    poss -- if you're asking whether this            9   administered?
 10    reflects postnatal exposure, let's say that I   10            MR. SNIDOW: Objection to form.
 11    agree with that, which is honestly very         11            THE WITNESS: I don't claim to
 12    unlikely. But there is plenty of papers that    12       be an expert on circumcision. To be
 13    have asked these questions in the literature,   13       honest, I don't want to be.
 14    not this one, whether it's prenatal exposure    14            But the -- I think it's based
 15    confounded by postnatal exposure. So the        15       on logic. It's based on fact. It's
 16    culprit -- the culprit will be postnatal, not   16       based on timing. It's based on the
 17    prenatal.                                       17       most reasonable assessment I can do.
 18              The answer is a resounding no.        18            And if you have any point in my
 19    It is the preclinical exposure.                 19       response that you don't agree with,
 20              Perhaps the postnatal is a            20       I'm happy to discuss any of the points
 21    problem, and you might have a problem in the    21       I guided you through.
 22    future about postnatal exposure. But            22   QUESTIONS BY MR. MURDICA:
 23    postnatal exposure doesn't artifactually        23       Q. No, I just -- I'm helping -- I
 24    makes appear the prenatal exposure to be        24   just want the record to reflect, you know,
 25    associated with ADHD, ASD or                    25   all of the reasons that you're dismissing

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  1    neurodevelopmental disorder.                     1   that as a possible contributor to
  2              So even in the unlikely                2   acetaminophen burden in the meconium.
  3    circumstance that meconium reflects a tiny       3            And you've given those to us,
  4    bit, really, it needs to be very small, of       4   right?
  5    the exposure to Tylenol after pregnancy.         5       A. I -- there are six months of
  6    Again, it's not the postnatal exposure that      6   exposure through the mothers that is
  7    matters here; it's the prenatal.                 7   reflected in. There might be a few hours
  8              There are other kinds of               8   that the babies are exposed to in the -- in
  9    studies that shows the prenatal.                 9   the -- in the -- postnatally. There might be
 10         Q. So, Dr. Baccarelli, the most            10   some meconium that gets in, but I think it's
 11    recent exposure of the child prior to passing   11   very unlikely that it gets in.
 12    the meconium is not reflected more strongly     12       Q. Are babies exposed to
 13    than more distant exposures earlier in the      13   acetaminophen through breastfeeding?
 14    pregnancy, correct?                             14       A. If the mother is taking
 15         A. As I mentioned, the meconium            15   acetaminophen, of course.
 16    is -- traps the chemicals over time, so         16       Q. Okay. Can that contribute to
 17    meconium reflects cumulative exposure over      17   meconium burden?
 18    five months. It is well-established.            18       A. Again, that is before. As you
 19              There is a slightly increase          19   understand, breast milk is ingested orally.
 20    over -- overrepresentation of chemicals that    20   Acetaminophen, the baby can get ingested
 21    come in the -- over time because the meconium   21   orally or IV.
 22    volume tends to grow a little more as the       22            That's exactly the same
 23    baby because bigger.                            23   response as before. It's highly unlikely
 24         Q. Okay. And Dr. Baccarelli, I             24   that the results are driven by meconium -- by
 25    think, agrees with me that it's possible that   25   acetaminophen administered after pregnancy.

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  1             At the same time, I understand          1            Let me ask you about your views
  2    that for you that it might look like there is    2   on statistical significance.
  3    a before delivery and after delivery, but the    3        A. Uh-huh.
  4    prenatal baby is the same. So even if there      4        Q. When you did your analysis
  5    was a contribution after delivery, it's still    5   here, did you focus on point estimates that
  6    acetaminophen getting into the baby and          6   were positive with statistically significant
  7    causing the outcomes we are discussing.          7   odds ratios?
  8        Q. Okay. So in Dr. Baccarelli's              8        A. I focused on the entire
  9    opinion, exposure postnatal can also cause       9   literature. I focused on all the papers I
 10    autism?                                         10   reviewed, whether they're significant or not,
 11             MR. SNIDOW: Objection to form.         11   whether they had a positive association or
 12             THE WITNESS: I didn't -- I             12   not, whether it was null, negative. So I
 13        didn't say that. I didn't do a              13   reviewed everything.
 14        Bradford Hill analysis on this. I           14            And I -- in my assessment I
 15        didn't do a literature review of this.      15   used both the point estimates and the
 16             When I actually did my                 16   statistical significance, as recommended by
 17        literature review, as you certainly         17   any epidemiology textbook.
 18        read in my report, I excluded all           18        Q. Okay. But you are not part of
 19        those studies about postnatal exposure      19   a group of -- that thinks statistical
 20        from my review. Therefore, I didn't         20   significance should be abandoned or anything
 21        look at that.                               21   like that, right, Doctor?
 22             I did look, though, at whether         22            MR. SNIDOW: Objection to the
 23        postnatal exposures are confounded,         23        form.
 24        which means when we look at the             24            THE WITNESS: I don't think
 25        association between prenatal exposure       25        anyone has ever said that. Not

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  1       and NDDs, is this real or maybe it's          1       really. No one ever said that.
  2       caused by postnatal exposure.                 2   QUESTIONS BY MR. MURDICA:
  3            It is not caused by postnatal            3       Q. Okay. You mean nobody ever
  4       exposure. It has been assessed in             4   said that about you, right?
  5       many studies, and postnatal exposure          5       A. No. I mean that p-values
  6       is not a problem.                             6   should be abandoned. As you understand,
  7   QUESTIONS BY MR. MURDICA:                         7   confidence intervals and p-values are
  8       Q. Okay. Dr. Baccarelli, when you             8   interrelated with each other, so the moment
  9   did the sensitivity analysis in Baker 2020        9   you present a confidence interval, you're
 10   and excluded the women who were administered     10   also giving me information about the p-value.
 11   Tylenol during labor and delivery, how did       11       Q. Okay.
 12   you choose which women to exclude?               12       A. So I think people have said
 13       A. I'm -- I think -- I mean, can             13   that -- there are colleagues, typically
 14   we look at the paper now? It would be            14   clinicians, that rely -- over-rely on
 15   important for me to --                           15   p-values. And there has been a movement in
 16       Q. You don't remember?                       16   epidemiology to -- not to publish p-values
 17       A. I want to be sure 100 percent.            17   because some people apparently are too eager
 18   But I can look at the paper here. If you         18   to jump to conclusions only based on
 19   want to give me the paper, I'll be happy to      19   p-values.
 20   discuss this.                                    20       Q. Right.
 21       Q. I really don't want to take the           21            And in fact, the New England
 22   time to mark it right now because we're going    22   Journal of Medicine changed their standards
 23   to do that after lunch.                          23   on p-values for that reason, right?
 24            I'll ask a different question           24       A. If you want to tell me what
 25   if you can't remember.                           25   they did, let me know.

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  1         Q. Okay. But it seemed like you             1   published looking at exposure during
  2    were familiar with it, which is why I asked.     2   pregnancy and what exposures look like in
  3         A. There are 2,000 journals in the          3   meconium, right?
  4    literature. What the New England Journal of      4       A. Correct.
  5    Medicine does today, I really -- if you have     5       Q. Okay. And what you found is
  6    an opinion on that that is important to the      6   that acetaminophen administered during labor
  7    discussion today, please let me know.            7   showed a significant increase in the meconium
  8         Q. What p-value -- what range of            8   acetaminophen concentration, right?
  9    p-values are important to you, Doctor?           9       A. Sorry, say that again?
 10         A. All of them. The p-value is a           10       Q. Acetaminophen administration
 11    number that goes from zero to 1. I want to      11   during labor was associated with a
 12    look at all of it.                              12   significant increase in meconium
 13             Of course, I mean, there is an         13   acetaminophen concentration, correct?
 14    agreement in the general community that         14       A. Correct. We found that, and we
 15    p-values that are less than 0.05 may evaluate   15   found also an increase in -- during
 16    one single study, makes a -- makes the study    16   pregnancy.
 17    so-called statistically significant.            17       Q. My question was,
 18         Q. And if you have multiple                18   acetaminophen --
 19    endpoints you're looking at with p-values,      19       A. Yes, your question --
 20    then 0.05 may not be as meaningful, right?      20       Q. Did you find a significant
 21         A. That depends on the type of             21   increase in meconium acetaminophen
 22    study. It assumes the outcomes are not          22   concentration from acetaminophen
 23    correlated to each other and the exposures      23   administration during labor?
 24    aren't correlated with each other.              24       A. Yes, we did.
 25             (Baccarelli Exhibit 92 marked          25       Q. Okay. And what was the p-value

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  1        for identification.)                         1   of that?
  2    QUESTIONS BY MR. MURDICA:                        2       A. 0.002.
  3        Q. Let's mark this.                          3       Q. Okay. So are you pretty
  4             Okay. Dr. Baccarelli, you now           4   certain that that was a real finding?
  5    have in front of you what's been marked as       5       A. Yeah. As expect, as I
  6    Exhibit 92.                                      6   mentioned before, I really -- it's clear, as
  7             Do you recognize this?                  7   I said, that that can be reflected in
  8        A. No. I -- I'm sure it's                    8   acetaminophen -- in the meconium.
  9    something I coauthored. I am -- okay.            9       Q. The administration during the
 10        Q. It has your name on it, right?           10   time of childbirth has a strong association
 11        A. Yes.                                     11   with the presence of meconium, correct?
 12        Q. Is this the abstract you've              12       A. Has an association, and you can
 13    referred to a couple times regarding            13   see the effect size is 2.30 to 2.15. It is
 14    meconium?                                       14   statistically significant, but I wouldn't say
 15        A. I don't know. Can I read it?             15   strong. I mean, strong depends on compared
 16        Q. Go ahead.                                16   to what. The intensity of association is not
 17        A. Oh, yes, this is the one. Very           17   measured by the p-value.
 18    nice.                                           18       Q. The p-value is less than .05,
 19             Yeah.                                  19   correct?
 20        Q. Are you ready?                           20       A. 0.002.
 21        A. Yep.                                     21       Q. So much, much less than 0.05,
 22        Q. Okay. So, Dr. Baccarelli,                22   right?
 23    Exhibit 92 --                                   23       A. Enough.
 24        A. Uh-huh.                                  24       Q. Okay. And then acetaminophen
 25        Q. -- is the abstract you                   25   intake during pregnancy itself was marginally

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  1    associated with meconium concentrations,         1            So we only have five people.
  2    right?                                           2   So you can imagine, we have five women
  3        A. And I can tell you why. That              3   reporting acetaminophen as being exposed, and
  4    analysis had a sample size of five. There        4   then you have in the unexposed 233. Probably
  5    were only five women that in our database had    5   120 of those actually took acetaminophen but
  6    reported to have taken acetaminophen during      6   didn't tell us.
  7    pregnancy. Because we never asked --             7            So it's pretty remarkable,
  8    actually, the colleagues who worked on the       8   actually. I have to say, it's pretty
  9    study -- I was not involved in the study back    9   remarkable with only five women we can see a
 10    then, but in -- when the study was started      10   difference that is not of statistical
 11    15 years ago now, they just said one            11   significance, but it's getting there.
 12    question. They said, have you taken any         12            So, I mean, again, I never
 13    medications during pregnancy.                   13   published these results, but I don't think
 14             If you want to study                   14   that they're valid. But at the same time, it
 15    acetaminophen, you need to ask about            15   gave me the peace of mind that acetaminophen
 16    acetaminophen. You need to really say, have     16   really -- the meconium actually was.
 17    you taken acetaminophen during pregnancy, and   17       Q. Are you done?
 18    they will say yes or no.                        18       A. As always.
 19             In this case, you -- we asked,         19       Q. Dr. Baccarelli, that answer
 20    have you taken any medications. And you can     20   that you just gave applies to the entire
 21    understand, that a sentence -- it's a type of   21   GESTE cohort, right?
 22    formulation that is not valid for               22       A. No. The answer I just gave
 23    acetaminophen.                                  23   applies to the -- these 238 women.
 24             Because as I said,                     24            But what do you mean in
 25    acetaminophen is often over the counter, and    25   particular? Which part is --

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  1    women will not feel it's a, quote/unquote,       1        Q. There's a lot of parts in your
  2    medication.                                      2   answer that I didn't ask for.
  3         Q. And that --                              3        A. Okay.
  4         A. So this is why we never                  4        Q. The 238 women are from the
  5    published these results, because we realized     5   GESTE cohort, correct?
  6    that the question is not valid.                  6        A. Correct.
  7              So as far as I'm concerned --          7        Q. Okay. And your testimony,
  8    as I said before, this data didn't create any    8   which is not reflected in the abstract, is
  9    alarm in my group because as you can see, the    9   that there were only five women who were
 10    level of acetaminophen goes up from 2.5 to      10   administered acetaminophen out of those 238
 11    3.83. It's actually remarkable that with        11   who were not also given it at labor?
 12    only five women reporting acetaminophen,        12        A. Absolutely not. I didn't say
 13    it -- this 300 -- 238. So we would have         13   that.
 14    expected, I don't know, 120 to have used        14        Q. Okay.
 15    acetaminophen, and only five actually -- they   15        A. I actually said the opposite.
 16    might have said, okay, I took an                16             I said that only -- in this
 17    antihypertensive. I took -- I took drugs        17   questionnaire that asks in general, which
 18    that were prescribed by my physician. But       18   drugs did you take. So you understand, when
 19    clearly it didn't occur to them and their --    19   we ask about drugs, we give women usually a
 20    we might have liked them to tell us also        20   list of drugs.
 21    about Tylenol.                                  21             In this case we asked, which
 22              So this instrument, we talk           22   medications are you taking, and women didn't
 23    about validity of instrument. The question      23   realize that acetaminophen -- in our
 24    we used for acetaminophen clearly was not       24   interpretation, women didn't realize that
 25    valid.                                          25   acetaminophen is a medication. So they

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  1    didn't report in the overwhelming majority of    1   situation, and she confirmed that only five.
  2    cases whether they reported acetaminophen --     2            I don't remember she told me
  3    whether they were using acetaminophen.           3   how many there were in the other group.
  4             So I have no reason to believe          4   Probably not.
  5    that in GESTE the prevalence of use of           5        Q. Okay. So it's your testimony
  6    acetaminophen is different than the rest of      6   here today that you called Dr. Laue a couple
  7    Canada, which is about 55, 60 percent. So        7   days ago to ask about how many -- the number
  8    clearly there is a huge misclassification        8   of women that were accounted for in each of
  9    here that would drive the results toward the     9   these numbers reported here?
 10    null.                                           10        A. No, I called her in general
 11             So if any -- it's pretty               11   to discuss whether there was any weakness in
 12    impressive, actually. It's almost a             12   meconium, because she is the person who
 13    50 percent increase in acetaminophen with       13   worked a lot on meconium.
 14    only five cases of women -- this actually is    14            She says she didn't see any
 15    certainly a false -- false negative. It         15   weakness. She didn't see any problem to be
 16    should be much higher, if I had all the data.   16   concerned.
 17        Q. Dr. Baccarelli, which of those           17            I really wanted to have a final
 18    numbers reflects five women?                    18   discussion with her, and I told her, you
 19        A. Is the micro -- it's the -- how          19   know, I'm working on this litiga -- on this
 20    do you say, 2.51 to 3.83. The 3.83 are based    20   litigation -- sorry, it's not litigation --
 21    on five women. The 2.51 is based on all the     21   this case, and I wanted to really be sure
 22    others, which is 233.                           22   that my understanding was similar to her.
 23             So let me get this from the            23   Because she definitely worked on meconium
 24    beginning.                                      24   data much more than I did.
 25             The 2.51 is based on three --          25            And especially I wanted to be

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  1    283 women, and the 3.83 is based on five         1   absolutely sure -- what the question I really
  2    women. And again, in the 3.83, there are         2   had is that in reading Baker, it occurred to
  3    certainly 50 percent of them who did take        3   me that we did have data of -- on
  4    acetaminophen but didn't tell us.                4   acetaminophen taken during -- at the time of
  5             So you can understand how we            5   delivery. So I thought, have we ever looked
  6    are comparing five women who take                6   at that.
  7    acetaminophen who thought it was important to    7            So I called Hannah to say, have
  8    take it. Perhaps even the women who took it      8   you ever looked at whether acetaminophen at
  9    longer. Perhaps they're reminded because         9   time of delivery is associated with
 10    they took it longer.                            10   acetaminophen in meconium. And she pointed
 11             But we're comparing them to a          11   me to this abstract where there are these
 12    group of people that is mixed, where it's       12   data that are not just about -- I was
 13    likely that 50 percent of the people in the     13   surprised, actually, that we had looked -- I
 14    251 group actually did take acetaminophen but   14   didn't even remember we had data incomplete
 15    didn't report it.                               15   but on acetaminophen during pregnancy.
 16         Q. Dr. Baccarelli, the testimony           16            And so she pointed out that we
 17    that there were only five people in the 3.83    17   had done this analysis, and then I remembered
 18    group, that's -- you're doing that from         18   that we decided not to publish because the
 19    memory, right? Because that's not reflected     19   question that helped us collect the data
 20    in Exhibit 92?                                  20   about pregnancy, about acetaminophen during
 21         A. I actually called Hannah the            21   pregnancy, was not considered a valid
 22    day before yesterday because I thought you      22   instrument.
 23    would ask me about this, and I -- Hannah Laue   23       Q. Dr. Baccarelli, you published
 24    is the person here, and I asked her what was    24   this abstract, right?
 25    the number of people and why we had this        25       A. Correct.

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  1        Q. Okay. And the abstract                    1        disorders.
  2    reported in the plain language, it didn't --     2            I was not asked to -- I was not
  3    it doesn't contain anything that you just        3        asked to review the literature about
  4    said. It reports that there's a significant      4        acetaminophen at delivery, so I
  5    increase of an association when Tylenol --       5        haven't done that.
  6    when acetaminophen is administered during        6   QUESTIONS BY MR. MURDICA:
  7    labor, correct?                                  7       Q. Okay. So if I asked you right
  8        A. What -- sorry, can I -- I'm not           8   now, can -- Dr. Baccarelli, can acetaminophen
  9    sure I understand the question.                  9   taken during delivery induce autism, cause
 10        Q. Okay. All of the                         10   autism, in the child, you would say you
 11    qualifications that you just gave, everything   11   hadn't done that analysis, correct?
 12    you said critical of this analysis, is not      12        A. Delivery is a part of
 13    present in the analysis itself, correct?        13   pregnancy, so if pregnancy as a whole -- as a
 14        A. It was present in the                    14   whole causes autism, it stand to reason that
 15    presentation that Hannah gave. It was a         15   also -- you might have a damaging effect also
 16    well-presented representation that Hannah       16   if given at delivery.
 17    gave at the conference.                         17            But, again, yeah, I want to
 18            You understand that the                 18   point that in our analysis we exclude also
 19    abstracts for a conference are given to         19   the women who took acetaminophen at delivery,
 20    indicate the topic, and the type of -- and      20   and the results were the same. So we don't
 21    the type of presentation is going to give is    21   have a reason to think that acetaminophen
 22    supposed to be an overview.                     22   given at delivery is the only culprit here.
 23        Q. Okay. You were there?                    23   It might be one of the culprits, but we have
 24        A. I was there, yeah.                       24   many culprits here, and certainly during
 25        Q. Okay. So you remember six                25   pregnancy is important.

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  1    years ago how she presented this abstract?       1            MR. SNIDOW: Okay. Jim, it's
  2        A. No, she shared candidly with me           2       12:30. Do you want to do lunch?
  3    the slide deck that she used.                    3            MR. MURDICA: Let me just
  4        Q. Okay. And do you have that?               4       finish this question --
  5        A. Not here.                                 5            MR. SNIDOW: Go for it.
  6        Q. Okay. We'll request that.                 6            MR. MURDICA: -- because I
  7             Okay. Do you agree, Doctor,             7       don't think I got an answer.
  8    with the conclusion in the abstract that         8   QUESTIONS BY MR. MURDICA:
  9    delivery administration of acetaminophen is      9       Q. This is as to autism,
 10    well-represented in meconium?                   10   Dr. Baccarelli.
 11        A. Again, I agree that meconium             11       A. Okay.
 12    captures five months of pregnancy, including    12       Q. And so I actually have two more
 13    that -- at the time of delivery, which,         13   questions because I'm going to ask it about
 14    anyhow, we have no reason to believe it         14   ADHD, too.
 15    cannot be toxic to the fetus.                   15       A. Okay.
 16        Q. Okay. So it's Dr. Baccarelli's           16       Q. As to autism, according to
 17    testimony that acetaminophen intake on the      17   Dr. Baccarelli sitting here today in
 18    day of delivery can cause autism in the         18   August 2023, can acetaminophen taken by the
 19    offspring, right?                               19   mother on the day of delivery cause autism in
 20             MR. SNIDOW: Objection to form.         20   the baby?
 21             THE WITNESS: I didn't say              21       A. Again, I reviewed the pregnancy
 22        that. It's my opinion that                  22   as a whole, and as a whole, pregnancy is
 23        acetaminophen taken during pregnancy        23   associated with autism and ADHD, if you want
 24        is a cause associated with autism,          24   to hear that.
 25        ADHD and other neurodevelopmental           25            And I haven't looked at the day

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  1    of delivery in isolation, so I can't answer      1   they come along, but what I want to assure
  2    that. It might be biologically likely or it      2   you is that I assessed all the measure and
  3    might -- it's likely it's a problem, but I       3   primary causes -- potential causes of autism
  4    don't have the -- I haven't looked -- I          4   in addition to the literature between ADHD --
  5    haven't looked at the literature only by         5   sorry, acetaminophen and autism.
  6    filtering the results that tell about the day    6            So I was able to exclude that
  7    of delivery.                                     7   the results for the association between
  8         Q. Okay.                                    8   acetaminophen and autism may be biased by
  9              MR. SNIDOW: You got both in            9   other confounders, which may be risk
 10         one.                                       10   factor -- other risk factors of autism.
 11              MR. MURDICA: All right.               11            VIDEOGRAPHER: I'm sorry,
 12              VIDEOGRAPHER: The time right          12       Doctor, your microphone came off.
 13         now is 12:31 p.m. We are off the           13            THE WITNESS: Oh, so sorry.
 14         record.                                    14       Sorry. Good catch. Thank you.
 15          (Off the record at 12:31 p.m.)            15   QUESTIONS BY MR. MURDICA:
 16              VIDEOGRAPHER: The time right          16       Q. Dr. Baccarelli, I'm now going
 17         now is 1:08 p.m. We are back on the        17   to you ask the same question about ADHD.
 18         record.                                    18            Prior to your determination
 19    QUESTIONS BY MR. MURDICA:                       19   here that prenatal acetaminophen exposure can
 20         Q. Dr. Baccarelli, welcome back            20   cause ADHD in the child, had you done any
 21    from lunch.                                     21   causation analyses on causes of ADHD in
 22         A. Thank you.                              22   children from exposures during pregnancy?
 23         Q. Are you ready to proceed?               23       A. I mean, I have -- and I have
 24         A. Absolutely.                             24   the same answer. I worked -- I had worked on
 25         Q. Dr. Baccarelli, prior to your           25   ADHD -- and the question is before the work

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  1    work on this litigation, did you ever seek to    1   I've done here.
  2    determine causes of autism in children?          2       Q. Correct.
  3         A. As you know, I worked                    3       A. I've done -- I did informal
  4    extensively in neurodevelopment, but I           4   analysis of the same type. I mean, not with
  5    haven't published on autism and causes of        5   the same level of detail and transparency,
  6    autism in children.                              6   but I did work on ADHD and published several
  7         Q. Okay. Do you -- beyond your              7   papers on ADHD and causes of ADHD. So in
  8    opinion that acetaminophen exposure during       8   that -- in that -- in those papers, there is
  9    pregnancy can cause autism here, do you have     9   language about associations and potential
 10    opinions on other causes of autism?             10   causation.
 11         A. There is -- there is plenty of          11       Q. For example, a lack of
 12    literature about potential and established      12   breastfeeding during early childhood is,
 13    causes of autism, and that is in the            13   according to your work, a cause of ADHD,
 14    literature.                                     14   correct?
 15         Q. Okay. Sitting here today, what          15       A. I didn't see that in my work.
 16    established causes of autism do you             16             You mean in my published work?
 17    recognize?                                      17       Q. I thought so, but that's okay.
 18         A. I mean, if we -- if you want me         18   I'm just asking you. If the answer is no,
 19    to discuss that with same level that I am       19   that's fine.
 20    talking about acetaminophen, there is very      20       A. I wouldn't -- sorry, I didn't
 21    little I can say with the same certainty        21   understand the question.
 22    because I haven't done a Bradford Hill          22       Q. Okay. Sitting here today,
 23    analysis. I haven't done an extensive review    23   Dr. Baccarelli, do you believe that a lack of
 24    of the literature.                              24   breastfeeding the child causes ADHD in the
 25              So I'm ready to discuss them as       25   child?

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  1        A. I wouldn't be able to answer              1   the fever-reducing indication, happens only
  2    this question. I mean --                         2   in a small amount of women.
  3        Q. Okay.                                     3            There are a lot of studies that
  4        A. -- I don't think there is                 4   have looked at whether the effect of Tylenol
  5    enough information I'm aware to answer this      5   changes according to whether it's been
  6    question.                                        6   reported to be because of fever or not, and
  7             It might have been one of the           7   there is not a lot of changes because of
  8    risk factors that have been studied -- in        8   that.
  9    studies, but I -- it's not one of the typical    9            So the -- we are -- based on my
 10    risk factors that are usually considered for    10   review, I concluded that there is no evidence
 11    ADHD.                                           11   that fever is confounding the association
 12        Q. Okay. If I asked you the same            12   between Tylenol during pregnancy and ASD in
 13    question for autism and the lack of             13   the children.
 14    breastfeeding, would you give me the same       14       Q. Do you remember my question,
 15    answer?                                         15   Dr. Baccarelli?
 16        A. Similar answer. There are --             16       A. Yes.
 17    there might have been studies that looked at    17            MR. SNIDOW: Objection.
 18    lack of breastfeeding and autism.               18            THE WITNESS: I did answer.
 19             If you look at the major               19   QUESTIONS BY MR. MURDICA:
 20    authorities like the CDC or other               20       Q. Okay. I'll ask it again.
 21    associations that deal with autism directly,    21            Dr. Baccarelli, do you agree
 22    they would not put breastfeeding as one of      22   that untreated fever during pregnancy is a
 23    the risk factors that's typically shown to be   23   cause of autism in the child?
 24    associated with ASD.                            24       A. Again, there are -- there
 25        Q. Okay. Dr. Baccarelli, do you             25   are -- there are several studies that show

                                           Page 234                                           Page 236
  1    agree that untreated fever during pregnancy      1   that. I didn't do a formal analysis, so I
  2    is a cause of autism in the child?               2   can't tell you with the same certainty as
  3        A. Untreating fever during                   3   for acetaminophen and ASD whether there is
  4    pregnancy has been -- are you asking about       4   the same level of certainty. But, yes, there
  5    autism only or also ADHD?                        5   is -- there are plenty of associations that
  6        Q. Autism only.                              6   prompted me to consider fever as a potential
  7        A. Untreated fever during                    7   confounder.
  8    pregnancy, pregnancy, correct, it has been       8        Q. Okay. I'm still not sure that
  9    associated with autism in many studies,          9   you answered.
 10    including the ones -- some of the ones I        10             Are you agreeing with me or
 11    reviewed.                                       11   disagreeing with me that fever, untreated,
 12            At the same time, the way I             12   during a pregnancy in a woman can be a cause
 13    approached this question for my review was to   13   of autism in the child?
 14    understand whether there were differences       14        A. So --
 15    between women who take Tylenol for any reason   15             MR. SNIDOW: Objection to the
 16    as opposed to women who take Tylenol because    16        form.
 17    of fever.                                       17             THE WITNESS: So fever is one
 18            And, first of all, women who            18        of -- is -- has been suggested to be a
 19    take Tylenol because of fever are only 8 to     19        cause, and I can agree with that.
 20    20 percent of the women, pregnant women, who    20             At the same time, it is not --
 21    take Tylenol. So fever is a smaller             21   QUESTIONS BY MR. MURDICA:
 22    proportion.                                     22        Q. Can or cannot?
 23            Most of the Tylenol during              23        A. I can agree with that.
 24    pregnancy is taken because of pain or           24             At the same time, it's not a
 25    headaches. And so the fever-reducing effect,    25   confounder, so it's not the reason why we see

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  1    the associations between acetaminophen and       1   tell you what I wrote in my report. There
  2    ASD or acetaminophen and ADHD in the             2   are a few things that can cause autism.
  3    literature.                                      3   Particularly if you look, for instance, at
  4         Q. So are you also agreeing then,           4   the CDC for autism reports, older parents and
  5    Dr. Baccarelli, that untreated fever during      5   OB/GYN complication at birth. And there is
  6    pregnancy can cause ADHD in the child?           6   some indication that genetics contributes to
  7         A. Again, we have -- there is               7   autism. And I wouldn't say cause, because
  8    evidence that that is true. At the same          8   cause is a loaded question. And genetics
  9    time, I repeat that I've looked at the           9   cause almost nothing. It contributes to a
 10    literature, and while it may be a cause, it's   10   lot of disease.
 11    not a confounder. So the association between    11        Q. There are -- you're aware of
 12    acetaminophen and ADHD is not due to fever.     12   genetic syndromes, right, Doctor?
 13             Women who have fever and take          13        A. Absolutely.
 14    acetaminophen have a problem. Women who         14        Q. And genetic syndromes are
 15    don't have fever and don't take                 15   caused by a particular gene, correct?
 16    acetaminophen -- take acetaminophen have a      16        A. If -- I wanted -- I made that
 17    problem as well.                                17   point exactly, because let's say genetic
 18         Q. Dr. Baccarelli, because we only         18   syndrome for autism. There is a -- they're
 19    have a limited amount of time, I would like     19   all called by different mutations. The most
 20    you to say on the record whether you think      20   common is p10.
 21    that I asked you about acetaminophen in this    21            p10 -- out of 100 people with
 22    last series of four questions about untreated   22   p10, only 20 get autism. So there is an
 23    fever.                                          23   increased risk if you have a p10, but it's
 24             Did I ask you about                    24   not a one-on-one correspondence. So you
 25    acetaminophen?                                  25   understand that I cannot say that p10 is the

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  1             MR. SNIDOW: Objection to the            1   only cause of autism in this case.
  2        form.                                        2            In the kids who have p10 and
  3             THE WITNESS: I -- we are                3   they have autism, it's entirely likely that
  4        talking about acetaminophen, so I made       4   the reason are the environmental factor that
  5        sure I wanted to make clear why I            5   intervenes. Because, again, out of five kids
  6        reviewed the literature.                     6   with p10, only one gets autism. Four do not.
  7             MR. MURDICA: Put this one               7       Q. Dr. Baccarelli, is maternal
  8        down.                                        8   stress associated with autism in the
  9             MR. SNIDOW: Just object to              9   offspring?
 10        form on that, too.                          10       A. I don't think there is a
 11             MR. MURDICA: Well, per your            11   consensus about that.
 12        suggestion, we're making a list of          12       Q. Okay. Have you looked?
 13        things in the event that we have to go      13       A. Yes, I did.
 14        to the Court on this because this --        14       Q. Okay. Have you seen evidence
 15        that was absurd.                            15   that it is -- that maternal stress is
 16             MR. SNIDOW: Objection to the           16   associated with autism in the offspring?
 17        form.                                       17       A. I didn't -- I didn't do a
 18             MR. MURDICA: Okay.                     18   formal analysis. So there are papers that
 19             MR. SNIDOW: We don't need the          19   might have reported that, but whether stress
 20        commentary.                                 20   is associated with autism in the -- in the
 21    QUESTIONS BY MR. MURDICA:                       21   child, I don't think there is conclusive
 22        Q. Okay. Dr. Baccarelli, what               22   evidence.
 23    else can cause autism according to              23            So at the same time, I did
 24    Dr. Baccarelli?                                 24   worry about stress. I did worry about
 25        A. You know, there are -- I can             25   anxiety. I did worry about neuroticism. And

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  1    I can say with absolute certainty that it's      1   sure that there was no evidence that the
  2    more reasonable than not that these have         2   results that we're discussing today between
  3    nothing to do in association with prenatal       3   acetaminophen and ASD or acetaminophen and
  4    acetaminophen and the ADHD and ASD.              4   ADHD are biased in any way by mental health
  5        Q. Dr. Baccarelli, if I asked you            5   in the mother, especially depression, and use
  6    the same question about maternal stress in       6   of antidepressant -- antidepressives.
  7    relation to ADHD, would you give me the same     7       Q. Okay. And you satisfied
  8    answer?                                          8   yourself of that by considering studies that
  9        A. Uh-huh.                                   9   controlled for those factors?
 10        Q. Okay. Dr. Baccarelli, do you             10            MR. SNIDOW: Objection to form.
 11    believe that maternal depression is             11            THE WITNESS: Not only. I
 12    associated with the outcome of autism?          12       considered plenty of evidence from
 13        A. Again, I haven't looked at               13       different levels. I consider studies
 14    maternal depression in general. There is a      14       that controlled for these factors. I
 15    lot of literature about maternal depression.    15       consider negative control exposures
 16    There's a lot of literature about               16       that are interesting because they add
 17    antidepressant, including valproic acid and     17       additional evidence to that, as I
 18    ASD.                                            18       wrote in my report.
 19              If you look at the measured           19   QUESTIONS BY MR. MURDICA:
 20    reference sources like the CDC website, it      20       Q. Did the negative control
 21    wouldn't list depression or even an             21   exposures look at maternal depression?
 22    antidepressant in that list. So, again, I       22       A. The negative control exposures
 23    think it's an interesting hypothesis that I     23   don't need to look at maternal depression.
 24    haven't reviewed in detail.                     24   They exclude any confounder based on the
 25              I did, though, look at the --         25   negative control exposure. So there is

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  1    at whether antidepression -- antidepressant      1   not -- that is not the way control exposures
  2    or depression might influence or bias the        2   work.
  3    association between acetaminophen prenatally     3             There is results of
  4    and the ASD in the child, and that is not the    4   sibling-control study that shows association
  5    case.                                            5   that is also very powerful, because
  6        Q. Okay. So, Dr. Baccarelli, your            6   sibling-control studies are very likely to be
  7    testimony is that taking antidepressants         7   false negatives for the way that the siblings
  8    doesn't cause autism, correct?                   8   are chosen, because they're too similar to
  9        A. No, I didn't say that.                    9   the other sibling.
 10              I said that there are                 10             So if you have a
 11    antidepressant that have been associated with   11   sibling-control study that shows an
 12    autism and that, of course, as -- of course     12   association, that is particularly powerful.
 13    there is a lot of literature, and I haven't     13       Q. Okay. Dr. Baccarelli, do you
 14    reviewed the same detail as here.               14   know from your own work or from your study if
 15              So what I said is that I              15   a woman, when pregnant, changes her behavior
 16    took -- I did my research and did the           16   as to taking or not taking medication?
 17    worst-case scenario that antidepressants and    17             MR. SNIDOW: Object to form.
 18    depression caused the autism. So for the        18             THE WITNESS: They might. I
 19    job -- for the work I did today, I started      19       have no doubt that there are changes
 20    from the worst-case scenario, the idea that     20       in behavior.
 21    that is true, as you say. But I didn't worry    21   QUESTIONS BY MR. MURDICA:
 22    about doing a formal analysis to verify         22       Q. In other words, when a woman
 23    whether it is true or not.                      23   becomes pregnant, she might be less likely to
 24              I just started from the               24   take medication because she's worried about
 25    worst-case scenario and worked back and make    25   the baby, right?

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  1             MR. SNIDOW: Object to form.            1       Q. Okay. And if you look, this is
  2             THE WITNESS: That is a                 2   a redline, right? Is it a redline format?
  3        hypothesis that might be true.              3       A. Yeah.
  4    QUESTIONS BY MR. MURDICA:                       4       Q. Okay. And do you see the
  5        Q. Okay. And once she gives                 5   comments in the margin, BA?
  6    birth, she might be more likely to take         6       A. Yes, I can see that.
  7    medication than when she was pregnant,          7       Q. That's you, right?
  8    correct?                                        8       A. Probably, yes. I think so.
  9             MR. SNIDOW: Object to form.            9       Q. Okay. So if you look at what's
 10             THE WITNESS: Perhaps.                 10   marked page 301 at the bottom --
 11    QUESTIONS BY MR. MURDICA:                      11       A. Uh-huh.
 12        Q. Okay. I want to go back to --           12       Q. -- do you see your comment
 13    we were talking about the Laue article -- or   13   there?
 14    Laue.                                          14       A. Yeah. Very consistent from
 15             How do you say Hannah's last          15   what I said before, I believe.
 16    name?                                          16       Q. Your comment is you're asking
 17        A. Laue. I wish I could say                17   if meconium exposure represents the third or
 18    right. Let's say Laue.                         18   second trimester, right?
 19        Q. Laue. The Laue article,                 19       A. I am arguing here that -- as
 20    Exhibit 90.                                    20   you say, she said our study captured third
 21             And before it was published,          21   trimester exposure, and I thought that was
 22    you reviewed and revised it, right?            22   not completely accurate because it captures
 23        A. Uh-huh.                                 23   both second and third.
 24             (Baccarelli Exhibit 93 marked         24           So my question goes to the
 25        for identification.)                       25   direction of saying, please either specify it

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  1    QUESTIONS BY MR. MURDICA:                       1   captures third, because meconium captures
  2        Q. And we're going to mark your             2   second or third, or just say it captures
  3    revisions as Exhibit 93.                        3   both.
  4        A. Okay.                                    4            I felt this statement as
  5        Q. Okay. Dr. Baccarelli, you now            5   written by -- in the draft I received was not
  6    you have in front of you what's been marked     6   completely accurate.
  7    as Exhibit 93.                                  7       Q. And the next sentence says,
  8            Do you recognize that?                  8   "While meconium captures a wide window of
  9        A. Yeah, it seems to be one of our          9   exposure, it's not possible to determine
 10    papers.                                        10   precisely when during that window a fetus was
 11        Q. Okay. And does it appear to be          11   exposed to the tested substance."
 12    a draft of the Laue article?                   12            Right?
 13        A. I don't know. The title is              13       A. That is correct. As I
 14    different.                                     14   mentioned before, it gives us a cumulative
 15        Q. Okay.                                   15   dose over the five months or the six months.
 16        A. Let me check.                           16   We cannot understand exactly which are
 17            Yes, it's meconium, yes. It            17   the days during the six months that are --
 18    seems to be the same.                          18   that are important.
 19        Q. Okay. And do you know if this           19            Now, at the same time, this
 20    was revised before or after getting rejected   20   shows the cumulative dose. So it shows the
 21    by the gynecol -- gynecology oncology --       21   dose over the entire six months. This is
 22        A. I wouldn't know.                        22   what matters here.
 23        Q. Obstetrics and gynecology               23            Again, this paper, not the
 24    journal?                                       24   study, was done to address the question
 25        A. I wouldn't know.                        25   you mentioned, whether -- when women took

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  1    Tylenol.                                         1   concentration is up or down.
  2              We're interested that women            2       A. No, I didn't say that.
  3    took Tylenol over the six months window.         3       Q. Okay. What did you say,
  4    Tylenol gets trapped into the meconium.          4   Doctor?
  5    Meconium is associated with -- well,             5       A. I said -- I said that if there
  6    actually, in this case not associated with       6   is no association, we cannot -- the language
  7    anything. In the other case, 2020 Baker,         7   is not appropriate. We should say there is
  8    associated with the ADHD.                        8   no association. We shouldn't start with a
  9        Q. And, Dr. Baccarelli, if you               9   priori.
 10    disagreed with the words I just read, you       10            I think what Dr. Laue implies,
 11    would have let Hannah know in the redline,      11   that increased Tylenol is bad, and that's
 12    right?                                          12   something I don't want to have as a priori.
 13        A. Say that again. Sorry.                   13   A priori I want to say increased Tylenol is
 14        Q. If you disagreed with the words          14   maybe better or not.
 15    I just read about meconium, you would have      15            So I wanted to be objective. I
 16    let her know?                                   16   wanted her to write something objectively. I
 17        A. So this says exactly what I              17   didn't want her to be biased to expect a
 18    said, which I agree with, which is, meconium    18   certain result.
 19    is an integrate of six months worth of          19            So as a teacher and a mentor, I
 20    exposure only one time. Meconium gives only     20   want them to learn to be objective and
 21    one number.                                     21   non-biased. So this was my training to her,
 22              So if the level of exposure is        22   to always think than expected. Never to
 23    200, it's 200 over those six months. Does it    23   start with a hypothesis and try to prove it,
 24    make sense?                                     24   but always start with an open slate and be
 25              So I don't have -- as you can         25   open to the data to tell you what is true.

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  1    understand very well, I don't get six numbers    1       Q. Dr. Baccarelli, wasn't she
  2    that reflect each six months of exposure. I      2   trying to say that even increasing
  3    get only one number. We get to measure           3   concentrations in the meconium had no
  4    meconium only once, so the number we get is      4   association with the outcome measure?
  5    only one. So it's the cumulative dose of         5             MR. SNIDOW: Objection to the
  6    exposure during pregnancy.                       6       form.
  7             And I think it's clear in this          7             THE WITNESS: So if you -- as I
  8    context that what we meant is that the data      8       wrote in my report, this paper -- and
  9    gives us information only about the              9       it discusses in length. This paper in
 10    cumulative dose over six months. The data       10       particular, which is Laue 20 -- what
 11    don't give information about which month the    11       is this, Laue 2019?
 12    exposure happened.                              12             As you show in the result, they
 13        Q. And if you turn to page 299 of           13       show in the published paper, you then
 14    this --                                         14       need to use the preliminary draft.
 15        A. Uh-huh.                                  15             I published a study that shows
 16        Q. -- you corrected Dr. Laue to             16       no association. It's a study that did
 17    say that if there's not an association, it      17       a critique in my report, and it's not
 18    doesn't matter if -- the concentration          18       prior. It's one of the very few
 19    doesn't matter, right?                          19       studies that shows no association.
 20        A. Let me read this.                        20             So this is shown in my tables.
 21        Q. Okay.                                    21       It's shown in my results. I
 22        A. So say the question again?               22       considered it in my analysis. It's a
 23        Q. Here you corrected Dr. Laue and          23       point I completely carve out in my
 24    said that there's no -- if there's no           24       report.
 25    association, it doesn't matter whether the      25

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  1    QUESTIONS BY MR. MURDICA:                        1             MR. SNIDOW: Hold on.
  2        Q. Okay. Exhibit 90 you were                 2        Objection to form.
  3    holding, right?                                  3             THE WITNESS: I would like to
  4        A. Yes.                                      4        see the paper and see whether I -- I
  5        Q. That's the actual publication.            5        was pretty confident that we did, but,
  6             You're the last listed author           6        I mean, I can't remember whether we
  7    on it, right?                                    7        did and what we said.
  8        A. Yeah.                                     8   QUESTIONS BY MR. MURDICA:
  9        Q. Okay. The last sentence under             9        Q. Okay. Turn to -- on
 10    abstract says, "These results do not support    10   Exhibit 90, if you turn to page -- it's 140
 11    prior reports of adverse neurodevelopmental     11   at the top. It's the third page in.
 12    effects in utero exposure to acetaminophen."    12        A. Uh-huh.
 13             Correct?                               13        Q. Under Discussion, bottom right,
 14        A. That is correct. This paper              14   it's the second to last sentence. It says,
 15    shows no association between acetaminophen      15   "In this population, subjects whose mothers
 16    and intelligence, so the results of this        16   had recorded administration of acetaminophen
 17    paper are not consistent with the               17   at delivery had significantly higher
 18    explanation. But we are talking about one       18   concentrations of acetaminophen in their
 19    paper, not the overall evidence.                19   meconium. Data not shown."
 20        Q. Right.                                   20        A. Uh-huh.
 21             We're talking about one paper          21        Q. Okay.
 22    that you did in 2019, right?                    22             MR. SNIDOW: So sorry, Jim.
 23        A. Correct. One paper that I did            23        Where are you?
 24    that I realize is one of the few papers --      24             THE WITNESS: At the end here.
 25    and this really also shows that I have no       25             MR. SNIDOW: Okay. Thank you.

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  1    stakes here. I published one paper that is       1   QUESTIONS BY MR. MURDICA:
  2    negative, one paper that is positive.            2       Q. Doctor, that was true, right?
  3             I'm happy to say that this              3       A. We discussed that before, is
  4    paper doesn't contribute a lot of evidence,      4   the abstract we discussed, that there was an
  5    but taken together with all the other papers,    5   association between taking acetaminophen at
  6    I'm -- there is no problem to think that         6   delivery and acetaminophen in meconium.
  7    this paper doesn't contribute to the             7            As you saw, there was also an
  8    evidence, but the overall evidence is            8   association between taking acetaminophen
  9    incredibly strong.                               9   during pregnancy, before delivery, before the
 10             You have 45 papers. I believe          10   time of delivery, before being admitted to
 11    35 show something that this paper does not      11   the hospital for delivery, and levels of
 12    show. So this is consistent as it gets in       12   acetaminophen in meconium.
 13    epidemiology. There is no example that I've     13            There were -- and as we
 14    worked on where the evidence is so              14   discussed, the data were not complete for the
 15    consistent.                                     15   second part, for acetaminophen during
 16        Q. Dr. Baccarelli, in your 2020             16   pregnancy.
 17    paper, did you criticize the Laue paper?        17            So -- but really, this doesn't
 18        A. I cannot remember. I'm happy             18   in any way says that meconium captures only
 19    to look at the 2020 and see whether -- I        19   delivery.
 20    thought we did, but if we didn't, our bad.      20            In fact, as I mentioned, we did
 21    But I thought we mentioned the paper.           21   sensitivity analysis in Baker 2020, which is
 22        Q. Do you know, sitting here                22   the only one that is positive -- this is
 23    today, if you criticized Exhibit 90, the 2019   23   not -- where we excluded those women that you
 24    paper, before you were paid for your opinions   24   mentioned here, and the results did not
 25    here?                                           25   change whatsoever.

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  1             So because they did not change          1   questionnaire. It's two pages. And women
  2    whatsoever, it really means this association     2   are asked while in labor, or while getting
  3    is not influential. It's not influencing the     3   prepped for anesthesia if they're doing a
  4    association between acetaminophen and ADHD.      4   C-section, to ask {sic} this question.
  5        Q. And those women that you --               5            You can understand how they
  6    when you did that sensitivity analysis, you      6   might answer. They might answer any -- I
  7    were able to exclude them because there was a    7   mean, have you taken any drugs: Yes; no; I
  8    hospital administration record that they were    8   don't know.
  9    given acetaminophen at delivery, correct?        9            But then what we used is not
 10        A. I think that is correct.                 10   that data. What we used is the drugs
 11        Q. Right.                                   11   recorded given by the nurse or by the
 12             And you know, do you not,              12   physicians, and those are registered. Any
 13    Dr. Baccarelli, that those records oftentimes   13   drug that is given to anyone in a hospital is
 14    omit hospital administration during labor and   14   recorded.
 15    delivery --                                     15            So there is a source of
 16             MR. SNIDOW: Object to form.            16   information that we had in Sherbrooke that
 17    QUESTIONS BY MR. MURDICA:                       17   wasn't reliable. That's the delivery chart
 18        Q. -- right?                                18   that we didn't use.
 19        A. Say that again?                          19            We did use the clinical charts,
 20        Q. The hospital administration              20   which is the drugs that are prescribed and
 21    records for the GESTE cohort often omit         21   administered by the nurse and the physician.
 22    whether a mother had acetaminophen during       22       Q. And -- okay. Are you done?
 23    labor and delivery.                             23       A. Say that again?
 24        A. That is something we reviewed            24       Q. Are you done with your answer?
 25    in -- we had a detailed discussion with this    25       A. Yeah.

                                         Page 258                                               Page 260
  1    with the colleagues in OB/GYN and in the         1       Q. Okay. Dr. Baccarelli, when did
  2    delivery ward there and with Hannah and          2   you realize that despite -- that the delivery
  3    Larissa Takser, and we realized there are two    3   charts were inaccurate but there was another
  4    sources of records that are kept in              4   source that was accurate, according to you?
  5    Sherbrooke.                                      5       A. I can't remember, but it might
  6              The delivery charts -- the             6   have been before this paper.
  7    delivery charts is the information that --       7       Q. All right. Because
  8    there is a questionnaire. When women come in     8   you actually told Dr. Laue that the delivery
  9    and they're rushing to the hospital, there is    9   charts were unreliable, they didn't include
 10    someone there, a nurse or a doctor, that        10   labor or delivery administration of
 11    tries to ask people what they took before       11   acetaminophen, and a maternal report would be
 12    they came into the hospital. So the delivery    12   more reliable, correct?
 13    charts are the ones -- one source of            13       A. I didn't say that. This was
 14    information, which is the source we did not     14   done by -- Dr. Laue spoke directly with the
 15    use.                                            15   colleagues in Canada.
 16              However, any drug given to a          16       Q. Okay. And did you agree with
 17    woman in labor is recorded in the clinical      17   that, that the delivery chart was missing
 18    chart, and the clinical chart is accurate.      18   data?
 19    The delivery chart is not. The clinical         19       A. Yeah. And we didn't use it.
 20    chart is accurate.                              20       Q. Okay. If you -- we're back on
 21              So we didn't use the delivery         21   Exhibit 90, going through the Laue article,
 22    chart, which again is a type of -- I saw it     22   on page 142.
 23    in -- when I went to Sherbrooke, I saw the --   23       A. Uh-huh.
 24    I saw both the clinical charts and the          24       Q. If you look at this section,
 25    delivery chart. The delivery chart is a         25   I'm going to ask you about this sentence, but

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  1    there's a couple sentences before it.            1   as I said in my report, the misclassification
  2             What's published here by you            2   is expected to be nondifferential. That
  3    and Dr. Laue says, "Importantly, many of the     3   means it's going to make any association, any
  4    instruments previously used relied on            4   link, between acetaminophen and ASD or
  5    parental report of behavior, which may be        5   acetaminophen and ADHD go away, not make it
  6    inaccurate or biased."                           6   appear.
  7             Do you see that?                        7             So if you're looking for
  8        A. Where is it?                              8   reasons why the association exists, as shown
  9             MR. SNIDOW: Where are you?              9   in the literature, this is not it.
 10             MR. MURDICA: Probably the              10       Q. Okay. Doctor, do you
 11        second sentence on the page.                11   disagree -- and I want you to go ahead and
 12             MR. SNIDOW: Thanks.                    12   read the three sentences before this on the
 13             Do you mind reading it again           13   prior page.
 14        for him?                                    14             Do you disagree that what you
 15    QUESTIONS BY MR. MURDICA:                       15   were saying here was that the other studies
 16        Q. Sure.                                    16   might be biased, which is why they didn't
 17             "Importantly, many of the              17   come to the conclusion that there was no
 18    instruments previously use relied on parental   18   association with neurodevelopmental
 19    report of behavior, which may be inaccurate     19   disorders?
 20    or biased."                                     20             MR. SNIDOW: On 141?
 21             THE WITNESS: What is it again?         21             MR. MURDICA: Yes.
 22        What is that?                               22             THE WITNESS: 141? What is it?
 23             MR. SNIDOW: Do you mind?               23       What --
 24             MR. MURDICA: No.                       24   QUESTIONS BY MR. MURDICA:
 25             MR. SNIDOW: Okay. Thank you.           25       Q. I'm still asking you about the

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  1             THE WITNESS: Thank you.                 1   statement on 142, but I'm suggesting politely
  2    QUESTIONS BY MR. MURDICA:                        2   that you look back into that entire paragraph
  3         Q. Okay. That was -- first of               3   and then see if you can answer my question.
  4    all, you signed off on those words, right?       4            MR. SNIDOW: Okay. Objection.
  5         A. I did.                                   5            MR. MURDICA: I'll ask it again
  6         Q. Okay.                                    6       if you'd like me to.
  7         A. But at the same time, I mean, I          7            MR. SNIDOW: Yeah, please. I
  8    want to point out that, A, if they're            8       apologize.
  9    inaccurate, they probably take away the          9            MR. MURDICA: I was trying to
 10    signal, so they're going to create false        10       help the doctor.
 11    negatives, which is not what we see now.        11            MR. SNIDOW: I know. I get it.
 12             So if this -- if this -- let's         12       Just an objection.
 13    say that I was -- I was here to say that        13            THE WITNESS: I just want to
 14    there is no association between ADHD -- we're   14       point out that this paper is about
 15    talking about ADHD, I think, here -- and        15       intelligence. It's not about ASD and
 16    acetaminophen or ASD and acetaminophen. This    16       ADHD. So we're talking about
 17    would be a big concern because this is likely   17       intelligence here. And in general,
 18    to make the association go away.                18       the discussion is about intelligence.
 19             I have to say, as worded, this         19   QUESTIONS BY MR. MURDICA:
 20    seems to be a strong statement, and I wish I    20       Q. Doctor, please turn to
 21    had attenuated because when you look at         21   page 141 --
 22    thousands of people like studies have done,     22       A. Uh-huh.
 23    if you do this in 50,000 people, that's         23       Q. -- left side.
 24    incredibly important information.               24       A. Uh-huh.
 25             There is misclassification, but        25       Q. Tell me if I read this

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  1    correctly.                                       1   higher intelligence.
  2            "Although the results of this            2            So what this statement needs to
  3    study seem discordant with previous studies,     3   be read is that we are studying intelligence;
  4    Avella-Garcia, Brandlistuen, Liew,               4   we're not studying ADHD or ASD. So at the
  5    Stergiakouli, Thompson, Vlenterie, Ystrom,       5   time I wrote this, I believe that part of the
  6    they are not necessarily in conflict. In         6   reason was that we are -- we are studying
  7    addition to the improved exposure assessment     7   different type of phenotypes, different type
  8    in our study, previous studies have primarily    8   of diseases; that intelligence might not be a
  9    used instruments that measured child             9   target of Tylenol over acetaminophen while
 10    behavior, motor development, and symptoms of    10   the ADHD and ASD might have been.
 11    specific behavioral disorders including ADHD    11            I have to say today, probably I
 12    and autism. This study subjects {sic} from      12   was wrong also on the statement that is
 13    the WISC-IV battery, which is an objective,     13   written here. The statement as written here
 14    validated metric that is commonly used to       14   is, there is not -- we found no effect on
 15    measure components of child intelligence,       15   intelligence, and most like -- we found no
 16    because behavior and intelligence are           16   effect on intelligence, and most likely --
 17    different, our results cannot be directly       17   and most likely we are right.
 18    compared. Importantly, many of the              18            We were not right. What I
 19    instruments previously used relied on           19   wrote here, I mean, after three years, I need
 20    parental report of behavior, which may be       20   to take it back.
 21    inaccurate or biased."                          21        Q. Okay. Dr. Baccarelli, if you
 22            Did I read that correctly?              22   look back on page 142 -- are you on 142?
 23        A. You read that correctly.                 23        A. Yep.
 24        Q. Do you stand by those words?             24        Q. Okay. At the very -- the last
 25        A. I think -- no. I told you in             25   sentence of the second paragraph there, it

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  1    the beginning that I had different opinion in    1   says, "Because of inconsistent
  2    2019 --                                          2   epidemiological findings and without an
  3        Q. Okay.                                     3   identified mechanism, causality of any
  4        A. -- than I have today.                     4   association observed in the other studies
  5        Q. Okay.                                     5   cannot be established."
  6        A. And the reason why is that, I             6            Do you see that?
  7    was really sure that acetaminophen was fine      7            Are you looking at the exhibit?
  8    and our results were in line with that. I        8      A. Let me look, yeah.
  9    was probably overinfluenced by my opinions,      9      Q. We were on page 142.
 10    and I'm sorry I did.                            10            Are you on page 142, Doctor? I
 11              At the same time I want to            11   don't think you are.
 12    point out, A, that the reason why they're       12            MR. SNIDOW: Jim, do you mind
 13    different is because we said -- we said a       13      if I --
 14    completely different thing. We said we had      14            MR. MURDICA: Nope.
 15    one advantage. We are measuring meconium.       15            MR. SNIDOW: Okay. Thanks.
 16    Others haven't done it.                         16            THE WITNESS: Thank you.
 17              The other thing is that the           17            MR. SNIDOW: Yeah.
 18    previous studies looked at ADHD -- methods      18            THE WITNESS: Thank you.
 19    related to ASD and ADHD. We are looking only    19   QUESTIONS BY MR. MURDICA:
 20    at intelligence, so we are capturing only one   20      Q. Okay. Did you see that?
 21    component.                                      21      A. Yes.
 22              And I think you understand that       22      Q. Okay. And you signed off on
 23    ADHD, kids with ADHD, they don't have lower     23   that before it was published, right?
 24    intelligence usually. And children with ASD     24      A. Yes.
 25    might even have higher -- with ASD can have     25      Q. Okay. And I take it you don't

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  1    stand by that now?                               1   QUESTIONS BY MR. MURDICA:
  2        A. I stand by the final sentence,            2       Q. You didn't say that?
  3    which I understand that usually at the end of    3       A. I -- the conclusion -- that is
  4    the -- of a manuscript we write the final        4   only one sentence --
  5    sentence that encompasses all the paper. So      5       Q. Right.
  6    you are picking out -- you are really            6       A. -- and it's theoretical. It's
  7    cherry-picking on one sentence.                  7   a theoretical sentence that in general
  8        Q. Well, they're your words,                 8   applies to the -- to the level of theory.
  9    right?                                           9             So here, what I said in the
 10        A. The entire paper says, although          10   beginning is that we did not find evidence of
 11    our study provides some reassurance, its        11   neurodevelopmental harm. And again,
 12    observational nature cannot definitely          12   everything here is read to intelligence. It
 13    determine, one study only, that women can       13   is not ASD and ADHD. We were studying
 14    safely consume acetaminophen during             14   intelligence.
 15    pregnancy, and ongoing surveillance and         15             So don't get the sentence and
 16    long-term outcomes of fetal exposure remains    16   put it to ASD and ADHD. Those sentences have
 17    warranted.                                      17   very little to do with ADHD and ASD. We
 18             So we didn't say acetaminophen         18   mentioned ADHD and ASD to point out the
 19    is no problem. We didn't say everything that    19   difference between our study and the previous
 20    was published should be discarded. We just      20   studies.
 21    said our study does not support an              21       Q. Doctor, please turn to
 22    association.                                    22   page 143. You were reading from the last
 23             And unfortunately, after               23   sentence in the conclusion.
 24    2020 -- and you can understand -- 2029          24            Right?
 25    {sic} -- you can understand that this was       25       A. Yes.

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  1    published in 2018 -- there have been five        1       Q. What's the first sentence in
  2    years' worth of data that are damning. I         2   the final paragraph of your conclusion?
  3    mean, really.                                    3       A. It's what this paper -- again,
  4             And, again, I wish I could see          4   this is a paper of 138 people that shows no
  5    the future, and I would have been much more      5   association between intelligence.
  6    accurate in saying this is small study. This     6       Q. Okay. Are you able to read the
  7    is something that we -- that we have done        7   first sentence of your final --
  8    that is not consistent with the causation.       8       A. Yeah.
  9             But, again, it's only one of            9       Q. -- conclusion paragraph?
 10    the studies that are there in the universe of   10   What's it say?
 11    studies. And to say -- there were already a     11       A. In this paper, in this specific
 12    few studies that were interesting, and there    12   paper, which, again, is in conflict with the
 13    are many more now that are even more            13   overwhelming majority of other papers in the
 14    interesting to have my opinion.                 14   universe of literature -- and it happened to
 15        Q. Dr. Baccarelli, at the time              15   be authored by me, but, I mean, I can be
 16    that this was published in 2019, you agreed     16   severe and strict with this paper as with any
 17    with the statement that because of              17   other -- we did not find evidence of
 18    inconsistent epidemiologic findings and         18   neurodevelopmental harm from prenatal
 19    without an identified mechanism, causality of   19   exposure to acetaminophen measurement in
 20    any association observed in the other studies   20   meconium. And, therefore, this is -- this is
 21    could not be established, right?                21   something that is -- really applies to this
 22        A. I didn't say that.                       22   paper. It does not apply to the -- to the
 23             MR. SNIDOW: Objection. Hold            23   causation in general.
 24        on. Hold on. Objection to the form.         24       Q. At the time, in this paper, you
 25                                                    25   did not find evidence of neurodevelopmental

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  1   harm from prenatal exposure to acetaminophen,     1   QUESTIONS BY MR. MURDICA:
  2   correct?                                          2       Q. Right.
  3        A. In this paper, I didn't find an           3       A. -- and you told me about this
  4   association in a small study between              4   sentence that -- any sentence that -- if it
  5   acetaminophen during -- in meconium and           5   were written today and in the absence of the
  6   intelligence of the child.                        6   entire paper, I cannot stand by those
  7        Q. This study -- and this study              7   sentences because they're not in context.
  8   did not support, at the time, causation of        8       Q. Dr. Baccarelli, when you went
  9   acetaminophen with neurodevelopmental             9   out and told the world about this paper, you
 10   disorders, correct?                              10   didn't limit it to intelligence. You talked
 11        A. Not only at the time, but also           11   about neurodevelopment, right?
 12   today. Today doesn't support any                 12       A. In general. I mean, as --
 13   association. And, therefore, this is one of      13   again, what I'm say -- this paper doesn't
 14   the few papers today that doesn't support        14   support -- I didn't say this paper shows that
 15   association.                                     15   there is no toxicity whatsoever.
 16        Q. Okay.                                    16       Q. Okay.
 17        A. I considered that in the                 17       A. If you read the sentences, it
 18   literature. It's in my tables, so you can        18   doesn't -- I use negative language. We use
 19   understand how -- you can cherry-pick this       19   negative language. We don't use affirmative
 20   paper as much as you want, but it's already      20   language.
 21   in my tables.                                    21            So if you read this paper
 22        Q. Yeah.                                    22   carefully, it says this paper doesn't support
 23        A. So I said in my tables that the          23   the association. It doesn't say the
 24   evidence supporting the association due to       24   association doesn't exist. They're very two
 25   this paper is zero.                              25   different concepts.

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  1        Q. Dr. Baccarelli, you just used             1       Q. And you criticize your own
  2    the word "cherry-pick," but this is the first    2   paper now, Exhibit 90, because of sample
  3    paper that you published on this, so this is     3   size, right?
  4    the first paper I'm asking you about.            4       A. Today? Yes.
  5             MR. SNIDOW: Objection to the            5       Q. Today.
  6        form.                                        6       A. Because there many -- at the
  7             THE WITNESS: No, no, you're             7   time, I felt it was a perfectly okay sample
  8        not cherry-picking on the paper;             8   size because of some advantages like
  9        you're cherry-picking on the sentences       9   measuring meconium and using a medical value
 10        in the paper.                               10   for intelligence.
 11    QUESTIONS BY MR. MURDICA:                       11       Q. And you don't stand by your
 12        Q. Okay. You wrote every sentence           12   criticism of the cohort studies that were
 13    in the paper, right? Or you revised it?         13   included in Laue, correct?
 14        A. No, I did not write --                   14            MR. SNIDOW: Objection to the
 15        Q. You stand by -- you stood by             15       form.
 16    every sentence in the paper when you            16            THE WITNESS: I'm not
 17    submitted it to be published in a journal,      17       understanding. I don't understand the
 18    correct?                                        18       question.
 19             MR. SNIDOW: Hold on.                   19   QUESTIONS BY MR. MURDICA:
 20        Objection to the form.                      20       Q. We asked questions about the --
 21             THE WITNESS: I used to read            21   do you remember when I read to you citations
 22        the paper from -- as I -- as a whole,       22   in your study that appear to be discordant
 23        and each sentence makes sense in the        23   from Avella-Garcia, Brandlistuen, Liew,
 24        context. If you take it out of              24   Stergiakouli, Thompson, Vlenterie and Ystrom?
 25        context --                                  25            MR. SNIDOW: Objection.

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  1        Objection to the form.                       1   thought that we had an advantage on them. We
  2    QUESTIONS BY MR. MURDICA:                        2   measured -- we measured -- we measured
  3        Q. Do you remember when I read               3   acetaminophen in meconium, and they didn't.
  4    those to you?                                    4       Q. And you thought that the
  5        A. I remember.                               5   parental report aspect of those studies
  6        Q. Yeah.                                     6   biased them, right?
  7        A. And I could say three years               7       A. Which parental report?
  8    ago, and I could say that four years ago and     8       Q. In the data -- in the cohort
  9    now, that in those papers there is an            9   studies, the fact that they were taking
 10    exposure misclassification, and especially      10   maternal report for use of acetaminophen.
 11    the measure -- the measurement in meconium.     11       A. Maternal report -- as I said
 12    So I'm positive that our study had an           12   before, parental report can hide the
 13    advantage over those cohorts, measuring         13   association.
 14    acetaminophen in meconium, that those cohorts   14       Q. Okay.
 15    didn't do.                                      15       A. So if they -- if you're asking,
 16             And again, there can be a              16   I mean, what I think now and probably what I
 17    problem in studies like this because if there   17   would have thought back then is that if the
 18    is misclassification of exposures, meaning      18   parental report of acetaminophen, the
 19    women cannot recall exactly what -- whether     19   association would be smaller or a false
 20    they took Tylenol and how much they took over   20   negative.
 21    pregnancy, that can bias the result, as I       21       Q. Okay. And --
 22    wrote in my report.                             22       A. I understand those papers show
 23             The bias is likely to be toward        23   the association, so that is not the
 24    the null, meaning they're likely to cause a     24   problem with -- there's no dation, correct.
 25    false negative, not false positives.            25       Q. Okay. So it's your testimony

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  1             Over here, we have a bunch of           1   that you weren't, in Laue 2019, criticizing
  2    studies that are positive. So if there is a      2   the methodology of those papers and
  3    problem -- I'm really sorry, but if there is     3   explaining why they found an association but
  4    a problem, it's that these studies are all       4   you didn't?
  5    underestimating the true effect of Tylenol on    5             MR. SNIDOW: Objection to form.
  6    neurodevelopment.                                6             THE WITNESS: Again, I was just
  7        Q. Right.                                    7       saying -- I didn't get that far. In
  8             And you didn't say what you             8       Laue, we were just saying there are
  9    just said now in Exhibit 90 at the time,         9       differences between my study and the
 10    correct?                                        10       past. And the reason why we don't see
 11        A. I --                                     11       it -- they are many, including small
 12             MR. SNIDOW: Objection to the           12       sample size, I will say now. But
 13        form.                                       13       sample size is not everything.
 14             THE WITNESS: I want to point           14   QUESTIONS BY MR. MURDICA:
 15        out that this paper is about                15       Q. Okay.
 16        intelligence. The other studies were        16       A. As you understand, sample size
 17        about ADHD.                                 17   is not everything. I wanted to point out
 18             My -- I did not write this             18   particularly the strength of our study, which
 19        paper to criticize the literature. I        19   was particularly measuring acetaminophen in
 20        write this paper to report on my            20   meconium that could turn out an association
 21        results.                                    21   to be positive if there is one as opposed to
 22    QUESTIONS BY MR. MURDICA:                       22   other studies, the use of reports of using
 23        Q. Okay. Did you think at the               23   acetaminophen that could help to hide the
 24    time that the -- those studies were weak?       24   association.
 25        A. I thought -- at the time, I              25       Q. Okay. And when you -- when you

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  1    published Laue 2019, you went on Twitter and    1       nonbeliever, and I think I disclosed
  2    you talked about it, right?                     2       that I was a nonbeliever at the time
  3        A. I think so.                              3       of publication of 2019. And so you
  4        Q. Yeah.                                    4       have a nonbeliever there that gets
  5             When is the last time you              5       upset because someone criticizes my
  6    looked at those tweets?                         6       paper.
  7             MR. SNIDOW: Objection to the           7   QUESTIONS BY MR. MURDICA:
  8        form.                                       8       Q. Is there anywhere on Twitter
  9             Just, Dr. Baccarelli, you can          9   where you have put your current opinion?
 10        answer, but not in the context of          10       A. I put it everywhere. I put it
 11        anything that you've discussed with        11   here. I told to colleagues. I want to
 12        any attorneys.                             12   publish these results.
 13             THE WITNESS: Of course.               13       Q. Is it on Twitter?
 14             I -- I looked at that probably        14       A. Twitter is not an official mean
 15        one week ago.                              15   of communication, as far as I know.
 16    QUESTIONS BY MR. MURDICA:                      16       Q. I'm just asking.
 17        Q. Okay. So in preparation for             17       A. I don't put on Twitter all my
 18    the depon -- for your deposition, you saw      18   opinions. I put only a part of them, so --
 19    this?                                          19       Q. Okay. So the answer is no,
 20        A. While I was doing -- while I            20   right, Doctor?
 21    was studying my materials, I type in to find   21       A. If you want, I can -- I can
 22    stuff on Google that were about                22   take a time machine and go one year ago and
 23    acetaminophen.                                 23   tweet it. I will do it easily and happily.
 24        Q. Okay. I take it you don't               24            (Baccarelli Exhibit 94 marked
 25    stand by what you tweeted back then?           25       for identification.)

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  1        A. I think the -- if you look at            1   QUESTIONS BY MR. MURDICA:
  2    that tweet and you click on it, it was          2      Q. Okay. Dr. Baccarelli, I've
  3    tweeted at 6:20 a.m. in the morning. I wake     3   marked as Exhibit 94 a printout from Twitter.
  4    up until 6:30, so I was probably not            4       A. Uh-huh.
  5    completely woken up that morning.               5      Q. You have that in front of you
  6        Q. Have you -- have you removed             6   now, right?
  7    that tweet now?                                 7       A. Correct.
  8        A. I don't need to. I -- I'm                8      Q. Okay. Is this what you
  9    happy to be wrong sometimes. People know I'm    9   reviewed in the last week in preparation for
 10    wrong many times. If I was wrong, it's okay.   10   your deposition?
 11        Q. Okay. At the time, at the 6:20          11             MR. SNIDOW: And actually, Jim,
 12    in the morning, you're not being paid to be    12       I think we've got an agreement that
 13    part of this litigation, correct?              13       we're not going to ask questions like
 14             MR. SNIDOW: Objection to form.        14       that.
 15             THE WITNESS: I think you              15             MR. MURDICA: Not questions
 16        understand that I wrote many times         16       like that.
 17        over and over again over time, as I        17             MR. SNIDOW: I'm looking at it
 18        explained, that I believe that ADHD        18       right here. It says, "No questions on
 19        and acetaminophen are linked and           19       activities undertaken by the expert to
 20        causally linked. I wrote it, for           20       prepare for his or her deposition."
 21        instance, in Baker 2020 to -- for          21             So on that basis, I'm
 22        extent {sic}. So you have evidence         22       instructing you not to answer.
 23        well before the litigation that            23             MR. MURDICA: Okay. He
 24        explained my opinion.                      24       testified he found it on Google.
 25             I disclosed that I was a              25             MR. SNIDOW: Yeah.

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  1    QUESTIONS BY MR. MURDICA:                       1       A. Yep.
  2        Q. Is this what you found on                2       Q. And then you end up replying to
  3    Google, Doctor?                                 3   that a week later, right?
  4        A. Yes.                                     4       A. Yep.
  5        Q. Okay. So you saw this whole              5       Q. Okay. And was this written by
  6    exchange prior to today?                        6   your assistant?
  7        A. Yeah, absolutely.                        7       A. No, this was written by me at
  8        Q. Okay. Because it wasn't                  8   6:20 a.m. in the morning.
  9    just -- it wasn't just 6:20 a.m. You sent --    9       Q. Okay.
 10    you sent -- you made a tweet, right? And       10       A. And to say it's unilateral and
 11    then the next day --                           11   probably inaccurate now, probably inaccurate
 12        A. The done at 6:20 a.m. -- sorry,         12   back then.
 13    go ahead.                                      13            And it's -- perhaps it's not
 14        Q. There's not just one tweet              14   the reason why I wrote this, but it's
 15    here. There's two, correct? By you?            15   definitely -- it's definitely something that
 16        A. There is one tweet that is sent         16   can be misread and misinterpreted. And they
 17    out by my communication officer who does the   17   learned that on Twitter a hard way. On
 18    tweets for me. I have a communication person   18   Twitter need to write things that can be read
 19    who tweets out. She tweets -- at the time,     19   different ways.
 20    she tweeted most of my papers, if not all.     20            What this tweet meant, it meant
 21        Q. Okay.                                   21   only one thing. We have an advantage. You
 22        A. Now, unfortunately, she's too           22   cannot take down this study just because it's
 23    busy. I need to tweet it -- tweet it on my     23   a sample size sample, because there are
 24    own. But at the time, she used to tweet        24   advantages. One of the advantages is
 25    everything that we published. So she wrote     25   measuring acetaminophen in meconium.

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  1    this for me, I approved it, and it seems        1            I was just defending the right
  2    okay. This is the result of our paper.          2   to publish this article. I was not giving
  3        Q. Okay.                                    3   any opinion on causation.
  4        A. Our paper is not consistent              4       Q. Okay. Your words were, "Sample
  5    with the hypothesis.                            5   size is not everything in research."
  6        Q. So on January 3, 2020, you,              6            Correct?
  7    through your assistant, tweeted about the       7       A. Oh, I think we all agree on
  8    Laue study we just looked at, correct?          8   that.
  9        A. Correct. And that says it                9       Q. Yeah. You were defending the
 10    finds no association between acetaminophen     10   sample size of the Laue study, right?
 11    levels in meconium and child                   11       A. Correct.
 12    neurodevelopment.                              12            And that because we have
 13        Q. Okay.                                   13   acetaminophen, and therefore this -- as you
 14        A. So this is exactly the same             14   understand, power depends -- power depends
 15    message in the paper, so I'm not surprised.    15   not only on sample size. I think you can
 16        Q. Yeah. Well, it doesn't say              16   read any biostatistic book or epidemiology
 17    intelligence; it says neurodevelopment.        17   book. Sample size is not the only
 18    Correct?                                       18   contributor to power.
 19        A. Again, found no associa --              19       Q. Do you recall criticizing the
 20    intelligence -- intelligence is a type of      20   sample size of Laue earlier today in your
 21    neurodevelopmental outcome. So if you're       21   testimony?
 22    saying this tweet is inaccurate, yes, it's     22       A. Yeah, absolutely.
 23    inaccurate.                                    23       Q. Okay.
 24        Q. And then Dr. Bauer replied,             24       A. And I'm not saying this --
 25    right?                                         25   there is nowhere here or in the paper saying

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  1    this is a study with a great sample size.        1   weaknesses -- not all the weaknesses of those
  2    I'm just saying sample size is small, but        2   studies will make the association go away.
  3    sample size is not the only one thing in         3       Q. Okay. And the studies you were
  4    research. I think we can agree that this is      4   referring to in Exhibit 94, your tweet, are
  5    acceptable as of today.                          5   represented on Exhibit 95. And they are
  6        Q. The next sentence you wrote               6   Brandlistuen 2013, Vlenterie 2016; Ystrom
  7    was -- and this is to Dr. Bauer. "You may        7   2017; Liew 2014, 2015, 2016, another 2016;
  8    want to elaborate on the weaknesses of those     8   Petersen 2018; Thompson 2014; Avella-Garcia
  9    studies."                                        9   2016; Ruish 2017; Stergiakouli 2016; Bornehag
 10              Right? Those were your words?         10   2017; Laue 2018; Ji 2018; Toro-Rodriguez --
 11        A. Exactly. And I was referring             11   Toro-Rodriguez 2018; Liew 2019; Leppart 2019;
 12    about the lack of meconium measurement in       12   Tronnes 2019; Chen 2019; Gervin 2019; Golding
 13    those studies.                                  13   2019; Rifas-Shiman 2019; and Ji 2019.
 14        Q. All right. We're going to mark           14            Correct?
 15    this.                                           15            MR. SNIDOW: Objection. Form.
 16              MR. SNIDOW: Jim, if you're            16            THE WITNESS: Now, I need to
 17        switching exhibits, do you want to do       17       reiterate that I never opened up this
 18        a break now? I think we've been going       18       table, never analyzed, never looked
 19        for another hour.                           19       at.
 20              MR. MURDICA: This is part of          20            I'm just replying by saying my
 21        this. When I'm done with this, that's       21       paper is science, it should be
 22        fine.                                       22       published, and that it is what it is.
 23              MR. SNIDOW: Fair.                     23            My tweet cannot be taken as
 24              (Baccarelli Exhibit 95 marked         24       a -- as a criticism related to whether
 25        for identification.)                        25       or not these studies are sufficient to

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  1    QUESTIONS BY MR. MURDICA:                        1       prove causation in this case because,
  2        Q. Doctor, you now have in front             2       again, the weaknesses of these studies
  3    of you what's been marked as Exhibit 95.         3       would hide the association. It would
  4             Do you see that?                        4       not make the association to appear.
  5        A. Yeah. I need to point out,                5   QUESTIONS BY MR. MURDICA:
  6    though, that when it was in the tweet, it was    6       Q. Dr. Baccarelli, were you being
  7    much smaller, and I never actually went back     7   paid by anyone for the opinions you expressed
  8    after 6:20 a.m. to read the entire -- the        8   in the tweet at the time in 2019?
  9    entire list of studies.                          9            MR. SNIDOW: Objection to the
 10             So I just -- my tweet was only         10       form.
 11    based on my understanding we were talking       11            THE WITNESS: I'm not paid now
 12    about intelligence and there were studies       12       either to express an opinion. I'm
 13    before. And it was just to say, this is a       13       sorry. I'm paid to do research, not
 14    study that has the right to be published.       14       to express an opinion. And you
 15             Other than that, there is no           15       understand that very well.
 16    bearing to other opinions I had at the time     16            MR. SNIDOW: Break?
 17    or now.                                         17            MR. MURDICA: Sure.
 18        Q. Dr. Baccarelli, you wrote, "You          18            MR. SNIDOW: Thanks.
 19    may want to elaborate on the weaknesses of      19            VIDEOGRAPHER: The time right
 20    those studies," and those studies were in a     20       now is 2:07 p.m. We are off the
 21    chart that's reflected on Exhibit 95,           21       record.
 22    correct?                                        22        (Off the record at 2:07 p.m.)
 23        A. Correct. And you understand in           23            VIDEOGRAPHER: The time right
 24    my report I also elaborate on the weaknesses    24       now is 2:20 p.m. We are back on the
 25    of those studies. And again, most of the        25       record.

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  1    QUESTIONS BY MR. MURDICA:                        1       Q. Okay. Earlier today you
  2         Q. Welcome back, Dr. Baccarelli.            2   mentioned a colleague of yours, Raphael
  3              Are you ready to proceed?              3   Cassoulet.
  4         A. Yes, I am.                               4           Do you remember that?
  5         Q. Okay. During the last session,           5       A. Yes.
  6    plaintiffs' counsel turned over your retainer    6       Q. As somebody else in your group
  7    agreement --                                     7   that had worked on meconium, right?
  8         A. Uh-huh.                                  8       A. So there is a paper that he
  9         Q. -- to work for them in this              9   published that is -- he's in my collaborative
 10    litigation. I'm going to represent to you       10   group. I believe he's one of the colleagues
 11    that that was signed on December 22, 2023.      11   in Montreal.
 12              Do you disagree with that?            12       Q. Yeah.
 13         A. You mean 2022?                          13           And you have that --
 14         Q. 2022.                                   14       A. Yeah.
 15         A. Okay. Yes, I think that might           15       Q. I saw you turned to something.
 16    be right, yeah.                                 16       A. Yeah.
 17         Q. Okay. We're going to print and          17       Q. So --
 18    mark it as the next exhibit, so we'll just      18       A. It's the paper, I think.
 19    leave a placeholder for Exhibit 96 for your     19       Q. What is it called?
 20    retention agreement.                            20       A. It's called, "Monitoring of
 21         A. Uh-huh.                                 21   prenatal exposure to organic and inorganic
 22              (Baccarelli Exhibit 96 marked         22   contaminants using meconium from an Eastern
 23         for identification.)                       23   Canada cohort."
 24    QUESTIONS BY MR. MURDICA:                       24       Q. Let's just mark that since the
 25         Q. Okay. So if that's correct,             25   Doctor is looking at it.

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  1    Doctor, that you were retained in December of    1       A. It's in a different format. I
  2    2022, that means that when you spoke to that     2   would like to get yours.
  3    financial firm, you were already working for     3       Q. Okay.
  4    the plaintiffs, correct?                         4       A. So it's printed as PDF, and
  5         A. I had signed an agreement, but           5   yours is -- it's -- the pages are not going
  6    probably -- I don't think I had done much        6   to correspond.
  7    work by then.                                    7       Q. I understand. I'll give you
  8         Q. But you knew that one side of            8   your own. So we'll mark this as 97.
  9    the litigation had retained you at that          9            (Baccarelli Exhibit 97 marked
 10    point, correct?                                 10       for identification.)
 11         A. That is correct.                        11   QUESTIONS BY MR. MURDICA:
 12             And again, I spoke to this             12       Q. Doctor, you have what's been
 13    firm, to the best of my knowledge, just to      13   marked as Exhibit 97 in front of you.
 14    report my opinion as a scientist, as I would    14            Is that what you were looking
 15    do and I did with many of my colleagues.        15   at?
 16             So I -- there is no                    16       A. Yes.
 17    inconsistency between what I did in this case   17       Q. In your binder?
 18    and what I spoke to the firm, too, and what I   18            Okay. And this is your study,
 19    said to my colleagues.                          19   right?
 20         Q. And to the best of your                 20       A. I'm one of the coauthors.
 21    knowledge, you did not disclose to the          21       Q. Okay. And you reviewed it
 22    financial firm that you were working on the     22   before it was published, just like the Laue
 23    litigation for one party, correct?              23   study, right?
 24         A. They didn't ask me. I didn't            24       A. I did review it, of course.
 25    disclose.                                       25   Usually I read the papers I'm the last author

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  1    or the first authors two or three times. I       1   of the molecule or confounded effects from
  2    typically do it -- when I'm the coauthor in      2   other unmeasured factors linked to the intake
  3    our group, usually it's one or two times. So     3   of acetaminophen remains to be fully
  4    I can't say I reviewed it with the same          4   studied."
  5    degree of attention, but definitely I read --    5            Do you see that?
  6    I read it through.                               6       A. That is what Stergiakouli
  7        Q. Do you recall if you edited it?           7   says --
  8        A. Yes, of course --                         8       Q. Yes.
  9        Q. Okay.                                     9       A. -- as indicated in the --
 10        A. -- I did provide comments and            10   there's a reference that says that's
 11    any suggestions I had.                          11   Stergiakouli's opinion.
 12              (Baccarelli Exhibit 98 marked         12       Q. Okay. And you reviewed this
 13        for identification.)                        13   and didn't change it, right?
 14    QUESTIONS BY MR. MURDICA:                       14       A. I mean, I agree that
 15        Q. Okay. We'll mark a redline as            15   Stergiakouli says that.
 16    Exhibit 98.                                     16       Q. Okay. And then it says,
 17             Dr. Baccarelli, you now have in        17   "Concentration of acetaminophen in meconium
 18    front of you what's been marked as              18   needs to be examined with caution since
 19    Exhibit 98?                                     19   newborns are sometimes treated with
 20        A. Uh-huh.                                  20   acetaminophen before the release of
 21        Q. Does that appear to be a draft           21   meconium."
 22    of the publication that's Exhibit 97?           22            Do you see that?
 23        A. Yes, it is.                              23       A. Of course.
 24        Q. And in fact, if you look on the          24       Q. Okay. And you didn't -- you
 25    first page, we see that your first edit was     25   didn't delete that or make a comment about

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  1    to include your middle initial in redline,       1   it, correct?
  2    right?                                           2        A. I didn't make a comment about
  3        A. Uh-huh.                                   3   that, absolutely.
  4        Q. Okay. And if you turn to                  4             But as I mentioned before,
  5    page 13 of the draft.                            5   that's theoretically a point, but it's very
  6             Let me know when you're there.          6   uncommon or unlikely that represents a big
  7        A. Uh-huh.                                   7   part of the acetaminophen we find in
  8        Q. Okay. So you have some                    8   meconium. Because meconium accumulates over
  9    redline -- redlines and comments in here --      9   five months. One day, or less than one day,
 10        A. Sorry.                                   10   can't be a big part of that.
 11        Q. -- but not on page 13, right?            11             Again, meconium gets produced a
 12        A. Sorry, which page?                       12   few units every day, and on average takes a
 13        Q. 13 on the bottom.                        13   half a day to produce meconium if treated
 14        A. Okay. Here there are no                  14   after -- after delivery. So it's really a
 15    comments, no.                                   15   small part of the entire meconium that is
 16        Q. Okay. There are no comments on           16   produced after delivery. So that's it.
 17    page 13, but if you look earlier, you have      17        Q. Okay. You chose not to comment
 18    some redlines beforehand, right?                18   on it or remove it, and you reviewed it,
 19        A. Uh-huh, yeah.                            19   correct?
 20        Q. One of the things it says here           20        A. I did -- evidently I didn't
 21    is that whether or not -- "The use of           21   comment.
 22    acetaminophen during pregnancy has been         22        Q. Okay. If you look on page 4,
 23    associated with abnormal fetal                  23   the first sentence on page 4 is that
 24    neurodevelopment or disorders. Whether or       24   "Xenobiotics can be analyzed in cord blood,"
 25    not this association reflects direct effects    25   but that -- this only provides a snapshot of

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  1    the fetus exposure.                              1        Q. Okay.
  2         A. Uh-huh.                                  2        A. I wouldn't be completely sure.
  3         Q. Right?                                   3        Q. So your testimony is that one
  4         A. Correct.                                 4   of those two says --
  5         Q. And you agree with that, right?          5        A. There are references in the --
  6    Cord blood provides a snapshot in time?          6   in the literature that say that.
  7         A. Yeah, it's really -- first of            7        Q. Okay. So at the time that you
  8    all, it's -- it measures only what is present    8   wrote this comment, you didn't know what
  9    there. Of course there is a big question as      9   meconium was reflective of in terms of the
 10    to whether it reflects typical use of           10   exposure time during pregnancy, correct?
 11    acetaminophen over time, which some women       11        A. I wanted to -- as I mentioned
 12    might. Some women might have typical use        12   before, I often play the devil's advocate,
 13    that also occurs that day.                      13   and I want to bring up all the possible
 14         Q. And they might not, right?              14   theoretical arguments against our statement.
 15         A. Agree.                                  15   And I wanted to be sure that I understood
 16         Q. Okay. Was that a yes, for the           16   what meconium stand by.
 17    transcript?                                     17             So at the time, I was still
 18         A. They may not.                           18   learning, and I was educated by my
 19         Q. Okay. Then you have a -- it's           19   colleagues, particularly J.P. Bellenger, who
 20    says, "Meconium can thus potentially record     20   is the mind between using meconium, that he
 21    fetus exposure to xenobiotics for up to six     21   was in -- familiar with the literature, and
 22    to seven months."                               22   he was right, what is -- what we see here is
 23               And you have a comment, "Is          23   right.
 24    most meconium produced at the end of            24             So as always, I ask questions
 25    pregnancy? Or pretty constantly over those      25   because I want to learn.

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  1    six to seven months?"                            1        Q. Doctor, one of the things that
  2             Do you see that?                        2   you did in rendering your opinions here was
  3        A. Absolutely. And it's clear                3   you utilized something called a navigation
  4    that this was the first paper we ever            4   guide --
  5    published about meconium. I was a coauthor.      5        A. Uh-huh.
  6    This was lead by Dr. J.P. Bellenger, who is a    6        Q. -- to analyze the different
  7    biochemist, and this is how I learned about      7   literature, correct?
  8    meconium. I learned about meconium because       8        A. Correct.
  9    J.P. Bellenger and Cassoulet explained to me.    9        Q. Okay. And that -- this is not
 10    As you can see, I was curious, and I wanted     10   the first time that you had used the
 11    to learn.                                       11   navigation guide, right?
 12        Q. Right. At the time they wrote            12        A. It's not the first time I used
 13    that -- oh, sorry.                              13   the criteria in the navigation guide.
 14        A. And they confirm that what they          14            As you can see in the -- in my
 15    wrote here is true. And in fact, there are      15   report, there are criteria that I use every
 16    references that support that.                   16   day. I use the -- I used it to -- because
 17             For instance, one of the               17   they are pretty straightforward. There is
 18    references that are shown here says that it     18   a risk of bias analysis and a contribution to
 19    reflects months' worth of exposure, so it is    19   evidence. There are about eight criterion in
 20    the longer biomarker you can get in children.   20   the risk of bias analysis. There are about
 21        Q. Which reference is that?                 21   eight criteria also in the evidence analysis.
 22        A. It's one of those. I think               22   And these are the usual one any
 23    Ostrea or Gareri, one of the two.               23   epidemiologist would use in using -- in
 24        Q. Gareri?                                  24   assessing an opinion.
 25        A. I think so.                              25            And there to say the navigation

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  1    guide, the name tells it all. It's a guide       1   particularly transparent and particularly
  2    on -- especially about documenting and making    2   open about how I evaluated every paper and
  3    your analysis transparent to other. It's not     3   how I -- I used it in my overall conclusion.
  4    a magic tool that gives answer.                  4       Q. Okay. So, Dr. Baccarelli, you
  5        Q. Do you remember my question?              5   discovered the tool, the navigation guide,
  6        A. I -- yeah. And I say I use the            6   after you were hired for this litigation,
  7    same criteria as in the navigation guide many    7   right?
  8    times, is my answer.                             8            MR. SNIDOW: Objection to the
  9        Q. Okay. The navigation guide was            9       form.
 10    first published in 2014, correct?               10            THE WITNESS: No. No, I know
 11        A. I think you might be right,              11       one of the people who created the
 12    yeah.                                           12       navigation guide very well, Tracey
 13        Q. Okay. Have you ever used a               13       Woodruff. She's a colleague who used
 14    navigation guide in litigation before now?      14       to work at the EPA, and she wrote the
 15             MR. SNIDOW: Objection to form.         15       navigation guide with many colleagues
 16             THE WITNESS: I only worked in          16       at the EPA.
 17        one litigation, and I was not -- I          17            And I -- the tool is pretty
 18        didn't use the navigation guide             18       popular. In the literature it's
 19        because it was not about general            19       pretty popular. She has been
 20        causation.                                  20       suggesting that we use it whenever we
 21    QUESTIONS BY MR. MURDICA:                       21       need to document our criteria.
 22        Q. All right.                               22            And at the same time, I want to
 23        A. Because it was one single case,          23       point out the navigation guide is not
 24    and I didn't -- it was about a toxic exposure   24       that new, because it's essentially the
 25    that is known to be toxic, so I didn't have     25       same as GRADE. GRADE is a similar

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  1    to do the navigation guide.                      1       guide that has been in existence for
  2        Q. In your non-litigation work,              2       25 times, and there are very minor --
  3    have you utilized the navigation guide to        3       for 25 years. And there are many
  4    render a causation analysis?                     4       minor differences between GRADE and
  5        A. Again, I used the same                    5       the navigation guide. If I use GRADE,
  6    criteria, but in coming up for this              6       it would have been exactly the same.
  7    deposition, I was made aware that I might --     7            The navigation guide is more --
  8    my criteria might have been questioned. My       8       it has been -- is GRADE tailored for
  9    analysis of the literature might have been       9       observational studies. Because these
 10    questioned.                                     10       are all observational studies, the
 11               So one of the ideas that came        11       navigation guide is more appropriate
 12    to mind is to use a tool and find the tool      12       than GRADE.
 13    that will make my research completely           13   QUESTIONS BY MR. MURDICA:
 14    transparent to everyone who can read it,        14       Q. Dr. Baccarelli --
 15    including you.                                  15       A. Uh-huh.
 16               So this tool is helpful for me       16       Q. -- do you remember my question?
 17    to -- it's a tool that helps me to document     17            MR. SNIDOW: Objection to form.
 18    my analysis. It shows the paper is              18            THE WITNESS: Please, let me
 19    categorized based on 20 criteria, as you can    19       know.
 20    see for each of the paper how I created each    20   QUESTIONS BY MR. MURDICA:
 21    of the criteria.                                21       Q. Okay. I don't think that you
 22               So, again, usually this is done      22   do. I'll ask another one, but please do your
 23    without disclosing all the criteria you have.   23   best --
 24               So I used the navigation guide       24       A. I did answer, by the way, but
 25    because I became aware that I needed to be      25   please go ahead.

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  1       Q.      Please do your best.                  1       Q. So if we looked at all your
  2             Okay. Have you utilized the             2   600-plus studies that have been published, we
  3    navigation guide in your work at Columbia        3   wouldn't see any publications that utilized
  4    prior to this engagement?                        4   and applied the navigation guide to reach a
  5        A. As I said, I -- I think I                 5   conclusion, correct?
  6    replied. If I didn't, I'm so sorry, because      6            MR. SNIDOW: Objection to form.
  7    I really thought I did.                          7            THE WITNESS: I think I already
  8             It's the first time I need to           8       answered that before.
  9    show to anyone exactly how I grade and how I     9   QUESTIONS BY MR. MURDICA:
 10    assign each of the papers. I usually use all    10       Q. The answer is no, right?
 11    the criteria in the navigation guide in my      11       A. I can go on and repeat all the
 12    daily job at Columbia or elsewhere, and when    12   answer, or you can -- anyone can look back
 13    I give opinion about causation, I have all      13   about the answer I just gave.
 14    the criteria in mind.                           14       Q. Can you point to any of your
 15             The navigation guide is a tool         15   600 studies that utilized the navigation
 16    that gives additional transparency, and it's    16   guide that's utilized here?
 17    really done to your benefit so that you can     17       A. There are many studies where
 18    see exactly whether you agree or disagree       18   expressed opinions about causation, and by
 19    with me.                                        19   doing that, I used exactly the same criteria
 20             So this is the first time I            20   I used in the navigation guide.
 21    work on a case on causation. It's only my       21       Q. Oh.
 22    second case, ever. And I was made aware, and    22       A. Again, the navigation guide --
 23    I became aware while I was working on it,       23   the navigation guide provides transparency
 24    that I had to be particularly transparent       24   that I don't need in my publications.
 25    about how I grade every paper.                  25       Q. Okay.

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  1              So this is why I decided to use        1        A. So -- and in general, I'm
  2    for the first time the navigation guide,         2   not -- I'm not publishing papers to say I
  3    because the navigation guide really gives me     3   looked at entire literature and now here I
  4    added capacity to show exactly what I did at     4   think that A causes B.
  5    each step of the way.                            5             You can see my 600 papers.
  6              And you can see it in the              6   There are few or none that worry
  7    tables. There are nine tables here, and each     7   about that type of answer, whether in the
  8    of the paper is classified according to          8   entire universe of literature there is
  9    criterion in three tables. As you can see        9   anything like that.
 10    exactly what I did. So if you disagree with     10             But when I publish papers and I
 11    any of the -- of the ways I classify the        11   need to indicate whether there is an
 12    paper in the navigation guide, we can           12   association or not, I use exactly the same
 13    discuss.                                        13   criteria.
 14              But clearly this is not a             14        Q. Okay.
 15    tool -- a magic box that spits an answer.       15        A. So I never published this
 16    It's a way to document what I did and really    16   navigation guide before, as I mentioned to
 17    creates transparency for you, for the judge,    17   you. And again, this creates more
 18    for the defense.                                18   transparency; it doesn't create less.
 19              And also, I have to say this is       19             So in a way, I give you much
 20    why I'm pretty proud of this. Because for       20   more opportunities to look into my job that
 21    the first time I will publish a paper with a    21   if I didn't use this. So you have an
 22    navigation guide, which will give me the        22   opportunity. So you are really complaining
 23    opportunity to provide transparency about the   23   about something that is to your advantage,
 24    studies to everyone who is going to read the    24   not to mine.
 25    papers.                                         25        Q. Dr. Baccarelli, I still don't

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  1    think you answered my question.                1   deposition, I thought I wanted to
  2        A. I did.                                  2   enhance accountability, enhance
  3        Q. Have you published on the               3   transparency, and enhance
  4    navigation guide?                              4   documentation that the document --
  5        A. I did answer before. Thank              5   that the navigation guide provides.
  6    you.                                           6        And I want to say, this is
  7        Q. Dr. Baccarelli, have you                7   something to your advantage because
  8    published on the navigation guide?             8   you can look at all the way I classify
  9        A. I did answer my question -- my          9   the paper. If you disagree, I'm happy
 10    answer is in the -- is before. If you want,   10   to discuss.
 11    I can start again.                            11        This is about disclosing. It's
 12        Q. If we looked at any of your            12   a way of disclosing what I did, and I
 13    publications, would we see the words          13   disclosed it. It's helpful to
 14    "navigation guide"?                           14   everyone, I believe.
 15        A. I did answer the question              15        MR. MURDICA: Okay.
 16    before.                                       16        MR. SNIDOW: Definitely
 17             MR. SNIDOW: Am I allowed to          17   answered that time, right?
 18        speak?                                    18        He said the navigation guide is
 19             MR. MURDICA: Are you going to        19   not --
 20        have him answer or no?                    20        MR. MURDICA: He's wasting so
 21             MR. SNIDOW: Yeah.                    21   much time by refusing to answer.
 22             Dr. Baccarelli, can -- you can       22        MR. SNIDOW: He said the
 23        tell him if you've ever used              23   navigation guide is not used in a
 24        navigation guide and then go on to        24   previous publication. Okay? You got
 25        tell him if you've done GRADE.            25   what you want. I suggest you move on.

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  1          But I think you can tell him             1             MR. MURDICA: I don't think his
  2    if -- I think you have, by the way,            2       answers are appropriate at all. I'll
  3    three times now if you --                      3       keep asking questions.
  4          MR. MURDICA: Depending on the            4             MR. SNIDOW: Okay.
  5    question.                                      5   QUESTIONS BY MR. MURDICA:
  6          MR. SNIDOW: -- if you've used            6       Q. Dr. Baccarelli, you mentioned
  7    the navigation guide in prior                  7   Woodruff, right?
  8    publications.                                  8       A. Uh-huh.
  9          MR. MURDICA: The pending                 9       Q. Okay. Now, when did you meet
 10    question is, "Do the words 'navigation        10   Dr. Woodruff?
 11    guide' appear in any of your 600              11       A. Dr. Woodruff, the first time I
 12    publications?"                                12   might have met her 15 years ago.
 13          And he refused to answer it.            13       Q. Okay.
 14          THE WITNESS: I did answer               14       A. I think we were together
 15    before. The navigation guide is not           15   working on a review of a position statement
 16    used in the previous publication.             16   or a -- let's say a monograph published by
 17    They used the word "navigation guide"         17   the EPA. And we were brought together by the
 18    in the publication.                           18   National Academy of Medicine in Washington,
 19          The reason is because I use the         19   DC, to review that -- the monograph. And
 20    same criteria, but I'm not expected or        20   that was perhaps the first time I spent time
 21    required or even interested in provide        21   with Dr. Woodruff.
 22    the same level of documentation,              22       Q. Okay. Dr. Baccarelli, did you
 23    transparency and accountability that          23   call Dr. Woodruff when you were attempting to
 24    is needed in this setting.                    24   apply the navigation guide of Dr. Woodruff
 25          So in preparing for this                25   for the first time?

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  1        A. No. No.                                   1      Q.     Okay. To assess bias.
  2        Q. Okay.                                     2           According to the principles of
  3        A. I -- Dr. Woodruff, we never               3   the navigation guide, do any of them apply to
  4    talk about the navigation guide.                 4   the bias of the reviewer?
  5             And Dr. Woodruff presented --           5       A. Sorry, can you explain that?
  6    we invited Dr. Woodruff for -- at Columbia,      6       Q. Sure.
  7    and this was during COVID, so it was a           7           The navigation guide is
  8    virtual visit. And Dr. Woodruff gave a           8   typically applied by a team, and their scores
  9    presentation probably three or four years ago    9   of the articles are averaged, correct?
 10    about the navigation -- about her work in       10       A. Correct.
 11    toxicology. And that situation, probably was    11       Q. Okay. And are the team usually
 12    four years ago. She also presented about the    12   paid by one side of a litigation or another?
 13    navigation guide.                               13           MR. SNIDOW: Objection to the
 14             And I thought it was                   14       form.
 15    interesting that finally GRADE was -- made it   15   QUESTIONS BY MR. MURDICA:
 16    easier to work for people who work in           16       Q. In application of the
 17    toxicology.                                     17   navigation guide?
 18        Q. When she gave the presentation           18       A. Again, I prepared the
 19    about the navigation guide, do you recall       19   navigation guide. I made it transparent to
 20    Dr. Woodruff saying that it is a team that      20   you. If you think there is a bias there, you
 21    scores the articles under the criteria of the   21   need to tell me where.
 22    navigation guide, not a single person?          22       Q. Well, you made your own scores,
 23        A. I know that it has been done by          23   right, Dr. Baccarelli?
 24    teams at times, but I -- I'm not a team. I      24       A. I predetermined the scores
 25    cannot clone myself.                            25   before starting the navigation guide, and

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  1             So you will understand that I           1   then I scored all the papers according to
  2    cannot do it on my own -- I cannot do three      2   the -- to the levels of evidence. And I made
  3    times on my own. I would probably get to the     3   it clear how I did it, so I think it's very
  4    same result.                                     4   objective.
  5        Q. Did you know, Dr. Baccarelli,             5        Q. Okay. So according to
  6    that Dr. Woodruff was invited to sign the        6   Dr. Baccarelli, there's no subjective
  7    consensus statement we were talking about        7   elements of your scoring for any of the
  8    earlier and she refused?                         8   papers, right?
  9             MR. SNIDOW: Objection to the            9        A. I think you understand that
 10        form.                                       10   every expert has subjective opinions, so I'm
 11             THE WITNESS: No, I'm not aware         11   no different from other experts. So I have
 12        of it, and I'm not sure she ever            12   opinions. And if I'm proven to be wrong in
 13        worked on acetaminophen. Did she?           13   any of my -- of the way I scored the paper,
 14    QUESTIONS BY MR. MURDICA:                       14   I'm happy to discuss, and I'm happy to change
 15        Q. I'm just asking if you're aware          15   any score even on the spot.
 16    if she was invited to sign and didn't.          16             I have to say, the evidence is
 17             MR. SNIDOW: Objection to the           17   so overwhelming that you can change the score
 18        form.                                       18   as much as you want. You can give me 200
 19             THE WITNESS: I'm not aware.            19   reviewers. We'll all come back with the same
 20    QUESTIONS BY MR. MURDICA:                       20   ideas.
 21        Q. Okay. Have you -- one of                 21             I mean, if you can find a
 22    the -- one of the main principles of the        22   reviewer who will use the navigation guide or
 23    navigation guide is to avoid bias, right?       23   any other tool, Bradford Hill, and disagree
 24        A. No. One of the main principles           24   with it, you will have to ask for an entire
 25    in navigation guide is to assess bias.          25   list of papers and show -- let's say someone

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  1    who doesn't know the literature or               1   QUESTIONS BY MR. MURDICA:
  2    misinterpret the literature says there is no     2        Q. Okay. Did you see anything in
  3    consistency. I would doubt the sanity of         3   that production that you remember where FDA
  4    that person because there is huge consistency    4   made the same determination you did, that the
  5    across the literature.                           5   relationship is causal?
  6             So, I mean, it's possible               6        A. So I'm used to work on the
  7    someone might do that, but I will worry about    7   literature. I worked on the primary
  8    that.                                            8   literature. I don't want to be biased by any
  9         Q. Did I ask you that,                      9   other body one way or another.
 10    Dr. Baccarelli?                                 10            I was asked to give an opinion
 11             MR. SNIDOW: Objection to the           11   based on the literature. I, as you say, say
 12         form.                                      12   in my report I haven't taken into account the
 13             THE WITNESS: I just thought I          13   FDA production one way or another.
 14         would offer --                             14        Q. Okay. And would the same thing
 15    QUESTIONS BY MR. MURDICA:                       15   apply to any company documents, the
 16         Q. Okay.                                   16   defendants' production?
 17         A. -- if you wouldn't mind.                17        A. Correct. I have to say, all
 18         Q. Well, I do, because I only have         18   these materials were very important to me
 19    a limited amount of time. So I'd like to get    19   because it help me to make sure I considered
 20    my questions in, please.                        20   any possible concern. And I did.
 21         A. We professors tend to speak a           21            So there were a lot of concerns
 22    lot.                                            22   that were raised by the FDA, were raised by
 23         Q. Yeah.                                   23   Johnson & Johnson, and I was able to address
 24             One of the first things that           24   those concerns so they're no longer a
 25    you reviewed in this litigation was a           25   concern. The literature is bulletproof.

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  1    production by the United States Food and Drug    1        Q. So you're relying on the
  2    Administration, correct?                         2   literature, not on any of the FDA documents
  3         A. I reviewed those productions at          3   or the defendants' own documents, correct?
  4    some point, yeah.                                4        A. My opinion, as it stand, is not
  5         Q. Yeah.                                    5   used on some -- it's not based on someone
  6              And you saw that they also             6   else's opinion. So if you're asking me
  7    assessed the literature, correct?                7   whether I base my opinion on the opinion of
  8         A. They definitely report on the            8   FDA, Johnson & Johnson, the opinion of the
  9    literature.                                      9   lawyers, the opinion of my colleagues, I
 10         Q. And their conclusion was more           10   based my assessment on exactly the
 11    along the lines of what you believed in 2019    11   literature.
 12    when you published the Laue article, correct?   12            I reviewed the papers. I --
 13              MR. SNIDOW: Object to form.           13   it's much easier to rely on someone else's
 14              THE WITNESS: I don't recall           14   opinion. It's much harder to do what I did,
 15         that. I don't think there is anything      15   to look at all the papers one by one.
 16         to that effect.                            16        Q. Dr. Baccarelli, when is the
 17              The -- the production was             17   last time that you looked at Dr. Woodruff's
 18         redacted. I really don't know what is      18   original 2014 publication of the navigation
 19         their conclusion. They -- I was            19   guide?
 20         really -- it was interesting to me         20        A. Probably when I started to do
 21         because they seem to worry. And the        21   this work. Let's say in April.
 22         reason why they were looking at it is      22        Q. Okay. And did you say April?
 23         because they're concerned.                 23        A. April 2013 {sic}.
 24              I don't think there was a             24        Q. Did you do the navigation guide
 25         conclusion on that.                        25   analysis first before you did Bradford Hill?

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  1         A. I -- so the way -- the way it            1   relies on the nine criteria of Bradford Hill.
  2    is, I started with doing both, so I sat down     2   So I reviewed the nine criteria, and I -- and
  3    all the criteria how I was going to grade        3   I -- and I concluded that it -- that in
  4    each of the papers a priori, as requested by     4   parallel to the navigation guide.
  5    the navigation guide. So I wrote down the        5        Q. Okay. So each one, the
  6    criteria about the navigation guide, all the     6   navigation guide analysis and the Bradford
  7    criteria for Bradford Hill, and then I           7   Hill analysis, are separate and apart from
  8    started to work this through.                    8   each other, right, Dr. Baccarelli?
  9              Of course the navigation guide         9        A. That's -- you can understand
 10    requires that each paper -- you can see the     10   very well that that is not true because the
 11    tables at the end of my report. The             11   papers are the same, so they cannot be
 12    navigation guide that requires that -- let me   12   separate from each other. They are just two
 13    get this.                                       13   processes that follow similar criteria, and I
 14              So the request that while I           14   will be surprised if you use one of the other
 15    read the papers, I put them in these tables.    15   you would have different results.
 16    So I need to ask questions about selection,     16            Bradford Hill simply doesn't
 17    about exposure outcomes, confounding,           17   require the same level of transparency and
 18    incomplete outcomes, selective outcome          18   accountability the navigation guide allows.
 19    reporting, et cetera.                           19   So the navigation guide essentially is a way
 20              Then we need to add a table           20   to make the Bradford Hill analysis
 21    with all the information and then one about     21   transparent.
 22    the evidence, which is sample size, large       22        Q. Okay. So I just want to be
 23    effect, dose response, internal consistency,    23   clear, because I don't think you've answered
 24    control of bias, et cetera, et cetera.          24   my question, Doctor.
 25              So the navigation guide is a          25        A. I said no.

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  1    process where I document all of the papers       1       Q. You did not use the navigation
  2    and I put them down. And then of course the      2   guide scoring in your Bradford Hill analysis,
  3    Bradford Hill analysis comes along.              3   correct?
  4             Essentially the Bradford Hill           4            MR. SNIDOW: Objection to form.
  5    analysis and the navigation guides are the       5            THE WITNESS: In the Bradford
  6    same process. They use the same criteria.        6       Hill analysis, of course the same --
  7    You would recognize many of the Bradford Hill    7       the same components that are in the
  8    criteria here. So I could have used either       8       navigation guide end up in the
  9    or both.                                         9       Bradford Hill analysis. So as I said,
 10             I would be surprised if the --         10       they're essentially the same process.
 11    someone doing the navigation guide analysis     11            One makes this -- the Bradford
 12    would come with a different conclusion          12       Hill analysis clear and transparent,
 13    because of Bradford Hill, because they are      13       the navigation guide. They're
 14    similar -- they are similar processes.          14       essentially the same process. So the
 15             The navigation guide, though,          15       navigation guide is like a more
 16    allowed me to document. Again, the              16       documented, more expanded Bradford
 17    navigation guide is not -- is not a way to      17       Hill analysis.
 18    get an answer. It's a way to document the       18   QUESTIONS BY MR. MURDICA:
 19    process.                                        19       Q. So, Doctor, if you got a study
 20        Q. Dr. Baccarelli, your Bradford            20   wrong in your scoring in the navigation
 21    Hill analysis relies on your navigation guide   21   guide, that would have affected your Bradford
 22    scoring of the studies, correct?                22   Hill analysis, correct?
 23        A. No, that is not true.                    23            MR. SNIDOW: Objection to form.
 24        Q. Okay.                                    24            THE WITNESS: No. There is not
 25        A. The Bradford Hill analysis               25       one single scoring that can change the

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  1       navigation guide or the Bradford Hill.       1   conclusion in my mind the problem existed
  2            In order to change my opinion           2   before. Like in 2022 and 2021, I was pretty
  3       on the navigation guide, I would have        3   sure there was a problem.
  4       to get half of the scoring wrong.            4             When I started to do these --
  5            To be honest, the evidence is           5   these tables are actually pretty helpful,
  6       so overwhelming that it really takes a       6   because when you finish and you step back,
  7       lot of mistakes to really change my          7   you see, I didn't expect this to be so
  8       opinion for Bradford Hill.                   8   consistent. I was blown away by this table.
  9            And if you can find one score           9   This table really blew me away for how
 10       that is wrong, that's okay. I mean,         10   consistent they are.
 11       I'm not perfect. I know that I can          11             There is really very little
 12       make mistakes. Most of us do.               12   example in the epidemiology literature of
 13    QUESTIONS BY MR. MURDICA:                      13   studies that are so consistent with each
 14       Q. So your testimony then is the            14   other that they help understand and read out
 15    navigation guide analysis is separate, apart   15   a situation so clearly.
 16    and independent from your Bradford Hill        16             You asked me whether this can
 17    analysis, correct?                             17   be subjective. This cannot be subjective.
 18            MR. SNIDOW: Objection to form.         18   And honestly, this is why I have the tables,
 19            THE WITNESS: They are two --           19   because anyone who reads these tables can
 20       these two are running parallel. They        20   reach my own conclusion.
 21       are very similar. Some of the               21        Q. Have you ever worked with
 22       criterias of the Bradford Hill              22   prospective, double-blinded data, Doctor? In
 23       analysis are also included in the           23   epidemiology?
 24       navigation guide and vice versa.            24        A. In epidemiology, as you know,
 25            I ran the Bradford Hill                25   it's very unusual. In epidemiology,

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  1        analysis first, if I remember               1   observational studies.
  2        correctly, and I reached -- I reached       2        Q. Did you see when you reviewed
  3        some -- I ran the Bradford Hill             3   the navigation guide that it's -- it was
  4        analysis, and I reached some                4   intended to be done -- to be performed by
  5        conclusions. And then I ran the             5   government agencies, professional societies,
  6        navigation guide at a -- I reached          6   health care organizations, to analyze
  7        some conclusion.                            7   relationships between environmental exposures
  8              I need to point out it's the          8   and outcomes?
  9        same type of studies, and it's me           9        A. And me. Correct?
 10        doing both. So I think it's pretty --      10             I don't want to say I'm an
 11        it's pretty clear that the two             11   organization, but I would say that if
 12        processes are interrelated.                12   government organization rely on this --
 13    QUESTIONS BY MR. MURDICA:                      13        Q. Dr. Baccarelli --
 14        Q. Okay. So, Dr. Baccarelli, you           14        A. -- it's actually -- it's
 15    reached your Bradford Hill conclusion first,   15   actually -- it applies also to me, correct?
 16    and then you reached your navigation guide     16             I think I can -- I'm rising to
 17    conclusion second, correct?                    17   the standards of government organizations.
 18        A. At the same time -- yeah, about         18   It's pretty flattering, actually, you're
 19    the same. I'm not sure at this point,          19   saying that.
 20    really.                                        20        Q. Dr. Baccarelli, are you aware
 21        Q. And both of those conclusions           21   of anyone individually doing a navigation
 22    came in April 2023?                            22   guide analysis per the guide before?
 23        A. They came along the process. I          23             MR. SNIDOW: Objection. Form.
 24    can't remember. I mean, I really did this in   24             THE WITNESS: Say that again?
 25    March or April, so I had -- I made this        25


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  1    QUESTIONS BY MR. MURDICA:                        1       there is a way to show that I'm not
  2        Q. Are you aware of any individual           2       biased, this is the way.
  3    like yourself performing and publishing a        3             And the navigation guide is --
  4    navigation guide analysis before?                4       I used the navigation guide exactly to
  5        A. Again, I'm -- this really makes           5       show that is the data, not me.
  6    me even more convinced your comment, that if     6   QUESTIONS BY MR. MURDICA:
  7    it were true, and perhaps you're right, if       7       Q. Okay. Are you aware,
  8    I'm the first one to use it, I should get a      8   Dr. Baccarelli, that the drafters of the
  9    gold medal because I did a lot of work to        9   navigation guide say that assessing the risk
 10    make it transparent to you and to help you to   10   of bias needs to be independently determined
 11    understand that what I'm saying is true. And    11   by multiple investigators?
 12    the judge, of course.                           12             MR. SNIDOW: Objection to form.
 13             So probably what you're saying,        13             THE WITNESS: And again, I did
 14    that this standard of rigor and transparency    14       the risk of bias, and I documented
 15    are used is unusual for the scientist. And I    15       this. So again, I think you -- if you
 16    feel you're commending me for using a higher    16       have any reason to think my navigation
 17    level of transparency.                          17       guide is biased or wrong, I'm happy to
 18        Q. I'm sure that that's what you            18       discuss.
 19    think I meant.                                  19             I'm disclosing you the data and
 20             What I'm asking you, Doctor, is        20       my reasoning. I'm not hiding it.
 21    whether you're aware of an individual           21       It's exactly the opposite of what you
 22    performing a navigation guide analysis          22       seem to discuss, to suggest.
 23    before -- while you know that the navigation    23   QUESTIONS BY MR. MURDICA:
 24    guide says that it is meant to be applied by    24       Q. Don't worry, Doctor, we're
 25    a team and to average the scores so that you    25   going to go through your -- through your

                                          Page 334                                            Page 336
  1    get multiple points of input and not one         1   scoring.
  2    person's analysis in case they're biased,        2       A. Fantastic.
  3    right?                                           3       Q. Doctor, I'm going to ask you
  4              MR. SNIDOW: Objection.                 4   about -- you have a website for your group at
  5        Objection to the form.                       5   Columbia, right?
  6              THE WITNESS: Again, I -- you           6       A. I have a website for my lab.
  7        just said that usually individuals           7       Q. Right.
  8        don't do that because it's run by            8           And your lab's website talks
  9        organizations.                               9   about some of the things that you're
 10              I'm saying by doing the               10   investigating, right?
 11        navigation analysis, I held myself to       11       A. Very, very generally.
 12        the highest possible standard. It is        12       Q. Very generally.
 13        usually done by a government or an          13           But it does identify some
 14        agency.                                     14   things, right? Pollutants?
 15              And again, I disclosed my             15       A. Very little.
 16        criteria, I disclosed my opinions,          16       Q. Okay. It doesn't say
 17        something, by the way, that the             17   acetaminophen, right?
 18        epidemiologists you used didn't. And        18       A. Acetaminophen is one of the
 19        so I make my opinion transparent,           19   chemicals we use. I'm sure we say
 20        which is not something I can say about      20   "chemicals."
 21        you.                                        21       Q. Okay. But you know it doesn't
 22              So if you are saying I'm              22   say acetaminophen, right?
 23        biased, I eliminated a lot of space         23           MR. SNIDOW: Objection to form.
 24        where I can be biased because I gave        24           THE WITNESS: I publish 650
 25        it to you, all my scoring. So if            25       papers. About four on acetaminophen,

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  1        and you can see that in my CV.               1   cohort has been used for multiple papers by
  2    QUESTIONS BY MR. MURDICA:                        2   you and your colleagues, right?
  3        Q. One of the things that you                3            MR. SNIDOW: Object to the
  4    assessed in your navigation guide analysis       4       form.
  5    was sample size, right?                          5            THE WITNESS: Can -- I'm not
  6        A. Correct.                                  6       sure I understand the question.
  7        Q. And you're critical of some               7   QUESTIONS BY MR. MURDICA:
  8    studies over sample size, right?                 8       Q. Sure.
  9        A. I'm not critical. I'm                     9            GESTE is one grouping of
 10    assessing them, and I explain the criteria in   10   samples collected in Sherbrooke, Canada,
 11    my -- that are predetermined in my navigation   11   right?
 12    guide analysis.                                 12       A. No. It's a prospective study
 13        Q. What was the sample size of the          13   of women and their children, follow-up
 14    population in Baker 2020 that had               14   longitudinally for 12 years. It's not a
 15    acetaminophen exposure and ADHD?                15   group of samples.
 16             MR. SNIDOW: Object to the              16       Q. Well, the meconium samples were
 17        form.                                       17   collected from 394 of them, correct?
 18             THE WITNESS: I'm happy to -- I         18            MR. SNIDOW: Objection to form.
 19        can't remember in the top of my mind.       19            THE WITNESS: I'd be happy to
 20        If you have the paper, I'm happy to         20       review the paper if you're interested
 21        discuss.                                    21       in -- exactly in the Baker 2020.
 22    QUESTIONS BY MR. MURDICA:                       22   QUESTIONS BY MR. MURDICA:
 23        Q. Well, the GESTE cohort --                23       Q. I don't know what paper you
 24        A. GESTE.                                   24   want me to give you, Doctor. I'm asking you
 25        Q. GESTE cohort only had 394                25   about GESTE, from which you've published

                                          Page 338                                           Page 340
  1    meconium samples, right?                         1   multiple papers.
  2        A. Correct.                                  2       A. You mentioned Baker, I didn't.
  3        Q. So it had to be less than 394,            3       Q. Right.
  4    right?                                           4       A. Baker 2020.
  5             MR. SNIDOW: Object to form.             5       Q. I'm asking about GESTE.
  6             THE WITNESS: Maybe about that.          6       A. Uh-huh.
  7        If you have the paper, we can start to       7       Q. Okay. You don't recall how
  8        discuss it.                                  8   many meconium samples are in inventory from
  9    QUESTIONS BY MR. MURDICA:                        9   the GESTE study?
 10        Q. Yeah. I'm going to ask you               10            MR. SNIDOW: Objection to the
 11    generally about GESTE first, and then we'll     11       form.
 12    get into it.                                    12            THE WITNESS: It seems to be --
 13             MR. SNIDOW: Object to the              13       I mean, I'm happy to review what --
 14        form.                                       14       the analysis specifically, but it
 15    QUESTIONS BY MR. MURDICA:                       15       seems to be the right -- 394 seems to
 16        Q. GESTE originally had 400                 16       be the right number.
 17    samples, and six of them weren't returned,      17   QUESTIONS BY MR. MURDICA:
 18    right?                                          18       Q. Okay. And some portion over
 19             MR. SNIDOW: Object to the              19   50 percent, I think you testified earlier,
 20        form.                                       20   had acetaminophen exposure in the meconium,
 21             THE WITNESS: I'll be happy to          21   right?
 22        discuss the paper.                          22            MR. SNIDOW: Object to form.
 23    QUESTIONS BY MR. MURDICA:                       23            THE WITNESS: 55 percent had
 24        Q. It's not in the paper. I'm               24       detectable levels. Among those
 25    just asking if you -- you know that this        25       55 percent, there is a range of

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  1        exposure from very low to very high          1        MR. SNIDOW: It's 3:04.
  2        and everything in between. So it's           2        Are you going to show him
  3        not just the exposure, but there's --        3   Baker? Do you have Baker?
  4        there's not just yes or no, but there        4        MR. MURDICA: Eventually.
  5        is also a level.                             5        MR. SNIDOW: Okay.
  6    QUESTIONS BY MR. MURDICA:                        6        MR. MURDICA: When I'm going to
  7        Q. Okay. So 55 percent, roughly              7   ask questions about it.
  8    200 of 394, maybe a little more, had exposure    8        MR. SNIDOW: All right. All
  9    to acetaminophen --                              9   right.
 10              MR. SNIDOW: Objection.                10        MR. MURDICA: But right now you
 11    QUESTIONS BY MR. MURDICA:                       11   guys are wasting my time.
 12        Q. -- according to meconium,                12        Why don't you take a break. If
 13    right?                                          13   you want to look at Baker -- I'm not
 14              MR. SNIDOW: Objection to form.        14   asking about Baker. But why don't you
 15              THE WITNESS: I really don't           15   guys take a break and look at Baker.
 16        understand the word -- what is this         16        MR. SNIDOW: Wait. Sorry. Do
 17        question? Can you repeat it?                17   you need a break?
 18    QUESTIONS BY MR. MURDICA:                       18        THE WITNESS: I'm okay.
 19        Q. Okay. What's 55 percent of               19        MR. SNIDOW: All right. You
 20    394?                                            20   keep asking questions.
 21              MR. SNIDOW: Objection to the          21        MR. MURDICA: Okay. Let's try
 22        form.                                       22   to answer them, though, because now
 23              THE WITNESS: I'm sure that            23   you've just wasted ten minutes of my
 24        it's in the paper. If you want to           24   time.
 25        look at the paper, they're in the           25        MR. SNIDOW: At most, a minute,

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  1       paper --                                      1      10.
  2    QUESTIONS BY MR. MURDICA:                        2   QUESTIONS BY MR. MURDICA:
  3       Q. I don't know which paper you               3      Q. Doctor, you've published
  4    want me to give you, Doctor.                     4   multiple things from the GESTE cohort, right?
  5       A. I don't know what answer you               5      A. Uh-huh.
  6    want to give me.                                 6      Q. Okay. 55 percent of the
  7            MR. SNIDOW: Hold on. Hold on.            7   samples of meconium had acetaminophen in
  8            I've been extremely                      8   them, right?
  9       well-behaved. The reason he's                 9           MR. SNIDOW: Objection to the
 10       confused is because you mentioned            10      form.
 11       Baker, and now he'd like to see Baker.       11           THE WITNESS: So there was an
 12            MR. MURDICA: That was a long            12      entirety of, let's say, 400 people
 13       time ago --                                  13      with meconium. 400 children had
 14            MR. SNIDOW: Do you want to              14      meconium and also had follow-up at
 15       show it to him?                              15      12 years, 10, 12 years.
 16            MR. MURDICA: -- and it's not            16           All of this did that
 17       what I'm asking about. I'm not asking        17      informally. You understand the sample
 18       about Baker.                                 18      size is the total people, not just the
 19            THE WITNESS: You did.                   19      ones that had meconium -- that have
 20            MR. MURDICA: I just told you            20      acetaminophen in meconium. All of
 21       I'm not asking about Baker, Doctor.          21      them are in the analysis, so we are
 22            Do you need a break?                    22      considering two things, whether there
 23            THE WITNESS: No, no, we can             23      are meconium -- acetaminophen in
 24       go.                                          24      meconium or not and the levels.
 25            What time is it?                        25           So the entire -- the entire

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  1         sample size is everyone who has             1       the record. I need to talk to your
  2         meconium. It's not just the people          2       counsel.
  3         who are positive. The people who are        3            VIDEOGRAPHER: The time right
  4         positive are compared to the ones that      4       is now 3:07 p.m. We are off the
  5         are negative for meconium.                  5       record.
  6              Does it make sense?                    6        (Off the record at 3:07 p.m.)
  7    QUESTIONS BY MR. MURDICA:                        7            VIDEOGRAPHER: The time right
  8         Q. I understand, Doctor.                    8       now is 3:16 p.m. We are back on the
  9         A. Okay.                                    9       record.
 10         Q. My question that I was trying           10            (Baccarelli Exhibit 99 marked
 11    to establish is that the meconium -- the        11       for identification.)
 12    acetaminophen-positive meconium samples are     12   QUESTIONS BY MR. MURDICA:
 13    55 percent of approximately 394, right?         13       Q. Dr. Baccarelli, you have in
 14         A. Correct.                                14   front of you what's been marked as
 15              MR. SNIDOW: Objection to the          15   Exhibit 99.
 16         form.                                      16            Do you recognize that as your
 17    QUESTIONS BY MR. MURDICA:                       17   amended report?
 18         Q. And I asked you if you could            18       A. Yeah, this seems to be it.
 19    either do the math or agree with me that        19       Q. Will you please turn to
 20    that's a little over 200 samples.               20   page 15?
 21         A. So there are a little over 200          21       A. Yeah.
 22    samples that get compared to a little over --   22       Q. Sorry, Doctor, I'm trying to
 23    a little less than 200 samples in the entire    23   find something here.
 24    study. It's what is said in the paper, and      24            I understand on the break you
 25    I'm happy to review the paper with you again.   25   took a look at Baker 2020.

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  1        Q. And a portion of those, both              1      A.     Just a little bit.
  2    with and without acetaminophen, have             2      Q.     Okay. And was that marked?
  3    diagnoses of different neurodevelopmental        3      A.     No. It's here though.
  4    outcomes, right?                                 4            (Baccarelli Exhibit 100 marked
  5        A. Sorry. You are talking about              5       for identification.)
  6    Baker. It's the only paper where we              6   QUESTIONS BY MR. MURDICA:
  7    published these results. So I would like to      7       Q. Okay. So we'll mark that as
  8    discuss Baker.                                   8   Exhibit 100.
  9        Q. Okay. You can have a break,               9            Doctor, part of Baker 2020 --
 10    Doctor.                                         10   you were involved in it, right?
 11             MR. SNIDOW: No, he wants you           11       A. That is correct.
 12        to show him the paper. He doesn't           12       Q. Okay. Part of it was an MRI
 13        want a break.                               13   analysis, right?
 14             MR. MURDICA: You've taken              14       A. That is correct.
 15        whatever papers you wanted in front of      15       Q. Do you recall how many MRIs
 16        you -- yeah.                                16   were conducted at the time?
 17             THE WITNESS: No, if you want           17       A. It was a small subset of the
 18        to discuss Baker, we should discuss         18   population.
 19        Baker.                                      19       Q. And those --
 20             MR. MURDICA: I'm discussing            20       A. 45, 50. I can't remember
 21        the GESTE cohort.                           21   exactly.
 22             I conduct this deposition, not         22       Q. The MRIs were of the
 23        you, Doctor.                                23   children --
 24             THE WITNESS: I -- I --                 24       A. Of the children.
 25             MR. MURDICA: We're going off           25       Q. -- who at this point were now

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  1    10 or 12, right?                                 1   this study is finished. The MRI study is
  2        A. Correct.                                  2   finished.
  3        Q. And --                                    3       Q. Okay. Did you -- have you done
  4        A. 10 or 12 years old.                       4   a new analysis now that you have 100 or so
  5        Q. Yes.                                      5   MRIs?
  6             And part of the protocol was            6        A. This is the complete MRI
  7    that the children had to be off their ADHD       7   subset. What we have now -- what is here is
  8    medication that day when they had their MRI,     8   what the MRIs we have. It is what I
  9    right?                                           9   understand.
 10        A. Correct. That is something               10       Q. So if you have 100 MRIs now,
 11    that our neuropsychologist, Dr. Posner, who     11   they're all represented in the Baker 2020
 12    is an expert on ADHD -- he does that for a      12   publication?
 13    living -- suggested that we had the kids off    13        A. These are the MRIs that have
 14    medication because that will make the MRI       14   complete data. I understand that these are
 15    more accurate.                                  15   all of it. There is a -- yeah, these are all
 16        Q. Right.                                   16   the -- the follow-up was -- was almost
 17             Because the medication itself          17   complete at this time, so it's almost every
 18    could show that -- the brain connectivity,      18   one.
 19    right?                                          19       Q. Okay. Do you know anything --
 20        A. That is what I understand.               20   back to MRIs and the cessation of the
 21        Q. Okay. At the time Baker 2020             21   medication for the day of the MRI.
 22    was published, you actually had a lot more      22             Do you know what medication was
 23    MRIs, right?                                    23   recorded about the child as to the medication
 24        A. It is possible that we had more          24   that they were normally on?
 25    MRIs, but I'm not sure. I'm not sure what       25        A. I'm pretty sure we have all of

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  1    was the situation there.                         1   it.
  2        Q. Okay.                                     2       Q. Okay. And do you know if their
  3        A. I'm sure we put all the MRIs              3   last use was the night before or the morning
  4    for which we had complete data. This is not      4   before the MRI or otherwise?
  5    a subset of MRI. All the MRI that were           5       A. So you just said that we had
  6    eligible for the study, meaning we had           6   them all for one day?
  7    complete data to do the analysis we did here,    7       Q. The day of MRI.
  8    we don't withhold any MRI.                       8       A. For the day of the MRI.
  9        Q. You sure about that?                      9            I'm pretty sure that what the
 10        A. I'm pretty sure.                         10   protocol said was that to be off for
 11        Q. Okay. How many MRIs do you               11   24 hours. We asked them to have not for
 12    have done today?                                12   24 hours.
 13        A. I can't remember.                        13            I might be wrong about that,
 14        Q. Okay.                                    14   but at the same time, I mean, that is -- that
 15        A. I think it's 100 in total                15   is what I remember.
 16    today.                                          16       Q. Okay. When you were just
 17        Q. Okay. Do you --                          17   reviewing Baker 2020, which has been marked
 18        A. I can't remember exactly.                18   as Exhibit 100 --
 19        Q. Do you know, Dr. Baccarelli, if          19       A. Yeah.
 20    that continued? The MR -- accumulating MRIs     20       Q. -- do you recall seeing a
 21    continued following this publication?           21   protocol that the children had to be off
 22        A. Unfortunately, the -- we had             22   their medication for 24 hours?
 23    problems during COVID because we couldn't do    23       A. I don't remember. If you can
 24    any more MRIs. And therefore, we are not        24   point me out -- by the way, these are two
 25    doing them anymore right now. This study --     25   different formats again. You have one

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  1    format, I have another. So if you want to        1             MR. MURDICA: Actually, I
  2    point out stuff -- yeah, thank you.              2       don't.
  3             MR. SNIDOW: You want to                 3             MR. SNIDOW: Yeah. It's --
  4        re-mark it then or what?                     4             MR. MURDICA: I believe it's
  5             MR. MURDICA: No, he's --                5       been previously marked as Exhibit 19
  6             THE WITNESS: I have the PDF.            6       as well.
  7        You have -- you are looking at the --        7             MR. SNIDOW: Okay. Thanks.
  8    QUESTIONS BY MR. MURDICA:                        8   QUESTIONS BY MR. MURDICA:
  9        Q. Yeah. That's okay. I have                 9       Q. And you're listed as a
 10    nowhere to point you.                           10   supervisor?
 11             I'm asking you if you -- you           11       A. Exactly. I can explain exactly
 12    know, if you see anywhere --                    12   why.
 13        A. I thought it was 24 hours, but           13             There is a doctor -- there are
 14    honestly, I -- it might be the same day.        14   three supervisors: Dr. Bellenger, who was an
 15             And again, we could have done          15   expert in meconium; Dr. Posner, who was a
 16    it with the drugs, but we did without because   16   neuropsychiatrist, and his expertise all of
 17    we thought that would make it more sensitive.   17   his life, works on brain MRIs and ADHD; and
 18        Q. Do you know the half-life of             18   Dr. Baccarelli, the epidemiologist.
 19    Adderall, for example?                          19             So I'm the supervisor of
 20        A. A few hours.                             20   epidemiology. Dr. Posner is the supervisor
 21        Q. It's not 12 hours; it's at few           21   of brain MRIs.
 22    hours?                                          22       Q. And my question was just
 23        A. Yeah. 12 hours.                          23   whether you're listed as a supervisor, and
 24        Q. Okay. So if it's 12 hours and            24   you are, correct?
 25    the child had their medication the night        25             Doctor, do you see the conflict

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  1    before the MRI, the medication could still be    1   of interest section?
  2    present, right? Half of it?                      2       A. Okay.
  3        A. Of course. Of course. But                 3       Q. Do you see Dr. Posner lists
  4    that wouldn't worry me at all.                   4   receiving consultancy fees from Innovative
  5        Q. Okay. So if you look at the               5   Science Corporation?
  6    study itself now, this was -- you were listed    6       A. Okay.
  7    as a supervisor, right?                          7       Q. All right. You see that,
  8        A. I was listed as the last                  8   right?
  9    author.                                          9       A. It is there.
 10        Q. Okay. Well, let me see if your           10       Q. And you agree that's
 11    version says that.                              11   appropriate, to list as potential conflicts
 12             (Baccarelli Exhibit 101 marked         12   of interest any consultancy fees that the
 13        for identification.)                        13   scientists are receiving from a third party,
 14    QUESTIONS BY MR. MURDICA:                       14   correct?
 15        Q. All right. I'm going to mark             15       A. Only if related to the work
 16    an online version.                              16   that is being -- that is being discussed.
 17        A. Thank you.                               17   Not all -- not everything -- any money you
 18        Q. Okay, Doctor. Now on                     18   get in the world. Only if it can represent a
 19    Exhibit 101, you see there's a few extra        19   potential conflict of interest.
 20    things here about funding and drafting?         20       Q. Okay. And this study is about
 21        A. Yeah, I see it.                          21   ADHD, right?
 22             MR. SNIDOW: Jim, do you have           22       A. Correct.
 23        one for me?                                 23       Q. I'm sorry?
 24             MR. MURDICA: Yes.                      24       A. Yes, that's correct.
 25             MR. SNIDOW: If not, it's okay.         25       Q. Okay. Not about autism, right?

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  1        A. The study is about ADHD,                 1       risk than the previous studies.
  2    absolutely.                                     2            So if you ever -- you expect a
  3        Q. Okay. So if we look at                   3       higher relative risk, you can conduct
  4    results, you see some numbers here.             4       a study with a smaller sample size,
  5             Acetaminophen was detected in          5       and that is going to be informative.
  6    199 meconium samples, right?                    6   QUESTIONS BY MR. MURDICA:
  7        A. Where are you looking?                   7       Q. And you were critical of Laue
  8        Q. Results, page 4.                         8   for having 115 sample size, right?
  9        A. Results, page 4. Okay. So                9       A. So it's four times smaller,
 10    there are 355 children, which is the entire    10   looking at intelligence. It's four times
 11    sample size, and 199 had meconium. Okay.       11   smaller.
 12        Q. 199 had meconium with                   12       Q. If you turn to page 5.
 13    acetaminophen --                               13       A. Uh-huh.
 14        A. With acetaminophen, correct.            14       Q. The paragraph that begins with
 15        Q. Okay. But you're also looking           15   the word "despite." If you look at the third
 16    for a diagnosis of ADHD, right?                16   sentence, it says, "No single observational
 17        A. Correct.                                17   study is sufficient for a causal inference."
 18        Q. And only 33 children had both.          18            Do you see those words?
 19    Only 33 children had an ADHD diagnosis,        19       A. What is it?
 20    whether there was acetaminophen or not in      20       Q. Where is it, or what is it?
 21    their meconium, right?                         21       A. Yeah. "No single observational
 22        A. There are 33 children, which is         22   study is sufficient for causal inference."
 23    about 10 percent. Very consistent with the     23       Q. Right.
 24    prevalence in -- so we have 33 children in     24            Do you remember fighting me on
 25    345. All 345.                                  25   that earlier?

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  1             I want to point out that               1            MR. SNIDOW: Objection to the
  2    meconium, because it's a -- it's valuable,      2       form.
  3    this number, provides a higher power than       3   QUESTIONS BY MR. MURDICA:
  4    yes/no. So it's really important to point       4       Q. These are your words, right?
  5    out this is a difference.                       5            MR. SNIDOW: Objection to form.
  6             And also, you will understand          6            THE WITNESS: I don't remember
  7    that power is not just a function of sample     7       that. I really -- I really -- I
  8    size but also the expected relative risk. So    8       believe I agree with the idea that you
  9    that's really important to keep in mind.        9       need many studies to --
 10        Q. And you're saying that, Doctor,         10   QUESTIONS BY MR. MURDICA:
 11    because 33 sounds like a small sample size,    11       Q. Okay.
 12    right?                                         12       A. -- to get causal inference.
 13             MR. SNIDOW: Objection to form.        13       Q. So these are your words. "No
 14             THE WITNESS: No. I use that           14   single observational study is sufficient for
 15        because that sample size is smaller        15   causal inference."
 16        than some of the studies that are in       16            Correct?
 17        the literature. But I want to point        17       A. I think that is what every
 18        out that we have an advantage here,        18   epidemiologist will tell you, and I will
 19        that we are measuring -- we are            19   stand by those sentences.
 20        measuring the exposure in meconium,        20       Q. Okay. And more observational
 21        which is expected to be more proximal      21   studies using direct measurements of fetal
 22        to the outcome. And those are              22   acetaminophen exposure are needed, correct?
 23        expected to be more accurate, reflects     23       A. That is really a very nice
 24        the entire pregnancy and therefore we      24   desire. At the same time, I mean, we would
 25        would expect to have a higher relative     25   love to do that, but the literature at this

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  1    point, three years after the fact, maybe         1       A. It was chosen ahead of time to
  2    four years because this paper was probably       2   be the median.
  3    written in 2019, the evidence is so              3       Q. Okay.
  4    overwhelming that if I had to write this         4       A. It's something that we do
  5    today, I probably would say it would be nice     5   commonly in epidemiology. The median
  6    to have another study like this. But there       6   provides the sweet point, the sweet spot,
  7    is enough, really, to prove causation.           7   where to cut a group because it provides the
  8        Q. At this point in 2020 when this           8   best power. So it is something that many
  9    was published, you believed and stood by the     9   epidemiologists do.
 10    words in here, correct?                         10       Q. In Laue, you were looking at
 11        A. I -- again, I believed that it           11   55 nanograms per gram, right? That was a
 12    would be helpful to have another study like     12   specific point that was not the median,
 13    this. At the same time, I didn't say there      13   right?
 14    is no causal evidence unless this is done.      14       A. Which is the same as the
 15               And by the way, at the time, I       15   difference between no acetaminophen and low
 16    didn't know the existence of Ji, et al. Ji,     16   acetaminophen, I would say. Unless I'm
 17    et al., is a study also that uses biomarkers.   17   wrong. But that was the detection limit of
 18    So it's really important for me to see that     18   no versus yes. Here we're splitting the yes
 19    there is another biomarker study that shows     19   in two groups because we have more people.
 20    the results consistent with ours.               20       Q. And if you look at the actual
 21               And at the time, I didn't            21   subjects that had a diagnosis -- well, that
 22    realize that they were studying maternal        22   had ADHD symptomology and acetaminophen in
 23    plasma and cord blood, which is fetal tissue,   23   the meconium, it's 25, right?
 24    also. And they reported an association also     24       A. We reviewed the group.
 25    supporting the association, the link, between   25   Altogether there are 33, correct? They're

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  1    acetaminophen and ADHD.                          1   splitting three groups. No acetaminophen, 8;
  2        Q. That answer you just gave, that           2   low acetaminophen, 9; high acetaminophen, 16.
  3    was about Ji?                                    3             You see a nice trend of
  4        A. Ji.                                       4   proportions going up from 5.5 percent of
  5        Q. Okay.                                     5   children having acetaminophen in the --
  6        A. Ji, et al.                                6   having no acetaminophen and ADHD; 8.5 percent
  7        Q. Did I ask you about Ji?                   7   low acetaminophen; 17.2 percent with high
  8        A. Yes.                                      8   acetaminophen and ADHD. This is what you see
  9        Q. I did?                                    9   when you have a dose-response relationship.
 10             Okay.                                  10             I also want to point out that
 11        A. Oh, yeah. No, sir, you didn't.           11   we have an analysis where we looked at all
 12    I'm getting confused.                           12   the data together, with no categories, where
 13        Q. Okay. One of the things that             13   we used the actual numbers, not just the
 14    was done here is the level of acetaminophen     14   categories. That is on the right-hand side
 15    in the meconium was broken into three -- two    15   of Table 2 where we used the data altogether,
 16    groups in the exposed population, right?        16   and that showed significant results.
 17        A. Correct.                                 17             For each dabbling, I believe,
 18        Q. And the midpoint to divide the           18   in acetaminophen level, we get a 10 percent
 19    two exposed groups was just the 50th            19   statistically significant increased risk.
 20    percentile of the concentration of the          20       Q. And this is all based on 25
 21    acetaminophen in the meconium, right?           21   meconium samples --
 22        A. It was the median.                       22       A. No.
 23        Q. Okay. It wasn't any particular           23       Q. -- correct?
 24    amount that was chosen ahead of time. It was    24       A. It's based on -- it's based on
 25    just the middle, the average?                   25   345 meconium samples. All of them. All of

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  1   them contribute to the analysis. All of them     1       is -- and some of them had
  2   give information to the analysis.                2       administration of acetaminophen
  3       Q. Okay. Dr. Baccarelli, is it               3       during pregnancy -- sorry, during
  4   true or not true that in this study, in Baker    4       pregnancy, some at delivery, according
  5   2020, Exhibit 100, there are 25 subjects that    5       to the hospital charts.
  6   have ADHD symptoms and acetaminophen in the      6             And, again, we are schooled to
  7   meconium?                                        7       the subjects in a sensitivity
  8       A. I don't think it's my role here           8       analysis. The results were exactly
  9   to go into epidemiology 101, but the power of    9       the same, so it doesn't make a
 10   a study is contributed both by the cases and    10       difference really. Just
 11   the controls, the exposed and the unexposed.    11       administration, this later
 12   So the entire power is given by 345 subjects.   12       administration you're referring to, is
 13            You understand that the power          13       not influencing the results.
 14   is due not just to the cases but the            14   QUESTIONS BY MR. MURDICA:
 15   controls. You are trying -- you are             15       Q. Can you answer my question,
 16   getting -- you are getting down to a subset     16   Dr. Baccarelli? How many of the 25 had
 17   of the fourth groups of people -- or the        17   acetaminophen administered at delivery?
 18   sixth group of people, actually, but the        18       A. So as I sit here today, I
 19   power is based on 345 subjects. It's not        19   cannot remember.
 20   based on only the group you are mentioning.     20       Q. Okay.
 21       Q. Okay. I didn't ask you about             21       A. If it's written in the paper,
 22   power, Dr. Baccarelli. I asked you about        22   I'm happy to discuss.
 23   data.                                           23             (Baccarelli Exhibit 102 marked
 24            Can you confirm the data, that         24       for identification.)
 25   my number of 25 is correct?                     25

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  1       A. You are asking about numbers,             1   QUESTIONS BY MR. MURDICA:
  2   and we are talking about sample size. So         2       Q. Please mark this as
  3   sample size and power are the same thing in      3   Exhibit 102, please.
  4   epidemiology.                                    4           Dr. Baccarelli, do you
  5       Q. Can you answer or not?                    5   recognize what's been marked as Exhibit 102?
  6       A. I can answer.                             6        A. Yes, the supplementary
  7       Q. In that article, Baker 2020,              7   materials.
  8   were there 25 subjects that both had             8       Q. Okay. I'd like you to turn to
  9   acetaminophen in their meconium and symptoms     9   the fourth page when you're ready for me.
 10   of ADHD as a child?                             10   It's e Table 2.
 11       A. So that is true. As part of a            11        A. e Table 2. Okay.
 12   larger sample size of 345 people, including     12       Q. Okay. So my first question,
 13   34 that had ADHD, and with es -- very           13   Doctor, is a simple one. If you look at the
 14   inaccurate measurements in meconium.            14   column no acetaminophen -- do you see that?
 15            And again, what makes this             15        A. Uh-huh.
 16   study particularly stand out is the meconium,   16       Q. Do you see N equals 146?
 17   but other studies have other strengths that     17        A. Correct.
 18   are -- that are not in the study.               18       Q. Okay. That's 146 meconium
 19       Q. How many of those 25,                    19   samples, right?
 20   Dr. Baccarelli, had delivery or labor           20        A. 146 people with meconium
 21   administration of acetaminophen according to    21   sampled, children and their mothers.
 22   the hospital record?                            22       Q. Okay. And when it says
 23            MR. SNIDOW: Objection to form.         23   "female" and "male," you see 166 female and
 24            THE WITNESS: So, again, we are         24   179 male, right?
 25       talking about 345 children, so that         25        A. Correct.

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  1        Q. Okay. That doesn't add to 146,            1            MR. SNIDOW: Objection to the
  2    correct?                                         2       form.
  3        A. That seems to be a mistake.               3   QUESTIONS BY MR. MURDICA:
  4    Thank you for pointing it out.                   4      Q. I have a question on the next
  5        Q. Okay. How about look over to              5   table when you are ready for it.
  6    the next column.                                 6       A. Yes, please.
  7             199. You see the same numbers,          7            MR. SNIDOW: Objection to the
  8    right? 166 and 179?                              8       form.
  9        A. It seems like someone copied              9            THE WITNESS: So you asked me
 10    and pasted, and we didn't catch it. Thank       10       how they were used.
 11    you.                                            11            They were -- my understanding
 12        Q. Go down to maternal education.           12       as I sit here today is that this is
 13    154 and 191 in both columns, right?             13       related to page 175 of the PDF, which
 14        A. Absolutely. They're all wrong.           14       is somewhere in the statistical
 15        Q. The columns 2 and 3 appear to            15       analysis.
 16    be entirely in error, correct?                  16            Page 7 out of 23 of the
 17        A. Absolutely. Just -- I want to            17       Exhibit 101. Data were analyzed from
 18    make sure you understand that the reason why    18       September, et cetera, et cetera. To
 19    we are showing these is because we considered   19       control for potential confounders, we
 20    these variables in a different part of          20       used the inverse probability weighting
 21    analysis. We created ways on these              21       for propensity score in this -- our
 22    variables, and we used the actual variables,    22       package. And in fact, we weighed all
 23    not the ones that are shown in this table, to   23       the potential scores and the way it
 24    adjust for confounding.                         24       was done, and we used these variables
 25             So we adjusted these in the            25       to adjust for potential confounders.

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  1    confounding. You can be sure that the            1            And I think these variables are
  2    variables are right. Just the reporting is       2       the same in this Table e2 in the
  3    not right.                                       3       supplement. Unfortunately, the
  4            And I'm sorry this happened.             4       breakdown is not right, but the
  5    I'm honestly mortified by this, but sometimes    5       weights were calculated directly from
  6    these type of copy-and-paste errors happen.      6       the data set. It's not that we used
  7        Q. The fourth column, Doctor, has            7       the table to calculate the weights.
  8    a weighting --                                   8       The weights are calculated by the
  9        A. Yeah.                                     9       package by feeding the data as they
 10        Q. -- and a standardization in the          10       are in the data set.
 11    fourth and fifth column, right?                 11   QUESTIONS BY MR. MURDICA:
 12        A. Correct.                                 12       Q. And you're getting that from
 13        Q. And those -- where did those             13   reading the article, right?
 14    numbers come from?                              14       A. I'm getting that by knowing how
 15        A. From the database.                       15   things are done.
 16        Q. Okay.                                    16       Q. Okay.
 17        A. Maybe we can read how it was             17       A. And we don't use tables to do
 18    done.                                           18   these calculations. We use software. I
 19        Q. You can read it if you want,             19   think you understand that the software is --
 20    Doctor. I'm just asking if you know.            20   the student who does the table can get it
 21            You gave me an answer, so I'm           21   wrong, but the software doesn't.
 22    ready to ask another question.                  22       Q. Okay. Now, this study was part
 23            MR. SNIDOW: Objection to the            23   of Mr. Baker's dissertation, correct?
 24        form.                                       24       A. Uh-huh.
 25            MR. MURDICA: Well, he --                25       Q. And you advised him on what

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  1    studies should be done, right?                   1   paragraph that one issue with the DNBC cohort
  2        A. He actually came up with his              2   is that self-reported drug use may be
  3    own ideas. All of this was -- he started         3   inaccurate, and metabolism of acetaminophen
  4    with this. I directed him. We directed him       4   may vary between individuals, right?
  5    as a team, and he came up with this -- he's a    5        A. Again, this is -- we are
  6    pretty remarkable young individual, very         6   highlighting the strengths of our study,
  7    smart and very bright. And he did a lot          7   which is having meconium. And I think I said
  8    of -- he had a lot of ideas that I approved      8   before on record that if that is the case,
  9    and I seconded, and I think he did a pretty      9   it's probably biasing the results towards the
 10    good job.                                       10   null in the Danish cohort, meaning the Danish
 11        Q. And he -- his original idea was          11   cohort is likely to underestimate the risk
 12    to have an animal study as well, right?         12   posed by acetaminophen.
 13        A. He did do an animal study.               13        Q. And that's what you think he
 14        Q. Well, he had two aims, two               14   meant here when he wrote what I just said?
 15    thesis aims, right?                             15        A. What is the sentence exactly?
 16        A. Correct.                                 16        Q. "One limitation of the study
 17        Q. One was the meconium?                    17   was that it relied on self-reported
 18        A. Correct.                                 18   acetaminophen via telephone interviews.
 19        Q. And another was a mouse study,           19   Self-reported drug use may be inaccurate.
 20    right?                                          20   Metabolism of acetaminophen may vary between
 21        A. Which he published, I think, in          21   individuals."
 22    Baker 2023. I think it's that one.              22            MR. SNIDOW: Where are you,
 23             He didn't do the animal study          23        Jim?
 24    with me. He did it with Dr. Pearson.            24            MR. MURDICA: First paragraph.
 25        Q. Yeah.                                    25            MR. SNIDOW: Oh, okay. Thank

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  1             Do you remember that originally         1   you.
  2    they were supposed to be together and you        2        THE WITNESS: Correct. And we
  3    recommended he talk to Dr. Pearson, or no?       3   follow by saying, "Thus, a biological
  4        A. Can you please remind me that?            4   measure of acetaminophen would likely
  5    I'm not sure -- I'm not sure I remember the      5   provide a more reliable estimate of
  6    situation.                                       6   exposure."
  7        Q. That's okay.                              7        And I think the body of the
  8        A. I don't do animal studies, so             8   evidence shows that. I don't think my
  9    certainly he didn't do animal studies with       9   report. We showed a relative risk
 10    me.                                             10   with having acetaminophen that was in
 11        Q. All right. Do you recall                 11   this paper that eventually came out
 12    getting a draft of the meconium portion of      12   two or three years after. We have an
 13    the study?                                      13   odds ratio with high acetaminophen of
 14        A. No. I'm sure I did, but I                14   3.6.
 15    don't remember every draft.                     15        So this 360 percent higher than
 16             (Baccarelli Exhibit 103 marked         16   people are not exposed in this study,
 17        for identification.)                        17   while in Liew -- I can't remember
 18    QUESTIONS BY MR. MURDICA:                       18   which Liew it is. Liew has a lot of
 19        Q. Have you seen this before,               19   papers. But it might have been like
 20    Doctor, what's been marked as Exhibit 103?      20   30 percent, 40 percent or 50 percent.
 21        A. Yep.                                     21        So clearly I stand by his
 22        Q. Okay. And do you see -- this             22   words, because the data show that
 23    is by Mr. Baker, right?                         23   having a better -- a better method of
 24        A. Yes, it is.                              24   exposure makes easier to detect the
 25        Q. And he identifies in the first           25   association.

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  1             And if there is one thing               1       that the odds ratio -- the risk ratio
  2        remarkable here is that even with            2       here is 8.5.
  3        wisterniles {phonetic}, there are            3            So if we published this, the
  4        10 -- 20-plus studies that showed an         4       results would be even stronger. And
  5        association, even though you would           5       we didn't do the regions. We
  6        expect that the self-report would bias       6       completed the data set. We waited for
  7        everything toward the null or cleared        7       all the samples. We -- and the
  8        false negatives. Instead, we have a          8       analysis show what we find here.
  9        lot of true positives.                       9            So I can stand by Baker 2020.
 10    QUESTIONS BY MR. MURDICA:                       10       I cannot stand by the pilot analysis.
 11        Q. Dr. Baccarelli, do you see that          11       The pilot analysis is just for
 12    Dr. Baker said the results of this pilot are    12       internal use to guide our thinking.
 13    likely unreliable with such a small sample of   13   QUESTIONS BY MR. MURDICA:
 14    ADHD-positive children?                         14       Q. In the pilot analysis, when
 15             MR. SNIDOW: Where is that?             15   there were 12 ADHD diagnoses with
 16             THE WITNESS: Where is that?            16   acetaminophen -- or 11 with acetaminophen
 17    QUESTIONS BY MR. MURDICA:                       17   detected in meconium, was enough for
 18        Q. It's the second paragraph,               18   Dr. Baker to say that it's likely unreliable
 19    third sentence.                                 19   with such a small sample of ADHD-positive
 20        A. I really don't know what it is,          20   children, right?
 21    but if you can see the pilot analysis, there    21       A. That is what Dr. Baker said. I
 22    is only one case of ADHD without                22   mean, you will have to ask him, though.
 23    acetaminophen detected in meconium.             23       Q. And ultimately, you published
 24             So I can't remember which              24   with 25. The 11 was unreliable, right?
 25    subset it is, but it's in another subset we     25       A. I didn't publish with 25. I

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  1    published. It was a preliminary analysis,        1   published with 345 children, and 33 who had
  2    and I'm happy we published an analysis with      2   ADHD.
  3    many more samples.                               3            And that is, in my opinion,
  4        Q. Well, Doctor, if you look at              4   enough for this paper. This paper is a -- is
  5    the chart right below the pilot analysis, you    5   a good piece of literature, that put in the
  6    see that there's 222 samples with                6   context of all the other papers in the
  7    acetaminophen detected in meconium and 172       7   universe of papers is very consistent with
  8    without, right?                                  8   the other 45 papers in the literature.
  9        A. Correct.                                  9            If this were an outlier, I
 10        Q. Right.                                   10   would be worried. This is not an outlier.
 11             And there's 11 ADHD diagnoses          11        Q. Doctor --
 12    with acetaminophen in meconium and one          12        A. This is one of the papers that
 13    without.                                        13   together with the other 30 confirms my
 14        A. Okay.                                    14   assessment of causality.
 15        Q. Do you see that?                         15        Q. Dr. Baccarelli, where did the
 16        A. I see that.                              16   extra 20 ADHD diagnoses come from between
 17        Q. This is the same cohort that             17   this draft, Exhibit 103, this pilot analysis,
 18    was ultimately published. This is the GESTE     18   and the final publication?
 19    cohort, right?                                  19        A. It comes from -- you need to
 20             MR. SNIDOW: Objection to form.         20   ask Baker. I don't know how -- how -- what
 21             THE WITNESS: It seems to be            21   is the difference, really.
 22        the same. I don't know why these            22        Q. Okay. And you --
 23        results were different. I --                23        A. As it stand today -- I can look
 24        definitely we do a lot of iterations        24   for it up for you, but as it stand today, I
 25        of analyses, and you can understand         25   don't know what is the difference.

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  1        Q. And you disagree with him that          1   QUESTIONS BY MR. MURDICA:
  2    with a total of 222 and 172, with 12 ADHD      2       Q. Exhibit 103, Dr. Baker said,
  3    diagnoses, that this is likely unreliable      3   would be unreliable because of sample size --
  4    with such a small sample of ADHD-positive      4            MR. SNIDOW: Objection to the
  5    children, right?                               5       form.
  6             MR. SNIDOW: Object to the             6   QUESTIONS BY MR. MURDICA:
  7        form.                                      7       Q. -- correct?
  8             THE WITNESS: I actually -- I'm        8       A. You need to ask him about that.
  9        not sure I agree. I mean, he doesn't       9       Q. Okay. And if I wanted to know
 10        show me a p-value. He doesn't show me     10   where the extra 20 cases came from in that
 11        a confidence interval. It gives me a      11   cohort in order to get it published, I'd have
 12        risk ratio of 8.5, which is pretty        12   to ask him, right?
 13        high.                                     13            MR. SNIDOW: Objection to the
 14             And, I mean, I'm happy we            14       form.
 15        did -- we published with more samples,    15            THE WITNESS: So they came --
 16        but, you know, a risk ratio of 8.5 in     16       they came in from the data cleaning at
 17        the literature probably is significant    17       follow-up. We were completing the
 18        from this data. Would have been an        18       database. The database were completed
 19        interesting result.                       19       over time.
 20             And again, he said that, and         20            Why he's -- he had only these
 21        that's okay. I mean, you can              21       cases, I don't know. I don't know
 22        understand that this is an internal       22       what exclusions he used. They're not
 23        document to prepare a data analysis       23       written in this manuscript.
 24        plan. And I reviewed it being worried     24            Perhaps he used only the ones
 25        that what he was proposing was a          25       that had the -- not neuropsychological

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  1    different analysis. Had nothing to do          1       scores he had.
  2    with Baker 2020. Was interesting and           2            There are many ways you can --
  3    reliable.                                      3       you can create exclusionary and
  4         I didn't thoroughly review the            4       inclusion criteria. This is not
  5    rest of the document as carefully as I         5       documented here, so it's impossible
  6    do when something goes out in the              6       for me to tell you what -- to
  7    press.                                         7       reconstruct what happened.
  8         At the same time, you would               8            (Baccarelli Exhibit 104 marked
  9    agree that these results here give             9       for identification.)
 10    about the same conclusion as the              10   QUESTIONS BY MR. MURDICA:
 11    result here in the -- in the                  11       Q. Okay. Doctor, we have marked
 12    meta-analysis plan, give about the            12   as number -- Exhibit 104 the Baker 2020 draft
 13    same conclusion as the one here in the        13   which you reviewed.
 14    study.                                        14            Do you recognize that?
 15         The conclusion is that there is          15       A. Yes.
 16    a strong possible association between         16            Would you be able to tell me
 17    meconium -- between acetaminophen             17   when this was circulated?
 18    measured in meconium and a risk of            18       Q. I would not, but my question is
 19    ADHD in children.                             19   simple, and I only have one for now, so you
 20         And if any, this is less -- is           20   may be able to get by without that.
 21    weaker in terms of strength of                21            MR. SNIDOW: Objection to the
 22    association in terms of effect size           22       form.
 23    than the one you see here in the              23   QUESTIONS BY MR. MURDICA:
 24    meta-analysis plan.                           24       Q. If you turn to page 1191.
 25                                                  25       A. 1191.

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  1       Q. If you look at comment AB 19,              1   that weren't analyzed at the time you
  2    what the comment is, and correct me if I'm       2   published, correct?
  3    wrong, is that though the manuscript says        3        A. And I don't think we ever
  4    there's 76 MRIs, you're saying, well, we         4   analyzed it.
  5    actually have 101. I know you want to            5        Q. Okay. You have a third more
  6    publish it, but there's more MRIs now.           6   that you did not analyze at the time of
  7            MR. SNIDOW: Sorry, I'm                   7   publication and you have not analyzed to
  8       actually lost now.                            8   date.
  9            On 10 -- 191?                            9            Is that your testimony?
 10            MR. MURDICA: Yeah, 1191,                10        A. We haven't analyzed them to
 11       comment AB 19.                               11   date --
 12            MR. SNIDOW: Do you see it?              12        Q. Okay.
 13       Yeah.                                        13        A. -- and I would be surprised if
 14            THE WITNESS: Yeah, this is              14   it changes anything in the publication.
 15       about the MRI. Only specific about           15            Usually when you increase the
 16       the MRI.                                     16   sample size, you see more. We saw already
 17    QUESTIONS BY MR. MURDICA:                       17   enough. So an increase in sample size would
 18       Q. That's all I'm asking you                 18   have shown more effect than what we showed
 19    about.                                          19   there.
 20            MR. SNIDOW: What are you                20        Q. But you don't know what it
 21       asking?                                      21   would have shown, because you didn't analyze
 22            Objection to the form.                  22   it, right, Doctor?
 23    QUESTIONS BY MR. MURDICA:                       23            MR. SNIDOW: Objection to the
 24       Q. Okay. Do you remember I asked             24        form.
 25    you before about how many MRIs you had?         25            THE WITNESS: Again, it's only

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  1       A.     Correct.                               1       one-third more, so I think it's okay.
  2       Q.     Right.                                 2   QUESTIONS BY MR. MURDICA:
  3             So at the time that this --             3       Q. Okay. You rely heavily on the
  4    prior to publication, while it was being         4   MRI analysis in your scoring of this paper,
  5    edited, AB pointed out in a comment that         5   correct?
  6    there were actually 101 now, right?              6       A. No, I relied a lot on the
  7        A. Okay. I discussed this with               7   meconium --
  8    Baker. I discussed with Posner. We agreed        8       Q. Okay.
  9    that the number that we had was enough.          9       A. -- and I said the MRI is nice
 10             As you understand, this was --         10   to have. Not a must have. I wouldn't have
 11    the MRI is not the main focus of this           11   changed the score if the MRI was not there.
 12    manuscript. The main focus of this              12       Q. Okay. One more question on
 13    manuscript is the association between           13   1198.
 14    meconium, acetaminophen and ADHD. And this      14       A. 1190 -- same --
 15    uses the full study.                            15       Q. Same document.
 16             The MRI is supporting evidence         16       A. Same draft.
 17    that also helps understand the circulus. And    17       Q. There's a sentence, "Taken
 18    it was agreed between Dr. Posner and            18   together with the relatively small MRI sample
 19    Dr. Baker, who -- that -- that we -- that the   19   size, studies in larger and more diverse
 20    number we had was enough for the publication.   20   cohorts are needed to replicate these novel
 21    So it expanded the -- waiting for the data to   21   findings."
 22    come in and being clean was not worth it, but   22       A. What is it?
 23    given that we were -- that we were ready to     23            MR. SNIDOW: Yeah, where?
 24    publish this manuscript.                        24            MR. MURDICA: 1198. It's the
 25        Q. So you have a third more MRIs            25       second sentence.

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  1             MR. SNIDOW: Oh, I'm sorry. I           1   that have been published. I didn't do one
  2         was looking --                             2   myself.
  3             THE WITNESS: Yeah.                     3       Q. Okay. And that was -- that was
  4             MR. SNIDOW: -- at comments.            4   your determination, and you put that there,
  5    QUESTIONS BY MR. MURDICA:                       5   right?
  6         Q. And then there's a comment on           6       A. Correct.
  7    it, right?                                      7       Q. Okay. All right. If we turn
  8         A. Yeah.                                   8   to page -- I may be wrong here -- 63.
  9         Q. Okay. So my question for you            9       A. 5-3?
 10    is, do you agree that the MRI sample size is   10       Q. 6-3.
 11    relatively small?                              11       A. 6-3?
 12         A. Yeah, but it's enough to see an        12       Q. Do you see at the bottom of the
 13    effect. So it's pretty interesting that we     13   page, paragraph, "Accurate and complete
 14    see an effect.                                 14   ascertainment of cases"?
 15         Q. Okay. Move on to the next one.         15       A. Yep.
 16             Can you turn back to Exhibit          16       Q. And case-control studies, et
 17    99?                                            17   cetera?
 18             MR. SNIDOW: Whenever you want.        18       A. Uh-huh.
 19         You need to have a break?                 19       Q. And you can -- it goes on to
 20             THE WITNESS: Okay. Bathroom.          20   the next page and ends with, "For both types
 21         Thank you. Sorry. I was more --           21   of studies, cases should be confirmed with
 22             MR. SNIDOW: Are we off the            22   reasonable certainty."
 23         record?                                   23           Right?
 24             MR. MURDICA: Yeah.                    24       A. I'm sorry, let me take a look.
 25             VIDEOGRAPHER: The time right          25           Yeah.

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  1        now is 3:56 p.m. We are off the             1       Q. Now, does reasonable certainty
  2        record.                                     2   mean medical record confirmation?
  3         (Off the record at 3:56 p.m.)              3       A. No, it doesn't mean medical
  4            VIDEOGRAPHER: The time right            4   record confirmation. It can be done in
  5        now is 4:15 p.m. We are back on the         5   multiple ways. In this case of ADHD and ASD
  6        record.                                     6   has been done in multiple ways.
  7    QUESTIONS BY MR. MURDICA:                       7           And different streams of
  8       Q. Dr. Baccarelli, could you --              8   evidence give different information. So I
  9    welcome back.                                   9   found actually the variety of tools that been
 10            Are you ready to proceed?              10   used to be very interesting because they
 11        A. Yes, please.                            11   provide complementary information.
 12       Q. Can you please put your amended          12       Q. Okay. Dr. Baccarelli, do you
 13    report, Exhibit 99, back in front of you?      13   work with any other epidemiologists outside
 14        A. Yeah.                                   14   of Columbia?
 15       Q. Would you turn to page 14,               15       A. Yes. I worked with about 100
 16    please.                                        16   or 200 institutions all over my career. Most
 17        A. Uh-huh.                                 17   of them are epidemiologists.
 18       Q. Okay. So one of the things you           18       Q. Did you work with any other
 19    say on page 14, the -- under extraction of     19   epidemiologists on this report?
 20    important study information is your last       20       A. No.
 21    sentence, "I did not perform a new             21       Q. You didn't have any
 22    meta-analysis myself because excellent         22   epidemiologists write any parts of this
 23    meta-analyses have recently been published."   23   report?
 24            Do you see that?                       24       A. No.
 25        A. Yeah, there are meta-analysis           25       Q. Okay.

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  1        A. Only me.                                 1   nonexposed there are a lot of women that
  2        Q. Do you know someone named Anne           2   indeed use acetaminophen, but they're not
  3    McTiernan?                                      3   include -- including the exposed group. So
  4        A. Sorry, what is the name?                 4   this article is likely to be biased toward
  5        Q. Anne McTiernan?                          5   the null, while instead it shows an
  6        A. No.                                      6   association.
  7        Q. Do you have any -- you don't --          7             So if this article were null, I
  8    you've never met her?                           8   would be very worried about your statement
  9        A. I don't recognize the name.              9   because I would be worried about this being a
 10        Q. Okay. Could you explain why             10   false negative.
 11    this expert report is identical in over 60     11             But because it is positive, it
 12    places to an expert report that she's filed    12   cannot be a false positive. It's even more
 13    in another case?                               13   likely to be a true positive.
 14        A. No.                                     14       Q. Because women are taking
 15        Q. Okay. It just -- it's pure              15   acetaminophen for -- during labor and
 16    coincidence if that's the case?                16   delivery?
 17        A. I don't know. I mean, I don't           17       A. Because misclassification --
 18    know that person.                              18   because there is mis -- you are arguing there
 19        Q. Okay. You chose the words in            19   is misclassification, that exposure doesn't
 20    here, right?                                   20   reflect the entire pregnancy. So we are
 21        A. Yes.                                    21   mixing up. In the group of people who are
 22            (Baccarelli Exhibits 105 and           22   nonexposed, there is a mix of people who
 23        106 marked for identification.)            23   actually are exposed. So we are diluting the
 24    QUESTIONS BY MR. MURDICA:                      24   association.
 25        Q. Okay. You know what, I'm going          25             There is a bunch of people that

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  1    to mark the McTiernan report as Exhibit 105.    1   are in the reference that shouldn't be there.
  2             I'm also going to mark the Ji          2   So if they were not there, if we're able to
  3    article as Exhibit 106.                         3   separate, the observation would be much
  4             Okay. Doctor, you now have in          4   higher.
  5    front of you an article by Ji that you          5       Q. Doctor, that's -- are there
  6    referenced earlier, which has been marked as    6   also not a bunch of -- a bunch of people, to
  7    Exhibit 106.                                    7   use your terms, that are having acetaminophen
  8             Do you see that?                       8   for the first time in their pregnancy due to
  9        A. Yes.                                     9   labor and delivery?
 10        Q. Okay. You agreed with me                10       A. It's entirely possible.
 11    earlier that cord blood provides information   11       Q. Wouldn't that bias it the other
 12    on one snapshot of time for acetaminophen      12   way, Doctor?
 13    use, correct?                                  13       A. How would it bias the other way
 14        A. So cord blood only captures the         14   around? Sorry?
 15    level of acetaminophen a few hours before      15       Q. If many of these subjects
 16    pregnancy. But at the same time you -- I       16   are -- only have acetaminophen in the cord
 17    think Ji, et al., make the argument that it    17   blood because of administration to their
 18    can also be reflective of prolonged use in     18   mother during labor and delivery, otherwise
 19    the same women.                                19   they were unexposed, that could bias it
 20        Q. Ji, for example, said the cord          20   towards a positive association, correct?
 21    plasma measurement may at most reflect         21       A. So strictly speaking, labor or
 22    maternal use of acetaminophen during the       22   delivery is still pregnancy, correct? The
 23    peripartum period, correct?                    23   baby hasn't come out yet.
 24        A. Correct. That is pretty                 24       Q. You testified earlier, Doctor,
 25    impressive, because that means in the          25   that you don't have the information here

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  1    today to say that exposure to acetaminophen    1   question.
  2    during labor and delivery is causal for the    2            If a woman takes acetaminophen
  3    outcomes of autism and ADHD.                   3   for the first time of her pregnancy at the
  4       A. I did --                                 4   time of delivery, that was not an exposure
  5            MR. SNIDOW: Hold on. Hold on.          5   for 28 days or more during pregnancy,
  6       Objection to the form.                      6   correct?
  7            THE WITNESS: I definitely              7            MR. SNIDOW: Objection to the
  8       didn't say that. I said that labor          8       form.
  9       and delivery is part of pregnancy.          9            THE WITNESS: So, again, all --
 10       And my statement is that the whole of      10       my standing, that is based on the
 11       pregnancy is a vulnerable period. And      11       epidemiology studies that have used
 12       I even went on to say that the weeks,      12       the medication reported by the women.
 13       days and even years after pregnancy        13       Now we are looking at one -- at one
 14       might be important.                        14       single point where women are exposed
 15            Just I clarified that -- and I        15       to acetaminophen.
 16       wrote in my report there is an entire      16            It's really impressive that
 17       chapter about this -- that there have      17       this happens, because if you didn't
 18       been plenty of studies adjusting           18       find anything, you could say, okay,
 19       for -- adjusting the association of        19       but they measured once.
 20       acetaminophen during pregnancy with        20            But since they found it, it's
 21       ADHD, ASD and other neurodevelopmental     21       pretty impressive they found it. It
 22       disorders for whether people have          22       can be that, as you say, one time is
 23       taken or not, children have taken or       23       okay, is enough to cause the effect,
 24       not, acetaminophen after delivery and      24       but it might be that the women who
 25       during childhood, and that is not a        25       have taken acetaminophen around the

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  1        factor.                                    1      time of delivery might have taken it
  2             So I think you are                    2      for six months, two years, might have
  3        misrepresenting what I said.               3      low back pain. They might have
  4    QUESTIONS BY MR. MURDICA:                      4      persistent headaches.
  5        Q. Okay. The court -- let me try           5           There are many reasons why
  6    again.                                         6      women take acetaminophen for long
  7             According to Dr. Baccarelli,          7      time, and it might be those women who
  8    one exposure to acetaminophen, one time at     8      take acetaminophen for long time who
  9    the time of delivery, is enough to induce      9      are included in the exposed group,
 10    autism or ADHD in a child, correct?           10      including with others who have taken
 11             MR. SNIDOW: Objection to the         11      just in the past few hours.
 12        form.                                     12   QUESTIONS BY MR. MURDICA:
 13             THE WITNESS: So I believe I          13      Q. And that data was not collected
 14        wrote in my report that I have            14   by Ji, correct?
 15        reasonable certainty to state that        15      A. I -- again, you have to ask
 16        there is an association between           16   them for that. I don't see it in the paper.
 17        acetaminophenal -- acetaminophenal --     17      Q. Yeah.
 18        acetaminophen and neurodevelopmental      18           In fact, this -- the cord blood
 19        disorders, particularly ADHD and ASD,     19   wasn't collected to study acetaminophen,
 20        particularly when women have taken the    20   right?
 21        drug for 28 days and more, cumulative,    21      A. That, I don't know.
 22        at any time during pregnancy.             22      Q. Okay.
 23             So I stand with what I wrote.        23      A. You will have to tell me, or
 24    QUESTIONS BY MR. MURDICA:                     24   you have to ask Ji.
 25        Q. Okay. So back to my original           25      Q. Okay. Have you ever seen any

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  1    information about the acetaminophen use of       1   again, that doesn't change anything about the
  2    the mothers here, other than the                 2   conclusion of this study.
  3    acetaminophen level in the cord blood at the     3       Q. Okay. Ji says, "Because of our
  4    time of delivery?                                4   observational study design, we were unable to
  5        A. Again, a biomarker study don't            5   exclude the potential residual confounders
  6    need that information. When you do a             6   because of unmeasured genetic and
  7    biomarker study, you are interested in           7   environmental factors."
  8    associating the biomarker with the outcome.      8            Do you remember reading that?
  9    In this case, ADHD and ASD in this paper.        9       A. Yes.
 10        Q. Dr. Baccarelli, do you know the          10       Q. And Ji believes that, right?
 11    standard medication or medications given to a   11       A. Where is that?
 12    woman to prepare for a cesarean section?        12       Q. That is in the last page,
 13        A. I have some idea from my                 13   second to last sentence before the
 14    medical education.                              14   conclusion.
 15        Q. And what do you think that is?           15       A. Okay.
 16        A. Probably -- I don't know.                16       Q. Starts with "fourth."
 17        Q. Do you have any guesses?                 17       A. Uh-huh.
 18             MR. SNIDOW: Objection to the           18       Q. You agree this is an
 19        form.                                       19   observational study design?
 20             You really want him to guess?          20       A. We are using 50 papers that are
 21             MR. MURDICA: Well, he's the            21   observational, as you understand. So all of
 22        expert.                                     22   our discussion for seven, eight hours today
 23             MR. SNIDOW: Not on -- not on           23   is about observational studies.
 24        how to do a C-section.                      24       Q. So you have no information --
 25             THE WITNESS: I've never done a         25   you haven't talk to Ji, right?

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  1        C-section. I can -- I can tell you           1        A. I haven't talked to Ji.
  2        that none --                                 2        Q. You take Ji at his word that
  3    QUESTIONS BY MR. MURDICA:                        3   they were unable to exclude the potential
  4        Q. Okay.                                     4   residual confounders because of unmeasured
  5        A. I'm not planning on doing any             5   environmental factors, right?
  6    in the near future.                              6             MR. SNIDOW: Objection to the
  7             I -- in addition to that, I             7        form.
  8    think we reviewed that the data by Baker         8             THE WITNESS: You'll have to
  9    stand alone without the perinatal                9        discuss this with Ji.
 10    administration.                                 10             But what I can say is that I
 11             There are also -- also, many           11        take it very seriously, and I did an
 12    studies have been adjusted for the type of      12        analysis in my navigation guide, and
 13    delivery, so I think we are covered on that.    13        that the analysis that I did exclude
 14             And, again, there are many             14        potential residual confounders,
 15    questions you can ask about issuing a study,    15        particularly the genetics that have no
 16    but when you look at the totality of studies,   16        standing whatsoever. Genetics has
 17    there is no doubt.                              17        absolutely nothing to do with this.
 18        Q. Okay. Back to my question,               18             And the measured confounders
 19    which was, do you know what medications are     19        are incredibly unlikely to bias the
 20    administered to a woman in preparation for a    20        results and especially to affect my
 21    cesarean section?                               21        conclusion.
 22             And the answer is, you don't           22   QUESTIONS BY MR. MURDICA:
 23    know, right?                                    23        Q. Okay. Dr. Baccarelli, when you
 24        A. People might take                        24   had that exchange with Dr. Liew, did he
 25    acetaminophen, might take other drugs. But      25   tell -- did he agree with you that he has no

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  1    concern about genetics?                          1       A. Absolutely, I didn't.
  2        A. If you want to review the                 2       Q. Okay.
  3    e-mail with me, I'm happy to discuss that in     3       A. But I'm planning to actually
  4    detail.                                          4   discuss with him in the future my -- the
  5        Q. Okay. You today have no                   5   outcome of my work with this because I would
  6    concern about genetic confounding, correct?      6   love to involve him in writing the paper I
  7        A. So both Zeyan Liew and I agreed           7   mentioned before.
  8    that the genetic has been -- a concern has       8       Q. Okay. Dr. Baccarelli, one of
  9    been raised. I was worried, he was worried,      9   the things you say is that the Baker paper
 10    and we both agreed together. He confirmed my    10   came under fire because we did not control
 11    opinion that genetics was not the explanation   11   for genetics, right?
 12    for what we are seeing here. The genetics       12       A. I think I read that in the FDA
 13    absolutely has nothing to do with this.         13   production and perhaps in the J&J production.
 14             If you want to discuss                 14   So there were a few -- and obviously there
 15    genetics, the matter of the subject, I'm        15   were commentaries in the literature also
 16    happy to discuss why I think that. I put in     16   published about that.
 17    my report, and I'm happy to give you any        17            And I wanted to make sure I was
 18    information about that.                         18   covering all the bases, which, by the way, I
 19             (Baccarelli Exhibit 107 marked         19   did. I wrote in my report the genetics is
 20        for identification.)                        20   not an issue. Genetics absolutely has
 21    QUESTIONS BY MR. MURDICA:                       21   nothing to do with this causation. It's --
 22        Q. Dr. Baccarelli, you have in              22       Q. What certifications do you have
 23    front of you what's been marked as              23   in genetics, Doctor?
 24    Exhibit 107.                                    24       A. I have a postdoc from the
 25             Earlier you were telling us            25   Division of Cancer Epidemiology at the NIH.

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  1    about an e-mail exchange that you had with       1   I worked for three years and a half in
  2    Dr. Liew, and I believe you said you had         2   genetic epidemiology at the NIH as a postdoc,
  3    reviewed it recently, right?                     3   so I formally trained in genetic
  4        A. Correct.                                  4   epidemiology.
  5        Q. Okay. And is this that e-mail             5       Q. Okay. And one of the things
  6    exchange?                                        6   that you saw that you didn't understand was
  7        A. Yes.                                      7   that the polygenic risk score analysis by
  8        Q. Okay.                                     8   Stergiakouli seemed to explain that
  9        A. From June 2nd, so it's not                9   acetaminophen was not the cause of ADHD in
 10    very -- yeah.                                   10   that study, right?
 11        Q. This is very recent. This is             11            MR. SNIDOW: Objection to the
 12    June 2nd of this year, on the eve of you        12       form.
 13    providing your expert opinions here, right?     13   QUESTIONS BY MR. MURDICA:
 14        A. Correct. I was working on                14       Q. It was actually the mediator.
 15    these, and I wanted to make sure that I         15            MR. SNIDOW: Objection to form.
 16    didn't miss anything about Stergiakouli,        16            THE WITNESS: Can you repeat
 17    because they are two papers that both provide   17       that again?
 18    very little evidence about the role of          18   QUESTIONS BY MR. MURDICA:
 19    genetics. But one contradicts the other         19       Q. Sure.
 20    without referencing each other, the             20       A. I am very confused about all
 21    Stergiakouli 2016, I think, and Leppart 2019.   21   these arrows that you are drawing, in my
 22        Q. And if we look at this chain,            22   mind.
 23    you can confirm for us that you never told      23       Q. Well, you decided you need --
 24    Dr. Liew that you were working for one side     24   you needed to ask Dr. Liew a question because
 25    of the litigation, correct?                     25   you didn't understand why one of the studies

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  1    seem to suggest that acetaminophen was the       1            MR. SNIDOW: Objection.
  2    mediator, not the cause, of ADHD                 2            THE WITNESS: No. No. Leppart
  3    relationship.                                    3       writes something that is completely
  4             Right?                                  4       different from Stergiakouli.
  5        A. Acetaminophen -- no, I don't              5   QUESTIONS BY MR. MURDICA:
  6    think I said that, that -- none -- I don't       6       Q. Okay. Were there more or less
  7    think Stergiakouli talks about mediation.        7   alleles identified in 2019 than there were in
  8        Q. He talks about polygenic risk             8   2016 associated with ADHD or autism?
  9    scores, right?                                   9            MR. SNIDOW: Objection to the
 10        A. Correct. Stergiakouli talks              10       form.
 11    about polygenic risk scores, and it shows no    11            THE WITNESS: The Leppart and
 12    association between genetics for ADHD, I        12       Stergiakouli used two different
 13    believe, in Stergiakouli 2016, and taking       13       reference materials. One is based on
 14    Tylenol.                                        14       the additional UK studies, and one is
 15             So if the objection here is            15       based on a more generalizable data
 16    that -- as I say, my paper came under fire on   16       set, and they still have questions.
 17    the idea that women who have higher genetic     17            By the way, I wrote to
 18    risk factors for ADHD, and it must meet the     18       Stergiakouli asking whether they would
 19    risk factor to their children, they would       19       explain to me why they used two
 20    also take more Tylenol.                         20       reference materials and did not reply.
 21             Stergiakouli 2016 shows that it        21            So at the point, I'm not even
 22    is not true. There is no association            22       sure whether Leppart is right or
 23    whatsoever between the ADHD genetics -- it      23       Stergiakouli is right.
 24    might be also ASD. Now I don't remember         24            Stergiakouli has a point there,
 25    exactly what Stergiakouli does.                 25       that they use a reference for their

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  1             But I'm sure that applies also          1        epigenetic score that these -- that is
  2    to ASD, that there is -- there was no            2        based on UK and the Irish. They seem
  3    association between having genes in the          3        to be use a European database that
  4    mother that can be transmitted to the            4        might even be less applicable in
  5    children and taking Tylenol.                     5        Leppart.
  6             So if you have genes that               6             By the way, Leppart, which is
  7    are risk factors for ASD, or supposed to be      7        the newer one that you say perhaps had
  8    risk factors for ASD, these women don't take     8        more genes, shows no association with
  9    more Tylenol.                                    9        the ASD. Genes for -- with
 10             And particularly Leppart shows         10        acetaminophen.
 11    that there is -- this association doesn't       11             Genes for ASD, women who have
 12    exist for ASD. So all this idea that            12        genes for ASD in their -- in their DNA
 13    genetics is important is based on nothing.      13        don't take more acetaminophen. All
 14             Women who have high risk of ASD        14        this argument that genetics --
 15    due to being genetic -- having genes that are   15        genetics is important for ASD
 16    a risk for ASD, they don't take more Tylenol.   16        causation due to acetaminophen is
 17    And this is -- shows in Leppart.                17        based on zero data. But it's zero,
 18             So if they don't take more             18        meaning zero close to zero zero.
 19    Tylenol, genes are not a confounder. Genes      19   QUESTIONS BY MR. MURDICA:
 20    have nothing to do with this, as I mentioned.   20       Q. How about ADHD, Doctor? Is
 21        Q. Dr. Baccarelli, Leppart finds            21   that what Leppart said with regard to ADHD?
 22    that genetics is the issue, right?              22        A. What Leppart says is that there
 23        A. No.                                      23   is a very weak association between having
 24        Q. And that's why -- that's why             24   genes for ADHD and taking acetaminophen.
 25    you chose to write Dr. Liew?                    25             If you have the paper, I'm

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  1    happy to discuss it with you.                    1        that.
  2        Q. Okay. Later in the e-mail,                2             Maternal mental illness is not
  3    Dr. Liew replies. First he had an error in       3        artificially causing the association
  4    his reply, and he deleted some, and it looks     4        that we see between acetaminophen and
  5    like he sent it again.                           5        ADHD, ASD and other neurodevelopmental
  6             Right?                                  6        disorders.
  7        A. Yeah, I didn't even notice at             7   QUESTIONS BY MR. MURDICA:
  8    the time. I read just the last one.              8        Q. Why didn't you tell Dr. Liew
  9        Q. And he says, "I also have been            9   that when you wrote back?
 10    worrying about genetic confounding because my   10        A. Because we were discussing
 11    analyses of the Danish National Birth Cohort    11   genetics, and Dr. Liew seemed to be pretty
 12    did not have genetic data and that we did       12   confident about his results.
 13    observe a considerable drop in effect size      13             We are talking about genetics,
 14    when adjusting for maternal mental illness."    14   and Dr. Liew concurred with me that genetics
 15             You saw that, right, at the            15   is not a problem. So he clearly leaves --
 16    time?                                           16   that derives, at least in my mind -- if I'm
 17        A. Correct.                                 17   wrong, I'm happy to be corrected -- that he
 18        Q. And I read that correctly now,           18   was also not that worried in the end about
 19    right?                                          19   mental illness. Because, again, genes have
 20        A. Correct.                                 20   nothing to do with this. There's really very
 21        Q. Okay. And so all of the Liew             21   little you can say about genes.
 22    studies --                                      22        Q. He told you he was not that
 23             MR. SNIDOW: Sorry, Jim, I'm            23   worried about maternal mental illness?
 24        lost. Where are you?                        24        A. No. He told me -- he concurred
 25             MR. MURDICA: I'm at the top of         25   with me that there is no -- there is very

                                         Page 414                                             Page 416
  1        14578.                                       1   little evidence that genes have anything to
  2             MR. SNIDOW: Okay. Thank you.            2   do with this.
  3    QUESTIONS BY MR. MURDICA:                        3             So he said -- I was worried
  4        Q. The Liew studies, and any study           4   because the illness. I looked at the genetic
  5    that analyzed the Danish National Birth          5   data. The genetic data took my -- my
  6    Cohort, couldn't control for genetic             6   concerns addressed. You can see that in that
  7    confounding, and here Liew is telling you        7   e-mail.
  8    they actually saw a drop when they adjusted      8        Q. Did you see that Dr. Liew is
  9    for maternal mental illness.                     9   saying they're now collecting some -- they
 10        A. I believe that's in their                10   have some polygenic risk score data for ADHD
 11    paper, is it?                                   11   and ASD in the DNBC, but it's rather
 12        Q. Right.                                   12   challenging to use genetic data, and he's
 13             And remember I was asking you          13   trying to hopefully inform the debate?
 14    before if you accounted for maternal mental     14        A. It would be wonderful if they
 15    illness?                                        15   did. At the same time, based on the evidence
 16        A. This has been looked in tens of          16   that I reviewed with you, again, Stergiakouli
 17    papers. There are tens of papers adjusted       17   shows no association between genes for ADHD
 18    for maternal mental illness. Maternal mental    18   and taking acetaminophen. So women who have
 19    illness is not the problem.                     19   higher genetic risk scores for ADHD takes no
 20        Q. And he says -- well, your                20   more acetaminophen.
 21    opinion that maternal mental illness is not     21             Leppart suddenly shows a weak
 22    the problem, right?                             22   association.
 23             MR. SNIDOW: Object. Objection          23             And also I have to say, they
 24        to form.                                    24   also adjust -- in Stergiakouli they also
 25             THE WITNESS: Let me rephrase           25   adjust the association between acetaminophen

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  1    and the hyperactivity for the genes. So          1       considering all the objections.
  2    really -- they really put the confounders in     2            So I did -- I got my final
  3    the model and shows that their results are       3       analysis and my final determination
  4    still there.                                     4       after this e-mail. So this was part
  5              So APAP cause hyperactivity,           5       of my final determination on how to
  6    actually ADHD with hyperactivity,                6       assess genetics. I was trying to
  7    independently of the polygenic risk score and    7       figure out exactly how to assess
  8    depending on the genes.                          8       genetics, and this was really helpful
  9              Leppart shows a small                  9       because it really helped me to
 10    association within -- between polygenic risk    10       understand -- to shed light on genes.
 11    scores for ADHD and acetaminophen, and again    11       And genes have nothing to do with the
 12    shows no association whatsoever with autism.    12       causation between ADHD -- between
 13              So all these genes of autism          13       acetaminophen and disease.
 14    that people say are so important for -- those   14   QUESTIONS BY MR. MURDICA:
 15    are genes for autism and not for ADHD. I        15       Q. Okay. So this Stergiakouli and
 16    think you would agree that the genetic          16   Leppart issue that you identified to Dr. Liew
 17    component of ADHD is somehow smaller than the   17   starting on May 29th, at that point you
 18    one for autism.                                 18   hadn't made your causal determination between
 19              So the concern is much bigger         19   acetaminophen and the outcomes of ADHD and
 20    for autism. And guess what, women who --        20   ASD, correct?
 21    women who have higher risk scores, genetics,    21            MR. SNIDOW: Objection to the
 22    for autism take the same acetaminophen as       22       form.
 23    women who don't. So there is -- there is no     23            THE WITNESS: I hadn't still
 24    case with genetics. I'm sorry.                  24       finished my report, so I was still in
 25         Q. Doctor, I asked you about               25       time to change my determination if I

                                         Page 418                                             Page 420
  1    Dr. Liew's additional data he's getting.         1        wanted to.
  2             Have you talked to him since            2   QUESTIONS BY MR. MURDICA:
  3    this e-mail chain?                               3        Q. Had you just found Leppart at
  4        A. No.                                       4   that time, when you e-mailed Dr. Liew?
  5        Q. So you don't know if he's --              5        A. No. I found Leppart much
  6    how the review of that data is coming out?       6   before. I found Leppart with the papers when
  7        A. If you like to talk to him, I             7   I did my PubMed search and the other searches
  8    mean, you can.                                   8   in March.
  9        Q. In talking about Leppart, you             9        Q. Dr. Baccarelli, your name was
 10    say, "It seems they use some arbitrary          10   on another paper with Dr. Baker in 2022
 11    cutoff, and I am still worried that if they     11   titled "Association of Prenatal Acetaminophen
 12    used it as a continuous numerical scale they    12   Exposure Measured in Meconium With Adverse
 13    could have gotten stronger associations."       13   Birth Outcomes."
 14        A. Uh-huh.                                  14             Right?
 15        Q. Those were your words, right?            15        A. Yes.
 16        A. Absolutely.                              16        Q. And that was just looking at
 17        Q. You were concerned that if               17   non-neurological adverse outcomes, right?
 18    Leppart had used a different scale, they        18        A. I think so.
 19    would have found an even stronger association   19             (Baccarelli Exhibit 108 marked
 20    with genetics, which would go against what      20        for identification.)
 21    you had already determined at this point was    21   QUESTIONS BY MR. MURDICA:
 22    a causal relationship, right?                   22        Q. Doctor, you should now have in
 23             MR. SNIDOW: Object to form.            23   front of you what's been marked as
 24             THE WITNESS: I hadn't finished         24   Exhibit 108.
 25        my analysis yet. I was still                25             Do you recognize Exhibit 108?

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  1        A. Yes.                                      1              And the birth outcomes here are
  2        Q. And this is another meconium              2        birth weight, preterm birth, and small
  3    study, right?                                    3        and large for gestational age.
  4        A. Yes.                                      4   QUESTIONS BY MR. MURDICA:
  5        Q. Okay. And this is something               5        Q. Okay. In April 2022,
  6    with your name on it, right?                     6   Dr. Baccarelli would not suggest a change in
  7        A. Correct.                                  7   clinical practice as it relates to prenatal
  8        Q. Okay. If you turn to page 6.              8   acetaminophen exposure, correct?
  9            Now this is in April of 2022,            9        A. I didn't say that. The paper
 10    right?                                          10   doesn't say that.
 11        A. Uh-huh.                                  11              It just says there is -- that
 12        Q. Okay. Page 6, if you look on             12   we published the result on something that has
 13    the right-hand column, the first full           13   nothing to do with neurodevelopment, and this
 14    paragraph, you wrote, "While the associations   14   data are not enough to tell people that all
 15    of prenatal acetaminophen exposure with         15   the kids are both small or large, and all the
 16    adverse birth outcomes found here may be        16   kids are -- and that acetaminophen is causing
 17    concerning, more studies in a diverse range     17   gestational diabetes, it's causing eclampsia,
 18    of cohorts are needed before suggesting a       18   it's causing preterm birth, it's causing high
 19    change in clinical practice."                   19   blood pressure in the mother.
 20            Those are your words, right,            20        Q. Okay.
 21    Doctor?                                         21        A. So this paper has very
 22        A. Where is it? Sorry, where is             22   little -- very little to do with what we are
 23    it?                                             23   discussing today.
 24            So we are talking about                 24        Q. I just want to understand your
 25    something different here. There is neonatal     25   testimony, for the world that reads this, is

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  1    development here, correct? So we are talking     1   that in April 2022 -- well, let's do some
  2    about birth weight, preterm weight,              2   foundation.
  3    gestational age, small and large for             3             In April of 2022, did you
  4    gestational age, gestational diabetes,           4   believe that acetaminophen caused adverse
  5    preeclampsia and high blood pressure. So         5   neurological outcomes when there was in utero
  6    this is not related to the discussion today.     6   exposure?
  7        Q. Okay. So you're not -- you're             7       A. In April 2022, I was pretty
  8    not considering autism or ADHD or                8   convinced that there was a problem.
  9    neurodevelopmental disorders as adverse birth    9       Q. Okay. Notwithstanding that you
 10    outcomes here?                                  10   were convinced there was a problem, you put
 11             MR. SNIDOW: Objection to the           11   words in a published paper in April 2022 that
 12        form.                                       12   more data was needed before there was a
 13             THE WITNESS: So this is                13   change in clinical practice with respect to
 14        written in the -- so birth outcome is       14   acetaminophen, but only with respect to other
 15        an outcome typically that can be            15   birth outcomes.
 16        measured at birth. So I think we            16             That's your testimony, right?
 17        agree that we cannot measure autism or      17             MR. SNIDOW: Objection to form.
 18        ADHD at birth or during pregnancy.          18             THE WITNESS: So as you see at
 19             It seems like that we also have        19       the end of this paper, we say that we
 20        here -- we put under the umbrellas a        20       want more work for this about -- but
 21        few outcomes that are not just birth        21       it's not related to NDDs.
 22        outcomes but also pregnancy                 22             If I had written a paper on
 23        complications. So the title should          23       neurodevelop -- on NDDs at the time, I
 24        have been pregnancy complications and       24       would have used a different statement.
 25        birth outcomes.                             25             This statement can be read only

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  1        in relation to the birth outcomes,           1   dissertation proposal that you helped Brennan
  2        which again are at birth. So                 2   Baker, right?
  3        everything I say in this paper applies       3       A. No. They -- Brennan was
  4        to birth outcomes.                           4   supervised by two scientists. One is me, and
  5              I mean, I agree with you that          5   one is Brandon Pearson. So for that part of
  6        this statement, perhaps, would have          6   the dissertation, it was under Brandon
  7        been to be qualified more, so probably       7   Pearson's supervision.
  8        if I -- if after you made this               8            And you had an opportunity to
  9        objection I would have the opportunity       9   speak with Brandon, so I'm sure he would --
 10        to rewrite this paper, I would              10   if you asked him, he would have told you all
 11        probably rewrite it in a way that is        11   about the paper.
 12        more qualified related to high blood        12       Q. Okay. It was part of the
 13        pressure of the mother, related to low      13   proposal that Baker made to you for --
 14        birth weight, related to high birth         14   prior to him getting his degree, correct?
 15        weight, related to gestational age.         15       A. He didn't make it to me. He
 16              So that is what I will say            16   make it to the -- to the school.
 17        there. I would be happy to write this       17       Q. Okay.
 18        statement if I had the opportunity to       18       A. And he made it to the two PIs,
 19        do it now. Perhaps it's not the most        19   two principal investigators, who supervised
 20        accurate statement I've ever written.       20   him.
 21    QUESTIONS BY MR. MURDICA:                       21            So for that part of the study,
 22        Q. Dr. Baccarelli, you don't --             22   I completely deferred to Brandon. I don't do
 23        A. But I think you understand in            23   animal studies, so --
 24    the context of the paper what this means. I     24       Q. You don't recall reviewing
 25    mean, I get --                                  25   his targeted outcomes for his dissertation

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  1         Q. You want the people reading              1   and one of them being an animal study?
  2    this transcript to believe that you thought      2       A. Oh, I did review the outcome,
  3    acetaminophen caused autism and ADHD, but you    3   but, again, we are a team, and that was under
  4    still weren't changing clinical practice in      4   Brandon Pearson's supervision, not mine.
  5    2022 with respect to other adverse birth         5            (Baccarelli Exhibit 109 marked
  6    outcomes, right?                                 6       for identification.)
  7              MR. SNIDOW: Objection to the           7   QUESTIONS BY MR. MURDICA:
  8         form.                                       8       Q. Okay. I'm marking Baker 2023.
  9              THE WITNESS: Again, you can            9            Okay. Now, Doctor, you now
 10         pick out a sentence out of a paper,        10   have in front of you what's been marked as
 11         but the paper is pretty clear we are       11   Exhibit 109?
 12         talking only about certain outcomes.       12       A. Uh-huh.
 13         And what I -- what this statement is       13       Q. Do you recognize this as
 14         meant to be is to say that the             14   Baker's animal study from 2023?
 15         evidence we are providing in this          15       A. Yes.
 16         single paper about something that has      16       Q. Okay. And you see up top it
 17         nothing to do with neurodevelopment is     17   says 2023?
 18         not enough to influence practice.          18       A. It does.
 19              Other types of evidence can.          19       Q. Now, if you look at the
 20    QUESTIONS BY MR. MURDICA:                       20   introduction, the second paragraph -- by the
 21         Q. Okay. Doctor, there was a               21   way, it's -- Pearson is also on this.
 22    Baker 2023 article as well that you             22            You said that, right?
 23    referenced earlier, right?                      23   Dr. Pearson?
 24         A. Yes, I believe so.                      24       A. Yes, Pearson is the senior
 25         Q. That was the second part of the         25   author and the supervisor of Baker for this

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  1    paper.                                           1   disorder. So I leave it up --
  2         Q. Okay. So he reviewed this --             2       Q. You would disagree with them,
  3    in your lab, in your group, you expect other     3   right? You would say, actually it's causal,
  4    doctors and scientists to review their papers    4   right?
  5    before they go out to the publication, right?    5            MR. SNIDOW: Objection to the
  6         A. I do review papers. I hope               6       form.
  7    Brandon does as well.                            7            THE WITNESS: What I -- what I
  8         Q. Okay.                                    8       would say today, as I sit here after
  9         A. I'm not in his lab. As I said,           9       having been done the navigation guide
 10    he's in a different lab. He's the director      10       analysis and looking at -- that it's
 11    of his own lab. I'm the director of my own      11       more likely than not, and it's
 12    lab.                                            12       reasonable that -- the only reasonable
 13         Q. Did you look at this one before         13       explanation to all the associations,
 14    it went for publication? Do you know?           14       including dose, explained here is that
 15         A. I don't think so.                       15       the association is causal.
 16         Q. Okay. Do you see the second             16   QUESTIONS BY MR. MURDICA:
 17    paragraph? It says, "Despite such widespread    17       Q. Okay. And if you look in the
 18    use, evidence from human observational          18   next column, the last sentence, it says, "For
 19    studies suggests that prenatal APAP exposure    19   instance, maternal polygenic risk scores for
 20    may be associated with ADHD."                   20   ADHD are associated with use of APAP during
 21         A. Yes.                                    21   late pregnancy," citing Leppart, "indicating
 22         Q. Okay. That doesn't say cause,           22   a strong potential for genetic confounding."
 23    right?                                          23            Do you see that?
 24             MR. SNIDOW: Object to form.            24       A. I would disagree with that.
 25             THE WITNESS: I think it's              25       Q. Yeah. That was going to be my

                                          Page 430                                            Page 432
  1        pretty similar. Maybe associated             1   question. So you disagree with them on that
  2        doesn't say. It is 50 percent. Is it         2   one.
  3        more?                                        3             And then it says, "Furthermore,
  4             It doesn't say we are                   4   a sibling study that examined unmeasured
  5        100 percent sure this is absolutely          5   familial confounding in the Norwegian
  6        causal, but it says there is a lot           6   national cohort found a substantial family
  7        of -- there is a lot of papers that          7   effect, suggesting that unmeasured familial
  8        are consistent with causality,               8   factors, including genetics, may partially
  9        correct?                                     9   explain the association between APAP use with
 10    QUESTIONS BY MR. MURDICA:                       10   child ADHD."
 11        Q. Well, you're sitting here today          11             And it cites Gustavson, right?
 12    saying it's causal, right, Doctor?              12       A. Yeah. And that is really wrong
 13        A. Absolutely.                              13   because there are two studies only with
 14        Q. Okay.                                    14   sibling-control designs. And again, sibling
 15        A. And again, I did not write this          15   controls are really -- are really difficult
 16    paper, so I cannot --                           16   to do because siblings are very similar to
 17        Q. Right.                                   17   each other. So when you use siblings as
 18             You're not on this paper.              18   control, you run the risk of any association
 19        A. I cannot be responsible for              19   going away.
 20    whatever Brandon and Brennan wrote here.        20             So first of all, Gustavson is
 21             At the same time, I have to            21   the smallest study in the literature. You
 22    say, as I read it today, this is -- evidence    22   argued about my study. That's a study with
 23    from human observational studies suggest that   23   only 34, perhaps, informative units. 34 in
 24    APAP exposure prenatally may be associated      24   total, I mean, and using a yes/no
 25    with attention-deficit/hyperactivity            25   classification of acetaminophen,

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  1    self-reported. So much less power than any       1        Q. There's no disclosures, right?
  2    study I ever did, including the one with 120     2        A. Okay.
  3    that we agreed is a small study.                 3        Q. Okay. If Dr. Pearson was
  4             Plus, the association is weak.          4   working for the plaintiffs' lawyers at this
  5             Plus, I have to say, it's               5   point in this litigation when this was
  6    really impressive that another study from the    6   published in 2023, would you expect him, when
  7    same group as Gustavson, the data by             7   performing studies on acetaminophen, to
  8    Brandlistuen, all do expect the sibling          8   disclose that he was being paid in a
  9    studies to make every association within         9   litigation over acetaminophen?
 10    acetaminophen and neurodevelopment go away,     10            MR. SNIDOW: Objection to the
 11    the sibling-control study actually did show     11        form.
 12    an association.                                 12            THE WITNESS: I have to say, do
 13             So you have a design that is           13        you know when this paper came out?
 14    likely to produce false negatives, and          14            The paper was received in
 15    everyone would expect it to produce false       15        August 2022, was accepted 18
 16    negatives, and instead it produces a true       16        December 2022. So the disclosure was
 17    positive.                                       17        probably filed 18 December 2022. Or
 18             So you can understand that             18        usually it's filed at the time the
 19    sibling-control studies are actually pretty     19        paper is submitted.
 20    strong. I would differ with what they wrote     20            So you will have to ask the
 21    here. And this is something, honestly, I        21        lawyers here whether in August 18,
 22    started to understand only recently by          22        2022, that Dr. Pearson had already
 23    looking at the papers and reading them.         23        been retained.
 24        Q. You disagree with your                   24   QUESTIONS BY MR. MURDICA:
 25    colleagues, right?                              25        Q. If he had been retained, you'd

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  1             That was my question, and you           1   expect him to disclose that, right?
  2    just gave a long answer.                         2           MR. SNIDOW: Objection to the
  3             MR. SNIDOW: Objection to the            3      form.
  4         form.                                       4           THE WITNESS: I -- that is
  5             THE WITNESS: The answer -- the          5      something to ask him. It's up to
  6         answer is that I disagree that the          6      individual scientists to decide what
  7         genetic confounding is an issue here.       7      represents a conflict of interest.
  8    QUESTIONS BY MR. MURDICA:                        8           Anyone has their own judgment,
  9         Q. Okay.                                    9      and I trust Dr. Pearson to have good
 10         A. There is no evidence in the             10      judgment.
 11    literature that genetic confounding is          11           By the way, Dr. Pearson is one
 12    causing the problem here. Acetaminophen is.     12      of the most conscientious people I've
 13         Q. Would you look at page 11,              13      ever met in my life. You can be sure
 14    please?                                         14      that he would -- he has done due
 15         A. (Witness complies.)                     15      diligence.
 16         Q. Now, when did you find out that         16   QUESTIONS BY MR. MURDICA:
 17    Dr. Pearson was working with the plaintiffs'    17      Q. You don't -- in your position
 18    lawyers on this case?                           18   in Mailman, you don't have any views on
 19         A. I think in March when we met at         19   whether the other -- your other colleagues
 20    the Society of Toxicology, he mentioned that    20   need to follow the financial disclosure
 21    he was working with the lawyers.                21   requirements or not.
 22         Q. Okay. Do you see the                    22           Is that your testimony?
 23    declaration of competing interests here on      23           MR. SNIDOW: Objection to the
 24    the left-hand column?                           24      form.
 25         A. Okay.                                   25

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  1    QUESTIONS BY MR. MURDICA:                        1            MR. SNIDOW: Objection to the
  2         Q. That it's up to them?                    2       form.
  3         A. I have a view that Columbia              3   QUESTIONS BY MR. MURDICA:
  4    requires a finance -- disclose whenever we       4       Q. Well, you -- your testimony is
  5    get by anyone else than Columbia. That           5   that the cutoff of 28 days of use in
  6    doesn't get reported to me.                      6   pregnancy is -- it's meaningful, right?
  7              So I hope Dr. Pearson did              7            People who use it for more than
  8    disclose it, but I'm not supervising             8   28 days in pregnancy have a stronger
  9    Dr. Pearson for that aspect nor whether he       9   relationship with the outcomes, right?
 10    writes this or not in the report. So, I         10       A. That is reported on many
 11    mean, that is something that has very little    11   papers.
 12    to do with me and my opinions. Has very         12       Q. Okay.
 13    little bearing on the situation.                13       A. Many papers use 28 as a cutoff,
 14         Q. Okay. Doctor, have you ever             14   and you see a dose-response relationship. So
 15    looked at the Bandoli study?                    15   when you get more acetaminophen, more days,
 16         A. I read it. I think so.                  16   you get stronger effects.
 17         Q. Okay. Well, let me see if I             17       Q. And those 20 --
 18    need to mark it.                                18       A. I wouldn't say that less than
 19             You saw that Bandoli found that        19   28 is perfectly safe. I mean, of course
 20    women who had long-term use of acetaminophen    20   with -- 28 is not a magic number.
 21    had almost three times the prevalence of        21       Q. Okay. And the 28, you -- when
 22    depression, four times prevalence of anxiety,   22   you look at those studies, you don't know in
 23    three times the prevalence of other mental      23   general if it was 28 days in a row at some
 24    health disorders.                               24   point or spaced out. There's not exact
 25             Do you remember anything like          25   dates --

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  1    that?                                            1       A. There is a lot of different
  2             MR. SNIDOW: Objection to the            2   analysis. So 28 is the total number of --
  3        form.                                        3       Q. Right.
  4             THE WITNESS: I'd like to                4       A. -- the days during pregnancy.
  5        review that paper, if you don't mind.        5   But studies have looked at individual
  6    QUESTIONS BY MR. MURDICA:                        6   trimesters, and there is no difference across
  7        Q. Okay. Do you have it with you?            7   trimesters. They're precise, exactly the
  8        A. No, I don't think so.                     8   same and so on.
  9             (Baccarelli Exhibit 110 marked          9            So there's a wealth of data.
 10        for identification.)                        10   The data have been sliced every way you can.
 11    QUESTIONS BY MR. MURDICA:                       11   So if you have a specific question, I can
 12        Q. Okay. I'll mark it.                      12   perhaps help you to find the answer.
 13        A. Okay.                                    13       Q. Well, they've been sliced every
 14             MR. SNIDOW: I'm sorry. This            14   way you can without actually having the dates
 15        is 110?                                     15   of use, right?
 16             THE WITNESS: 110.                      16            No study had the exact dates
 17             MR. SNIDOW: Okay. Thank you.           17   and lengths of using during pregnancy?
 18    QUESTIONS BY MR. MURDICA:                       18            MR. SNIDOW: Objection to form.
 19        Q. Doctor, do you remember                  19            THE WITNESS: That is not true.
 20    reviewing this now?                             20       There are --
 21        A. Yes.                                     21            MR. SNIDOW: I'm sorry. I'm
 22        Q. Okay. Did you see that the               22       sorry. Objection to form.
 23    women who used acetaminophen are quite          23            THE WITNESS: That is not true.
 24    different?                                      24       There are -- there is many studies
 25        A. Where is that?                           25       that have rich information about the

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  1        exposure to acetaminophen over time,         1   QUESTIONS BY MR. MURDICA:
  2        and the number of days is the most           2       Q. This is Exhibit 110.
  3        reliable way to ask the question.            3           MR. SNIDOW: Where?
  4             So if you ask number of days,           4           MR. MURDICA: Well, it's all
  5        women are likely to report that more         5       throughout.
  6        accurately than asking other type of         6           MR. SNIDOW: Well, what are you
  7        information.                                 7       reading?
  8    QUESTIONS BY MR. MURDICA:                        8           MR. MURDICA: I'm reading
  9        Q. Okay. So it's your testimony              9       page 8.
 10    that you can point to a study that has the      10           MR. SNIDOW: Okay.
 11    exact day during pregnancy that acetaminophen   11           THE WITNESS: Page 8?
 12    was taken?                                      12           Okay. What is it?
 13        A. I don't need that                        13   QUESTIONS BY MR. MURDICA:
 14    information --                                  14       Q. Well, there's a statement here
 15        Q. That was my question.                    15   based on their study that says compared with
 16        A. -- so I wouldn't look for it,            16   women who did not use acetaminophen, women
 17    and no one does it.                             17   who used acetaminophen were more than 40 --
 18        Q. Okay. It doesn't exist, right?           18   for more than 44 days had almost three times
 19        A. That information is not needed           19   the prevalence of self-reported depression,
 20    in this situation.                              20   four times --
 21        Q. Okay.                                    21       A. Where is it?
 22        A. So I wouldn't be able to tell            22       Q. It's the middle of the page.
 23    you whether that did exist or not because I     23       A. Sorry.
 24    didn't look for it.                             24       Q. Sorry, Doctor, I thought you
 25        Q. You didn't see it?                       25   had reviewed this.

                                         Page 442                                              Page 444
  1        A. I was not interested, and it              1             MR. SNIDOW: Objection to form.
  2    didn't matter for my opinion.                    2             THE WITNESS: I really said I
  3        Q. Okay. I understand that.                  3       read it. I didn't memorize it by
  4            You didn't see -- you didn't             4       heart.
  5    see that data, though, right?                    5             Can you tell me what they're
  6            MR. SNIDOW: Objection to form.           6       talking about here? Is it data? Is
  7            THE WITNESS: As I stand here             7       it -- I really -- I really don't --
  8        today, I cannot recall that data.            8       don't remember this paper that well.
  9    QUESTIONS BY MR. MURDICA:                        9   QUESTIONS BY MR. MURDICA:
 10        Q. Okay.                                    10       Q. Okay. It's okay, Doctor.
 11        A. But at the same time, it's not           11       A. I want to say on that -- that
 12    relevant to my -- to my opinion.                12   if you're arguing that there is a genetic
 13        Q. I understand you feel that way,          13   confounding here because of mental illness,
 14    Doctor.                                         14   there is not. This has been shown over and
 15            If you look at Exhibit 110 --           15   over again.
 16            MR. SNIDOW: Objection to the            16             MR. MURDICA: That's okay.
 17        form.                                       17       Let's take a break. I'll organize my
 18    QUESTIONS BY MR. MURDICA:                       18       last questions and last exhibits.
 19        Q. -- which is in front of you,             19             MR. SNIDOW: So off the record.
 20    did you see that the women who were high        20             VIDEOGRAPHER: The time right
 21    users of acetaminophen had a much different     21       now is 5:04 p.m. We are off the
 22    mental health --                                22       record.
 23            MR. SNIDOW: Where are you               23        (Off the record at 5:04 p.m.)
 24        looking, Jim?                               24             VIDEOGRAPHER: The time right
 25            THE WITNESS: Where is that?             25       now is 5:19 p.m. We are back on the

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  1        record.                                      1       extensive work on the part of
  2             MR. MURDICA: Are we good now?           2       different type of chemicals and
  3             MR. SNIDOW: (Nods head.)                3       toxicants on the fetus.
  4             MR. MURDICA: Okay.                      4   QUESTIONS BY MR. MURDICA:
  5    QUESTIONS BY MR. MURDICA:                        5       Q. Okay.
  6        Q. Dr. Baccarelli, welcome back.             6       A. And of course some part of this
  7             Are you ready to proceed?               7   work is on genes, epigenetics, and how
  8        A. Yes, please.                              8   chemicals impact the fetus, including the
  9        Q. Okay. I asked you earlier if              9   brain.
 10    you considered yourself an expert in            10       Q. Dr. Baccarelli, my question
 11    neurodevelopment, and you said yes.             11   was, when you're not in litigation, you tell
 12             Do you recall that?                    12   people that your expertise is in molecular
 13        A. I'm an expert on the                     13   epi, right?
 14    epidemiology on neurodevelopment, so I          14             MR. SNIDOW: Objection to the
 15    definitely -- I am qualified to publish         15       form.
 16    papers first on neurodevelopment. I             16             THE WITNESS: When I'm not
 17    published, I think, 15 papers that have to do   17       in -- if I were not -- if I were not
 18    with neurodevelopment.                          18       here under oath and -- even more or
 19             And of course I'm not a                19       less tell the truth under oath.
 20    neuropsychiatrist, so I don't -- I don't have   20             But if I were with a colleague
 21    expertise in making clinical diagnosis. I       21       at the bar and say -- the people will
 22    have -- I haven't done clinical diagnosis       22       tell -- will tell me, do you have
 23    myself.                                         23       expertise in neuroepidemiology, I
 24        Q. When you're not in litigation,           24       would say yes --
 25    what you tell people is that you're an expert   25

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  1    in molecular epi, correct?                       1   QUESTIONS BY MR. MURDICA:
  2         A. Say that again?                          2        Q. Okay.
  3         Q. When you're not being paid in a          3        A. -- because I published several
  4    litigation, you tell people that you are an      4   papers on that. So, I mean, there is
  5    expert in molecular epi, correct?                5   something that I could do.
  6               MR. SNIDOW: Objection to the          6             At the same time, I defer to
  7         form.                                       7   colleagues who are more experienced than me.
  8               THE WITNESS: You know, I have         8             (Baccarelli Exhibit 111 marked
  9         a lot of expertise. I can -- as             9        for identification.)
 10         you -- as you understand, I trained in     10   QUESTIONS BY MR. MURDICA:
 11         multiple disciplines. The strength of      11        Q. Oh, okay. Well, let's mark
 12         my training is really that I've done a     12   this as Exhibit 111.
 13         lot of different work in different         13             Dr. Baccarelli, I'm marking one
 14         areas.                                     14   of your e-mails as Exhibit 111. And if you
 15    QUESTIONS BY MR. MURDICA:                       15   turn to page 3, which has 362 on the
 16         Q. Okay. So can you answer my              16   bottom --
 17    question?                                       17        A. Uh-huh.
 18               MR. SNIDOW: Objection to the         18        Q. -- you say, "One question."
 19         form.                                      19             Do you see that up top, the
 20               THE WITNESS: So I trained as a       20   second paragraph?
 21         physician. I'm a medical doctor.           21        A. Absolutely.
 22         I -- so I'm a physician.                   22        Q. Do you see you say -- this
 23               I trained in internal medicine.      23   is -- you're telling Brennan Baker this,
 24         I trained in toxicology. I trained in      24   right, when he's going for his dissertation?
 25         genetic epidemiology. And I've done        25        A. No, this is about the grant.

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  1        Q. Right.                                    1            Doctor, you now have in front
  2        A. He's writing a grant to support           2   of you what's been marked as Exhibit 111?
  3    his studies. So we are going to -- we are        3            MR. SNIDOW: I think 112.
  4    deciding where to go with this grant.            4   QUESTIONS BY MR. MURDICA:
  5             He's writing a grant                    5        Q. 112?
  6    application. It was just called an F51.          6        A. 112, yes.
  7        Q. And that's for his disser --              7        Q. Do you recognize that?
  8    that's for his dissertation, right?              8        A. Yeah, it's one of the papers
  9        A. To support his work in his                9   that are in my material list.
 10    dissertation.                                   10        Q. In fact, it's one of the six
 11        Q. Yeah, okay.                              11   studies that you have under your autism
 12             And what you say is, "Brennan,         12   category, right?
 13    my expertise is in molecular epi, and aim 1     13        A. Yes, it's one of those.
 14    and 2 are more into neurodevelopment. I'm       14        Q. Okay. When did you last review
 15    wondering whether you need a mentor such as,"   15   this?
 16    and you list two other doctors.                 16        A. A few weeks ago, I guess.
 17        A. Exactly, who are colleagues who          17        Q. Okay. And when you reviewed
 18    are --                                          18   this, did you see that as for autism -- when
 19        Q. Okay.                                    19   is -- take a look at Table 3, because that's
 20        A. -- part of my papers that I              20   what I'm going to ask you about.
 21    rely to. And therefore what I'm saying is       21            MR. SNIDOW: What page?
 22    that please make sure that when you go to       22            MR. MURDICA: 1992.
 23    submit the grant, because reviewers can be      23   QUESTIONS BY MR. MURDICA:
 24    inquisitive and nasty, be sure you have         24        Q. All right. Doctor, do you
 25    someone who's a card-carrying                   25   recall when you were assessing this study --

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  1    neurodevelopmental person who is a               1   this is one of the ones you assessed on the
  2    neuropsychiatrist. Because if they don't see     2   navigation guide, right?
  3    any neuropsychiatrists in your grant, they       3        A. I think so, you're right.
  4    are going to kill you.                           4        Q. Okay. Do you recall that the
  5         Q. Okay.                                    5   three levels of exposure to acetaminophen
  6         A. So it's not about whether I'm            6   were rated as never --
  7    experienced or not enough to publish a paper     7             That one's easy, right?
  8    or to review the literature. It's whether        8        A. Uh-huh.
  9    the study section will think that -- that I      9        Q. Sporadic?
 10    can be -- I can be enough for Brennan to get    10        A. Uh-huh.
 11    the grant.                                      11        Q. And persistent?
 12              Because if they don't have a          12        A. Uh-huh.
 13    neuropsychiatrist who can vouch for the rest    13        Q. All right. Now, I asked you
 14    of the study how clinical diagnosis is done,    14   questions earlier about the notation of
 15    how brains MRIs, I have no problem to say       15   exactly when people took -- mothers took
 16    that I cannot analyze brain MRI data. I         16   acetaminophen during pregnancy, and here it
 17    cannot read them.                               17   was sporadic if there was some exposure in
 18              And the grant was about brain         18   one or two trimesters but not all three,
 19    MRI. He needs a brain MRI person there.         19   right?
 20    It's not me.                                    20        A. Uh-huh.
 21              (Baccarelli Exhibit 112 marked        21        Q. And it was persistent if there
 22         for identification.)                       22   was some exposure, even one pill, in all
 23    QUESTIONS BY MR. MURDICA:                       23   three, right?
 24         Q. Okay. Doctor, we're going to            24        A. I'm not sure it's even one
 25    mark another exhibit.                           25   pill, but you might be right.

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  1         Q. Okay. Did you -- did you                1   to something else, you might want to compare
  2    analyze the exposure here as part of your       2   it with studies done by Liew that are
  3    opinion?                                        3   50,000 -- 50,000 subjects.
  4         A. Of course. Of course. Three             4            This compare -- when you look
  5    months ago. So you're not expecting me to       5   at studies that only rely on reports of
  6    recall exactly what this papers says.           6   acetaminophen from mothers, this is a
  7             I -- part of the advantage of          7   relatively small study, correct? It's 2,600
  8    the navigation guide is that you note down      8   compared to 50,000. So it stands to reason,
  9    all the details as you read it. So that's       9   especially when you start to break them down
 10    how I did it.                                  10   in subgroups, the results start to become
 11         Q. Okay. You know what CAST is,           11   less stable.
 12    right?                                         12       Q. Okay.
 13         A. It's the Childhood Autism              13        A. And you can see things that you
 14    Spectrum Test.                                 14   wouldn't expect.
 15         Q. So if you look at Table 3,             15       Q. So, for example, if we look at
 16    those are the outcome results for autism in    16   females with sporadic use under the autism
 17    this study, correct?                           17   measure, the CAST score, we see that for
 18         A. These are the results for CAST,        18   those 287, acetaminophen use in two
 19    I believe, correct? What is it, Table 3?       19   trimesters was actually protective against
 20         Q. They're for CAST --                    20   autism, right?
 21         A. That is all for CAST and CPT,          21            MR. SNIDOW: Object to the
 22    that are both related to autism.               22        form.
 23         Q. CPT is an autism outcome as            23            THE WITNESS: There is a
 24    well?                                          24        negative association here that is not
 25         A. Let me see. No, the CAST is            25        shown when all participants are seen

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  1    about -- is about autism, yeah.                 1       together. And all participants is the
  2        Q. Right.                                   2       strongest -- is the strongest
  3             And if you look, in reporting,         3       association, is the strongest
  4    Avella-Garcia broke it down into -- by sex,     4       analysis. It is where you have more
  5    right?                                          5       power. So if you start to break them
  6        A. Correct.                                 6       down by sex, there might be some
  7        Q. Okay. And if you look at                 7       difference.
  8    females and the CAST score for sporadic use,    8            At the same time, the way I
  9    do you see the number? There were 287 --        9       evaluated this, this is not the only
 10        A. Uh-huh.                                 10       paper that shows analysis certified
 11        Q. -- in that?                             11       by gender, by sex, actually, in this
 12        A. Yeah.                                   12       case.
 13        Q. Now, 287 is more than any of            13            And if you look at the entire
 14    your meconium studies in terms of a -- in      14       of the study, there is no evidence
 15    terms of a number that actually had the        15       altogether that there is an effect
 16    outcome you were looking at, right?            16       modification by sex.
 17        A. So you're comparing pears with          17            One study, again, is not enough
 18    apples. My meconium study had a measurement    18       to create a concern that results might
 19    of meconium. That gives more power because     19       be different in girls as opposed to
 20    there is less exposure assessment.             20       boys.
 21             Here is just about whether            21   QUESTIONS BY MR. MURDICA:
 22    people had taken any pill, as you mentioned,   22       Q. Avella-Garcia broke it down
 23    during pregnancy.                              23   into sex because they were worried about that
 24        Q. Okay.                                   24   at the time that they did this analysis,
 25        A. So if you want to compare this          25   right?

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  1        A. And I was worried as well.                1   Avella-Garcia, Exhibit 112, whether there was
  2        Q. Okay.                                     2   a statistically significant association with
  3        A. So I reviewed the literature              3   autism as an outcome.
  4    exactly also with this in mind.                  4            And the answer is no, correct?
  5              It's not hard to understand            5       A. Correct. There is not a
  6    that there are many studies that break them      6   significant association when you put all of
  7    down by sex, and there are plenty of studies.    7   them together, but there is some suggestive
  8    This is one of the few that shows -- that        8   association in males which is not shown in
  9    shows differences, but it doesn't mean that      9   females.
 10    this is true across the literature.             10            So, yeah, I -- overall, this
 11        Q. And when --                              11   paper doesn't provide a lot of evidence in
 12        A. So if you want to look at                12   support of the autism association --
 13    entire literature, you will see very little     13       Q. Okay.
 14    difference between boys and girls.              14       A. -- though it was included in a
 15        Q. Okay. And, Doctor, when you              15   meta-analysis. That is Alemany, that
 16    look at all participants, when you don't        16   included also other five studies. And when
 17    break it down by sex, for their CAST score,     17   you put all of them together, there is an
 18    none of the results were significant, right,    18   association.
 19    whether it be sporadic or persistent use?       19       Q. On page 1994, Doctor, what
 20        A. CAST scores were increased in            20   Avella-Garcia says in the first sentence is,
 21    ever-exposed males in this study, and so        21   "We were unable to evaluate the effects of
 22    they found an association in males and not in   22   dosage because of mothers' difficulties in
 23    females, and that is one study.                 23   recalling the dose taken."
 24        Q. But you just -- you just told            24            Did you see that when you were
 25    us not to look by sex, right?                   25   doing your analysis?

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  1              MR. SNIDOW: Objection to the           1        A. What is it again? What is it?
  2        form.                                        2        Q. 1994, first sentence.
  3    QUESTIONS BY MR. MURDICA:                        3        A. Okay.
  4        Q. Doctor, my question was, in all           4        Q. Did you see that they couldn't
  5    participants, which you said is better, there    5   study the effective dose?
  6    was no statistically significant association     6        A. I think that is something also
  7    for autism by CAST score --                      7   generally I pointed out in my report without
  8              MR. SNIDOW: Objection.                 8   even reading Garcia, that recall of use of
  9    QUESTIONS BY MR. MURDICA:                        9   acetaminophen can be inaccurate, and that
 10        Q. -- for any amount of use of              10   will make the results -- will wash away the
 11    acetaminophen, correct?                         11   results. It will make the results to
 12              MR. SNIDOW: Objection to form.        12   disappear rather than show up, as they show
 13              THE WITNESS: In this study,           13   up consistently throughout the entire
 14        it's mostly males, not in females.          14   literature here.
 15        When you look at all children, there        15        Q. That's assume -- well, you're
 16        is an 8 percent increased risk. And         16   assuming that people have a mis-memory in one
 17        it's not statistically significant,         17   direction, right?
 18        but it's still 8 percent.                   18        A. No. I'm assuming that
 19              So the interaction is                 19   misclassification is nondifferential,
 20        consistent with the rest of the             20   especially because the studies are
 21        literature when you put everything          21   prospective and therefore are -- when the
 22        together.                                   22   women were assessed, the children were not
 23    QUESTIONS BY MR. MURDICA:                       23   born yet, or they were just born. So they
 24        Q. Yeah, my question, if you                24   don't know whether the children will have
 25    recall, was whether in all participants in      25   ADHD, ASD or not.

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  1              So there is no way they can            1   pregnancy -- I mean, every use -- every
  2    predict the future. There is no way they can     2   record is retrospect. If asked you whether
  3    tell their dosage of acetaminophen based on      3   you took Tylenol today, like, it would be
  4    what will happen three, four, five, ten years    4   retrospective, correct?
  5    from now.                                        5       Q. Right.
  6              So in all good faith, we               6       A. If you asked whether took --
  7    believe that the -- that the                     7   you took Tylenol yesterday or two months ago,
  8    misclassification is nondifferential.            8   it would be retrospective.
  9         Q. And the women who get lost to            9             I mean, the recall is of course
 10    follow-up in years three, four, five, seven,    10   a recall. Every memory is in our brain is
 11    you know that there's a -- there's a bias       11   about things we have done unless you are
 12    there that women with healthy children have     12   arguing we can predict the future when we
 13    less of an interest in participating, right?    13   ask -- if you ask me whether we'll take
 14         A. I didn't write that. I mean,            14   Tylenol or acetaminophen the next year, I
 15    I'm not sure I can -- I can agree with that     15   might say yes, but that's about the future.
 16    statement.                                      16             I don't think you can argue
 17              There is lots of the -- of the        17   that these people should have asked women
 18    study here used the clinical that counters      18   about their future use, correct? Any use you
 19    the argument, which is called inverse           19   have is about what happened in the past few
 20    probability weighting, which is exactly a       20   months.
 21    technique to address the issue you say.         21             And these studies are
 22              You get the study, you get            22   incredible because most of the -- most of
 23    the -- you understand why women are lost to     23   the -- most of the recall is about recent
 24    follow-up, and you can adjust for these         24   exposure, recent use. Some of the studies
 25    variables and make sure that loss to            25   asked multiple times during pregnancy, the

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  1    follow-up is not a problem.                      1   bigger ones typically. They ask at 18 weeks,
  2             There are several studies that          2   32 weeks and at pregnancy. So they're asking
  3    use inverse probability weights, and inverse     3   every trimester. And every trimester we now
  4    probability weights is the technique to          4   reporting their use at the time their
  5    address your concern. This has been done         5   pregnant, not after.
  6    multiple time in the literature, so I'm          6            So, again, this -- and I have
  7    pretty confident there is not a problem.         7   to say, 43 of the 45 studies I reviewed I
  8        Q. The prospective aspect of the             8   believe are prospective. So they used this
  9    studies you're talking about, Doctor, is that    9   design, which is incredibly rigorous.
 10    the women are enrolled prior to -- prior to     10        Q. Dr. Baccarelli, do you see one
 11    seeing the pregnancy outcome, correct?          11   paragraph down, middle of the left column, it
 12        A. They are enrolled during                 12   says, "Other limitations include unmeasured
 13    pregnancy or at delivery.                       13   genetic confounding, as ADHD and ASC may have
 14        Q. Right.                                   14   genetic components"?
 15        A. And we are talking about                 15            That's what the authors of the
 16    outcomes that happen when children are 3, 4,    16   study said, right?
 17    5, 2, 3, 4, 5, 10 year old --                   17        A. And we -- that is what the
 18        Q. Right.                                   18   authors of the study say. We already
 19        A. -- correct?                              19   reviewed that this was really helpful to me
 20        Q. But the recall of what was used          20   because I had to take this as a valid
 21    and when during pregnancy itself is             21   concern. I did an analysis of the
 22    retrospective, because they're being asked at   22   literature. It's in my report.
 23    some point in time what they did some prior     23            Genetics is not a problem.
 24    point in time, right?                           24   There is no evidence whatsoever that genetics
 25        A. They are typically asked during          25   plays a role here.


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  1        Q. Okay. And if you look on the              1             THE WITNESS: Yeah, I think
  2    last page, there's a commentary. If you flip     2       it's not complete.
  3    it over to the very last page. Let me see.       3             MR. MURDICA: Okay. We can --
  4             You see a commentary there?             4             THE WITNESS: It's not
  5        A. Yeah.                                     5       complete, but --
  6        Q. And this is by your friend                6             MR. MURDICA: We'll get to
  7    Dr. Liew, right?                                 7       that.
  8        A. It is not a friend. It's a                8             THE WITNESS: No, it's in --
  9    colleague, please.                               9       yeah, it's cut off.
 10        Q. Okay. This is by your                    10   QUESTIONS BY MR. MURDICA:
 11    colleague --                                    11       Q. Okay. Do you --
 12        A. Don't make me too friendly with          12             MR. SNIDOW: Okay.
 13    my colleagues. I don't get -- I never get a     13   QUESTIONS BY MR. MURDICA:
 14    drink with Dr. Liew.                            14       Q. Dr. Liew also, around the same
 15        Q. Okay.                                    15   time as this commentary, had a paper that
 16        A. And also didn't hire him in my           16   evaluated autism with acetaminophen as well,
 17    department, so he really might be upset for     17   right?
 18    me not hiring him.                              18       A. It's possible. If you can tell
 19        Q. Dr. Baccarelli, you see that             19   me which one.
 20    Dr. Liew -- the commentary is with respect to   20             (Baccarelli Exhibit 113 marked
 21    this Avella-Garcia article, right?              21       for identification.)
 22        A. I think so.                              22   QUESTIONS BY MR. MURDICA:
 23        Q. And what Dr. Liew says is the            23       Q. Okay. I'll just mark it.
 24    main concern in Avella-Garcia's study perhaps   24             You do recall one of your six
 25    is not confounding by indication but            25   autism studies was Liew 2016, right?

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  1    confounding by genetic factors. And then he      1       A. I'm sure it is. He perhaps
  2    goes on to explain why he thinks that could      2   published -- published a lot of papers.
  3    be a problem.                                    3       Q. You now have in front of you
  4             And I take it you just                  4   what's been marked 113 -- Exhibit 113.
  5    disagree, correct?                               5            That is Liew in 2016, right?
  6             MR. SNIDOW: Object -- sorry,            6       A. Yes.
  7        objection to the form.                       7       Q. This is one of your six autism
  8             THE WITNESS: I think we --              8   papers you evaluated, correct?
  9        there is a change that you showed            9       A. Yes.
 10        before that clarifies what Dr. Liew's       10       Q. Okay. And so this was about
 11        opinion is, and I think he said that        11   the same time that Liew had his commentary on
 12        he is not worried anymore about             12   Avella-Garcia saying that he thought then, at
 13        genetics because he reviewed the            13   least, that genetic was an issue, right?
 14        literature. And he agreed with me           14       A. Correct. And I want to point
 15        that genetics is not at play here.          15   out, though, this is before we -- either he
 16             And again, there is no data            16   or Oscar read the Stergiakouli or Leppart,
 17        whatsoever. You can claim genetics          17   which are the papers that really show that
 18        all the way, and perhaps it's easy to       18   genetics is not a problem.
 19        say because, you know, genes sound          19            So in 2016, it might have been
 20        very important. But genes are just          20   more of a problem because there were not a
 21        one of the confounders that needed to       21   lot of data about whether women who have
 22        be addressed. It has been addressed.        22   genes, so they may pose them and their
 23             MR. MURDICA: Okay.                     23   children at risk of ASD or ADHD, had higher
 24             MR. SNIDOW: Jim, is this cut           24   intake of Tylenol.
 25        off, this commentary?                       25            Now, we have a paper, Leppart,

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  1    that show no higher intake of Tylenol or         1   more Tylenol than all the other women.
  2    acetaminophen during pregnancy in women          2            So there is no one in the world
  3    who have this higher risk for ASD.               3   that based on the evidence that can tell that
  4             So, I mean, in order for                4   genes are a problem, especially for ASD.
  5    something to be a problem, it needs to be        5        Q. I appreciate that's your view,
  6    associated with Tylenol, and Tylenol is not      6   Dr. Baccarelli. I have another question for
  7    associated with the genetic risk score for       7   you, if you turn to page 955 on Exhibit 113.
  8    ASD. So there is no way that genes had           8        A. Uh-huh.
  9    nothing to do -- anything to do with ASD.        9        Q. If you look at Table 2, you see
 10        Q. You saw that Dr. Liew is still           10   it's broken down into autism spectrum
 11    looking at the polygenic risk scores in this    11   disorders and infantile autism, right?
 12    exact cohort that's in Exhibit 113, right?      12        A. Uh-huh.
 13             MR. SNIDOW: Object to the              13        Q. And he measures the number of
 14        form.                                       14   cases but also includes person years. And
 15    QUESTIONS BY MR. MURDICA:                       15   that's by age, right?
 16        Q. That's what he told you.                 16        A. Sorry, what did you say?
 17             MR. SNIDOW: Object to form.            17        Q. Do you see the measure is by
 18    QUESTIONS BY MR. MURDICA:                       18   number of cases and person years?
 19        Q. Right, Doctor?                           19        A. And what do you say about
 20        A. If you want to ask him, I --             20   person years?
 21        Q. Okay.                                    21        Q. I'm saying that's by age,
 22        A. -- you are welcome to contact            22   right? That's adding up the ages?
 23    him. I mean, as far as I'm concerned,           23        A. No, it's the years of
 24    he's -- he seemed pretty confident that it's    24   follow-up.
 25    not a problem.                                  25        Q. The years of follow-up?

                                           Page 470                                            Page 472
  1             I understand he's a very                1       A. Right.
  2    thorough individual, and he might want to        2       Q. Of the child, right?
  3    follow up and do work -- all the research --     3       A. Which probably might be similar
  4        Q. Doctor, that's your -- your               4   to the age.
  5    only communication was that e-mail, so that's    5       Q. Yeah. Okay.
  6    your interpretation of his e-mail, correct?      6            And you see for-ever used
  7             MR. SNIDOW: Objection to the            7   acetaminophen during pregnancy, there's a
  8        form.                                        8   positive point estimate and a slightly
  9             THE WITNESS: My interpretation          9   significant confidence interval, right? For
 10        of that e-mail, corroborated by my          10   ever used?
 11        evidence. And I'm using his e-mail,         11            MR. SNIDOW: Objection to the
 12        but I'm particularly using --               12       form.
 13    QUESTIONS BY MR. MURDICA:                       13            But, actually, where are you
 14        Q. Okay.                                    14       looking?
 15        A. You know, science is not based           15            MR. MURDICA: Can you let the
 16    in authority. I have all the respect for        16       doctor answer? Because I'm running of
 17    Dr. Liew that is in the world. I think he       17       out of time.
 18    does good science. But I am basing my           18            MR. SNIDOW: I see it now. I'm
 19    opinion on the data that I publish, not on      19       sorry.
 20    the authority of Dr. Liew.                      20            Go ahead.
 21        Q. Okay.                                    21            THE WITNESS: Sorry. You are
 22        A. And data and the science is              22       looking at the line where it says the
 23    that there is no -- women at higher genetic     23       1.22 includes odds ratio 1.19 --
 24    risk for autism, and for their children can     24   QUESTIONS BY MR. MURDICA:
 25    be a higher genetic risk for autism, takes no   25       Q. Yes, correct.

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  1         A. -- adjusted odds ratio?                  1       ratio that are very similar.
  2         Q. Yeah, that's --                          2   QUESTIONS BY MR. MURDICA:
  3         A. Yeah.                                    3       Q. Okay. And if you look down on
  4         Q. You see that?                            4   the left side and you look at the different
  5         A. So there is a 19 percent                 5   trimester analysis, you see that it's not
  6    increased risk in ever used, which is very       6   significant -- it's not statistically
  7    similar to the 16 percent you'll see on the      7   significant for autism for exposure in the
  8    right-hand column.                               8   first trimester only, the second trimester
  9         Q. And then if you look, Doctor --          9   only, the third trimester only, the second
 10    well, the 16 percent on the right-hand column   10   and third trimester together, the first and
 11    is not statistically significant, right?        11   third trimester together.
 12         A. Again, I'm not looking at each          12            Right?
 13    of the study individually for statistical       13       A. I'm very confused about all
 14    significance. Using overall. And you can        14   these trimesters you mentioned.
 15    understand clearly why it might not be          15       Q. Okay.
 16    statistically significant, because the power    16       A. What are you -- what do you
 17    in a study like this is determined by the       17   want me to focus on?
 18    number of cases.                                18       Q. Table 2.
 19              So the analysis on the right is       19            Did you do an analysis of all
 20    a subset, and this 286 number of cases as       20   the different outcomes here?
 21    opposed to 626. So the analysis on the left     21            MR. SNIDOW: Objection to the
 22    is three times -- has three times as much       22       form.
 23    power as the analysis on the right, and         23            THE WITNESS: I reviewed this
 24    they're essentially the same.                   24       very carefully, and of course, I mean,
 25              Any epidemiologist who has            25       my question was -- the question I

                                          Page 474                                             Page 476
  1    trained in epidemiology will tell you that       1   assessed is stated in my -- in my
  2    the two column, 1.22 and 1.16, have              2   report.
  3    essentially -- sorry. 1.19 and 1.16 have         3        I wanted to answer this
  4    essentially the same results.                    4   question. Does acetaminophen during
  5        Q. Okay.                                     5   pregnancy -- is acetaminophen during
  6        A. There is no noticeable                    6   pregnancy causally associated with
  7    difference between the two, unless you really    7   ADHD, ASD and neurodevelopmental
  8    want to say that we need to -- in one study      8   disorders.
  9    we need to worry about epi value.                9        So I looked at the process as a
 10        Q. The lack of statistical                  10   whole, and I made sure there was no
 11    significance on the right doesn't matter to     11   heterogeneity that made me worry about
 12    you when you have the number on the left.       12   one window being more important than
 13              Right, Doctor?                        13   another. And I think this paper shows
 14              MR. SNIDOW: Objection.                14   that.
 15        Objection to the form.                      15        But if you disagree, let me
 16              THE WITNESS: What I -- what I         16   know where this paper shows --
 17        said is that the -- is that the two         17        MR. MURDICA: Well, I asked you
 18        risk estimates are very similar, and        18   a question, and I haven't gotten an
 19        you can see also that the confidence        19   answer to it.
 20        interval are pretty similar. The            20        MR. SNIDOW: Hold on. I think
 21        confidence interval on the right            21   we're out of time.
 22        include the confidence interval on the      22        Can we do a time check?
 23        left.                                       23        VIDEOGRAPHER: We're at seven
 24              So as far as I'm concerned,           24   hours, one minute.
 25        these are two estimates of hazard           25        MR. MURDICA: He didn't answer

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  1    my question, though.                           1   talking about is the difference between the
  2         MR. SNIDOW: Well --                       2   likelihood of a false negative in a study and
  3         MR. MURDICA: Okay. That's                 3   a false positive.
  4    fine.                                          4            Do you remember that?
  5         MR. SNIDOW: -- he did answer              5       A. Correct.
  6    your question.                                 6       Q. So let's say I had a study that
  7         MR. MURDICA: He didn't. He                7   had six people in it or something.
  8    said, I don't know what -- where               8            Is that a pretty well-powered
  9    you're talking about, and I --                 9   study?
 10         MR. SNIDOW: Do you want one              10       A. No, that would be low power.
 11    more question? I'll give you one              11       Q. And is a study that has low
 12    more.                                         12   power, is that likely to lead to a false
 13         MR. MURDICA: I'm not asking              13   negative or a false positive?
 14    for your charity. If you want to              14       A. A false negative.
 15    stand on him not answering that               15       Q. If you had a study with six
 16    question, that's fine. I asked a              16   people or just an unpower -- an underpowered
 17    question. I didn't get an answer.             17   study generally and you got a null result,
 18         MR. SNIDOW: Let me look at it.           18   would that be surprising?
 19         You said table -- did you do an          19       A. That would be completely
 20    analysis of all the different outcomes        20   expected, even if the association were
 21    here? That one?                               21   absolutely true.
 22         MR. MURDICA: Well --                     22       Q. And why is that?
 23         MR. SNIDOW: Yeah. All right.             23       A. Because the study is
 24    I'm going to stand on that.                   24   underpowered; therefore, it cannot show an
 25         MR. MURDICA: It was before,              25   association when it exists.

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  1        when he said he didn't understand what     1      Q. If a small study, on the other
  2        I was asking about the table.              2   hand, shows a statistically significant
  3             THE WITNESS: My eyes are              3   result, is that a surprising result?
  4        crossing here. I can't see anything.       4            MR. MURDICA: Objection to
  5             Okay.                                 5      form.
  6             MR. SNIDOW: No. I'm fine with         6            THE WITNESS: Not as much,
  7        that. You're out of time. You're a         7      because if an association shows up but
  8        minute over.                               8      the study has very little power to
  9             VIDEOGRAPHER: Want to go off          9      show an association -- but if an
 10        the record?                               10      association shows up, that is likely
 11             The time right now is                11      to be a true positive. Particularly
 12        5:48 p.m., and we are off the record.     12      if there are larger studies like in
 13         (Off the record at 5:48 p.m.)            13      this case of thousands or tens of
 14             VIDEOGRAPHER: The time right         14      thousands of people, they show the
 15        now is 6 p.m. We are back on the          15      same thing.
 16        record.                                   16            So there is not surprise. It's
 17             CROSS-EXAMINATION                    17      more studies and large studies all
 18    QUESTIONS BY MR. SNIDOW:                      18      show associations. So everything is
 19        Q. Dr. Baccarelli, when                   19      pretty consistent.
 20    Mr. Murdica was asking you questions, he      20   QUESTIONS BY MR. SNIDOW:
 21    asked you a lot of questions about sample     21      Q. Mr. Murdica asked you about
 22    size.                                         22   some small studies that showed results that
 23             Do you remember that?                23   were not statistically significant.
 24        A. Correct.                               24      A. Uh-huh.
 25        Q. And one of the things you were         25      Q. Does that provide a lot of

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  1    information about whether there's a real link    1       really -- they are really there.
  2    between APAP exposure and ADHD and autism?       2            MR. SNIDOW: Thank you,
  3              MR. MURDICA: Objection to              3       Dr. Baccarelli. I have nothing
  4        form.                                        4       further.
  5              THE WITNESS: No, because as            5           REDIRECT EXAMINATION
  6        I -- I did also grading of evidence          6   QUESTIONS BY MR. MURDICA:
  7        for these. Sample size was part of           7       Q. Dr. Baccarelli, earlier today
  8        it.                                          8   we looked at a proposal that Dr. Baker made
  9              If a small study doesn't               9   to you to conduct what became Baker 2020.
 10        provide evidence, that's suspected.         10            Do you remember that?
 11        It's a small study, very low power.         11            MR. SNIDOW: Sorry. Objection.
 12        The study doesn't have the power to         12            Can we go off the record for a
 13        show the association if there is one.       13       moment, actually? Can we go off the
 14    QUESTIONS BY MR. SNIDOW:                        14       record?
 15        Q. Mr. Murdica asked you about              15            VIDEOGRAPHER: The time right
 16    some studies that had small sample sizes but    16       now is 6:04 p.m. We are off the
 17    nevertheless showed statistically significant   17       record.
 18    results.                                        18        (Off the record at 6:04 p.m.)
 19              Do those studies hurt                 19            VIDEOGRAPHER: The time right
 20    Mr. Murdica's position or help him?             20       now is 6:04 p.m. We're back on the
 21              MR. MURDICA: Objection to             21       record.
 22        form.                                       22   QUESTIONS BY MR. MURDICA:
 23              THE WITNESS: They hurt him a          23       Q. Dr. Baccarelli, I was asking
 24        lot because the really -- even with         24   you before I was interrupted about
 25        small power, the result comes out, so       25   Dr. Baker's original proposal in 2018 for

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  1        it means the results is strong.              1   what became Baker 2020.
  2    QUESTIONS BY MR. SNIDOW:                         2            Do you remember that question?
  3        Q. So when you were considering              3       A. I think I do.
  4    the results between small studies that were      4       Q. Okay.
  5    null, small studies that were statistically      5       A. So there was the analysis plan.
  6    significant, did you place greater weight on     6       Q. Yeah.
  7    some or the other?                               7            And originally there -- the
  8        A. Of course. I placed better                8   sample size of the outcome with the exposure
  9    weight on the ones that are bigger because       9   was only 13, if you remember. And then by
 10    there is more power. And I documented that      10   the time of publication, it was 33, right?
 11    in the navigation guide as well as my -- in     11       A. I think you are only referring
 12    my writing.                                     12   to a subset of the study. The study overall
 13        Q. And did you consider all the             13   had, as we reviewed, 385 people when the --
 14    results of those studies, big or small,         14   when the -- when it was published.
 15    statistically significant or not, in your       15            Then in the e-mail you show me,
 16    analysis?                                       16   or in the proposal you show me, it was
 17             MR. MURDICA: Objection. Form.          17   smaller, with like 200 and some.
 18             THE WITNESS: Oh, absolutely.           18            So the entire study is not what
 19        I considered all the results, the ones      19   you said. In test -- in this study, all the
 20        that are positive and the ones that         20   units provide power, correct? So the power
 21        are negative. And that to say --            21   is calculated on 385.
 22        there are very few that are negative.       22       Q. The outcome on the sample size
 23        They happen to be small, and this is        23   on the pilot that Dr. Baker did in 2018 had a
 24        expected. 95 percent of the studies         24   relative risk of somewhere around 8 and a
 25        are -- show a signal. So they are           25   half.

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  1            Do you remember that?                    1                 Unfortunately, we didn't have
  2        A. Right. I remember that,                   2        the confidence interval, so I cannot really
  3    absolutely.                                      3        tell you what they would have been.
  4        Q. And when it went to                       4             Q. Yeah.
  5    publication, when the extra 20 cases were        5             A. Clearly you can understand that
  6    found, it ended up being something much lower    6        there was a preliminary analysis. It
  7    than that, right?                                7        happened to be that way. It could have been
  8        A. The cases were not found. We              8        the other way around. It could have become
  9    completed the data set, and we -- obviously      9        20. I wouldn't have been surprised.
 10    we didn't publish the results based on nine     10             Q. You have -- we only have the
 11    because we wanted the study to be as complete   11        point estimate, which went down when you had
 12    as possible.                                    12        more information, correct?
 13            Again, the two results are              13             A. That is not typically happens.
 14    comparable. There's the one subset, and         14        It can go either way.
 15    whether it's 9 or 2.5, they're in the same      15                 MR. MURDICA: Yeah. That was
 16    direction and give the same signal.             16             my point.
 17        Q. In that case, though, making             17                 Okay. No further questions.
 18    the sample larger made the effect decrease,     18                 MR. SNIDOW: Off the record?
 19    right?                                          19                 VIDEOGRAPHER: The time right
 20        A. The results are pretty similar.          20             now is 6:08 p.m. We are off the
 21    As you understand -- as you understand, a       21             record.
 22    sample size that's smaller can give bias in     22           (Deposition concluded at 6:08 p.m.)
 23    both directions. It can be smaller or           23                 (Baccarelli Exhibits 114 and
 24    bigger. The results don't decrease because      24             115 marked for identification.)
 25    you increase the sample size. This is just      25                  –––––––

                                         Page 486                                                           Page 488
                                                                        CERTIFICATE
  1    poor statistics.                                 1
                                                        2           I, CARRIE A. CAMPBELL, Registered
  2        Q. You're testifying that 9 and              3
                                                            Diplomate Reporter, Certified Realtime
                                                            Reporter and Certified Shorthand Reporter, do
  3    2.5 are similar?                                     hereby certify that prior to the commencement
                                                        4   of the examination, Andrea Baccarelli, MD,
  4        A. I'm testifying that in this                   Ph.D., was duly sworn by me to testify to the
  5    case, there was a smaller odds ratio when it     5   truth, the whole truth and nothing but the
                                                            truth.
  6    became -- when we went to publication with a     6
                                                                    I DO FURTHER CERTIFY that the
  7    larger sample size.                              7   foregoing is a verbatim transcript of the
  8             But your assertion that a               8
                                                            testimony as taken stenographically by and
                                                            before me at the time, place and on the date
  9    larger sample size decreases the odds ratio          hereinbefore set forth, to the best of my
                                                        9   ability.
 10    of the risk, it's completely wrong. The risk    10           I DO FURTHER CERTIFY that I am
 11    is whatever it is. A larger sample size may     11
                                                            neither a relative nor employee nor attorney
                                                            nor counsel of any of the parties to this
 12    suggest a -- find it better.                    12
                                                            action, and that I am neither a relative nor
                                                            employee of such attorney or counsel, and
 13        Q. Adding more cases to Baker 2020               that I am not financially interested in the
                                                       13   action.
 14    decreased the effect, correct?                  14
 15        A. We didn't add more cases. We             15
                                                       16      ____________________________
 16    added more subjects. There were more cases.             CARRIE A. CAMPBELL,
                                                       17      NCRA Registered Diplomate Reporter
 17    There were more controls. There were more               Certified Realtime Reporter
 18    people exposed, less people -- more people      18      California Certified Shorthand
                                                               Reporter #13921
 19    nonexposed. Altogether, the results -- the      19      Missouri Certified Court Reporter #859
                                                               Illinois Certified Shorthand Reporter
 20    results became more robust.                     20      #084-004229
 21             And if you had the confidence          21
                                                               Texas Certified Shorthand Reporter #9328
                                                               Kansas Certified Court Reporter #1715
 22    interval, so the 8.5 or 9, whatever it was,     22
                                                               New Jersey Certified Court Reporter
                                                               #30XI00242600
 23    and you compared to the confidence interval             Louisiana Certified Court Reporter
                                                               #2021012
 24    at 2.5 that we published, probably this         23
                                                               Notary Public
 25    confidence interval would be overlapping.       24
                                                       25
                                                               Dated: August 15, 2023




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  1             INSTRUCTIONS TO WITNESS                           1          –––––––
  2                                                                            ERRATA
  3            Please read your deposition over                   2          –––––––
  4    carefully and make any necessary corrections.              3   PAGE LINE CHANGE
  5    You should state the reason in the                         4   ____ ____ _____________________________
  6    appropriate space on the errata sheet for any              5   ____ ____ _____________________________
  7    corrections that are made.                                 6   ____ ____ _____________________________
  8            After doing so, please sign the                    7   ____ ____ _____________________________
  9    errata sheet and date it. You are signing                  8   ____ ____ _____________________________
 10    same subject to the changes you have noted on              9   ____ ____ _____________________________
 11    the errata sheet, which will be attached to               10   ____ ____ _____________________________
 12    your deposition.
                                                                 11   ____ ____ _____________________________
                                                                 12   ____ ____ _____________________________
 13            It is imperative that you return                  13   ____ ____ _____________________________
 14    the original errata sheet to the deposing                 14   ____ ____ _____________________________
 15    attorney within thirty (30) days of receipt               15   ____ ____ _____________________________
 16    of the deposition transcript by you. If you               16   ____ ____ _____________________________
 17    fail to do so, the deposition transcript may              17   ____ ____ _____________________________
 18    be deemed to be accurate and may be used in               18   ____ ____ _____________________________
 19    court.                                                    19   ____ ____ _____________________________
 20                                                              20   ____ ____ _____________________________
 21                                                              21   ____ ____ _____________________________
 22                                                              22   ____ ____ _____________________________
 23                                                              23   ____ ____ _____________________________
 24                                                              24   ____ ____ _____________________________
 25                                                              25

                                                      Page 490                                      Page 492
  1        ACKNOWLEDGMENT OF DEPONENT                             1          –––––––
  2                                                                          LAWYER'S NOTES
  3                                                               2          –––––––
  4           I,______________________, do
      hereby certify that I have read the foregoing
                                                                  3   PAGE LINE
  5   pages and that the same is a correct                        4   ____ ____ _____________________________
      transcription of the answers given by me to                 5   ____ ____ _____________________________
  6   the questions therein propounded, except for                6   ____ ____ _____________________________
      the corrections or changes in form or                       7   ____ ____ _____________________________
  7   substance, if any, noted in the attached                    8   ____ ____ _____________________________
      Errata Sheet.                                               9   ____ ____ _____________________________
  8
  9                                                              10   ____ ____ _____________________________
 10                                                              11   ____ ____ _____________________________
 11                                                              12   ____ ____ _____________________________
 12   ________________________________________                   13   ____ ____ _____________________________
      Andrea Baccarelli, MD, Ph.D. DATE                          14   ____ ____ _____________________________
 13                                                              15   ____ ____ _____________________________
 14                                                              16   ____ ____ _____________________________
 15   Subscribed and sworn to before me this
 16   _______ day of _______________, 20 _____.                  17   ____ ____ _____________________________
 17   My commission expires: _______________                     18   ____ ____ _____________________________
 18                                                              19   ____ ____ _____________________________
 19   Notary Public                                              20   ____ ____ _____________________________
 20                                                              21   ____ ____ _____________________________
 21                                                              22   ____ ____ _____________________________
 22
 23
                                                                 23   ____ ____ _____________________________
 24                                                              24   ____ ____ _____________________________
 25                                                              25


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